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  10                   IN THE UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  11                      SOUTHERN DIVISION – SANTA ANA
  12    JENNIFER GRAMMER, JODY PLA,
        DOUGLAS POWELL, SHANAH                         Case No. 8:16-cv-01525-AG-JCG
  13    ZISHKA, JANICE TOLER, BOBBY
        YORK, MELANIE MUNNS,
  14    MATTHEW SIFFERMANN,                            THIRD AMENDED CLASS
        ALBERT HEBER, JOSEPH and KIM                   ACTION COMPLAINT FOR
  15    LESKO, h/w, RAYMOND BENNETT                    DAMAGES AND EQUITABLE
        and SHEILA FAULKNER, h/w,                      RELIEF
  16    PENNY PORTER, JAMES
        DONOGHUE, LESLIE COCHRANE,
  17    COLE and SHANNON MICHAELIS,
        h/w, STEPHEN BOWLING, HEIDI
  18    BROWDER, and HEATHER and
        DAVID JOHNS, h/w, individually and
  19    on behalf of all others similarly
        situated,
  20
                          Plaintiffs,
  21
                v.
  22
        TOYOTA MOTOR CORPORATION,
  23    TOYOTA MOTOR SALES, U.S.A.,
        INC., and DOES 1-10,                           JURY TRIAL DEMANDED
  24
                          Defendants.
  25
  26
  27
  28

                                                           PLAINTIFFS’ THIRD AMENDED
                                                             CLASS ACTION COMPLAINT
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   1
              Plaintiffs Jennifer Grammer, Jody Pla, Douglas Powell, Shanah Zishka, Janice
   2
        Toler, Bobby York, Melanie Munns, Matthew Siffermann, Albert Heber, Joseph and
   3
        Kim Lesko, h/w, Raymond Bennett and Sheila Faulkner, h/w, Penny Porter, James
   4
        Donoghue, Leslie Cochrane, Cole and Shannon Michaelis, h/w, Stephen Bowling,
   5
        Heidi Browder, and Heather and David Johns, h/w (collectively “Plaintiffs”),
   6
        individually and on behalf of all others similarly situated, bring this class action
   7
        against Defendants Toyota Motor Corporation, Toyota Motor Sales, U.S.A., Inc.
   8
        (collectively “Toyota”), and DOES 1 to 10, and in support thereof aver the following
   9
        based upon personal information and the investigation of their counsel, and upon
  10
        information and belief.
  11
                   I.     INTRODUCTION AND NATURE OF THE CASE
  12
              1.     This is a class action lawsuit brought by Plaintiffs on behalf of
  13
        themselves and a class of current and former owners and lessees of certain Toyota
  14
        vehicles containing soy- and/or bio-based wiring insulation, wiring coatings, and/or
  15
        other parts and components (the “Class Vehicles”1). Plaintiffs seek redress on behalf
  16
        of themselves and the class(es) defined herein for damage resulting from the
  17
        inclusion of bio- or soy-based materials Class Vehicle wiring or wiring systems.
  18
              2.     Upon information and belief, Toyota incorporates soy- or bio-based
  19
        ingredients in the wiring in Class Vehicle electrical wiring systems (as well as other
  20
        parts of the Class Vehicles) that bait rodents – including rats, squirrels, and other
  21
        animals – to the vehicles and that entices these pests to chew through, eat, or
  22
        1
  23     As used herein, the term “Class Vehicles” refers to at least the following Toyota
        vehicles, upon information and belief: 4Runner (2011-2016); Avalon (2013-2015)
  24    Camry Hybrid (2012-2013); Camry (2009-2016); Corolla (2014-2016); FJ Cruiser
  25    (2014); Highlander (2009-2016); Matrix (2009); Prius (2010-2015); Prius C (2012-
        2015); Prius V (2012-2015); Rav4 (2008-2016); Scion TC (2014-2016); Sequoia
  26    (2015); Sienna (2011-2016); Tacoma (2008-2015); Tundra (2007-2017); and Venza
  27    Ltd. (2010-2013). Plaintiffs reserve the right to amend or add to the vehicle models
        and model years included in the Class Vehicles after conducting discovery.
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                                1
                                                               CLASS ACTION COMPLAINT
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   1
        otherwise damage and compromise the wiring (the “Defect”). Indeed, consumers
   2
        (including Plaintiffs) have been informed by various Toyota dealerships and service
   3
        stations that rodent damage to Class Vehicles relating to the Defect is a common
   4
        problem experienced by consumers. Some Toyota representatives (discussed, infra)
   5
        have even acknowledged that widespread problems with rodent damage to Class
   6
        Vehicle wiring began a few years ago when Toyota introduced soy- or bio-based
   7
        materials into Class Vehicle wiring. These accounts are independent of one another
   8
        and have been made by Toyota technicians across the country.
   9
              3.     The Defect causes damage to the Class Vehicles’ electrical and other
  10
        operational systems and/or these systems cease to function, leaving the vehicles
  11
        partially or completely inoperable.
  12
              4.     The accounts by Toyota service representatives are consistent with the
  13
        numerous complaints posted on the National Highway Traffic Safety Administration
  14
        (“NHTSA”) website and other consumer resources which reveal that rodents and
  15
        pests are uniquely attracted to the Defect in the Class Vehicles.
  16
              5.     The soy- or bio-based parts are purportedly more environmentally-
  17
        friendly and less expensive than traditional wiring and other parts and components.
  18
        However, current and former Class Vehicle owners and lessees should not be
  19
        required to bear the costs associated with the Defect, nor should they be required to
  20
        bear the risk of future out-of-warranty problems for animal-damaged wiring that
  21
        results simply because Toyota made a cost-conscious decision to include cheaper
  22
        bio-based or soy-based materials in Class Vehicles.
  23
              6.     Despite the fact that Toyota is aware (or should be aware) of the Defect
  24
        and that resulting rodent or other animal damage is a widespread problem in Class
  25
        Vehicles across the United States, Toyota has failed to disclose the Defect to Class
  26
        Vehicle purchasers and lessees, and routinely refuses to repair the Class Vehicles
  27
  28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                2
                                                                CLASS ACTION COMPLAINT
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   1
        under its New Vehicle Limited Warranty (the “Warranty”) that it issues with each
   2
        Class Vehicle purchase or lease.
   3
              7.     Worse still, when Toyota repairs Defect-related damage at the expense
   4
        of Class members, it simply incorporates new defective bio- or soy-based wiring
   5
        parts or components, exposing Class Vehicles to the risk and likelihood of future
   6
        rodent or animal damage which will necessitate additional repairs, all to be paid for
   7
        by Class members.
   8
              8.     As if this is not bad enough, when Class members bring their Class
   9
        Vehicles to Toyota’s authorized dealers and/or service stations for Defect-related
  10
        repairs, Toyota recommends that Class members, at their own cost, implement
  11
        makeshift solutions to prevent further damage, including but not limited to using
  12
        chemicals, sprays, traps, repellants, wrapping wires, and even using a high-frequency
  13
        noise-emitting electronic devices (a device commonly known as MouseBlocker).
  14
        However, if Toyota installs these preventive measures, it charges consumers for the
  15
        costs associated therewith.
  16
              9.     As a result of the Defect and the monetary costs associated with repairs,
  17
        as well as other out-of-pocket losses and diminished Class Vehicle values, Plaintiffs
  18
        and Class Members have suffered injury in fact, incurred damages, and have
  19
        otherwise been harmed by Toyota’s conduct.
  20
              10.    As set forth below, Plaintiffs seek redress for Toyota’s violations of
  21
        various state consumer protection and state and federal warranty laws. Plaintiffs also
  22
        seek recovery for monetary and equitable relief for Toyota’s failure to implement or
  23
        honor the terms of its Warranty, breaches of implied warranties, unjust enrichment,
  24
        restitution, fraud/fraudulent concealment, and declaratory relief.
  25
                              II.     JURISDICTION AND VENUE
  26
              11.    This Court has subject matter jurisdiction over this action pursuant to
  27
        28 U.S.C. § 1331 because it arises under the laws of the United States and pursuant
  28

                                                             PLAINTIFFS’ THIRD AMENDED
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   1
        to 28 U.S.C. § 1332(d) because: (i) there are 100 or more class members; (ii) there
   2
        is an aggregate amount in controversy exceeding $5,000,000, exclusive of interest
   3
        and costs; and (iii) because at least one plaintiff and defendant are citizens of
   4
        different states. This Court has supplemental jurisdiction over the state law claims
   5
        pursuant to 28 U.S.C. § 1367.
   6
               12.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391
   7
        because Toyota transacts business in this district, is subject to personal jurisdiction
   8
        in this district, and is therefore deemed to be a citizen of this district. Additionally,
   9
        Toyota has advertised in this district and has received substantial revenue and profits
  10
        from its sales and/or leasing of Class Vehicles in this district; therefore, a substantial
  11
        part of the events and/or omissions giving rise to the claims occurred, in part, within
  12
        this district.
  13
               13.       This Court has personal jurisdiction over Toyota because it has
  14
        conducted substantial business in this judicial district and intentionally and
  15
        purposefully placed Class Vehicles into the stream of commerce within this district
  16
        and throughout the United States.
  17
                                     III.   PARTIES
  18
        A.     California Plaintiffs
  19
               Plaintiff Jennifer Grammer
  20
               14.        Plaintiff Jennifer Grammer (“Plaintiff Grammer”) is a citizen of
  21
        California and currently resides in Carson, California.
  22
               15.        In June 2012, Plaintiff Grammer purchased a 2012 Toyota Corolla
  23
        from South Bay Toyota, which is an authorized Toyota dealer in Gardena,
  24
        California.
  25
               16.        Plaintiff Grammer uses her Class Vehicle for personal, family, and/or
  26
        household uses
  27
  28

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                                                                 CLASS ACTION COMPLAINT
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   1
              17.       In or about August 2016, Plaintiff Grammer was driving her Class
   2
        Vehicle on the freeway when the check engine light came on and her Class Vehicle
   3
        started to resist acceleration.
   4
              18.       In or about August 2016, Plaintiff Grammer had a service
   5
        appointment at a repair shop in Torrance, California. The technician advised
   6
        Plaintiff Grammer that there were chew marks in the cables and rodent droppings in
   7
        her Class Vehicle.
   8
               19.      Plaintiff Grammer’s mechanic subsequently informed her that a
   9
        rodent had chewed through the wiring that corresponds with the transmission speed
  10
        sensor in her Class Vehicle. Plaintiff Grammer paid out of pocket for her mechanic
  11
        to repair and replace the wiring and the sensor.
  12
               20.      To date, Toyota has failed to remedy the Defect in Plaintiff
  13
        Grammer’s Class Vehicle or reimburse her for the rodent-related damage she paid
  14
        to repair in her Class Vehicle and other out-of-pocket expenses.
  15
               21.      Plaintiff Grammer has suffered an ascertainable loss as a result of
  16
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  17
        but not limited to, out-of-pocket losses, future repairs, and diminished value of her
  18
        Class Vehicle.
  19
               22.      Neither Toyota nor any of its agents, dealers, or other representatives
  20
        informed Plaintiff Grammer of the existence and prevalence of the Defect prior to
  21
        her purchase.
  22
               23.      Had Plaintiff Grammer known of the Defect, she would not have paid
  23
        for her Class Vehicle, or would have paid significantly less than she did.
  24
               Plaintiff Jody Pla
  25
               24.      Plaintiff Jody Pla (“Plaintiff Pla”) is a citizen of the state of California
  26
        and currently resides in Santa Clarita, California.
  27
  28

                                                                 PLAINTIFFS’ THIRD AMENDED
                                                   5
                                                                   CLASS ACTION COMPLAINT
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   1
              25.     On July 31, 2014, Plaintiff Pla purchased a new 2014 Toyota Tundra
   2
        2WD Truck from Frontier Toyota, which is an authorized Toyota dealer in Valencia,
   3
        California.
   4
              26.     Plaintiff Pla uses her Class Vehicle for personal, family, and/or
   5
        household     uses.   Her     Class    Vehicle     bears    the   following     VIN:
   6
        5TFSY5F12EX167215.
   7
              27.     On or about November 5, 2015, Plaintiff Pla drove her Class Vehicle
   8
        to Crista Chevron Auto Spa in Santa Clarita, California for an oil change and
   9
        inspection because her vehicle’s check engine light had suddenly illuminated while
  10
        she was driving. Upon inspection, the service technician indicated that there were
  11
        rat feces on the engine cover, specifically stating “you have rats in here.” Plaintiff
  12
        Pla immediately made an appointment at Frontier Toyota for further inspection of
  13
        the problem. Prior to the time of her inspection at Frontier Toyota, numerous
  14
        additional warning lights illuminated on the dashboard of her Class Vehicle.
  15
              28.     On November 9, 2015, Plaintiff Pla had a service appointment at
  16
        Frontier Toyota. The mileage on Plaintiff Pla’s Class Vehicle at the time of her
  17
        service appointment was approximately 23,067 miles.
  18
              29.     Frontier Toyota initially assessed the problem as potential damage to
  19
        the vehicle’s wiring harness caused by rodents gnawing or eating the electrical
  20
        wiring. Frontier Toyota indicated that this damage may require repairs costing
  21
        upwards of $3,000.
  22
              30.     Later that day, Frontier Toyota called Plaintiff Pla to inform her that
  23
        the damage was limited to the electrical wiring near the engine compartment and
  24
        that repairs would cost $720. Plaintiff Pla paid for the repairs out-of-pocket, and
  25
        Toyota did not cover the damage under the Warranty.
  26
              31.     The Defect-related damage to Plaintiff Pla’s Class Vehicle left her
  27
        Class Vehicle partially or wholly inoperable.
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                                6
                                                               CLASS ACTION COMPLAINT
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   1
              32.     Notably, a Toyota service technician indicated to Plaintiff Pla that
   2
        they have seen this issue with rodent damage and chewing on wires a number of
   3
        times in the past.
   4
              33.     Over a year has passed since Plaintiff Pla paid for the repairs to her
   5
        Class Vehicle, and her car still experiences rodent issues resulting from the Defect.
   6
        At her own expense, Plaintiff Pla has tried multiple methods of eliminating the
   7
        rodent issue, including hiring an exterminator and using rodent bait boxes; however,
   8
        none of these approaches have resolved the issue.
   9
              34.     To date, Toyota has failed to remedy the Defect in Plaintiff Pla’s Class
  10
        Vehicle.
  11
              35.     Plaintiff Pla has suffered an ascertainable loss as a result of Toyota’s
  12
        omissions and/or misrepresentations associated with the Defect, including, but not
  13
        limited to, out-of-pocket losses, future repairs, and diminished value of her Class
  14
        Vehicle.
  15
              36.     Neither Toyota nor any of its agents, dealers, or other representatives
  16
        informed Plaintiff Pla of the existence and prevalence of the Defect prior to her
  17
        purchase.
  18
              37.     Had Plaintiff Pla known of the Defect, she would not have paid for
  19
        her Class Vehicle, or would have paid significantly less than she did.
  20
              Plaintiff Douglas Powell
  21
              38.     Plaintiff Douglass Powell (“Plaintiff Powell”) is a citizen of
  22
        California and currently resides in Stockton, California.
  23
              39.     On July 26, 2016, Plaintiff Powell purchased a 2016 Toyota Rav4
  24
        from, Antioch Toyota, which is an authorized Toyota dealer in Antioch, California.
  25
              40.     Plaintiff Powell uses his Class Vehicle for personal, family and/or
  26
        household     uses.   His    Class     Vehicle    bears     the   following     VIN:
  27
        2T3DFREV46W423629.
  28

                                                            PLAINTIFFS’ THIRD AMENDED
                                               7
                                                              CLASS ACTION COMPLAINT
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   1
                 41.   On or about September 12, 2016, Plaintiff Powell’s Vehicle would not
   2
        start.
   3
                 42.   Plaintiff Powell then had his vehicle towed to the Stockton Toyota
   4
        Town Dealership where he was informed that a rodent had damaged the main engine
   5
        compartment resulting in damage to the electrical harness. The vehicle’s electrical
   6
        harness had to be replaced.
   7
                 43.   The mileage on Plaintiff Powell’s Class Vehicle at the time of the
   8
        repair was approximately 3,776 miles.
   9
                 44.   Plaintiff Powell’s Class Vehicle was under warranty yet Toyota did
  10
        not cover the damage and denied Plaintiff Powell’s claim – he used his automobile
  11
        insurance but had to pay a $250 deductible.
  12
                 45.   To date, Toyota has failed to remedy the Defect in Plaintiff Powell’s
  13
        Class Vehicle or reimburse him for the rodent-relate damage he paid to repair in her
  14
        Class Vehicle and other out-of-pocket expenses.
  15
                 46.   Plaintiff Powell has suffered an ascertainable loss as a result of
  16
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  17
        but not limited to, out-of-pocket losses, future repairs, and diminished value of his
  18
        Class Vehicle.
  19
                 47.   Neither Toyota nor any of its agents, dealers, or other representatives
  20
        informed Plaintiff Powell of the existence and prevalence of the Defect prior to his
  21
        purchase.
  22
                 48.   Had Plaintiff Powell known of the Defect, he would not have paid for
  23
        his Class Vehicle, or would have paid significantly less than he did.
  24
        B.       Colorado Plaintiff
  25
                 49.   Plaintiff Shanah Zishka (“Plaintiff Zishka”) is a citizen of the state of
  26
        Colorado and currently resides in Colorado Springs, Colorado.
  27
  28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                 8
                                                                CLASS ACTION COMPLAINT
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   1
                50.   On or about October 6, 2014, Plaintiff Zishka purchased a new 2015
   2
        Scion TC from Stevinson Toyota West, an authorized Toyota dealer in Lakewood,
   3
        Colorado. Her Class Vehicle bears the following VIN: JTKJF5C79F3090709.
   4
                51.   Plaintiff uses her Class Vehicle for personal, family, and/or household
   5
        uses.
   6
                52.   On or about August 22, 2016, Plaintiff noticed that her dashboard
   7
        display for her transmission was not working. As she drove her Class Vehicle home,
   8
        she attempted to put the car in manual shift mode, but was unable to do so.
   9
                53.   The following morning, on August 23, the dashboard display and
  10
        manual shift mode were still not working. On her drive to work that day, Plaintiff’s
  11
        check engine light came on and traction control shut off. She called her local Toyota
  12
        dealer – Larry H. Miller Toyota – to arrange to drop off her car, which she did on
  13
        August 31, 2016.
  14
                54.   The mileage on Plaintiff Zishka’s Class Vehicle at the time of this
  15
        issue was 15,633 miles.
  16
                55.   After a series of appointments with the dealer, Plaintiff received a call
  17
        on September 12 indicating that the transmission range switch was damaged and
  18
        needed to be replaced. Plaintiff opted to leave her car with the dealer until Friday,
  19
        September 16, as the dealer was waiting for a part to arrive.
  20
                56.   On the morning of September 16, Plaintiff received a call from the
  21
        dealer informing her that they had replaced the transmission range switch and the
  22
        issue was still occurring.
  23
                57.   After further inspection, the Toyota dealer discovered that Plaintiff’s
  24
        wiring harness had been chewed by rodents.
  25
                58.   While the transmission range switch repair was covered under
  26
        warranty, Plaintiff was charged $193.64 for service and repairs to the wiring
  27
        harness.
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                                9
                                                               CLASS ACTION COMPLAINT
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   1
                59.   Notably, when Plaintiff went to pick up her Class Vehicle, the dealer’s
   2
        service department technician verbally acknowledged that the wiring harness in her
   3
        Class Vehicle is made of soy which attracts rodents. Plaintiff was also told that the
   4
        wiring harness is near the exhaust pipe, which is appealing to rodents because the
   5
        exhaust pipe is warm. The Toyota dealership technicians told Plaintiff Zishka that
   6
        rodent and animal damage is a common issue with Toyota vehicles because pests
   7
        find the soy materials appealing.
   8
                60.   Toyota, however, refused to cover any of the rodent damage to the
   9
        wiring harness in Plaintiff Zishka’s Class Vehicle.
  10
                61.   The damage to Plaintiff’s Class Vehicles left her vehicle partially or
  11
        completely inoperable.
  12
                62.   As a result of the damage to Plaintiff’s wiring harness, she was
  13
        required to incur out-of-pocket expenses and lost use of her vehicle for a number of
  14
        days.
  15
                63.   Despite Plaintiff’s request, Toyota refused to provide warranty
  16
        coverage for the damage to Plaintiff’s Class Vehicle, which Toyota contends was
  17
        not covered under the Warranty. To date, Toyota has failed to remedy the Defect in
  18
        Plaintiff Zishka’s Class Vehicle or reimburse her for the rodent-related damage she
  19
        paid to repair her Class Vehicle.
  20
                64.   Plaintiff Zishka has suffered an ascertainable loss as a result of
  21
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  22
        but not limited to, out-of-pocket losses, future repairs, and diminished value of her
  23
        Class Vehicle.
  24
                65.   Neither Toyota nor any of its agents, dealers, or other representatives
  25
        informed Plaintiff Zishka of the existence and prevalence of the Defect prior to her
  26
        purchase.
  27
  28

                                                              PLAINTIFFS’ THIRD AMENDED
                                               10
                                                                CLASS ACTION COMPLAINT
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   1
                 66.    Had Plaintiff Zishka known of the Defect, she would not have paid
   2
        for her Class Vehicle, or would have paid significantly less than she did.
   3
        C.       Florida Plaintiff
   4
                 67.    Plaintiff Janice Toler (“Plaintiff Toler”) is a citizen of the state of
   5
        Florida and currently resides in Clermont, Florida.
   6
                 68.    On or about February 28, 2015, Plaintiff Toler purchased a brand new
   7
        2015 Toyota Rav4 XLE from Toyota of Clermont, which is an authorized Toyota
   8
        dealer in Clermont, Florida. Her Class Vehicle bears the following VIN:
   9
        JTMWFREV9FD051614.
  10
                 69.    Plaintiff Toler uses her Class Vehicle for personal, family, and/or
  11
        household uses.
  12
                 70.    On or about October 7, 2016, Plaintiff Toler noticed that the ABS light
  13
        and Swerve Protection light had illuminated on Plaintiff’s Class Vehicle dashboard.
  14
                 71.    On October 13, 2016, Plaintiff Toler had her Class Vehicle serviced
  15
        at Toyota of Clermont to determine why the dashboard lights were illuminating.
  16
                 72.    At the time she took her Class Vehicle in for service at Toyota of
  17
        Clermont, Plaintiff Toler’s Class Vehicle odometer displayed approximately 15,830
  18
        miles.
  19
                 73.    At the dealership, a service consultant named Jimmy Mayo indicated
  20
        that the car suffered extensive rodent damage. Mr. Mayo identified and showed the
  21
        wires that the rodents had chewed through as well as rodent urine and feces located
  22
        near the chewed wiring. Mr. Mayo informed Plaintiff that the car dashboard would
  23
        need to be removed and that the car would require a total rewiring because rodents
  24
        had chewed up almost every wire in the engine compartment.
  25
                 74.    Also at the dealership, a service technician told Plaintiff Toler that he
  26
        had seen a few other Toyota automobiles come through the dealership with the same
  27
        problems, i.e. wires chewed by rodents.
  28

                                                               PLAINTIFFS’ THIRD AMENDED
                                                 11
                                                                 CLASS ACTION COMPLAINT
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   1
              75.     That same day, Plaintiff Toler contacted her insurance carrier to open
   2
        a claim for the rodent damage. Because the repairs were going to take a few days,
   3
        Plaintiff arranged for a rental car. Because of the damage to her Class Vehicle,
   4
        Plaintiff Toler was forced to rent a car from Hertz for 12 days, for which she paid
   5
        $183.11 out of pocket.
   6
              76.     The next day, Plaintiff Toler called the dealership to get an estimate
   7
        on the damage to her Class Vehicle, and Mr. Mayo informed that the damage could
   8
        be between $6,000-7,000.
   9
              77.     In the interim, Plaintiff Toler called Toyota’s Customer Care number
  10
        to discuss the issue and spoke with a Toyota employee who opened a case (no.
  11
        1610141571).
  12
              78.     After receiving no meaningful assistance from Toyota, Plaintiff called
  13
        the Toyota Regional Office and spoke with a Customer Loyalty Specialist. During
  14
        this call, Toyota’s representative informed Plaintiff that Toyota is not responsible
  15
        for rodents and rodent damage to Toyota vehicles. When Plaintiff Toler asked the
  16
        Toyota Regional employee to open a case, he stated that it would be closed as
  17
        quickly as it is opened because the rodent damage is “not Toyota’s problem.”
  18
              79.     Despite attempting to speak with multiple Toyota representatives and
  19
        employees at various levels of the Toyota hierarchy, Plaintiff Toler was and has
  20
        been unable to obtain a remedy for the rodent damage to and Defect in her Class
  21
        Vehicle. Furthermore, Plaintiff Toler never heard anything back with respect to the
  22
        case she opened up with Toyota.
  23
              80.     Plaintiff’s insurance carrier ultimately denied full replacement of her
  24
        Class Vehicle wiring system, and the carrier instead chose the cheaper option to pay
  25
        to repair the extensively damaged and chewed wires. The rodent damage to Plaintiff
  26
        Toler’s Class Vehicle was repaired under insurance, net of a $500.00 deductible
  27
        paid by Plaintiff Toler.
  28

                                                            PLAINTIFFS’ THIRD AMENDED
                                              12
                                                              CLASS ACTION COMPLAINT
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   1
                81.    Plaintiff Toler drives her car with the concern that the mere repair of
   2
        her Class Vehicle’s wires (rather than actual replacement of the wires) has left her
   3
        Class Vehicle in a dangerous state. Furthermore, to date Toyota has provided no
   4
        solutions for preventing future rodent damage to Plaintiff’s Class Vehicle.
   5
                82.    The damage to Plaintiff Toler’s Class Vehicles left her vehicle
   6
        partially or completely inoperable.
   7
                83.    As a result of the damage to Plaintiff Toler’s wiring harness, she was
   8
        required to incur out-of-pocket expenses and lost use of her vehicle for a number of
   9
        days.
  10
                84.    Despite Plaintiff’s request, Toyota refused to provide warranty
  11
        coverage for the rodent damage to her Class Vehicle, which Toyota contends was
  12
        not covered under the Warranty.
  13
                85.    To date, Toyota has failed to remedy the Defect in Plaintiff Toler’s
  14
        Class Vehicle or reimburse her for the rodent-relate damage she paid to repair in her
  15
        Class Vehicle and other out-of-pocket expenses.
  16
                86.    Plaintiff Toler has suffered an ascertainable loss as a result of
  17
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  18
        but not limited to, out-of-pocket losses, future repairs, and diminished value of her
  19
        Class Vehicle.
  20
                87.    Neither Toyota nor any of its agents, dealers, or other representatives
  21
        informed Plaintiff Toler of the existence and prevalence of the Defect prior to her
  22
        purchase.
  23
                88.    Had Plaintiff Toler known of the Defect, she would not have paid for
  24
        her Class Vehicle, or would have paid significantly less than she did.
  25
        D.      Georgia Plaintiff
  26
                89.    Plaintiff Bobby York (“Plaintiff York”) is a citizen of the state of
  27
        Georgia and currently resides in Barnesville, Georgia.
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               13
                                                               CLASS ACTION COMPLAINT
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   1
              90.     On or about July 17, 2014, Plaintiff York purchased a new 2014
   2
        Toyota Highlander XLE from Toyota of McDonough, an authorized Toyota dealer
   3
        in McDonough, Georgia. His Class Vehicle bears the following VIN:
   4
        5TDKKRFH6ES035814.
   5
              91.     Plaintiff York uses his Class Vehicle for personal, family, and/or
   6
        household uses.
   7
              92.     On or about December 6, 2016, Plaintiff noticed his ABS warning
   8
        light had illuminated on his Class Vehicle dashboard. Pursuant to the instructions in
   9
        his Warranty manual, Plaintiff contacted the Toyota dealership immediately.
  10
              93.     On December 8, 2016, Plaintiff York took his Class Vehicle to Toyota
  11
        of McDonough for a morning appointment. Plaintiff was assisted by Seth Fort
  12
        (service advisor) and Matthew Doss (service technician).
  13
              94.     At the time of this service appointment, Plaintiff York’s Class Vehicle
  14
        mileage was at 31,690 miles.
  15
              95.     After an hour of inspection, Mr. Fort informed Plaintiff that he found
  16
        nothing wrong with the brakes, but that the ABS warning light had illuminated
  17
        because rodents chewed through the vehicle wiring harness. Plaintiff York was told
  18
        that the brakes would operate safely but that unless the wiring harness was repaired,
  19
        the warning system would not operate in the event of an actual malfunction.
  20
              96.     When Plaintiff York inquired as to whether the damage was covered
  21
        under his Class Vehicle Warranty, Mr. Fort informed him that Toyota’s Warranty
  22
        does not cover rodent damage.
  23
              97.     Plaintiff York paid $310.35 out-of-pocket to have his Class Vehicle’s
  24
        wiring harness repaired. This damage to Plaintiff York’s Class Vehicle left the
  25
        vehicle partially or completely inoperable.
  26
  27
  28

                                                            PLAINTIFFS’ THIRD AMENDED
                                               14
                                                              CLASS ACTION COMPLAINT
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   1
              98.     As a result of the damage to Plaintiff’s Class Vehicle, he was forced
   2
        to incur out-of-pocket expenses, lost functionality of his Class Vehicle, and was
   3
        unable to use his Class Vehicle for a number of days.
   4
              99.     Despite Plaintiff’s request, Toyota refused to provide Warranty
   5
        coverage for the rodent damage to his Class Vehicle, which Toyota contends was
   6
        not covered under the Warranty.
   7
              100.    To date, Toyota has failed to remedy the Defect in Plaintiff York’s
   8
        Class Vehicle or reimburse him for the rodent-relate damage he paid to repair in his
   9
        Class Vehicle.
  10
              101.    Neither Toyota nor any of its agents, dealers, or other representatives
  11
        informed Plaintiff York of the existence and prevalence of the Defect prior to his
  12
        purchase.
  13
              102.    Plaintiff York has suffered an ascertainable loss as a result of Toyota’s
  14
        omissions and/or misrepresentations associated with the Defect, including, but not
  15
        limited to, out-of-pocket losses, future repairs, and diminished value of his Class
  16
        Vehicle.
  17
              103.    Had Plaintiff York known of the Defect, he would not have paid for
  18
        his Class Vehicle, or would have paid significantly less he did.
  19
        E.    Idaho Plaintiff
  20
              104.    Plaintiff Melanie Munns (“Plaintiff Munns”) is a citizen of the state
  21
        of Idaho and currently resides in Rexburg, Idaho.
  22
              105.    On or about May 21, 2015, Plaintiff Munns purchased a new 2015
  23
        Toyota Rav4 from Stone’s Town & Country Motors, Inc., an authorized Toyota
  24
        dealer in Rexburg, Idaho. Her Class Vehicle bears the following VIN:
  25
        2T3DFREV7FW329050.
  26
              106.    Plaintiff Munns uses her Class Vehicle for personal, family, and/or
  27
        household uses.
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               15
                                                               CLASS ACTION COMPLAINT
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   1
              107.    In or about September 2015, Plaintiff Munn noticed that three warning
   2
        lights had illuminated on her Class Vehicle dashboard: the AWD light, the skid light,
   3
        and the ALB light. Pursuant to the instructions in her Warranty manual, Plaintiff
   4
        contacted her Toyota dealership, Stone’s Town & Country Motors, Inc.,
   5
        immediately to schedule a service appointment.
   6
              108.    On or about September 23, 2015, Stones diagnosed the Class Vehicle
   7
        and determined that rodents had chewed a sensor wiring cover. At the time of this
   8
        service appointment, Plaintiff Munns’ Class Vehicle mileage was at 7,349 miles.
   9
              109.    Then, in or about February 2016, the same issue happened with
  10
        Plaintiff’s Class Vehicle. Again, Plaintiff Munns took her Class Vehicle to Stone’s.
  11
        The mileage on her Class Vehicle at this time was 11,003 miles.
  12
              110.    On both occasions, when Plaintiff Munns inquired as to whether the
  13
        damage was covered under her Class Vehicle Warranty, she was informed that
  14
        Toyota’s Warranty does not cover rodent damage, calling this an “act of mother
  15
        nature.”
  16
              111.    As a result, Plaintiff Munns had to pay out-of-pocket to have her Class
  17
        Vehicle sensor wiring repaired. Specifically, Plaintiff Munns paid $381.94 for the
  18
        repairs and service received in September 2015, and $380.34 for the repairs and
  19
        service received in February 2016. The damage to Plaintiff Munns’ Class Vehicle
  20
        left the vehicle partially or completely inoperable on both occasions.
  21
              112.    During one of Plaintiff Munns’ service appointments, a service
  22
        employee at Stone’s indicated to Plaintiff that this problem is not unique to her Class
  23
        Vehicle and that Stone’s was having problems with other Toyota vehicles, including
  24
        chipmunks eating Toyota wiring.
  25
              113.    Notably, during one of her service appointments at Stone’s, Plaintiff
  26
        Munns learned from another woman who was receiving service for her Toyota
  27
        vehicle that she was having the same problem as Plaintiff Munns.
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               16
                                                               CLASS ACTION COMPLAINT
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   1
              114.    The Toyota dealer suggested that Plaintiff Munns use dryer sheets and
   2
        100% peppermint oil in her Class Vehicle wheel wells to try to ward off rodent
   3
        attacks. Plaintiff purchased these items at her cost (roughly $20 for peppermint oil).
   4
              115.    In January 2017, Plaintiff Munns experienced the same problem with
   5
        her dashboard illuminating as she was traveling about 45 miles from her home.
   6
        Plaintiff believes her Class Vehicle wiring has once again been damaged by rodents,
   7
        but she has not taken her Class Vehicle in for service because she cannot afford
   8
        further repairs.
   9
              116.    As a result of the damage to Plaintiff’s Class Vehicle, she was forced
  10
        to incur out-of-pocket expenses, lost functionality of her Class Vehicle, and was
  11
        unable to use her Class Vehicle for a number of days.
  12
              117.    Despite Plaintiff’s request, Toyota refused to provide Warranty
  13
        coverage for the rodent damage to her Class Vehicle, which Toyota contends was
  14
        not covered under the Warranty.
  15
              118.    To date, Toyota has failed to remedy the Defect in Plaintiff Munns’
  16
        Class Vehicle or to reimburse her for the rodent-related damage she paid to repair
  17
        her Class Vehicle.
  18
              119.    Neither Toyota nor any of its agents, dealers, or other representatives
  19
        informed Plaintiff Munns of the existence and prevalence of the Defect prior to her
  20
        purchase.
  21
              120.    Plaintiff Munns has suffered an ascertainable loss as a result of
  22
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  23
        but not limited to, out-of-pocket losses, future repairs, and diminished value of her
  24
        Class Vehicle.
  25
              121.    Had Plaintiff Munns known of the Defect, she would not have paid
  26
        for her Class Vehicle, or would have paid significantly less than she did.
  27
        ///
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               17
                                                               CLASS ACTION COMPLAINT
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   1
        F.    Illinois Plaintiff
   2
              122.    Plaintiff Matthew Siffermann (“Plaintiff Siffermann”) is a citizen of
   3
        the state of Illinois and currently resides in Elmhurst, Illinois.
   4
              123.    In or about August, 2016, Plaintiff Siffermann purchased a new 2016
   5
        Toyota Sienna Limited AWD from Elmhurst Toyota, an authorized Toyota dealer
   6
        in Elmhurst, Illinois. Plaintiff’s Class Vehicle bears the following VIN:
   7
        JNKAY01F08M655309.
   8
              124.    Plaintiff Siffermann uses his Class Vehicle for personal, family,
   9
        and/or household uses.
  10
              125.    On or about October 2, 2016, Plaintiff was driving his Class Vehicle
  11
        when he noticed that several dashboard warning lights had illuminated. The engine
  12
        “lurched” and the vehicle’s operation became choppy. At the time this occurred,
  13
        Plaintiff’s Class Vehicle was barely operable.
  14
              126.    On October 3, 2016, Plaintiff drove his Class Vehicle to Elmhurst
  15
        Toyota for an assessment of the vehicle. After Plaintiff explained the issues that his
  16
        Class Vehicle was experiencing, a service technician anticipated the nature of the
  17
        damage, stating that it sounded like it might be rodent damage, and that if that was
  18
        the case the damage would not be covered under the Toyota Warranty. His mileage
  19
        at the time of this service appointment was 2,258 miles.
  20
              127.    Later that day, Plaintiff received a call from the dealer confirming that
  21
        the service station had discovered rodent damage to the engine wiring in Plaintiff’s
  22
        Class Vehicle. Specifically, service technicians at the dealership found that rodents
  23
        had chewed through wires leading to the injector. The technician reiterated that this
  24
        damage would not be covered by the Warranty.
  25
              128.    The cost to repair Plaintiff’s Class Vehicle was $860.26, all of which
  26
        Plaintiff paid out of pocket. The damage to Plaintiff Siffermann’s Class Vehicle left
  27
        the vehicle partially or completely inoperable.
  28

                                                               PLAINTIFFS’ THIRD AMENDED
                                                18
                                                                 CLASS ACTION COMPLAINT
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   1
              129.      As a result of the damage to Plaintiff’s Class Vehicle, he was forced
   2
        to incur out-of-pocket expenses and lost functionality of his Class Vehicle.
   3
              130.      Despite Plaintiff’s request, Toyota refused to provide Warranty
   4
        coverage for the rodent damage to his Class Vehicle, which Toyota contends was
   5
        not covered under the Warranty.
   6
              131.      To date, Toyota has failed to remedy the Defect in Plaintiff
   7
        Siffermann’s Class Vehicle or reimburse him for the amount he paid to repair his
   8
        Class Vehicle.
   9
              132.      Neither Toyota nor any of its agents, dealers, or other representatives
  10
        informed Plaintiff Siffermann of the existence and prevalence of the Defect prior to
  11
        his purchase.
  12
              133.      Plaintiff Siffermann has suffered an ascertainable loss as a result of
  13
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  14
        but not limited to, out-of-pocket losses, future repairs, and diminished value of his
  15
        Class Vehicle.
  16
              134.      Had Plaintiff Siffermann known of the Defect, he would not have paid
  17
        for his Class Vehicle, or would have paid significantly less than he did.
  18
        G.    Indiana Plaintiffs
  19
              Plaintiff Albert Heber
  20
              135. Plaintiff Albert Heber (“Plaintiff Heber”) is a resident of Indiana, and
  21
        the original owner of a 2012 Toyota Tundra, which he purchased on December 29,
  22
        2012 at Bob Rohrman Toyota, a Toyota-factory authorized dealership in Lafayette,
  23
        Indiana.
  24
              136.      Plaintiff Heber uses his Class Vehicle for personal, family, and/or
  25
        household       uses.   His    Class    Vehicle     bears    the    following    VIN:
  26
        5TFUM5F18CX034752.
  27
  28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                19
                                                                CLASS ACTION COMPLAINT
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   1
              137.    In May 2013, Plaintiff Heber took his vehicle to the dealership when
   2
        his check engine light turned on; the issue was deemed to be a loose plug and the
   3
        dealership corrected the issue without cost to Plaintiff Heber. Approximately two
   4
        weeks later, Plaintiff Heber was back at the dealership as the check engine light had
   5
        again illuminated. At this time, it was determined that his Class Vehicle, which had
   6
        less than 2,000 miles on it, had a leak in the emissions system, which again the
   7
        dealership completed repairs without hesitation or cost to Plaintiff Heber.
   8
              138.    In less than four months, in October 2013, when Plaintiff Heber’s
   9
        Tundra had approximately 3,441 miles, he discovered that his Class Vehicle’s check
  10
        engine light was once again illuminated.       This warranted another trip to the
  11
        dealership, wherein this time he was advised that rodents damaged the vapor fuel
  12
        hose, which is part of the emissions system. This time, however, Plaintiff Heber
  13
        was advised by the Toyota Service Advisor that this repair would not be covered
  14
        under warranty and that he would have to pay $1,183.82 out of pocket. Plaintiff
  15
        Heber chose not to repair the wiring at that time due to the cost he would incur.
  16
              139.    A short eight months later, in June 2014, Plaintiff Heber’s Class
  17
        Vehicle had approximately 5,714 miles on it; again numerous lights in the
  18
        dashboard, including the check engine light illuminated, which warranted another
  19
        trip to the dealership. On this trip, the service technician found a chewed through
  20
        wiring harness and ground straps. Toyota refused to cover the damages under the
  21
        Warranty and Plaintiff Heber was forced to pay for the damages out of his own
  22
        pocket. He paid a total of $381.96 on two trips to the Bob Rohrman Toyota Service
  23
        Lane to fix his Class Vehicle wiring, but the vapor fuel hose damage diagnosed in
  24
        October 2013 was left unrepaired due to the high cost.
  25
              140.    In or around June 2015, Plaintiff Heber returned to the Toyota
  26
        dealership again complaining about rodents chewing through the wiring in his
  27
        vehicle. On this last instance, Plaintiff Heber chose not to complete the repairs at
  28

                                                            PLAINTIFFS’ THIRD AMENDED
                                               20
                                                              CLASS ACTION COMPLAINT
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   1
        the dealership after being told again that it would be an out-of-pocket expense.
   2
        Instead, he took his vehicle to a third-party repair shop that a Toyota Service Advisor
   3
        recommended; they repaired the wiring, but did not repair the vapor fuel tank hose
   4
        per Plaintiff Heber’s request. This time, Plaintiff Heber was charged $356.59 by
   5
        the third-party service shop.
   6
              141.    More wiring damage from rodents occurred until multiple problems
   7
        forced Plaintiff Heber to obtain repairs. The rodent damage causing the fuel gauge
   8
        and the 4WD light to fail were repaired by the third-party repair shop on November
   9
        4, 2016 along with the vapor fuel tank hose. The total repair bill was $1,738.76.
  10
        Plaintiff Heber’s auto insurance policy provided a reimbursement of $1,488.76, but
  11
        Plaintiff Heber had to pay the $250 deductible. Because of the damage and repairs,
  12
        Plaintiff Heber lost use of his Class Vehicle for a number of days. The damage to
  13
        the Plaintiff Heber’s Class Vehicle left the vehicle partially or completely
  14
        inoperable.
  15
              142.    As a result of the damage to Plaintiff Heber’s Class Vehicle, he was
  16
        forced to incur out-of-pocket expenses, lost functionality of his Class Vehicle, and
  17
        was unable to use his Class Vehicle for a number of days.
  18
              143.    To date, Toyota has failed to remedy the Defect in Plaintiff Heber’s
  19
        Class Vehicle and has not reimbursed his out-of-pocket expenses.
  20
              144.    Plaintiff Heber has suffered an ascertainable loss as a result of
  21
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  22
        but not limited to, out-of-pocket losses, future repairs, and diminished value of his
  23
        Class Vehicle.
  24
              145.    Neither Toyota nor any of its agents, dealers, or other representatives
  25
        informed Plaintiff Heber of the existence and prevalence of the Defect prior to
  26
        purchase.
  27
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               21
                                                               CLASS ACTION COMPLAINT
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   1
              146.    Had Plaintiff Heber known of the Defect, he would not have paid for
   2
        his Class Vehicle, or would have paid significantly less than he did.
   3
              Plaintiffs Joseph and Kim Lesko
   4
              147.    Plaintiffs Joseph and Kim Lesko (the “Lesko Plaintiffs”) are citizens
   5
        of the state of Indiana and currently reside in Trafalgar, Indiana.
   6
              148.    On or about June 8, 2016, the Lesko Plaintiffs purchased a new 2016
   7
        Toyota Tundra from O’Brien Toyota, an authorized Toyota dealer in Indianapolis,
   8
        Indiana. Plaintiffs’ Class Vehicle bears the following VIN: 1B7HF13Y4XJ597148.
   9
              149.    The Lesko Plaintiffs use their Class Vehicle for personal, family,
  10
        and/or household uses.
  11
              150.    On or about December 30, 2016, Plaintiff Joe Lesko started his Class
  12
        Vehicle and noticed that his engine light had illuminated on the dashboard and the
  13
        display panel said that traction control was not operating.
  14
              151.    Plaintiff referred to his Class Vehicle manual to determine what the
  15
        issue is and, in accordance with the manual’s instructions, he contacted his
  16
        dealership. Plaintiffs contacted Carver Toyota in Columbus, Indiana immediately.
  17
        They scheduled a morning appointment for January 2, 2017.
  18
              152.    Plaintiffs dropped off their Class Vehicle at Carver Toyota. During
  19
        the appointment, Plaintiffs were called and informed that rodents had eaten the
  20
        materials that coat the electrical wiring in his Class Vehicle. Plaintiffs were also
  21
        informed that Toyota would not cover this under the Warranty and that the loaner
  22
        that he was provided would be treated as a rental car for which Plaintiffs might have
  23
        to pay to use. At the time of this service appointment, the mileage on Plaintiffs’
  24
        Class Vehicle was 3,426 miles.
  25
              153.    When Plaintiffs received the diagnosis, Plaintiff Kim Lesko called
  26
        Carver Toyota and had a conversation with a service employee during which the
  27
        employee stated that Toyota is having trouble with soy-based materials and in the
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               22
                                                               CLASS ACTION COMPLAINT
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   1
        wiring and rodent damage. The service employee told Plaintiff that he had seen this
   2
        issue before at another dealership, and that he knew the reason Toyota was making
   3
        its wiring harnesses in smaller segments was to accommodate the ongoing rodent
   4
        problem so that damage to one location on the wiring harness does not destroy the
   5
        entire wiring harness. The Toyota service worker informed Plaintiff Kim Lesko that
   6
        this was done to “save money” for consumers.
   7
              154.    The total repair cost for Plaintiffs’ Class Vehicle was $599.67, which
   8
        was covered by insurance, net of a $250 deductible paid by Plaintiffs. Insurance
   9
        ultimately decided to pay for the Toyota rental car. However, because of the damage
  10
        and repairs, Plaintiffs lost use of their Class Vehicle for a number of days. The
  11
        damage to Plaintiffs’ Class Vehicle left the vehicle partially or completely
  12
        inoperable.
  13
              155.    As a result of the damage to Plaintiffs’ Class Vehicle, they were
  14
        forced to incur out-of-pocket expenses, lost functionality of their Class Vehicle, and
  15
        were unable to use their Class Vehicle for a number of days.
  16
              156.    Despite Plaintiffs’ request, Toyota refused to provide Warranty
  17
        coverage for the rodent damage to the Class Vehicle, which Toyota contends was
  18
        not covered under the Warranty.
  19
              157.    To date, Toyota has failed to remedy the Defect in Plaintiffs’ Class
  20
        Vehicle or reimburse them for the amount they paid to repair their Class Vehicle.
  21
              158.    Neither Toyota nor any of its agents, dealers, or other representatives
  22
        informed the Lesko Plaintiffs of the existence and prevalence of the Defect prior to
  23
        their purchase.
  24
              159.    The Lesko Plaintiffs have suffered an ascertainable loss as a result of
  25
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  26
        but not limited to, out-of-pocket losses, future repairs, and diminished value of their
  27
        Class Vehicle.
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               23
                                                               CLASS ACTION COMPLAINT
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   1
              160.    Had the Lesko Plaintiffs known of the Defect, they would not have
   2
        paid for their Class Vehicle, or would have paid significantly less.
   3
        H.    Maryland Plaintiffs
   4
              161.    Plaintiffs Raymond Bennett and Sheila Faulkner are a married couple
   5
        and citizens of the state of Maryland, and currently reside in Galena, Maryland.
   6
              162.    On or about December 18, 2013, Plaintiffs Bennett and Faulkner
   7
        purchased a brand new 2013 Toyota Camry XLE Hybrid vehicle from Fitzgerald
   8
        Lakeforest Toyota, an authorized Toyota dealer in Gaithersburg, Maryland. Their
   9
        Class Vehicle bears the following VIN: 4T1BD1FK4DU075578.
  10
              163.    Plaintiffs use their Class Vehicle for personal, family, and/or
  11
        household uses.
  12
              164.    Plaintiffs have had three (3) episodes of rodent damage in their Class
  13
        Vehicle.
  14
              165.    On August 1, 2014, Plaintiffs’ Class Vehicle would not start. The
  15
        vehicle had to be towed by a flatbed to Koons Toyota Service Department in
  16
        Annapolis, Maryland. At Koons, a Toyota service representative concluded that the
  17
        cause of the vehicle failure was rodent damage to the wiring connector at the
  18
        vehicle’s transmission shift position sensor. Toyota did not provide warranty
  19
        coverage for this damage. The connectors were replaced and wiring was repaired
  20
        out of pocket by Plaintiffs for $770.66. The mileage on Plaintiffs’ Class Vehicle at
  21
        the time of this damage was 15,470 miles.
  22
              166.    On February 23, 2016, Plaintiffs drove their Class Vehicle to the
  23
        Koons service department once more after experiencing additional issues. There,
  24
        Toyota’s diagnosis was once again rodent damage. Specifically, rodents had
  25
        damaged engine wire harness #4 between the inverter and the AC compressor. The
  26
        wiring insulation had rodent bite marks, which caused voltage leaking in the high
  27
        voltage AC circuit. The wiring harness was removed and replaced. Toyota did not
  28

                                                            PLAINTIFFS’ THIRD AMENDED
                                               24
                                                              CLASS ACTION COMPLAINT
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   1
        cover this damage under warranty. Plaintiffs paid $862.74 for the repairs out of
   2
        pocket. The mileage on Plaintiffs’ Class Vehicle at the time of this damage was
   3
        44,779 miles.
   4
              167.      Most recently, on April 1, 2016, the warning indicator “Check Hybrid
   5
        System” came on in Plaintiffs’ Class Vehicle. The car was again driven to Koons of
   6
        Annapolis, where rodent damage was again diagnosed. This time the wiring harness
   7
        to the hybrid transaxle was shorted and required replacement. Plaintiffs’ Class
   8
        Vehicle suffered damage to the wiring between the hybrid battery and the vehicle’s
   9
        drive train. Having been denied warranty coverage once again, Plaintiffs were
  10
        forced to pay out of pocket for the repairs, with a total cost (inclusive of labor) of
  11
        $5,859.42. The mileage on Plaintiffs’ Class Vehicle at the time of this damage was
  12
        46,589 miles. The technician working on the car took the following photograph of
  13
        the vehicle damage prior to starting repairs:
  14
  15
  16
  17
  18
  19
  20
  21
  22
              168.      Toyota has been unwilling to cover any of the damage to Plaintiff
  23
        Bennett’s and Faulkner’s Class Vehicle. Plaintiffs’ insurance company provided
  24
        insurance coverage for the first of the three episodes of rodent damage less a
  25
        deductible of $500. Their insurer also provided coverage for the second and third
  26
        episodes as one claim, less another deductible of $500 paid by Plaintiffs.
  27
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               25
                                                               CLASS ACTION COMPLAINT
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   1
              169.    The damage to Plaintiff Bennett’s and Faulkner’s Class Vehicle left
   2
        the vehicle partially or completely inoperable.
   3
              170.    Neither Toyota nor any of its agents, dealers, or other representatives
   4
        informed Plaintiffs Faulkner and Bennett of the existence and prevalence of the
   5
        Defect prior to purchase.
   6
              171.    Despite Plaintiffs’ requests, Toyota denied their warranty claims for
   7
        rodent damage or refused to provide coverage for the damage, which Toyota
   8
        contends was not covered under the Warranty.
   9
              172.    As a result of the damage to Plaintiffs’ Class Vehicle, they were
  10
        forced to incur out-of-pocket expenses, their Class Vehicle sustained loss of certain
  11
        functionality, and were unable to use their Class Vehicle for a number of days.
  12
              173.    Had Plaintiffs known of the Defect, they would not have paid for their
  13
        Class Vehicle.
  14
        I.    Nebraska Plaintiffs
  15
              174.    Plaintiff Penny Porter (“Plaintiff Porter”) is a citizen of the state of
  16
        Nebraska and currently resides in Ralston, Nebraska.
  17
              175.    On October 1, 2013, Plaintiff Porter purchased a new 2014 Toyota
  18
        Rav4 from Village Point Toyota, formerly called Old Mill Toyota, which is an
  19
        authorized Toyota dealer in Omaha Nebraska.
  20
              176.    Plaintiff Porter uses her Class Vehicle for personal, family, and/or
  21
        household    uses.       Her    Class    Vehicle    bears   the    following    VIN:
  22
        2T3ZFREV7DW052712.
  23
              177.    On April 11, 2014, Plaintiff Porter was driving on the interstate when
  24
        all lights on dashboard came on. Front head lights went out, except for one high
  25
        beam. And at one point the brakes locked up.
  26
  27          178.    Plaintiff Porter had her Class Vehicle towed to Omaha where the

  28    dealership discovered that rodents ate through the all electrical wiring in her Class

                                                            PLAINTIFFS’ THIRD AMENDED
                                                26
                                                              CLASS ACTION COMPLAINT
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   1
        Vehicle. The mileage on his Class Vehicle at the time of service was 8,4658 miles.
   2
        As a result of this incident, Plaintiff Porter had to pay $1,680.00 in repairs.
   3
              179.    Toyota informed Plaintiff that the damage would not be covered under
   4
        the Warranty because the damage was caused by “rodent damage”
   5
              180.    Plaintiff Porter had to use her automobile insurance to have the
   6
        damage repaired and paid a $500.00 deductible.
   7
              181.    Plaintiff Porter has suffered an ascertainable loss as a result of
   8
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
   9
        but not limited to, out-of-pocket losses, future repairs, and diminished value of his
  10
        Class Vehicle.
  11
  12          182.    Neither Toyota nor any of its agents, dealers, or other representatives

  13    informed Plaintiff Porter of the existence and prevalence of the Defect prior to

  14    purchase.

  15          183.    Had Plaintiff Porter known of the Defect, she would not have paid for

  16    her Class Vehicle, or would have paid significantly less.

  17    J.    New Jersey Plaintiff

  18          184.    Plaintiff James Donoghue (“Plaintiff Donoghue”) is a citizen of the

  19    state of New Jersey and currently resides in Mt. Laurel, New Jersey.

  20          185.    Plaintiff Donoghue purchased a 2013 Toyota Tacoma from an

  21    authorized Toyota dealer in New Jersey.

  22          186.    Plaintiff Donoghue uses his Class Vehicle for personal, family, and/or

  23    household uses.

  24          187.    In or about January 2017, Plaintiff experienced electrical wiring

  25    damage to his Class Vehicle as a result of rodents chewing or eating through the

  26    electrical wiring in his Class Vehicle. Plaintiff Donoghue took his Class Vehicle to

  27    Holman Toyota for repair. The repair would have cost $3,900, but Toyota refused

  28    to cover the repair under the Warranty.

                                                              PLAINTIFFS’ THIRD AMENDED
                                                27
                                                                CLASS ACTION COMPLAINT
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   1
              188.      Plaintiff Donoghue made a claim under his automobile insurance
   2
        policy and had to pay $750 insurance deductible, and had to rent a vehicle while his
   3
        Class Vehicle was being repaired.
   4
              189.      Despite Plaintiff Donoghue’s request, Toyota refused to provide
   5
        Warranty coverage for the rodent damage to the Class Vehicle, which Toyota
   6
        contends was not covered under the Warranty.
   7
              190.      To date, Toyota has failed to remedy the Defect in Plaintiff
   8
        Donoghue’s Class Vehicle or reimburse him for the amount he paid to repair his
   9
        Class Vehicle, or the out-of-pocket expenses he incurred as a result of the Defect.
  10
              191.      Neither Toyota nor any of its agents, dealers, or other representatives
  11
        informed Plaintiff Donoghue of the existence and prevalence of the Defect prior to
  12
        his purchase.
  13
              192.      Plaintiff Donoghue has suffered an ascertainable loss as a result of
  14
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  15
        but not limited to, out-of-pocket losses, future repairs, and diminished value of his
  16
        Class Vehicle.
  17
              193.      Had Plaintiff Donoghue known of the Defect, he would not have paid
  18
        for his Class Vehicle, or would have paid significantly less.
  19
        K.    Oklahoma Plaintiff
  20
              194.      Plaintiff Leslie Cochrane (“Plaintiff Cochrane”) is a citizen of the
  21
        state of Oklahoma and currently resides in Lexington, Oklahoma.
  22
              195.      On July 23, 2016, Plaintiff Cochrane leased a new 2016 Toyota
  23
        Corolla from Fowler Toyota, which is an authorized Toyota dealer in Norman,
  24
        Oklahoma.
  25
              196.      Plaintiff Cochrane uses his Class Vehicle for personal, family, and/or
  26
        household       uses.   His    Class    Vehicle     bears    the    following    VIN:
  27
        5YFBURHE5GP546634.
  28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                28
                                                                CLASS ACTION COMPLAINT
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   1
              197.      On August 8, 2016, Plaintiff Cochrane had to take a business trip and
   2
        left his Class Vehicle parked in a carport at his home. A few days later, after
   3
        returning from his business trip, Plaintiff Cochrane was driving his Class Vehicle
   4
        when suddenly the check engine light illuminated. When this occurred, he could not
   5
        make the car accelerate, and the car horn would not function.
   6
              198.      Plaintiff Cochrane had his Class Vehicle towed to Fowler Toyota
   7
        where the dealership discovered that rodents ate through the electrical wiring in his
   8
        Class Vehicle. The mileage on his Class Vehicle at the time of service was 273
   9
        miles. As a result of this incident, Plaintiff Cochrane had to pay $623.97 in repairs.
  10
              199.      Toyota informed Plaintiff that the damage would not be covered under
  11
        the Warranty because the damage was caused by “outside influences.”
  12
              200.      When Plaintiff Cochrane attempted to inquire with the Toyota
  13
        dealership about solutions for preventing rodent damage, the service manager never
  14
        returned his calls.
  15
              201.      Plaintiff Cochrane was told by a Toyota service representative that
  16
        Plaintiff should (at his own cost) use mouse traps in his Class Vehicle.
  17
              202.      To date, Toyota has failed to remedy the Defect in Plaintiff
  18
        Cochrane’s Class Vehicle.
  19
              203.      Plaintiff Cochrane has suffered an ascertainable loss as a result of
  20
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  21
        but not limited to, out-of-pocket losses, future repairs, and diminished value of his
  22
        Class Vehicle.
  23
              204.      Neither Toyota nor any of its agents, dealers, or other representatives
  24
        informed Plaintiff Cochrane of the existence and prevalence of the Defect prior to
  25
        his purchase.
  26
              205.      Had Plaintiff known of the Defect, he would not have paid for his
  27
        Class Vehicle, or would have paid significantly less.
  28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                29
                                                                CLASS ACTION COMPLAINT
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   1
        L.    Oregon Plaintiffs
   2
              206. Plaintiffs Cole and Shannon Michaelis (“Plaintiffs Michaelis”) are
   3
        citizens of the state of Oregon and currently reside in Tillamook, Oregon.
   4
              207.    On or about January 8, 2016, Plaintiffs purchased a new 2016 Toyota
   5
        Tacoma from Beaverton Toyota, an authorized Toyota dealer in Beaverton, Oregon.
   6
        At the time of their purchase, Plaintiffs also purchased a Toyota Extra Care Platinum
   7
        Package and Tire and Rim Damage Policy. Plaintiffs’ Class Vehicle bears the
   8
        following VIN: 3TMCZ5AN0GM011727.
   9
              208.    Plaintiffs Michaelis use their Class Vehicle for personal, family,
  10
        and/or household uses.
  11
              209.    At the time of their purchase, Plaintiffs were told by a Toyota sales
  12
        representative that their warranty coverages would cover any other unforeseen
  13
        damages that the Class Vehicle might encounter, including but not limited to rodent
  14
        damage.
  15
              210.    In or about November 2016, the check engine light and other lights
  16
        illuminated on Plaintiffs’ Class Vehicle dashboard. Plaintiffs were driving on the
  17
        highway at the time this occurred. They stopped at the nearest dealer, Toyota of
  18
        Newport in Newport, Oregon. There, the dealer ran a diagnosis test and determined
  19
        that there was a rodent nest under the vehicle intake manifold and that a mouse had
  20
        chewed through the wiring harness. The mileage on Plaintiffs’ Class Vehicle at the
  21
        time of this service was 24,230 miles. Plaintiffs were charged $47.25 for this
  22
        assessment, and the dealer said Plaintiffs should take the Class Vehicle back to
  23
        Beaverton Toyota, where they bought the vehicle.
  24
              211.    Beaverton Toyota refused to make the repairs under the Toyota
  25
        Warranty, indicating that the damage was not covered. Plaintiffs submitted a claim
  26
        to insurance and their Class Vehicle was repaired by Beaverton. The mileage on
  27
  28

                                                            PLAINTIFFS’ THIRD AMENDED
                                              30
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   1
        Plaintiffs’ Class Vehicle at the time of this service was 24,399 miles. Plaintiffs had
   2
        to pay a $500 deductible for the claim.
   3
              212.    Shortly after getting their repaired Class Vehicle back from the dealer,
   4
        Plaintiffs took a trip to Portland, Oregon. While driving, the accelerator in their
   5
        Class Vehicle became stuck to the ground and the “brakes depressed” and “gas
   6
        depressed” lights illuminated simultaneously on Plaintiffs’ dashboard. The brake
   7
        pedal would not operate and Plaintiffs’ Class Vehicle began sliding off of the road.
   8
        Fortunately, Plaintiffs were uninjured and their Class Vehicle suffered no damage.
   9
              213.    Plaintiffs called Beaverton Toyota again to have the vehicle inspected.
  10
        Once again, rodent damage had caused the problems in Plaintiffs’ Class Vehicle,
  11
        necessitating a replacement of the wiring harness. After much back and forth with
  12
        the general manager, Toyota once again declined to cover the damage under
  13
        Toyota’s warranty. Plaintiffs again had to pay another $500 deductible in
  14
        conjunction with obtaining repairs through their insurance.
  15
              214.    A service employee at Beaverton Toyota named Andrew Blaine
  16
        indicated that Plaintiffs’ Class Vehicle was not the first they had seen with rodent
  17
        damage; that they were seeing it become more of a common issue; and that on some
  18
        days they had been having 10-15 episodes of rodent wiring damage a day.
  19
              215.    One service person indicated that the reason rodents are eating the
  20
        wiring is because Toyota dips the wiring in some eco-friendly material and wraps
  21
        their electrical wiring in a soy-based plastic that rodents and other pests like to eat.
  22
              216.    Plaintiffs had to pay two $500 deductibles (total of $1,000) for the two
  23
        claims they submitted to insurance relating to rodent damage in their Class Vehicle.
  24
        Because of the damage and repairs, Plaintiffs also lost use of their Class Vehicle for
  25
        a number of days. Luckily, Plaintiffs avoided serious injury in an accident that was
  26
        undoubtedly related to electrical failure resulting from rodent damage in their Class
  27
        Vehicle.
  28

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   1
              217.    Toyota service representatives recommended that Plaintiffs, at their
   2
        own cost, use mouse traps to ward off attacks.
   3
              218.    The damage to Plaintiffs’ Class Vehicle left the vehicle partially or
   4
        completely inoperable.
   5
              219.    As a result of the damage to Plaintiffs’ Class Vehicle, they were
   6
        forced to incur out-of-pocket expenses, lost functionality of their Class Vehicle, and
   7
        were unable to use their Class Vehicle for a number of days.
   8
              220.    Despite Plaintiffs’ request, Toyota refused to provide Warranty
   9
        coverage for the rodent damage to Plaintiffs’ Class Vehicle, which Toyota contends
  10
        was not covered under the Warranty.
  11
              221.    To date, Toyota has failed to remedy the Defect in Plaintiffs’ Class
  12
        Vehicle or reimburse them for the amount they paid to repair his Class Vehicle.
  13
              222.    Neither Toyota nor any of its agents, dealers, or other representatives
  14
        informed Plaintiffs Michaelis of the existence and prevalence of the Defect prior to
  15
        their purchase.
  16
              223.    Plaintiffs Michaelis have suffered an ascertainable loss as a result of
  17
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
  18
        but not limited to, out-of-pocket losses, future repairs, and diminished value of their
  19
        Class Vehicle.
  20
              224.    Had Plaintiffs Michaelis known of the Defect, they would not have
  21
        paid for their Class Vehicle, or would have paid significantly less.
  22
        M.    Texas Plaintiffs
  23
              Plaintiff Stephen Bowling
  24
              225.    Plaintiff Stephen Bowling (“Plaintiff Bowling”) is a citizen of the
  25
        state of Texas and currently resides in Wimberley, Texas.
  26
              226.    On or about November 23, 2016, Plaintiff Bowling purchased a new
  27
        2017 Toyota Tundra 4WD from San Marcos Toyota, an authorized Toyota dealer in
  28

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                                               32
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   1
        San Marcos, Texas. Plaintiff’s Class Vehicle bears the following VIN:
   2
        5TFAW5F1XHX594504.
   3
              227.    Plaintiff Bowling uses his Class Vehicle for personal, family, and/or
   4
        household uses.
   5
              228.    Plaintiffs Class Vehicle experienced the Defect in or around
   6
        December 2016. When Plaintiff took his Class Vehicle to San Marcos Toyota,
   7
        Plaintiff spoke with Pat Fryer, an assistant service manager. Fryer informed Plaintiff
   8
        that Toyota coats its wiring with materials that attract mice and that Toyota knows
   9
        about the issue.
  10
              229. At the dealership, Fryer told Plaintiff that Toyota coats the wiring with
  11
        materials that are attractive to rodents or animals and that these pests are attracted
  12
        to these materials in the wiring and wiring harnesses. Plaintiff asked Fyer if Toyota
  13
        knows about the issue, and Fryer stated that Toyota is aware and that the problem is
  14
        essentially swept under the rug, stating “we don’t really talk about [the issue] that
  15
        much.”
  16
              230.    The damage to Plaintiff’s Class Vehicle left the vehicle partially or
  17
        completely inoperable.
  18
              231.    Plaintiff had to pay out of pocket in connection with repairing his
  19
        Class Vehicle. Specifically, he paid for an insurance deductible and the cost of a
  20
        rental car. Plaintiff paid a $500 insurance deductible and approximately $200 for
  21
        the rental car. Because of the damage and repairs, Plaintiff also lost use of his Class
  22
        Vehicle.
  23
              232.    Despite Plaintiff’s request, Toyota refused to provide Warranty
  24
        coverage for the rodent damage to the Class Vehicle, which Toyota contends was
  25
        not covered under the Warranty.
  26
              233.    To date, Toyota has failed to remedy the Defect in Plaintiff’s Class
  27
        Vehicle or reimburse him for the amount he paid to repair his Class Vehicle.
  28

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                                               33
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   1
                234.    Neither Toyota nor any of its agents, dealers, or other representatives
   2
        informed Plaintiff Bowling of the existence and prevalence of the Defect prior to
   3
        his purchase.
   4
                235.    Plaintiff Bowling has suffered an ascertainable loss as a result of
   5
        Toyota’s omissions and/or misrepresentations associated with the Defect, including,
   6
        but not limited to, out-of-pocket losses, future repairs, and diminished value of his
   7
        Class Vehicle.
   8
                236.    Had Plaintiff Bowling known of the Defect, he would not have paid
   9
        for his Class Vehicle, or would have paid significantly less.
  10
                Plaintiff Heidi Browder
  11
                237.    Plaintiff Heidi Browder (“Plaintiff Browder”) is a citizen of the state
  12
        of Texas and currently resides in Burleson, Texas.
  13
                238.    In or about November 2015, Plaintiff Browder purchased a 2015
  14
        Toyota Avalon Hybrid from Family Toyota, an authorized Toyota dealer in
  15
        Burleson,      Texas.    Her    Class    Vehicle    bears    the    following    VIN:
  16
        4T1BD1EB6FU045549.
  17
                239.    Plaintiff uses her Class Vehicle for personal, family, and/or household
  18
        uses.
  19
                240.    On or about November 21, 2016, Plaintiff tried to start her Class
  20
        Vehicle – which was parked in her garage, where she regularly parks her Class
  21
        Vehicle – multiple times but the engine would not turn over and her Class Vehicle
  22
        made no noise or sounds. After Plaintiff and her husband were unable to start the
  23
        car, Plaintiff Browder’s husband lifted the hood of the car and observed a rodent
  24
        scurry across the top of the engine. They observed damage to the wires under the
  25
        hood and took the following photograph:
  26
  27
  28

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  18
  19          241.    Plaintiff’s husband contacted Family Toyota and they instructed him

  20    to contact a roadside assistance company, which Plaintiff did. The roadside

  21    assistance company came to Plaintiff’s home and towed her Class Vehicle to Family

  22    Toyota. The mileage on Plaintiff’s Class Vehicle at the time of this service

  23    appointment was 26,209 miles.

  24          242.    A couple of hours later, a Family Toyota service technician named

  25    Greg called Plaintiff to report that there was rodent damage to her Class Vehicle.

  26    Greg instructed Plaintiff to contact her insurance company to see if they would cover

  27    the rodent damage. Greg indicated that the damage would cost between $5,600 and

  28    $6,000 to repair.

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   1
              243.    Plaintiff contacted her insurance carrier to make a claim, and her Class
   2
        Vehicle was repaired under insurance; however Plaintiff was required to pay a $500
   3
        deductible.
   4
              244.    Plaintiff Browder later spoke to a service representative of Family
   5
        Toyota named Richard. Plaintiff asked Richard if the rodent damage was covered
   6
        under Toyota’s Warranty and he simply said it was not covered because “any outside
   7
        source of damage to the car” is not covered.
   8
              245.    Richard at Family Toyota also stated that rodent damage is “not
   9
        uncommon” and that it “happens a lot” with Toyota vehicles. Family Toyota
  10
        informed Plaintiff that she should purchase, at her own cost, a spray to deter rodent
  11
        attacks.
  12
              246.    The damage caused to Plaintiff’s Class Vehicles left her vehicle
  13
        partially or completely inoperable.
  14
              247.    As a result of the damage to Plaintiff’s wiring in her Class Vehicle,
  15
        she was required to incur out-of-pocket expenses and lost use of her vehicle for a
  16
        number of days.
  17
              248.    Prior to Plaintiff purchasing her Class Vehicle, neither Toyota nor any
  18
        of its agents, dealers, or other representatives informed Plaintiff about how the soy-
  19
        or bio-based insulated wiring encourages rodents, such as rats, squirrels, and other
  20
        pests to chew the wiring.
  21
              249.    Despite Plaintiff’s request, Toyota refused to provide Warranty
  22
        coverage for the rodent damage to her Class Vehicle, which Toyota contends was
  23
        not covered under the Warranty.
  24
              250.    To date, Toyota has failed to remedy the Defect in Plaintiff’s Class
  25
        Vehicle.
  26
              251.    Had Plaintiff known of the Defect, she would not have paid for her
  27
        Class Vehicle, or would have paid significantly less.
  28

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                                               36
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   1
        N.    Washington Plaintiffs
   2
              252.    Plaintiffs David and Heather Johns are a married couple and citizens
   3
        of the state of Washington, and currently reside in Poulsbo, Washington.
   4
              253.    On or about February 21, 2016, Plaintiffs purchased a Toyota certified
   5
        pre-owned 2014 Toyota 4Runner 4WD V6 Limited from Michael Toyota, an
   6
        authorized Toyota dealer in Bellevue, Washington. Their Class Vehicle bears the
   7
        following VIN: JTEBU5JR2E5153444.
   8
              254.    Plaintiffs use their Class Vehicle for personal, family, and/or
   9
        household uses.
  10
              255. Plaintiffs’ Class Vehicle was accompanied by a Toyota Certified Used
  11
        Vehicle Warranty. Toyota’s Certified Used Vehicle Warranty “is an extension of
  12
        the vehicle’s original factor warranty” for 12 months or 12,000 miles.
  13
              256.    On or about October 9, 2016, Plaintiffs’ Class Vehicle began vibrating
  14
        aggressively when Plaintiffs attempted to start the vehicle. The check engine light
  15
        had also illuminated on the Class Vehicle dashboard. Pursuant to the instructions in
  16
        the Warranty manual, Plaintiffs contacted their Toyota dealership, and Toyota
  17
        instructed Plaintiffs to have their Class Vehicle towed to the service station.
  18
              257.    Plaintiffs took their Class Vehicle to Heartland Toyota in Bremerton,
  19
        Washington, where a service worker named Caesar informed that the damage was
  20
        rodent-related and thus not covered under the Warranty. Specifically, Toyota found
  21
        multiple wires that were damaged and chewed by rodents or other animals on both
  22
        sides of the Class Vehicle’s engine. Plaintiffs were forced to pay $750.03 out-of-
  23
        pocket for repairs.
  24
              258.    On November 17, 2016, Plaintiffs attempted to start their Class
  25
        Vehicle again and experienced the same vibrations. Toyota again instructed
  26
        Plaintiffs to have their Class Vehicle towed to Heartland Toyota for inspection and
  27
        service. There, Toyota determined that there was rodent damage and once again
  28

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   1
        declined to fix the damage under the Warranty. A manager offered Plaintiffs a 10%
   2
        discount on the repairs. During this service visit, Toyota also offered to buy back
   3
        the Class Vehicle for less than what Plaintiffs owed on the vehicle, so Plaintiffs
   4
        declined this offer. Plaintiffs were forced to pay $358.71 out-of-pocket for these
   5
        repairs. The odometer reading at the time of this service was 24,964 miles.
   6
              259.    At the time Plaintiffs’ Class Vehicle suffered wiring damage, the
   7
        Class Vehicle was still within the Warranty.
   8
              260.    When Plaintiffs requested Warranty coverage, they were told that
   9
        Toyota’s Warranty does not cover rodent damage.
  10
              261.    Notably, when Plaintiffs returned to Heartland Toyota on December
  11
        13, 2016 to obtain copies of their repair documents, Toyota’s employee named
  12
        Caesar stated “since the last snow we have been flooded with customers that have
  13
        had rodent damage to wiring.” Caesar stated that this was a very common issue and
  14
        that Toyota “would have been better off wrapping the wiring in carne asada.” Caesar
  15
        also stated that when Toyota started “using soy based wiring about 5 or 6 years ago,”
  16
        he and Toyota never expected that they would see so many separate instances of
  17
       damage. Notably, while Plaintiffs were at the service station, a woman behind them
  18
       in line for service was getting her fuel line and brake lines replaced because of rodent
  19
       damage.
  20
              262.    The Toyota service station informed Plaintiffs that the service station
  21
       has seen a large number of instances of rodent damage to Toyota automobile wiring.
  22
       The tow truck company that towed Plaintiffs’ Class Vehicle to Heartland Toyota
  23
       even identified that Plaintiffs’ Class Vehicle was the third Toyota they brought to
  24
       the Toyota service station that week for the same problem.
  25
              263.    Plaintiffs have had to purchase and install a high-frequency noise-
  26
        emitting device under the hood of their Class Vehicle in order to ward off further
  27
        attacks.
  28

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   1
              264.    The damage to Plaintiffs’ Class Vehicle left their vehicle partially or
   2
        completely inoperable.
   3
              265.    As a result of the damage to the wiring in Plaintiffs’ Class Vehicle,
   4
        Plaintiffs were forced to incur out-of-pocket expenses and lost functionality of their
   5
        Class Vehicle.
   6
              266.    Neither Toyota nor any of its agents, dealers, or other representatives
   7
        informed Plaintiffs prior to purchasing their Class Vehicle that the soy- or bio-based
   8
        insulated wiring encourages rodents, such as rats, squirrels, and other animals or
   9
        pests to chew the wiring.
  10
              267.    Despite Plaintiffs’ request, Toyota refused to provide warranty
  11
        coverage for the rodent damage to their Class Vehicle, which Toyota contends was
  12
        not covered under its Warranties. Toyota knew or should have known of the
  13
        aforesaid Defect at the time of sale, and it continues to have knowledge of the Defect
  14
        and its breaches of its express Warranty. Yet, Toyota has intentionally failed to
  15
        notify Plaintiffs and members of the Class about the Defect.
  16
              268.    To date, Toyota has failed to remedy and fully remove the Defect in
  17
        Plaintiffs’ Class Vehicle.
  18
              269.    Had Plaintiffs known of the Defect, they would not have paid for their
  19
        Class Vehicle, or would have paid significantly less.
  20
        O.    Defendants
  21
              270.    Toyota     Defendants    are   automobile    design,    manufacturing,
  22
        distribution, and/or service corporations doing business within the United States.
  23
        Furthermore, Toyota designs, develops, manufactures, distributes, markets, sells,
  24
        leases, warrants, services, and repairs passenger vehicles including the Class
  25
        Vehicles.
  26
              271.    Defendant Toyota Motor Corporation (“TMC”) is a Japanese
  27
        corporation. TMC is the parent corporation of Toyota Motor Sales, U.S.A., Inc.
  28

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                                               39
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   1
        TMC, through its various entities, designs, manufactures, markets, distributes and
   2
        sells Toyota automobiles at numerous other locations across the United States.
   3
              272.    Defendant Toyota Motor Sales, U.S.A., Inc. (“TMS”) is incorporated
   4
        and headquartered in California. TMS is TMC’s United States sales and marketing
   5
        division, which oversees sales and other operations across the United States. TMS
   6
        distributes Toyota vehicles and sells these vehicles through its network of dealers
   7
        that are agents of TMS and TMC. Money received from the purchase of Toyota
   8
        vehicles from dealerships flows from dealers to TMS.
   9
              273.    At all relevant times, a unity of ownership exists and has existed
  10
        between TMS, TMC, and their agents such that any individuality or separateness
  11
        between them has ceased and each of them is the alter ego of the others.
  12
              274.    Upon information and belief, TMC communicates with TMS
  13
        concerning virtually all aspects of the Toyota products it distributes within the
  14
        United States.
  15
              275.    Upon information and belief, the design, manufacture, distribution,
  16
        service, repair, modification, installation of and decisions regarding the soy-covered
  17
        or soy-/bio-based components and parts within the Class Vehicles were performed
  18
        exclusively by TMS and TMC.
  19
              276.    TMS and TMC are collectively referred to in this Complaint as
  20
        “Toyota” or “Defendant” unless identified separately.
  21
              277.    Toyota engages in continuous and substantial business in California.
  22
        Defendant TMC is headquartered in Torrance, California.
  23
              278.    Each of defendant DOES 1 through 10 is the agent, servant, partner,
  24
        joint-venturer, co-venturer, principal, director, officer, manager, employee or
  25
        shareholder of one or more of its codefendants who aided, abetted, controlled, and
  26
        directed or conspired with and acted in furtherance of said conspiracy with one or
  27
        more of its co-defendants in said codefendants performance of the acts and
  28

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   1
        omissions described herein. Plaintiffs sue each of these DOE defendants by these
   2
        fictitious names because Plaintiffs do not know these defendants’ true names and
   3
        capacities at this time.
   4
              279.     Plaintiffs allege that at all times mentioned herein, each Defendant
   5
        was acting as an agent and/or employee of each of the other Defendants, and at all
   6
        times mentioned was acting within the course and scope of said agency and/or
   7
        employment with the full knowledge, permission, and consent of the other
   8
        Defendant. In addition, each of the acts and/or omissions of each Defendant alleged
   9
        herein were made known to, and ratified by, the other Defendant.
  10
                                   IV.   FACTUAL ALLEGATIONS
  11
  12    A.    The Defective Soy-/Bio-Based Materials within Class Vehicles

  13          280.     Electrical wiring is ubiquitous in modern automobiles. A vehicle’s
  14    electrical wiring connects the various critical, and non-critical, vehicle systems. The
  15    wire creates circuits that must stay intact in order for the vehicle to function as
  16    intended.
  17          281.     Electrical systems in an automobile deliver and monitor electrical
  18    power to various devices and sensors in the vehicle. An automobile’s electrical
  19    system is complex and is made up of many different components. The battery is the
  20    center of and powers the electrical system. The electrical system is made up of a
  21    web of connected wires, fuses, and relay systems. This wiring carries the current
  22    supplied by the car battery and directs it to various vehicle components. When an
  23    electrical component in an automobile is not working correctly, it is often caused by
  24    an open circuit, which can result from a broken or compromised wire or wire
  25    connection. When this occurs, vehicle functions that are imperative to safe vehicle
  26    operation – e.g. headlights, brake lights, windshield wipers, defrosters – may not
  27    work properly. This is because when electrical wiring is disconnected or
  28    compromised, circuits are broken causing systems to partially or completely fail.

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   1
              282.    Historically, automobile wiring was coated or covered with a glass,
   2
        plastic or polymer-based insulation. However, over approximately the past decade,
   3
        and especially in light of skyrocketing oil prices in the mid- to late-2000s, there has
   4
        been a dramatic downshifting in automotive manufacturing which has spurred
   5
        automobile manufacturers to explore new materials to decrease cost and make more
   6
        parts recyclable. As a result, upon information and belief, Toyota and other
   7
        automobile manufacturers migrated from petroleum-based wire insulation to a
   8
        plant-, soy-, or other bio-based automobiles parts because it became considerably
   9
        less expensive and is purportedly more environmentally-friendly, as it is
  10
        biodegradable.
  11
              283.    The use of these bio-based materials in automobile manufacturing was
  12
        recognized in a 2012 investigation by the United States Department of Agriculture,
  13
        which specifically identified that many automobile manufacturers use soy- or bio-
  14
        based materials in the manufacturing process.2
  15
              284.    Indeed, Toyota acknowledges that it uses bio-based materials or
  16
        plastics in manufacturing Toyota automobiles. Toyota website states: “We have
  17
        been using bio-based plastics—plastics derived either wholly or in part from plant
  18
        materials—in numerous parts and components for over a decade.” 3
  19
  20          285.    Wiring insulation is an imperative line of defense to protect the
  21    integrity of electrical wiring in automobile electrical systems. But Toyota made the
  22    decision to incorporate in its wiring insulation and/or coatings (and other parts in
  23    Class Vehicles) soy- or bio-based material – which invite, rather than protect
  24    2
          United States Department of Agriculture, Biobased Automobile Parts
  25    Investigation, A report developed for the USDA Offices of Energy Policy and New
        Uses (Sept. 2012), available at
  26    https://www.usda.gov/oce/reports/energy/Biobased%20Automobile%20Parts%20In
  27    vestigation%20Report.pdf (last visited March 21, 2017).
        3
          http://www.toyota.com/usa/environmentreport2012/green_innovation.html (last
  28    visited March 20, 2017).

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   1
        against, electrical wiring issues and concerns, as set forth herein – and it did so not
   2
        in the name of “going green” but rather in the name of profit and cost-cutting.
   3
                286.    Irrespective of Toyota’s business justifications, the transition to soy-
   4
        or bio-based wiring parts and other parts has created a bed and breakfast for rodents
   5
        and other animals and pests under the hoods of Class Vehicles at the expense of
   6
        Class members. Rodents and other animals are attracted to the soy- and bio-based
   7
        materials in Class Vehicles, whether it is in the electrical wiring and wiring parts,
   8
        seat cushion foam, air filters, or elsewhere in the Class Vehicles.
   9
                287.    The inclusion of these materials, especially in Class Vehicle electrical
  10
        wiring and wiring components, attracts rodents and other animals that nest under
  11
        the hoods of Class Vehicles and feast on the wires, thereby compromising the
  12
        integrity of Class Vehicle electrical systems and rendering Class Vehicles fully or
  13
        partially inoperable. Automobile electrical wiring does not have to be entirely
  14
        chewed through to jeopardize the functionality of the wiring system: rather, mere
  15
        exposure of the wires can make a vehicle unfit for use.
  16
  17            288.    The image below depicts substantial rodent damage to the main
  18    engine wiring harness in a 2014 Toyota 4Runner, which purportedly caused $5,500
  19    in damage: 4
  20
  21
  22
  23
  24
  25
  26
  27
  28    4
            http://www.synlube.com/IncredibleEdibleCar1.htm (last visited Nov. 29, 2016).

                                                              PLAINTIFFS’ THIRD AMENDED
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  11
              289.    The safety concerns raised by wiring damage (such as that depicted
  12
        above) and failures in automobile electrical systems are obvious, and Toyota’s
  13
        continued use of soy- or bio-based materials, including wiring insulation and/or
  14
        wiring coatings, poses a legitimate threat to the safety of Plaintiffs, Class members,
  15
        prospective purchasers or lessees of Class Vehicles, and other drivers on the road.
  16
  17          290.    As the image above makes clear, soy- or bio-based wiring is not
  18    suitable for its intended purpose – to protect vehicle wiring and circuitry in order to
  19    keep vehicles operational and safe.
  20          291.    Regardless of the precise composition of the materials used in Class
  21    Vehicle wiring or wiring insulation, under the circumstances alleged herein – where
  22   numerous consumers are routinely experiencing significant rodent/animal damage
  23   to relatively new Class Vehicles through no fault of their own – Toyota should (a)
  24   disclose this issue to prospective purchasers and lessees; (b) should not be excluding
  25   repairs for rodent/animal related damage from coverage under the terms of Toyota’s
  26   Warranty; and (c) Toyota should be taking appropriate measures to modify the areas
  27   surrounding the wires in such a way to prevent the ongoing intrusion from rodents
  28

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   1
        (such as, for example, incorporating rodent-deterrent materials, coatings, devices,
   2
        meshes, etc.).
   3
        B.    Toyota’s Knowledge of the Defect
   4
              292.       Toyota was aware or should have been aware of the Defect in Class
   5
        Vehicles through (1) its own records of customers’ complaints; (2) dealership repair
   6
        records; (3) NHTSA records; (4) warranty and post-warranty claims; (5) internal
   7
        durability testing; and (6) other various sources. Despite its knowledge, Toyota
   8
        failed to notify consumers of the nature and extent of the Defect and/or provide any
   9
        adequate remedy under the Warranty.
  10
  11          293.       Toyota is also aware or should have been aware of the Defect, because
  12    its agents, dealers, or other representatives routinely and consistently refuse to
  13    provide Warranty coverage for damage to Class Vehicles resulting from the Defect.
  14    Instead, Toyota, through its agents, dealers, or other representatives, compels
  15    consumers to either pay for repairs out-of-pocket or to make an insurance claim and
  16    pay an expensive deductible.
  17          294.       Furthermore, the defective nature of the wiring has been widely
  18    publicized and known within the automotive industry generally and to Toyota
  19    specifically.
  20          295.       A number of news stations across the United States have done
  21    consumer interest stories on soy or bio-based wiring in automobiles, reporting on
  22    how the inclusion of these materials or ingredients in automobiles attracts pests that
  23    cause extensive damage. One news media outlet that claims to be leading a
  24    nationwide investigation into this very issue reports (among other findings) the
  25    following:
  26
  27                    Many new vehicles now use wiring that has a soy-based
                        coating, which is better for the environment and cheaper
  28

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   1                 to make than the traditional kind. But apparently, rodents
   2                 love to gnaw on it, which can cause major electrical
                     problems. 5
   3
              296.    An investigator from that news station reported that he contacted
   4
        Toyota about the soy wiring issue, to which a representative of Toyota – Amanda
   5
        Rice, a Business Communications Specialist at Toyota Motor Sales, U.S.A., Inc. –
   6
        responded by denying that a problem existed, stating that, “Rodent damage to
   7
        vehicle wiring occurs across the industry and the issue is not brand- or model-
   8
        specific. We are not aware of any confirmed connection between wiring materials
   9
        and rodent damage.” 6
  10
              297.    Consumer media websites have also tracked the propensity of soy-
  11
        /bio-based wiring insulation and coatings to attract animals and result in damage.7
  12
        Honda – one of Toyota’s primary competitors – is supposedly “convinced” that
  13
        there is a problem with its own insulation and reportedly made plans to introduce a
  14
        spicy chemical to its wiring to stop rodents from eating it. 8
  15
  16
        5
  17      Jason Stoogenke, Action 9 leads national investigation into rodents chewing on
        vehicle wires, WSOCTV, Jun. 3, 2016, http://www.wsoctv.com/news/9-
  18    investigates/rodents-chewing-on-vehicle-wiring/235719735 (last visited Nov. 29,
  19    2016).
        6
          See id., embedded video, at 2:13.
  20    7
          See, e.g., Jenn Strathman, Mechanics Say Soy In Car Wiring Attracts Munching
  21    Mice, So Honda Created A Solution, WPTV, Nov. 6, 2013,
        http://www.wptv.com/money/consumer/mechanics-say-soy-in-car-wiring-attracts-
  22    munching-mice-so-toyota-created-a-solution (last visited Nov. 29, 2016) (a Toyota
  23    Tundra purchaser experienced engine trouble due to rodent eating his wires); Jason
        Stoogenke, Action 9 Leads National Investigation Into Rodents Chewing On Vehicle
  24    Wires, WSOTV, updated June 3, 2016, http://www.wsoctv.com/web/wsoc/news/9-
  25    investigates/rodents-chewing-on-vehicle-wiring/235719735 (last visited Nov. 29,
        2016) (recounting the story of a purchaser of a brand new Toyota Camry who could
  26    not turn on her engine because rodents ate the soy wiring in her vehicle).
        8
  27      Tim Esterdahl, Mice Eat Toyota Tundra Wires – True Story, Nov. 8, 2013,
        http://www.tundraheadquarters.com/blog/mice-eat-wires/ (last visited Nov. 29,
  28    2016).

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   1
              298.    Upon information and belief, Honda has also introduced its own
   2
        proprietary rodent tape (depicted below) which discourages or repels rodent attacks:
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12
              299.    Unlike Honda, Toyota has not acknowledged that this issue plagues
  13
        Class Vehicles and has done nothing to attempt to eliminate the problem. As it
  14
        stands, Toyota has turned this Defect into another source of income for itself and its
  15
        dealers by charging Class Vehicle owners and lessees for repairs (or charging for
  16
        purchase and installation of repellants, traps, and other preventive measures) to deal
  17
        with the adverse consequences of the Defect that Toyota should, itself, be covering
  18
        under the Warranty.
  19
  20          300.    Toyota has evaded and continues to evade its Warranty obligations by
  21    failing to tell consumers that their Class Vehicles are defective and by claiming that
  22    the susceptibility to rodent damage is “environmental” and not a result of the Defect
  23    which requires Warranty repairs or replacements.
  24          301.    However, as the consumer complaints below demonstrate,
  25    environmental conditions are not the root cause of the Defect – rather, upon
  26    information and belief, the environmentally-friendly and less expensive soy- or bio-
  27    based materials are the problem.      While Class Vehicles are essentially being
  28    attacked by rodents and other animals, older vehicles manufactured without these

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   1
        materials that are exposed to similar conditions do not experience rodent-caused
   2
        damage.
   3
              302.    The prevalence of complaints across the country from Toyota lessees
   4
        and owners and the high volume of media and consumer watchdog coverage of this
   5
        issue highlight that Toyota knows or should have known of the Defect.
   6
              303.    Toyota has known (or it should have known) that soy-/bio-based
   7
        materials, including wiring insulation and coating, attract rodents and other pests
   8
        that damage Class Vehicles. In fact, employees at Toyota dealerships routinely
   9
        inform consumers that rodent damage is very common, and have even
  10
        acknowledged that it is the bio-based or soy-based materials in the automobiles that
  11
        are attracting these pests. Yet, notwithstanding its knowledge of the Defect, Toyota
  12
        consistently refuses to repair the Class Vehicles under the Warranty when the Defect
  13
        manifests.
  14
  15    C.    Toyota’s New Vehicle Limited Warranty
  16          304.    Despite Toyota’s knowledge of the Defect, it refuses to honor its
  17    Warranty, which provides: “This warranty covers repairs and adjustments needed to
  18    correct defects in materials or workmanship of any part supplied by Toyota, subject
  19    to the exceptions indicated under ‘What Is Not Covered’ . . . .” See, e.g. 2016 Toyota
  20    Corolla Warranty and Maintenance Guide, at p. 13, attached hereto as Exhibit “A.”9
  21    Thus, the Warranty covers any defect unless the defect is listed as an exception.
  22          305.    The Warranty exceptions, however, are not applicable to the Defect.
  23    The exceptions to the Warranty include: tires, normal wear and tear, maintenance
  24    expense, vehicles with altered odometers, salvage or total-loss vehicles, and
  25    incidental damages. See Ex. A, at p. 14-15. Toyota routinely cites to the “other
  26
        9
  27     The Warranty manuals accompany the sale and lease of Class Vehicles are
        substantially the same. Accordingly, Plaintiffs have not attached each of their
  28    Warranties as exhibits hereto.

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   1
        environmental conditions” exception in its Warranty to deny coverage for the Defect
   2
        repairs. The Warranty specifically excludes damage from “[a]irborne chemicals,
   3
        tree sap, road debris (including stone chips), rail dust, hail, floods, wind storms,
   4
        lightning and other environmental conditions”; however, Toyota’s voluntary
   5
        inclusion of bio-based or soy-based materials in Class Vehicles does not constitute
   6
        an environmental condition.
   7
              306.    Soy- or bio-based insulated wiring and wiring components are not an
   8
        “environmental condition.” Unlike the other environmental exclusions under the
   9
        Warranty for conditions or occurrences that naturally exist or occur in the
  10
        environment, Toyota created this problem by including soy materials in the
  11
        manufacturing process for Class Vehicles. Thus, the Defect is not an independent
  12
        environmental issue; rather, the Defect is the inclusion of soy-based materials in
  13
        Class Vehicles and the intrinsic nature of the soy-based materials to attract rodents,
  14
        and the Defect exists in Class Vehicles at the time of manufacturing and when Class
  15
        Vehicles leave manufacturing locations.
  16
              307.    Furthermore, the Warranty does not expressly or impliedly disclaim
  17
        Warranty coverage for rodent or other animal damage in Plaintiffs’ Class Vehicles
  18
        and the same is true for the Warranties that cover all Class Vehicles. If Toyota
  19
        wanted to exclude rodent damage from Warranty coverage, it could have done so,
  20
        just as it did for, e.g. tree sap damage. But Toyota did not exclude this damage.
  21
        Toyota cannot now rely on the “other environmental conditions” language in its
  22
        Warranty exclusions – language which clearly relates to and was intended to relate
  23
        to other weather- and climate-related conditions that are not explicitly identified in
  24
        that section (whereas hail, flood, wind, storms, lightning, etc., are identified) – to
  25
        escape its Warranty obligations to consumers.
  26
  27          308.    Notwithstanding its obligation under its Warranties, Toyota has

  28    repeatedly denied Warranty coverage to Plaintiffs and Class members for Defect-

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   1
        related damage. Toyota routinely informs consumers, inter alia, that rodent damage
   2
        is an environmental condition that is not covered under the Warranty. Toyota is
   3
        deflecting its obligations under the Warranty by labeling the Defect – which Toyota
   4
        has knowledge of or should have knowledge of – as something it is not. Toyota has
   5
        refused to cover the costs of repairs due to a problem that Toyota, alone, created.
   6
        Thus, Plaintiffs and Class members were and are forced to pay out of pocket for
   7
        repairs and services (and other out of pockets) that should have been covered under
   8
        Toyota’s Warranty.
   9
        D.    Similar Experiences and Complaints by Consumers
  10
              309.   Plaintiffs’ experiences are by no means isolated or outlying
  11
        occurrences. Indeed, the Internet is replete with examples from blogs and other
  12
        websites where Toyota consumers have complained of rodents chewing through
  13
        their Class Vehicles’ wiring insulation, sometimes on multiple occasions.
  14
  15          310.   For example:
  16                 • From May 3, 2013, user HauKrazee posted on http://www.toyota-
  17                     4runner.org/5th-gen-t4rs/141251-broken-2010-4runner-
  18                     rodents.html#post1371287, (last visited on July 27, 2016):
  19
  20
  21
  22
  23
  24
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  28

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   1
   2
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   8
   9
  10
                       • From March        3,   2012,   user    ChristyMcCool   posted   on
  11
                           http://www.customtacos.com/forum/22-off-topic/155429-
  12
                           squirrels-rats-chewing-tacoma-wiring.html, (last visited on July
  13
                           27, 2016):
  14
  15
  16
  17
  18
  19
               311.    Complaints on the NHTSA website reveals that many consumers have
  20
        experienced wire damage as a result of rodents and other animals chewing the wiring
  21
        in multiple Toyota models.
  22
               312.    The consumer complaints to NHTSA are evidence of a widespread
  23
        problem. Representative examples of complaints on the NHTSA website regarding
  24
        the Class Vehicles are included below (with emphasis supplied in capitalized bold,
  25
        underlined letters): 10
  26
  27    10
         The foregoing complaints are reproduced as they appear on the NHTSA website.
  28    Any typographical errors are attributable to the original authors of the complaints.

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   1
   2    Date of Incident: 06/02/2016
        Date Complaint Filed: 06/05/2016
   3    NHTSA/ODI ID: 10872591
   4    Model: 2015 Tacoma
              SUMMARY:
   5          MY TRUCK WAS RECENTLY DAMAGED FROM RODENTS, THEY
   6          BUILT A NEST BY ENGINE AND CHEWED WIRES. AFTER FURTHER
              RESEARCH I FOUND THAT AUTO MANUFACTURERS IN ORDER TO
   7          GO GREEN ARE USING SOY BASED PRODUCTS ON WIRES
   8          INSTEAD OF PETROLEUM. THEY ARE USING SUGAR IN THERE
              PLASTICS. RICE HUSKS IN THERE INTERIORS. ALL THIS STUFF
   9          ATTRACTS RODENTS. THIS IS UNACCEPTABLE! MY DEALERSHIP
  10          SAID THEY ARE SEEING AT LEAST 2 RODENT DAMAGED
              VEHICLES A WEEK. MY TRUCK IS DRIVEN DAILY AND SITS NO
  11          LONGER THAN 8 HOURS. THE TOTAL DAMAGE ON A BRAND
  12          NEW TRUCK WITH EXTENDED WARRANTY WAS 2700 OUT OF
              POCKET, THIS DAMAGE WAS NO COVERED BY WARRANTY.
  13
  14
        Date of Incident: 04/17/16
  15    Date Complaint Filed: 04/17/2016
  16    NHTSA/ODI ID: 10859964
        Model: 2012 4Runner
  17          SUMMARY:
  18          SQUIRRELS KEEP EATING MY ELECTRICAL WIRING AND THE
              WIRING HARNESS. THEY ACCESS THE ENGINE BAY THROUGH
  19          THE OPENINGS IN THE WHEEL WELLS AFTER JUMPING ON TOP
  20          OF THE TIRES. THE RESULTS HAVE DISABLED MY ABS, 4WD,
              LIMITED SLIP, ETC. I'VE TRIED RODENT REPELLENT, FOX
  21          URINE, AND PARKING IN THE GARAGE. NOTHING HELPS.
  22          TOYOTA NEEDS TO STOP USING SOY BASED WIRING, AND THEY
              NEED TO CLOSE THE HOLES IN THE WHEEL WELLS.
  23
  24
        Date of Incident: 3/01/2016
  25    Date Complaint Filed: 03/03/2016
  26    NHTSA/ODI ID: 10839755
        Model: 2014 FJ Cruiser
  27
              SUMMARY:
  28

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   1         KNOWN PROBLEM BY MANUFACTURERS. EXTREME DAMAGE
   2         TO WIRING HARNESS AND COMPONENTS WITHIN ENGINE
             COMPARTMENT BY RODENT. VEHICLE HAS 13,837 MILES ONLY.
   3         NEW WIRING STANDARDS REPORTEDLY DRAW RODENTS
   4         AND/OR INCREASE AMOUNT OF DAMAGE TO VEHICLE SYSTEMS.
             VEHICLE WAS PARKED LESS THAN 7 HOURS AND WHEN TURNED
   5         IGNITION TO VEHICLE, INSTRUMENT PANEL ILLUMINATED
   6         EVERY SAFETY WARNING TO INCLUDE ENGINE LIGHT
             FLASHING. ENGINE SPUTTERED AND REQUIRED TOW.
   7         INSURANCE COMPANY REPORTS HIGH NUMBER OF CLAIMS
   8         ESPECIALLY RELATED TO NEWER CARS WITH WIRING.
             DAMAGE TO WIRING IF DRIVEN COULD CAUSE VEHICLE
   9         SYSTEMS TO FAIL, FIRE AND COULD CAUSE GRAVE RISK OF
  10         INJURY OR DEATH TO OPERATOR AND PASSENGERS.
             MANUFACTURER DOES NOT COVER IN WARRANTY NOR
  11         PROVIDES PREVENTIVE REMEDY TO ISSUE.
  12
  13    Date of Incident: 10/30/2015
  14    Date Complaint Filed: 10/30/2015
        NHTSA/ODI ID: 10787185
  15    Model: 2012 Sienna
  16          SUMMARY:
              ALL UNDERWOOD COMPONENTS ARE NOT ONLY VULNERABLE,
  17          BUT ATTRACTIVE TO RODENTS. WHILE PARKED OVERNIGHT ON
  18          4 CONSECUTIVE NIGHTS, RODENTS HAVE CHEWED THROUGH
              WIRES DESPITE ATTRACTIVE RODENT POISON IN THE
  19          ENGINE BAY, THE POISON IS UNTOUCHED AND THE WIRES
  20          ARE ATTACKED EVERY NIGHT. TO DATE INJECTOR WIRES,
              SENSOR SIRES, FUEL PUMP WIRES HAVE BEEN COMPROMISED,
  21          INCLUDING SENSORS FOR THE STABILITY CONTROL SYSTEM,
  22          WHICH IS DISABLED. I REPAIRED DAMAGE BY RUNNING NEW
              WIRES, CLEARING NESTS AND SET TRAPS AND POISON, BUT
  23          NOW THE THE FUEL SYSTEM HAS BEEN ATTACKED AND THE
  24          FUEL PUMP DOES NOT ACTIVATE. 3 OTHER CARS PARKED IN
              THE SAME LOCATION FOR THE PAST 5 MONTHS ARE
  25
              UNTOUCHED. SAFETY SYSTEMS ARE LIKELY TO BE
  26          COMPROMISED FOR ANY PERSON WHO MUST PARK THESE
              OUTDOORS.
  27
  28

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   1    Date of Incident: 10/26/2015
   2    Date Complaint Filed: 10/27/2015
        NHTSA/ODI ID: 10786504
   3    Model: 2014 Rav4
   4          SUMMARY:
              THE ELECTRICAL WIRING WAS EATEN BY A RODENT. THE
   5          RODENT MADE A NEST IN THE ENGINE AREA AFTER EATING THE
   6          WIRES. THE REPAIR OF THE VEHICLE IS COSTING US $1510
              PLUS A RENTAL CAR.
   7
   8
        Date of Incident: 09/30/2015
   9    Date Complaint Filed: 10/05/2015
  10    NHTSA/ODI ID: 10779880
        Model: 2015 Rav4
  11          SUMMARY:
  12          AFTER 10 DAYS OF OWNING THE CAR AND LESS THAN 600
              MILES THE CAR WOULDN'T RUN AND WE HAD TO HAVE IT
  13          TOWED TO THE DEALERSHIP. THEY SAID IT WAS NOT UNDER
  14          WARRANTY AND THAT THE DAMAGE WAS CAUSED BY A
              RODENT. LATER THAT SAME EVENING OUR SALESMAN CALLED
  15          AND INFORMED US THAT COMPONENTS IN THE CAR ARE
  16          "GREEN" AND MADE OF SOYBEAN AND TO KEEP OUR CAR IN
              THE GARAGE (WHICH WE DON'T HAVE). I HAVE SINCE CAUGHT A
  17          MOUSE UNDER THE HOOD OF THE VEHICLE WITH A GLUE TRAP
  18          AND FOUND HAIR AND MOUSE DROPPINGS. THE BEST OFFER
              THEY HAVE GIVEN ME IS TO GIVE ME A DIFFERENT TOYOTA
  19          VEHICLE AT COST (AND TAKE THE LOSS ON MY CURRENT
  20          VEHICLE). I HAVE COMPLAINED TO BOTH THE DEALERSHIP AND
              TO TOYOTA. I HAVE HAD TWO OTHER VEHICLES PARKED IN
  21          WITHIN THE SAME PROXIMITY FOR OVER TWO YEARS. I
  22          HAVE NEVER HAD RODENT ISSUES WITH EITHER OF THEM
              AND I RUN INTO ISSUES WITHIN THE FIRST 10 DAYS WITH A
  23          NEW VEHICLE. I AM CONCERNED FOR THE SAFETY OF MY
  24          WIFE AND TWO YEAR OLD CHILD. IF THERE ARE MICE LIVING
              INSIDE THE CAR, THEY COULD BE LEAVING RAT DROPPINGS
  25          THAT COULD BE HARMFUL TO BOTH OF THEM. I AM ANGRY AND
  26          CONCERNED AND DON'T UNDERSTAND WHY, WHEN OTHER
              VEHICLES PARKED IN THE SAME LOCATION AREN'T
  27
              EXPERIENCING THE SAME PROBLEM, THIS ISN'T A VALID
  28          REASON TO RETURN THE CAR. HERE ARE TWO ARTICLES THAT

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   1         DETAIL THE PROBLEM MYSELF AND OTHER TOYOTA OWNERS
   2         HAVE HAD - HTTP://CTWATCHDOG.COM/FINANCE/RODENTS-
             DAMAGE-CARS-BY-CHEWING-ELECTRICAL-CONNECTIONS-TIPS-
   3         ON-HOW-TO-AVOID-COSTLY-REPAIRS,
   4         HTTP://WWW.SYNLUBE.COM/INCREDIBLEEDIBLECAR1.HTM

   5
   6    Date of Incident: 09/04/2015
        Date Complaint Filed: 09/13/2015
   7    NHTSA/ODI ID: 10763422
   8    Model: 2015 4Runner
              SUMMARY:
   9          RODENT CHEWED THROUGH INJECTOR 3 WIRE. 4 DAYS LATER,
  10          AFTER I PAID FOR THE FIRST REPAIR...SEVERAL OTHER WIRES
              WERE CHEWED THROUGH. THE PREVIOUS CONNECTOR
  11          REPAIRED WITH "RODENT DETERRENT TAPE" WAS NOT
  12          DAMAGED.
  13
  14    Date of Incident: 03/12/2015
        Date Complaint Filed: 03/14/2015
  15    NHTSA ID/ODI: 10694252
  16    Model: 2011 Tundra
              SUMMARY:
  17          MY VEHICLE FIRST HAD ITS WIRING HARNESS DESTROYED BY A
  18          RODENT OF SOME SORT A COUPLE OF WEEKS AGO. AFTER
              SENDING IT TO THE REPAIR SHOP AND $7000 DOLLARS LATER, I
  19          BROUGHT MY TRUCK HOME AND EVERYTHING WORKED FINE. I
  20          TRIED MANY REMEDIES TO DISCOURAGE THE RODENTS FROM
              RETURNING BUT NOTHING SEEMS TO DETER THEM FROM THE
  21          SOY BASED INSULATION ON MY TRUCKS WIRING HARNESS. I
  22          NOW HAVE TO SEND MY TRUCK BACK FOR REPAIRS TO THE
              SAME WIRING HARNESS ($7000) AS BEFORE, AND ALSO
  23          ANOTHER WIRING HARNESS WHICH WILL PROBABLY COST
  24          CLOSE TO THE SAME. HOW CAN TOYOTA GET AWAY WITH
              MAKING INSULATION OUT OF RODENT FOOD WHEN THESE
  25          WIRES OPERATE THE ABS BRAKING SYSTEM? THIS PRACTICE
  26          NOT ONLY PUTS A FINANCIAL BURDEN ON THE OWNER BUT
              ALSO COMPROMISES THEIR SAFETY. *TR
  27
  28

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   1    Date of Incident: 11/07/2012
   2    Date Complaint Filed: 11/08/2012
        NHTSA/ODI ID: 10483685
   3    Model: 2010 Prius
   4          SUMMARY:
              2010 TOYOTA PRIUS AT DEALERSHIP FOR 25000 MILE SERVICE.
   5          ON 11/07/2012 AT 1700 THE DEALERSHIP CALLED AND
   6          REPORTED THAT THE CAR IS "INFESTED WITH RODENTS."
              STATED THAT HEADLINER IS SATURATED WITH URINE/ FECES,
   7          AIR AND CABIN AIR FILTERS DESTROYED, WIRES CHEWED,
   8          RODENTS FOUND TO BE LIVING IN DASHBOARD, IN DOOR
              INTERIORS, AND OTHER AREAS. REPORTED THAT THIS WAS
   9          "THE WORST CASE WE'VE SEEN." CAR IS OWNED BY TWO
  10          PROFESSIONALS- NO CHILDREN WHO WOULD HAVE DROPPED
              FOOD AND NO FOOD EVER EATEN IN VEHICLE. PURCHASED NEW
  11          FROM THIS SAME DEALERSHIP 01/02/2011. DEALERSHIP NOW
  12          REPORTS THAT THE CAR IS A HEALTH/ SAFETY HAZARD AND
              COULD COST "THOUSANDS" TO REPAIR. OUR INTERNET
  13          RESEARCH REVEALED THAT RODENT INFESTATION IS COMMON
  14          IN THE TOYOTA PRIUS, REPORTEDLY BECAUSE RODENTS ARE
              ABLE TO GAIN EASY ACCESS THROUGH THE CAR'S
  15          VENTILATION SYSTEM. OWNERS REPORTED CONTACTING
  16          TOYOTA, WHO DENIED LIABILITY AND DENIED REQUEST FOR
              ASSISTANCE. *TR
  17
  18
        Date of Incident: 08/24/2012
  19    Date Complaint Filed: 04/30/2013
  20    NHTSA/ODI ID: 10510017
        Model: 2012 Prius V
  21          SUMMARY:
  22          I AM FILING A CLAIM TO NOTIFY OTHER CONSUMERS ABOUT AN
              ONGOING ISSUE I'VE EXPERIENCED WITH MY 2012 TOYOTA
  23          PRIUS V. WE PURCHASED THE CAR IN JANUARY 2012 AND SINCE
  24          THEN WE'VE HAD 3 INCIDENTS (THAT WE KNOW OF) IN
              WHICH RODENTS HAVE INFESTED OUR VEHICLE. . THE FIRST
  25          INCIDENT OCCURRED (AUGUST 2012), WE BROUGHT IT TO THE
  26          DEALERS ATTENTION AND WERE TOLD THERE WAS NOTHING
              THEY COULD DO BUT WE COULD CONTACT TOYOTA
  27
              HEADQUARTERS. THE DEALER DETERMINED THAT THE RODENT
  28          HAD CLIMBED IN TO THE REAR OF THE VEHICLE THROUGH AN

                                                      PLAINTIFFS’ THIRD AMENDED
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   1         AIR VENT, AND CHEWED THE WIRES OF THE REAR HARNESS
   2         SYSTEM (THE WIRING SYSTEM THAT AFFECTS THE HYBRID
             TECHNOLOGY). THE ESTIMATED REPAIR WAS $2 - 3K. AFTER
   3         CONTACTING TOYOTA HEADQUARTERS, I WAS TOLD TOYOTA
   4         DOES NOT CONSIDER THIS TO BE A DEFECT IN THE DESIGN OF
             THE CAR OR A SAFETY ISSUE. I WAS TOLD IT WAS AN
   5         ENVIRONMENTAL ISSUE AND I NEEDED TO DO SOMETHING
   6         TO CORRECT MY SURROUNDINGS. THEY ADVISED THAT I
             OPEN A CLAIM WITH MY INSURANCE PROVIDER TO COVER THE
   7         COSTS FOR THE REAR HARNESS WIRING DAMAGE. AFTER
   8         RESEARCHING THIS, IT APPEARS THERE ARE 6 OPENINGS/GAPS
             WITHIN THE VEHICLE THAT RATS CAN GET INTO TO ACCESS THE
   9         INTERIOR CABIN. NEITHER TOYOTA OR THE DEALERSHIP
  10         OFFERED TO BLOCK/COVER THESE VENTS TO PREVENT ANY
             FUTURE ATTEMPTS BY A RODENT GETTING IN. THEY DIDN'T
  11         OFFER ANY SUGGESTIONS OR ADVICE AS TO WHAT I SHOULD
  12         DO TO PREVENT THIS. THIS MORNING (APRIL 27, 2013) WE
             WOKE UP AND REALIZED THE RODENTS HAD ENTERED THE
  13         VEHICLE AGAIN, THIS TIME CHEWING UP MY CHILD'S CAR SEAT
  14         AND THE LEATHER OF THE REAR SEATS. THERE ARE NUMEROUS
             PEOPLE THAT HAVE EXPERIENCED THIS ISSUE DATING BACK TO
  15         2007 AND YET TOYOTA HAS DONE NOTHING TO REPAIR THIS
  16         DESIGN/SAFETY FLAW. FOLLOWING IS A LINK TO A PRIUS
             FORUM WHERE PRIUS OWNERS COMPLAIN OF THIS ISSUE:
  17         HTTP://PRIUSCHAT.COM/THREADS/TOYOTA-CLAIMS-NOT-
  18         AWARE-OF-MOUSE-PROBLEM.113690/ . *TR
  19
  20    Date of Incident: 08/21/2013
        Date Complaint Filed: 05/19/2014
  21    NHTSA/ODI ID: 10592353
  22    Model: 2012 Camry Hybrid
              SUMMARY:
  23          NO MATTER WHERE I PARK RODENTS ARE FINDING WAYS TO
  24          GET INTO MY CAR. I DO NOT KEEP FOOD IN THE CAR AND I
              HAVE DONE SEVERAL DIFFERENT THINGS TO PREVENT THEM
  25          GETTING IN. INCLUDING MOVING MY CAR AROUND TO PLACES
  26          OTHER THAN MY DESIGNATED COVERED PARKING SPOT. MY
              DEALER HAS TOLD ME TO PISS OFF. AS HAS TOYOTA, BUT IT
  27
              WOULD APPEAR THAT TOYOTA SWITCHED OVER TO MORE
  28          ENVIRONMENTALLY FRIENDLY INSULATION MATERIALS IN

                                                      PLAINTIFFS’ THIRD AMENDED
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   1          RECENT YEARS. I PURCHASED THIS 2012 TOYOTA CAMRY
   2          BRAND NEW. THIS HAS BEEN GOING ON FOR TWO YEARS NOW
              AND IT WOULD APPEAR I'M NOT THE ONLY PERSON
   3          EXPERIENCING THIS AS IS APPARENT FROM THE LINKS BELOW. I
   4          HAVE EXTENSIVE PICTURES OF WHAT HAS HAPPENED TO MY
              CAR. THIS ALSO HASN'T BEEN AN ISSUE FOR ANY OF THE
   5          OTHER VEHICLES IN MY PARKING LOT AND MY PREVIOUS
   6          CAR WAS PARKED THERE FOR YEARS WITHOUT ISSUE (A
              DIFFERENT MANUFACTURER). I ALSO PARK OUR OLDER
   7          TOYOTA MATRIX (2003) AND TOYOTA MR2 SPYDER (2000) IN
   8          THAT SPOT AND I HAVE NOT HAD ANY ISSUES WITH EITHER
              VEHICLE. I BELIEVE OUR OLDER TOYOTA MODELS HAVE VERY
   9          DIFFERENT MATERIALS THAT AREN'T AS ATTRACTIVE TO
  10          RODENTS. I FIRMLY BELIEVE THIS HAS TO DO WITH TOYOTA'S
              MOVE TO MORE ENVIRONMENTALLY FRIENDLY MATERIALS.
  11          JUST TONIGHT I FINALLY HAVE HAD ENOUGH BECAUSE THESE
  12          CREATURES CHEWED INTO MY TRUNK AND WERE CHEWING UP
              THE MATERIALS IN MY TRUNK NEAR THE HYBRID BATTERY. I'M
  13          PARKED IN A COMPLETELY DIFFERENT AREA AND IT'S STILL
  14          HAPPENING. THIS ISN'T A COINCIDE! I HAVE SOME SERIOUS
              HEALTH AND SAFETY CONCERNS HERE. I WAS READING
  15          ABOUT ANOTHER OWNER THAT HAD RODENTS GET INTO THEIR
  16          NEW TOYOTA PRIUS THAT ATE THE PASSENGER AIRBAG AND
              DID OVER $10,000 IN DAMAGES! THIS NEEDS TO BE
  17          INVESTIGATED ASAP.
  18          HTTP://WWW.TOYOTANATION.COM/FORUM/152-VENZA-
              FORUM/359615-RODENT-PATROL-AGAINST-DAMAGE.HTML
  19          HTTP://PRIUSCHAT.COM/THREADS/TOYOTA-CLAIMS-NOT-
  20          AWARE-OF-MOUSE-PROBLEM.113690/PAGE-2#IXZZ32AWYYLOL
              *JS
  21
  22                        V.     CLASS ACTION ALLEGATIONS
  23          313.     Plaintiffs bring this lawsuit on behalf of themselves and all similarly
  24    situated individuals and entities, pursuant to Federal Rule of Civil Procedure 23(a),
  25    23(b)(2) and 23(b)(3). Specifically, the nationwide class (the “Nationwide Class”)
  26    consists of:
  27
  28

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   1
                     Nationwide Class:
   2
                     All persons or entities who (a) currently own or lease a
   3                 Class Vehicle with soy- or bio-based wiring; and/or (b)
                     previously owned or leased a Class Vehicle with soy- or
   4                 bio-based wiring and can be identified as having incurred
                     out-of-pocket expenses related to the soy- or bio-based
   5                 wiring defect.
   6
              314.    In the alternative to the Nationwide Class, and pursuant to Federal
   7
        Rule of Civil Procedure 23(c), Plaintiffs seek to represent the following state sub-
   8
        classes only in the event that the Court declines to certify the Nationwide Class
   9
        above:
  10
                     California Sub-Class:
  11
                     All persons or entities in California who (a) currently own
  12                 or lease a Class Vehicle with soy- or bio-based wiring;
                     and/or (b) previously owned or leased a Class Vehicle with
  13                 soy- or bio-based wiring and can be identified as having
                     incurred out-of-pocket expenses related to the soy- or bio-
  14                 based wiring defect.
  15                 Colorado Sub-Class:
  16                 All persons or entities in Colorado who (a) currently own
                     or lease a Class Vehicle with soy- or bio-based wiring;
  17                 and/or (b) previously owned or leased a Class Vehicle with
                     soy- or bio-based wiring and can be identified as having
  18                 incurred out-of-pocket expenses related to the soy- or bio-
                     based wiring defect.
  19
                     Florida Sub-Class:
  20
                     All persons or entities in Florida who (a) currently own or
  21                 lease a Class Vehicle with soy- or bio-based wiring; and/or
                     (b) previously owned or leased a Class Vehicle with soy-
  22                 or bio-based wiring and can be identified as having
                     incurred out-of-pocket expenses related to the soy- or bio-
  23                 based wiring defect.
  24                 Georgia Sub-Class:
  25                 All persons or entities in Georgia who (a) currently own
                     or lease a Class Vehicle with soy- or bio-based wiring or
  26                 other parts; and/or (b) previously owned or leased a Class
                     Vehicle with soy- or bio-based wiring or other parts and
  27                 can be identified as having incurred out-of-pocket
                     expenses related to the soy- or bio-based wiring defect.
  28

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   1
                   Idaho Sub-Class:
   2
                   All persons or entities in Idaho who (a) currently own or
   3               lease a Class Vehicle with soy- or bio-based wiring or
                   other parts; and/or (b) previously owned or leased a Class
   4               Vehicle with soy- or bio-based wiring or other parts and
                   can be identified as having incurred out-of-pocket
   5               expenses related to the soy- or bio-based wiring defect.
   6               Illinois Sub-Class:
   7               All persons or entities in Illinois who (a) currently own or
                   lease a Class Vehicle with soy- or bio-based wiring or
   8               other parts; and/or (b) previously owned or leased a Class
                   Vehicle with soy- or bio-based wiring or other parts and
   9               can be identified as having incurred out-of-pocket
                   expenses related to the soy- or bio-based wiring defect.
  10
                   Indiana Sub-Class:
  11
                   All persons or entities in Indiana who (a) currently own or
  12               lease a Class Vehicle with soy- or bio-based wiring or
                   other parts; and/or (b) previously owned or leased a Class
  13               Vehicle with soy- or bio-based wiring or other parts and
                   can be identified as having incurred out-of-pocket
  14               expenses related to the soy- or bio-based wiring defect.
  15               Maryland Sub-Class:
  16               All persons or entities in Maryland who (a) currently own
                   or lease a Class Vehicle with soy- or bio-based wiring or
  17               other parts; and/or (b) previously owned or leased a Class
                   Vehicle with soy- or bio-based wiring or other parts and
  18               can be identified as having incurred out-of-pocket
                   expenses related to the soy- or bio-based wiring defect.
  19
                   Nebraska Sub-Class:
  20
                   All persons or entities in Nebraska who (a) currently own
  21               or lease a Class Vehicle with soy- or bio-based wiring or
                   other parts; and/or (b) previously owned or leased a Class
  22               Vehicle with soy- or bio-based wiring or other parts and
                   can be identified as having incurred out-of-pocket
  23               expenses related to the soy- or bio-based wiring defect.
  24               New Jersey Sub-Class:
  25               All persons or entities in New Jersey who (a) currently
                   own or lease a Class Vehicle with soy- or bio-based wiring
  26               or other parts; and/or (b) previously owned or leased a
                   Class Vehicle with soy- or bio-based wiring or other parts
  27               and can be identified as having incurred out-of-pocket
                   expenses related to the soy- or bio-based wiring defect.
  28

                                                          PLAINTIFFS’ THIRD AMENDED
                                             60
                                                            CLASS ACTION COMPLAINT
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   1                 Oklahoma Sub-Class:
   2                 All persons or entities in Oklahoma who (a) currently own
                     or lease a Class Vehicle with soy- or bio-based wiring or
   3                 other parts; and/or (b) previously owned or leased a Class
                     Vehicle with soy- or bio-based wiring or other parts and
   4                 can be identified as having incurred out-of-pocket
                     expenses related to the soy- or bio-based wiring defect.
   5
                     Oregon Sub-Class:
   6
                     All persons or entities in Oregon who (a) currently own or
   7                 lease a Class Vehicle with soy- or bio-based wiring or
                     other parts; and/or (b) previously owned or leased a Class
   8                 Vehicle with soy- or bio-based wiring or other parts and
                     can be identified as having incurred out-of-pocket
   9                 expenses related to the soy- or bio-based wiring defect.
  10                 Texas Sub-Class:
  11                 All persons or entities in Texas who (a) currently own or
                     lease a Class Vehicle with soy- or bio-based wiring or
  12                 other parts; and/or (b) previously owned or leased a Class
                     Vehicle with soy- or bio-based wiring or other parts and
  13                 can be identified as having incurred out-of-pocket
                     expenses related to the soy- or bio-based wiring defect.
  14
                     Washington Sub-Class:
  15
                     All persons or entities in Washington who (a) currently
  16                 own or lease a Class Vehicle with soy- or bio-based wiring
                     or other parts; and/or (b) previously owned or leased a
  17                 Class Vehicle with soy- or bio-based wiring or other parts
                     and can be identified as having incurred out-of-pocket
  18                 expenses related to the soy- or bio-based wiring defect.
  19
              315.    The above Classes and Sub-Classes may be referred to herein by the
  20
        state sub-class or collectively as the “Class.” Excluded from the Class are Toyota,
  21
        its affiliates, subsidiaries, parents, successors, predecessors, any entity in which
  22
        Toyota or its parents have a controlling interest; Toyota’s current and former
  23
        employees, officers and directors; the Judge(s) and/or Magistrate(s) assigned to this
  24
        case; any person who properly obtains exclusion from the Class; any person whose
  25
        claims have been finally adjudicated on the merits or otherwise released; and the
  26
        parties’ counsel in this litigation. Plaintiffs reserve the right to modify, change, or
  27
        expand the Class definitions based upon discovery and further investigation.
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               61
                                                               CLASS ACTION COMPLAINT
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   1
              316.   Numerosity: Upon information and belief, the Class is so numerous
   2
        that joinder of all members is impracticable. While the exact number and identities
   3
        of individual members of the Class are unknown at this time, such information being
   4
        in the sole possession of Toyota and obtainable by Plaintiffs only through the
   5
        discovery process, Plaintiffs believe, and on that basis alleges, that thousands of
   6
        Class members have been subjected to the conduct by Toyota herein alleged.
   7
              317.   Existence and Predominance of Common Questions of Fact and
   8
        Law: Common questions of law and fact exist as to all members of the Class. These
   9
        questions predominate over the questions affecting individual Class members.
  10
        These common legal and factual questions include, but are not limited to:
  11
                     a)   Whether Toyota engaged in the conduct alleged herein;
  12
                     b)   Whether Toyota designed, advertised, marketed, distributed,
  13
                          leased, sold, or otherwise placed Class Vehicles into the stream
  14
                          of commerce in the United States;
  15
                     c)   Whether the Class Vehicles are defective in that they were and
  16
                          are sold with soy- or bio-based wiring insulation and other parts
  17
                          or components;
  18
                     d)   Whether Toyota knew of the Defect but failed to disclose the
  19
                          problem and its consequences to its customers;
  20
                     e)   Whether a reasonable consumer would consider the Defect or its
  21
                          consequences to be material;
  22
                     f)   Whether the Defect causes Class Vehicles to malfunction;
  23
                     g)   Whether Toyota’s conduct violates state consumer protection
  24
                          statutes;
  25
                     h)   Whether Toyota’s conduct violates state and federal warranty
  26
                          laws and other laws as asserted herein;
  27
  28

                                                           PLAINTIFFS’ THIRD AMENDED
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                                                             CLASS ACTION COMPLAINT
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   1
                         i)   Whether Plaintiffs and the other Class members overpaid for
   2
                              their Class Vehicles as a result of the Defect alleged herein;
   3
                         j)   Whether Plaintiffs and the other Class members are entitled to
   4
                              equitable relief, including, but not limited to, restitution or
   5
                              injunctive relief; and
   6
                         k)   Whether Plaintiffs and the other Class members are entitled to
   7
                              damages and other monetary relief and, if so, in what amount.
   8
              318.       Typicality: All of Plaintiffs’ claims are typical of the claims of the
   9
        Class since Plaintiffs and all Class members were injured in the same manner by
  10
        Toyota’s uniform course of conduct described herein. Plaintiffs and all Class
  11
        members have the same claims against Toyota relating to the conduct alleged herein,
  12
        and the same events giving rise to Plaintiffs’ claims for relief are identical to those
  13
        giving rise to the claims of all Class members. Plaintiffs and all Class members
  14
        sustained monetary and economic injuries including, but not limited to,
  15
        ascertainable losses arising out of Toyota’s wrongful conduct as described herein.
  16
        Plaintiffs are advancing the same claims and legal theories on behalf of themselves
  17
        and all absent Class members.
  18
              319.       Adequacy: Plaintiffs are adequate representatives for the Class
  19
        because their interests do not conflict with the interests of the Class that they seeks
  20
        to represent; Plaintiffs have retained counsel competent and highly experienced in
  21
        complex class action litigation – including consumer fraud class action cases – and
  22
        automobile defect cases, and counsel intends to prosecute this action vigorously.
  23
        The interests of the Class will be fairly and adequately protected by Plaintiffs and
  24
        their counsel.
  25
              320.       Superiority: A class action is superior to all other available means of
  26
        fair and efficient adjudication of the claims of Plaintiffs and all Class members. The
  27
        injury suffered by each individual Class member is relatively small in comparison
  28

                                                               PLAINTIFFS’ THIRD AMENDED
                                                  63
                                                                 CLASS ACTION COMPLAINT
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   1
        to the burden and expense of individual prosecution of the complex and extensive
   2
        litigation necessitated by Toyota’s conduct. It would be virtually impossible for
   3
        members of the Class individually to redress effectively the wrongs done to them
   4
        by Toyota. Even if Class members could afford such individual litigation, the court
   5
        system could not. Individualized litigation presents a potential for inconsistent or
   6
        contradictory judgments. Individualized litigation increases the delay and expense
   7
        to all parties, and to the court system, presented by the complex legal and factual
   8
        issues of the case. By contrast, the class action device presents far fewer
   9
        management difficulties, and provides the benefits of single adjudication, an
  10
        economy of scale, and comprehensive supervision by a single court. Upon
  11
        information and belief, members of the Class can be readily identified and notified
  12
        based on, inter alia, the records (including databases, e-mails, etc.) Toyota
  13
        maintains regarding sales and leases of Class Vehicles. Plaintiffs know of no
  14
        difficulty to be encountered in the management of this action that would preclude
  15
        its maintenance as a class action.
  16
              321.    Toyota has acted or refused to act on grounds generally applicable to
  17
        Plaintiffs and the other members of the Class, thereby making appropriate final
  18
        injunctive relief and declaratory relief, as described below, with respect to the Class
  19
        as a whole.
  20
              322.    Given that Toyota has engaged in a common course of conduct as to
  21
        Plaintiffs and the Class, similar or identical injuries and common law and statutory
  22
        violations are involved and common questions far outweigh any potential individual
  23
        questions.
  24
              323.    The Class is defined in terms of objective characteristics and common
  25
        transactional facts; namely, the purchase or lease of Class Vehicles containing the
  26
        Defect that resulted in rodent damage to Class Vehicle electrical wiring and systems.
  27
        Class membership will be readily ascertainable from Toyota’s business records.
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               64
                                                               CLASS ACTION COMPLAINT
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   1
              324.     Plaintiffs reserve the right to revise the above Class definitions based
   2
        on facts adduced in discovery.
   3
              325.     All claims advanced below on behalf of the state sub-classes are pled
   4
        in the alternative to the claims advanced on behalf of the Nationwide Class.
   5
   6                                VI.   CAUSES OF ACTION
   7    A.    Nationwide
   8                                        COUNT I
                  VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
   9                          15 U.S.C. §§ 2301 et seq. (“MMWA”)
  10                (On Behalf of the Nationwide Class and State Sub-Classes)
  11          326.     Plaintiffs repeat and reallege the allegations above as if fully set forth

  12    herein.

  13          327.     Plaintiffs bring this count on behalf of the Nationwide Class and State
  14    Sub-Classes.
  15          328.     Plaintiffs and Class members are “consumers” within the meaning of
  16    the MMWA. 15 U.S.C. § 2301(3).
  17          329.     The Class Vehicles are “consumer products” within the meaning of the
  18    MMWA. 15 U.S.C. § 2301(1).
  19          330.     Toyota is a “supplier” and “warrantor” within the meaning of the
  20    MMWA. 15 U.S.C. § 2301(4)-(5).
  21          331.     Section 2310(d) of the MMWA provides a cause of action for
  22    consumers who are harmed by the failure of a warrantor to comply with a written or
  23    implied warranty.
  24          332.     Toyota’s express warranties are written warranties within the meaning
  25    of Section 2301(6) of the MMWA. The Class Vehicles’ implied warranties are
  26    accounted for under Section 2301(7) of the MMWA, which warranties Toyota cannot
  27    disclaim under the MMWA, when it fails to provide merchantable goods.
  28

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                                                65
                                                                CLASS ACTION COMPLAINT
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   1
              333.    As set forth herein, Toyota breached its warranties with Plaintiffs and
   2
        Class members.
   3
              334.    Additionally, 15 U.S.C. § 2304(d) provides in pertinent part:
   4
   5                 [T]he warrantor may not assess the consumer for any costs
                     the warrantor or his representatives incur in connection with
   6                 the required remedy of a warranted consumer product. . . .
   7                 [I]f any incidental expenses are incurred because the
                     remedy is not made within a reasonable time or because the
   8                 warrantor imposed an unreasonable duty upon the consumer
   9                 as a condition of securing remedy, then the consumer shall
                     be entitled to recover reasonable incidental expenses which
  10                 are so incurred in any action against the warrantor.
  11
        Id.
  12
              335.    Class Vehicles share a common Defect in that, upon information and
  13
        belief, they contain soy-based or other bio-based wiring and wiring components (and
  14
        other parts) that attract rodents and other pests, and make Class Vehicles predisposed
  15
        to damage in the form of chewed and gnawed wires.
  16
              336.    Despite demands by Plaintiffs and the Class for Toyota to pay the
  17
        expenses associated with diagnosing and repairing the defective wires and damaged
  18
        wiring systems, Toyota has refused to do so.
  19
              337.    Toyota breached these specific warranties as described in more detail
  20
        above and also breached them generally: by manufacturing soy- or bio-based
  21
        insulated wiring systems that are defective in materials, and workmanship and are
  22
        likely to fail due to damage caused by rodents; by selling defective wiring systems
  23
        not in merchantable condition, which present an unreasonable risk of failure and are
  24
        unfit for the ordinary purpose; by refusing to repair or replace, free of charge, the
  25
        defective soy- or bio-based insulated wiring systems or any of their component parts;
  26
        by forcing consumers to pay for out-of-pocket costs for diagnostics, labor, repair,
  27
        and replacement parts; and by not curing the Defect once it was known and identified.
  28

                                                            PLAINTIFFS’ THIRD AMENDED
                                               66
                                                              CLASS ACTION COMPLAINT
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   1
              338.    Plaintiffs’ and Class members’ interactions with Toyota suffice to
   2
        create privity of contract between Plaintiffs and Class members, on the one hand, and
   3
        Toyota, on the other hand; however, privity of contract need not be established nor
   4
        is it required because Plaintiffs and Class members are intended third-party
   5
        beneficiaries of contracts between Toyota and its authorized dealers, and specifically,
   6
        of Toyota’s implied warranties. Toyota’s dealers are intermediaries between Toyota
   7
        and consumers that sell Class Vehicles to consumers and are not consumers of Class
   8
        Vehicles, and therefore have no rights against Toyota with respect to Plaintiffs and
   9
        Class members’ purchases or leases of Class Vehicles. Toyota’s warranties were
  10
        designed for the benefit of consumers who purchase(d) or lease(d) Class Vehicles.
  11
              339.    As a direct and proximate result of Toyota’s breach of implied and
  12
        express warranties pursuant to 15 U.S.C. § 2310(d)(1), Plaintiffs and Class members
  13
        have suffered damages in an amount to be proven at trial.
  14
              340.    Plaintiffs and the other Class members would suffer economic
  15
        hardship if they returned their Class Vehicles but did not receive the return of all
  16
        payments made by them. Because Toyota is refusing to acknowledge any revocation
  17
        of acceptance and return immediately any payments made, Plaintiffs and the other
  18
        Class members have not re-accepted their Class Vehicles by retaining them.
  19
              341.    The amount in controversy of Plaintiffs’ individual claims meets or
  20
        exceeds the sum of $25. The amount in controversy of this action exceeds the sum
  21
        of $50,000, exclusive of interest and costs, computed on the basis of all claims to be
  22
        determined in this lawsuit.
  23
              342.    Plaintiffs and Class members are entitled to recover damages as a result
  24
        of Toyota’s breach of warranties.
  25
              343.    Plaintiffs and Class members are also entitled to seek costs and
  26
        expenses, including attorneys’ fees, under the MMWA. 15 U.S.C. § 2310(d)(2).
  27
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               67
                                                               CLASS ACTION COMPLAINT
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   1                                      COUNT II
   2                         BREACH OF EXPRESS WARRANTY
                              (On Behalf of the Nationwide Class)
   3
              344.    Plaintiffs repeat and reallege the allegations contained above as if fully
   4
        set forth herein.
   5
              345.    Plaintiffs bring this claim on behalf of the Nationwide Class.
   6
              346.     Toyota is a “merchant” as defined under the Uniform Commercial
   7
        Code (“UCC”).
   8
              347.    The Class Vehicles are “goods” as defined under the UCC.
   9
              348.    Toyota expressly warranted that the Class Vehicles were of high
  10
        quality and, at a minimum, would actually work properly. Toyota also expressly
  11
        warranted that they would repair and/or replace defects in material and/or
  12
        workmanship that occurred during the Warranty period free of charge.
  13
              349.    For example, Toyota’s Warranty for each Class Vehicle provides:
  14
  15                 “This warranty covers repairs and adjustments needed to
                     correct defects in materials or workmanship of any part
  16                 supplied by Toyota, subject to the exceptions indicated
  17                 under ‘What Is Not Covered’ . . . .”
  18    Ex. A.
  19          350.    Toyota breached its Warranty by selling and leasing to Plaintiffs and
  20    Class members Class Vehicles with the Defect which Toyota knew and knows
  21    attracts rodents and other pests and makes wiring in the Class Vehicles prone to
  22    damage, causing Class Vehicles to fail prematurely and/or fail to function properly.
  23          351.    Toyota further breached the Warranty by failing to repair and/or
  24    replace Plaintiffs’ and other Class members’ defective wiring components or parts
  25    when the defective wiring systems failed during the Warranty period.
  26          352.    Plaintiffs purchased and leased new vehicles subject to Toyota’s
  27    Warranty. While Plaintiffs’ Class Vehicles were still covered by the Warranty, the
  28    soy- or bio-based material comprising the electrical wiring in Plaintiffs’ Class

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   1
        Vehicles attracted rodents or other animals that chewed through the wiring leaving
   2
        the vehicle partially or fully inoperable. Pursuant to the terms of the Warranty,
   3
        Plaintiffs brought their vehicle to a Toyota authorized service center and requested
   4
        that such repairs be completed under the Warranty. Despite these requests, Toyota
   5
        denied their warranty claims on the basis that the damage was caused by “other”,
   6
        “outside”, or “environmental” forces, which Toyota contends are not covered under
   7
        the Warranty. Toyota knew of the aforesaid Defect and continues to have knowledge
   8
        of the Defect and breaches of its Warranty, yet it intentionally failed and fails to
   9
        notify Plaintiffs and members of the Class of the Defect and cover Defect-related
  10
        damage under the terms of the Warranty.
  11
              353.    As a result of Toyota’s actions, Plaintiffs and Class members have
  12
        suffered economic damages including but not limited to costly repairs, loss of vehicle
  13
        use, substantial loss in value and resale value of the vehicles, and other related
  14
        damage.
  15
              354.    Toyota’s attempt to disclaim or limit its express warranties vis à-vis
  16
        consumers is unconscionable and unenforceable under the circumstances here.
  17
        Specifically, Toyota’s Warranty limitation is unenforceable because it knowingly
  18
        sold a defective product without informing consumers about the Defect.
  19
              355.    Plaintiffs and Class members have complied with all obligations under
  20
        the Warranty, or otherwise have been excused from performance of said obligations
  21
        as a result of Toyota’s conduct described herein.
  22
              356.    Toyota was provided notice of these issues by complaints lodged by
  23
        consumers directly and via NHTSA and elsewhere—which vehicle manufacturers
  24
        like Toyota routinely monitor—before or within a reasonable amount of time after
  25
        the allegations of the Defect became public.
  26
  27
  28

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   1                              COUNT III
   2       BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                       (On Behalf of the Nationwide Class)
   3
              357. Plaintiffs repeat and reallege the allegations contained above as if fully
   4
        set forth herein.
   5
              358. Plaintiffs bring this claim on behalf of the Nationwide Class.
   6
              359. Toyota is a “merchant” as defined under the UCC.
   7
              360. The Class Vehicles are “goods” as defined under the UCC.
   8
              361. Toyota impliedly warranted that the Class Vehicles were of a
   9
        merchantable quality.
  10
              362. Toyota breached the implied warranty of merchantability because the
  11
        Class Vehicles were not of a merchantable quality due to Defect, and the associated
  12
        problems caused by the Defect.
  13
              363. Plaintiffs’ and Class members’ interactions with Toyota suffice to create
  14
        privity of contract between Plaintiffs and Class members, on the one hand, and
  15
        Toyota, on the other hand; however, privity of contract need not be established nor
  16
        is it required because Plaintiffs and Class members are intended third-party
  17
        beneficiaries of contracts between Toyota and its authorized dealers, and specifically,
  18
        of Toyota’s implied warranties. Toyota’s dealers are intermediaries between Toyota
  19
        and consumers that sell Class Vehicles to consumers and are not consumers of Class
  20
        Vehicles, and therefore have no rights against Toyota with respect to Plaintiffs’ and
  21
        Class members’ purchases or leases of Class Vehicles. Toyota’s warranties were
  22
        designed for the benefit of consumers who purchase(d) or lease(d) Class Vehicles.
  23
              364. As a direct and proximate result of the breach of said warranties,
  24
        Plaintiffs and Class members were injured and are entitled to damages.
  25
              365. Toyota’s attempt to disclaim or limit the implied warranty of
  26
        merchantability vis-à-vis consumers is unconscionable and unenforceable here.
  27
        Specifically, Toyota’s Warranty limitations are unenforceable because Toyota
  28

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   1
        knowingly sold a defective product without informing consumers about the Defect.
   2
              366. Plaintiffs and Class members have complied with all obligations under
   3
        the warranty or otherwise have been excused from performance of said obligations
   4
        as a result of Toyota’s conduct described herein.
   5
              367. Toyota was provided notice of these issues by complaints lodged by
   6
        consumers directly and via NHTSA and elsewhere—which vehicle manufacturers
   7
        like Toyota routinely monitor—before or within a reasonable amount of time after
   8
        the allegations of the Defect became public.
   9
                                             COUNT IV
  10         DECLARATORY RELIEF (PLEADING IN THE ALTERNATIVE)
  11               (On Behalf of Plaintiffs and the Nationwide Class,
                        or Alternatively, the State Sub-Classes)
  12
              368.    Plaintiffs repeat and reallege the allegations above as if fully set forth
  13
        herein.
  14
              369.    This claim is pled in the alternative to the other claims set forth herein
  15
        on behalf of the Nationwide Class or, in the alternative, each of the State Sub-
  16
        Classes.
  17
              370. Toyota designed, manufactured, produced, tested, inspected, marketed,
  18
        distributed, and sold Class Vehicles that contain the Defect – a material defect – as
  19
        described above.
  20
  21          371. There exists an actual controversy, over which this Court has
  22    jurisdiction, between Plaintiffs and Toyota concerning their respective rights, duties
  23    and obligations for which Plaintiffs desire a declaration of rights under the Class
  24    Vehicle warranties. Pursuant to 28 U.S.C. § 2201, or in the alternative, the state
  25    declaratory judgment laws of the states in which Plaintiffs reside, this Court may
  26    declare the rights and legal relations of any interested party seeking such declaration,
  27    whether or not further relief is or could be sought.
  28

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   1
              372. Toyota warrants and advertises the reliability and workmanship of its
   2
        Class Vehicles. Plaintiffs contend that Toyota breached its warranties to Plaintiffs
   3
        and the Class members when they received Class Vehicles at the time of the
   4
        purchase that were worth less than what was promised by Toyota’s warranties.
   5
              373. Toyota’s warranties explicitly warrant materials and workmanship and
   6
        do not disclaim or exclude the Defect or the type of damage suffered as a result of
   7
        the Defect in the Class Vehicles.
   8
              374. Plaintiffs seek a declaration of the parties’ respective rights, duties and
   9
        obligations under the Class Vehicle warranties – including the Warranty – and other
  10
        promises made by Toyota related to the quality and workmanship of the Class
  11
        Vehicles, and specifically that Plaintiffs and the Class members are entitled to
  12
        recover their out-of-pocket expenses related to repairs and/or replacement
  13
        (including labor costs) of their defective and unworkmanlike Class Vehicles under
  14
        the Class Vehicle warranties.
  15
  16          375. Specifically, Plaintiffs seek a declaratory judgment that Toyota’s
  17    warranties for Class Vehicles provide coverage for, and are to be read to include
  18    coverage for, rodent or other animal damage in Class Vehicles resulting from
  19    chewing or eating soy- or bio-based parts or materials in Class Vehicle electrical
  20    wiring and wiring systems. Plaintiffs also seeks a declaratory judgment that nothing
  21    in Toyota’s warranties for Class Vehicles disclaims or excludes warranty coverage
  22    for the Defect described herein.
  23          376. A judicial declaration is necessary in order that Plaintiffs and the Class
  24    members may ascertain their rights and duties under Toyota’s Class Vehicle
  25    warranties. At this time, Plaintiffs and the Class members have Class Vehicles that
  26    were defective upon lease or purchase, and/or continue to remain defective.
  27          377. Plaintiff and Class members suffered damages at the time of their
  28

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   1
        purchase or lease and have paid or will have to pay future repair and/or replacement
   2
        costs as a direct result of the Defect in the Class Vehicles.
   3
        B.     California
   4                                    COUNT V
   5         VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
                     CAL. BUS. & PROF. CODE §§ 17200, et seq. (“UCL”)
   6                    (On Behalf of Plaintiffs Grammer, Pla, and
   7                       Powell, and the California Sub-Class)

   8           378.   Plaintiffs repeat and reallege the allegations above as if fully set forth

   9    herein.

  10           379.   This claim is brought by Plaintiff Grammer, Plaintiff Pla, and Plaintiff

  11    Powell on behalf of the California Sub-Class.

  12           380. The UCL broadly prohibits acts of “unfair competition,” including any

  13    “unlawful, unfair or fraudulent business act or practice” and “unfair, deceptive,

  14    untrue or misleading advertising.” CAL. BUS. & PROF. CODE § 17200.

  15           381. A business act or practice is “unfair” under the UCL if the reasons,

  16    justifications and motives of the alleged wrongdoer are outweighed by the gravity of

  17    the harm to the alleged victims.

  18           382. Toyota has engaged in “unfair” business practices and/or acts by falsely

  19    representing the qualities of its express and implied warranties for Class Vehicles; by

  20    misrepresenting the workmanship of its Class Vehicles; by failing to disclose the

  21    Defect to consumers; and by refusing to provide warranty coverage for the Defect.

  22           383. The acts and practices alleged herein are unfair because they caused

  23    Plaintiffs and Class members, and reasonable consumers like them, to believe that

  24    Toyota was offering something of value that did not, in fact, exist. Toyota intended

  25    for Plaintiffs and Class members to rely on its representations. As a result, purchasers

  26    and lessees, including Plaintiffs, reasonably perceived that they were receiving Class

  27    Vehicles with certain benefits. This perception induced reasonable purchasers to

  28    purchase or lease Class Vehicles which they would not otherwise have done had they

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   1
        known the truth.
   2
              384. The gravity of the harm to members of the Class resulting from these
   3
        unfair acts and practices is outweighed any conceivable reasons, justifications and/or
   4
        motives of Toyota for engaging in such deceptive acts and practices. By committing
   5
        the acts and practices alleged above, Toyota engaged in unfair business practices
   6
        within the meaning of the UCL.
   7
              385. A business act or practice is also “fraudulent” under the UCL if it is
   8
        likely to deceive members of the consuming public.
   9
              386.    Toyota engaged in a uniform course of conduct which was intended to,
  10
        and did in fact, deceive Plaintiffs and Class members and induce them into buying
  11
        Class Vehicles. Toyota’s course of conduct and marketing practices were fraudulent
  12
        within the meaning of the UCL because they deceived Plaintiffs, and were likely to
  13
        deceive members of the Class, into believing that they were entitled to a benefit that
  14
        did not, in fact, exist. Toyota’s misrepresentations are likely to deceive and have
  15
        deceived the public.
  16
              387. A business act or practice is also “unlawful” under the UCL if it violates
  17
        any other law or regulation. Toyota has violated the MMWA, the CLRA, and other
  18
        laws as set forth herein.
  19
              388. Toyota has engaged in unfair competition and unfair, unlawful and
  20
        fraudulent business practices by the conduct, statements, and omissions described
  21
        above, and by knowingly and intentionally concealing from Plaintiffs and Class
  22
        members that the Class Vehicles suffer from the Defect (and the costs, risks, and
  23
        diminished value of the Vehicles as a result of this problem). Toyota should have
  24
        disclosed the Defect and this information because Toyota was in a superior position
  25
        to know the true facts related to the Defect, and Plaintiffs and Class members could
  26
        not reasonably be expected to learn or discover the true facts related to the Defect.
  27
        Plaintiffs and Class members relied upon Toyota’s express representations and
  28

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   1
        promises, as well as omissions, regarding the workmanship of and the warranties for
   2
        the Class Vehicles, believed them to be true, and would not have agreed to purchase
   3
        or lease Class Vehicles had they known the truth about the Defect.
   4
              389. Therefore, the omissions and acts of concealment, fraud, and deceit by
   5
        Toyota pertained to information that was material to Plaintiffs and the Class
   6
        members, as it would have been to all reasonable consumers.
   7
              390. Toyota had a duty to disclose the Defect because Toyota had exclusive
   8
        knowledge of the Defect prior to making sales and leases of Class Vehicles and
   9
        because Toyota made partial representations about the quality of Class Vehicles, but
  10
        failed to fully disclose that Defect plagues Class Vehicles.
  11
              391. In failing to disclose that Class Vehicles contain the Defect, the true
  12
        nature of the quality and workmanship of Class Vehicles, and suppressing other
  13
        material facts from Plaintiffs and Class members, Toyota breached its duties to
  14
        disclose these facts, violated the UCL, and caused injuries to Plaintiffs and Class
  15
        members.
  16
              392. The fraudulent or unfair conduct alleged herein was carried out by a
  17
        California corporation whose principle place of business is in California, and the acts
  18
        complained herein took place in and/or originated in the state of California.
  19
              393. The injuries suffered by Plaintiffs and the Class members are greatly
  20
        outweighed by any potential countervailing benefit to consumers or to competition,
  21
        nor are they injuries that Plaintiffs and the Class members should have reasonably
  22
        avoided.
  23
              394. Through its fraudulent, unfair, and unlawful acts and practices, Toyota
  24
        has improperly obtained money from Plaintiffs and the Class.
  25
              395. Plaintiffs seek to enjoin further unlawful, unfair and/or fraudulent acts
  26
        or practices by Toyota relating to the wiring Defect in Class Vehicles and from
  27
        violating the UCL in the future by selling Class Vehicles with the wiring Defect.
  28

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   1
              396. Plaintiffs also seek to obtain restitutionary disgorgement of all monies
   2
        and revenues generated as a result of such practices, require notice of this dangerous
   3
        condition be provided to the Class, and all other relief allowed under CAL. BUS. &
   4
        PROF. CODE § 17200.
   5                                       COUNT VI
   6                         VIOLATION OF THE CALIFORNIA
                            CONSUMERS LEGAL REMEDIES ACT
   7                       (CAL. CIV. CODE §§ 1750, et seq.) (“CLRA”)
   8                       (On Behalf of Plaintiffs Grammer, Pla, and
                              Powell, and the California Sub-Class)
   9
              397.    Plaintiffs repeat and reallege the allegations above as if fully set forth
  10
        herein.
  11
              398.    This claim is brought by Plaintiff Grammer, Plaintiff Pla, and Plaintiff
  12
        Powell on behalf of the California Sub-Class.
  13
              399. The CLRA prohibits “unfair methods of competition and unfair or
  14
        deceptive acts or practices undertaken by any person in a transaction intended to
  15
        result or which results in the sale or lease of goods or services to any consumer
  16
        . . . .” CAL. CIV. CODE § 1770.
  17
              400. Toyota Defendants are “persons” as defined by CAL. CIV. CODE §
  18
        1761(c).
  19
              401. The Class Vehicles are “goods” as defined by CAL. CIV. CODE §
  20
        1761(a).
  21
              402. Plaintiffs and the Class members are “consumers” as defined by CAL.
  22
        CIV. CODE § 1761(d).
  23
              403. Toyota made numerous representations concerning the Class Vehicles
  24
        specifications that were misleading, including marketing and advertising the
  25
        workmanship of Class Vehicles and the nature and extent of Toyota’s Warranty.
  26
              404. Toyota also omitted material facts about the Class Vehicles, namely the
  27
        Defect.
  28

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   1
              405. In purchasing or leasing Class Vehicles, Plaintiffs and Class members
   2
        were deceived by Toyota’s failure to disclose that the Class Vehicles contain the
   3
        Defect, resulting in expensive damage for which damage Toyota will not provide
   4
        coverage under its express or implied warranties.
   5
              406. Toyota’s conduct, as hereinabove described, is in violation of CAL. CIV.
   6
        CODE §1770 on the following grounds:
   7
                     a.     (a)(2): misrepresenting the source, sponsorship, approval or
   8
                            certification of goods or services;
   9
                     b.     (a)(5): representing that goods or services have sponsorship,
  10
                            approval, characteristics, ingredients, uses, benefits, or quantities
  11
                            which they do not have;
  12
                     c.     (a)(7): representing that goods are of a particular standard,
  13
                            quality, or grade, if they are another;
  14
                     d.     (a)(9): advertising goods with the intent not to sell them as
  15
                            advertised; and
  16
                     e.     (a)(16), representing that goods have been supplied in accordance
  17
                            with a previous representation when they have not.
  18
              407. Toyota knew that Class Vehicles contain the Defect and are not suitable
  19
        for their intended use.
  20
              408. Toyota had a duty to disclose the Defect because Toyota had exclusive
  21
        knowledge of the Defect prior to making sales and leases of Class Vehicles and
  22
        because Toyota made partial representations about the quality of Class Vehicles, but
  23
        failed to fully disclose that Defect plagues Class Vehicles.
  24
              409. Specifically, Toyota was under a duty to Plaintiff and Class members to
  25
        disclose the defective nature of the Class Vehicles because:
  26
                    a.     Toyota was in a superior position to know the true state of facts
  27
                           about the Defect – a defect that can pose a safety risk – and
  28

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   1
                            associated repair costs in the Class Vehicles;
   2
                      b.    Plaintiffs and the Class members could not reasonably have been
   3
                            expected to learn or discover that the Class Vehicles have a defect
   4
                            that affects operability of Class Vehicles and creates safety
   5
                            concerns until manifestation of the Defect; and
   6
                      c.    Toyota knew that Plaintiffs and the Class members could not
   7
                            reasonably have been expected to learn or discover the Defect
   8
                            until manifestation of the Defect.
   9
                 410. In failing to disclose the wiring Defect in Class Vehicles, Toyota has
  10
        knowingly and intentionally concealed material facts and breached their duty not to
  11
        do so.
  12
                 411. The facts concealed or not disclosed by Toyota to Plaintiffs and Class
  13
        members are material in that a reasonable consumer would have considered them to
  14
        be important in deciding whether to purchase or lease Class Vehicles or pay a lesser
  15
        price. Had Plaintiffs and the Class known about the defective nature of the Class
  16
        Vehicles, they would not have purchased or leased the Class Vehicles, or they would
  17
        have paid less.
  18
                 412. As a direct and proximate result of Toyota’s unfair and deceptive acts
  19
        or practices, Plaintiff and Class members have been harmed.
  20
                 413. Under CAL. CIV. CODE § 1780(a), Plaintiffs and the California Sub-
  21
        Class seek actual damages, an order enjoining Toyota from further engaging in the
  22
        unfair and deceptive acts and practices alleged herein, and restitutionary relief to
  23
        remedy Toyota’s violations of the CLRA as alleged herein.
  24
                 414. Under CAL. CIV. CODE § 1780(b), Plaintiffs seek an additional award
  25
        against Toyota of up to $5,000 for each California Sub-Class member who qualifies
  26
        as a “senior citizen” or “disabled person” under the CLRA. Toyota knew or should
  27
        have known that its conduct was directed to one or more California Sub-Class
  28

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   1
        members who are senior citizens or disabled persons. Toyota’s conduct caused one
   2
        or more of these senior citizens or disabled persons to suffer a substantial loss of
   3
        property set aside for retirement or for personal or family care and maintenance, or
   4
        assets essential to the health or welfare of the senior citizen or disabled person. One
   5
        or more California Sub-Class members who are senior citizens or disabled persons
   6
        are substantially more vulnerable to Toyota’s conduct because of age, poor health or
   7
        infirmity, impaired understanding, restricted mobility, or disability, and each of them
   8
        suffered substantial physical, emotional, or economic damage resulting from
   9
        Toyota’s conduct.
  10
              415. Pursuant to CAL. CIV. CODE § 3345, Plaintiffs seek an award of trebled
  11
        damages on behalf of all senior citizens and disabled persons comprising the Class
  12
        as a result of Toyota’s conduct alleged herein.
  13
              416. Pursuant to CLRA Section 1780(a)(4), Plaintiffs also seek punitive
  14
        damages against Toyota because it carried out reprehensible conduct with willful and
  15
        conscious disregard of the rights and safety of others, subjecting Plaintiffs and the
  16
        California Sub-Class to potential cruel and unjust hardship as a result. See CAL. CIV.
  17
        CODE § 1780(a)(4). Toyota intentionally and willfully deceived Plaintiffs on life-or-
  18
        death matters, and concealed material facts that only Toyota knew. Toyota’s unlawful
  19
        conduct likewise constitutes malice, oppression, and fraud warranting exemplary
  20
        damages under CAL. CIV. CODE § 3294.
  21
              417. Plaintiffs further seek an order awarding costs of court and attorneys’
  22
        fees under CAL. CIV. CODE § 1780(e), and any other just and proper relief available
  23
        under the CLRA.
  24
              418. On October 6, 2016, Plaintiff Pla notified Toyota of the damages and
  25
        Defect in her Class Vehicle in satisfaction of CAL. BUS. & PROF. CODE § 1782.
  26
        Plaintiff Pla has made pre-suit attempts to remedy the Defect in her Class Vehicle, to
  27
        no avail.
  28

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                                               79
                                                               CLASS ACTION COMPLAINT
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   1
              419. On or about September 12, 2016, Plaintiff Powell notified Toyota of the
   2
        damages and Defect in his Class Vehicle in satisfaction of CAL. BUS. & PROF. CODE
   3
        § 1782. Plaintiff Powell has made pre-suit attempts to remedy the Defect in his Class
   4
        Vehicle, to no avail.
   5                                COUNT VII
   6     VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
                   FOR BREACH OF EXPRESS WARRANTIES
   7               CAL. CIV. CODE §§ 1791.2 & 1793.2 (“SBCWA”)
   8                 (On Behalf of Plaintiffs Grammer, Pla, and
                        Powell, and the California Sub-Class)
   9
              420.    Plaintiffs repeat and reallege the allegations above as if fully set forth
  10
        herein.
  11
              421.    This claim is brought by Plaintiff Grammer, Plaintiff Pla, and Plaintiff
  12
        Powell on behalf of the California Sub-Class.
  13
              422. Plaintiffs and Class members are “buyers” within the meaning of the
  14
        SBCWA. See CAL. CIV. CODE § 1791(b).
  15
              423. The Class Vehicles are “consumer goods” within the meaning of CAL.
  16
        CIV. CODE § 1791(a).
  17
              424. Toyota is a “manufacturer” within the meaning of CAL. CIV. CODE §
  18
        1791(j).
  19
              425.    Plaintiffs and Class members bought or leased automobiles
  20
        manufactured by Toyota.
  21
              426.    Toyota made express warranties to Plaintiffs and Class members
  22
        within the meaning of CAL. CIV. CODE §§ 1791.2 and 1793.2 as set forth herein.
  23
              427.    Specifically, Toyota expressly warranted that the Warranty “covers
  24
        repairs and adjustments needed to correct defects in materials or workmanship of
  25
        any part supplied by Toyota, subject to the exceptions indicated under ‘What Is Not
  26
        Covered’ . . . .” Ex. A.
  27
              428.    As set forth herein in detail, Class Vehicles are inherently defective in
  28

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   1
        that they contain electrical wiring systems that are made with or consist of soy- or
   2
        bio-based materials that attract rodents and other pests which chew or eat the wiring,
   3
        causing partial or total failure in Class Vehicles. Contrary to Toyota’s position, the
   4
        Defect is covered under its Warranty.
   5
              429.    The Defect jeopardizes the safety of drivers and passengers of Class
   6
        Vehicles, and other drivers on the road, and substantially impairs the use, value, and
   7
        safety of Class Vehicles to reasonable consumers like Plaintiffs and Class members.
   8
              430.    Plaintiffs delivered their Class Vehicle to Toyota or its authorized
   9
        repair facility to repair the Defect and notified Toyota in writing of the need for
  10
        repair, but Toyota failed and continues to fail to make repairs to Plaintiffs’ Class
  11
        Vehicles under Toyota’s Warranty.
  12
              431.    As a result of Toyota’s breach of its express warranties, Plaintiffs and
  13
        Class members received goods containing a dangerous condition that substantially
  14
        impairs the value of the goods to Plaintiffs and Class members. Plaintiffs and other
  15
        Class members have been damaged as a result of the diminished value of Toyota’s
  16
        products, the Defect, the products’ malfunctioning due to the Defect, and the non-
  17
        use of their Class Vehicles.
  18
              432. Pursuant to CAL. CIV. CODE. §§ 1793.2 & 1794, Plaintiffs and other
  19
        Class members are entitled to damages and other legal and equitable relief including,
  20
        at their election, the purchase price of or a buyback of their Toyota vehicles, or the
  21
        overpayment or diminution in value of their Class Vehicles.
  22
              433. Pursuant to CAL. CIV. CODE § 1794, Plaintiffs and Class members are
  23
        also entitled to costs and reasonable attorneys’ fees.
  24
        ///
  25
        ///
  26
        ///
  27
        ///
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                                81
                                                               CLASS ACTION COMPLAINT
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   1                               COUNT VIII
   2     VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
        FOR BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
   3               CAL. CIV. CODE §§ 1791.1 & 1792 (“SBCWA”)
   4                (On Behalf of Plaintiffs Grammer, Pla, and
                       Powell, and the California Sub-Class)
   5
              434.    Plaintiffs repeat and reallege the allegations above as if fully set forth
   6
        herein.
   7
              435.    This claim is brought by Plaintiff Grammer, Plaintiff Pla, and Plaintiff
   8
        Powell on behalf of the California Sub-Class.
   9
              436. Plaintiffs and Class members are “buyers” within the meaning of the
  10
        SBCWA. See CAL. CIV. CODE § 1791(b).
  11
              437. The Class Vehicles are “consumer goods” within the meaning of CAL.
  12
        CIV. CODE § 1791(a).
  13
              438. Toyota is a “manufacturer” within the meaning of CAL. CIV. CODE §
  14
        1791(j).
  15
              439. Toyota impliedly warranted to Plaintiffs and the other Class members
  16
        that its Class Vehicles were “merchantable” within the meaning of CAL. CIV. CODE
  17
        §§ 1791.1(a) & 1792.
  18
              440. In reality, the Class Vehicles do not possess those qualities that a buyer
  19
        would reasonably expect.
  20
              441. Section 1791.1(a) states: “Implied warranty of merchantability” or
  21
        “implied warranty that goods are merchantable” means that the consumer goods meet
  22
        each of the following: (1) Pass without objection in the trade under the contract
  23
        description. (2) Are fit for the ordinary purposes for which such goods are used. (3)
  24
        Are adequately contained, packaged, and labeled. (4) Conform to the promises or
  25
        affirmations of fact made on the container or label.
  26
              442. The Class Vehicles are not suitable for the market, and would not pass
  27
        without objection in the automotive industry and market because of the wiring Defect
  28

                                                               PLAINTIFFS’ THIRD AMENDED
                                               82
                                                                 CLASS ACTION COMPLAINT
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   1
        in Class Vehicles’ electrical wiring systems. Specifically, the material used in Class
   2
        Vehicle wiring, wiring insulation, and/or wiring harnesses fails to protect vital
   3
        vehicular components from being eaten by rodents, and instead causes Class Vehicles
   4
        to fail due to wire damage caused by rodents that are attracted to materials in the
   5
        wiring products.
   6
              443. The material used in Class Vehicles’ wiring systems makes the Class
   7
        Vehicles unsuitable for safe driving. Class Vehicles are not in merchantable
   8
        condition, and are therefore, not fit for their ordinary purposes.
   9
              444. Furthermore, Class Vehicles are not adequately labeled because the
  10
        labeling fails to disclose the wiring Defect.
  11
              445. Toyota breached the implied warranty of merchantability by
  12
        manufacturing and selling Class Vehicles containing the wiring Defect. Furthermore,
  13
        the Defect has caused Plaintiffs and other Class members to not receive the benefit
  14
        of their bargain and have caused Class Vehicles to depreciate in value.
  15
              446. As a direct and proximate result of Toyota’s breach of the implied
  16
        warranty of merchantability, Plaintiffs and the other Class members received goods
  17
        whose defective condition substantially impairs their value to Plaintiff and the other
  18
        Class members. Plaintiffs and the other Class members have been damaged as a result
  19
        of the diminished value of Toyota’s products, the products’ malfunctioning, and the,
  20
        nonuse of their Class Vehicles.
  21
              447. Plaintiffs and the other Class members have had sufficient direct
  22
        dealings with either Toyota or its agents (e.g., dealerships and technical support) to
  23
        establish privity of contract between Toyota on one hand, and Plaintiffs and each of
  24
        the other Class members on the other hand. Nonetheless, privity is not required here
  25
        because Plaintiffs and each of the other Class members are intended third-party
  26
        beneficiaries of contracts between Toyota and its dealers, and specifically, of
  27
        Toyota’s implied warranties. The dealers were not intended to be the ultimate
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                                83
                                                               CLASS ACTION COMPLAINT
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   1
        consumers of the Class Vehicles and have no rights under the warranty agreements
   2
        provided with the Class Vehicles; the warranty agreements were designed for and
   3
        intended to benefit the consumers only.
   4
              448. Pursuant to CAL. CIV. CODE §§ 1791.1(d) and 1794, Plaintiffs and Class
   5
        members are entitled to damages and other legal and equitable relief, including, at
   6
        their election, the purchase price of or a buyback of their Toyota vehicles, or the
   7
        overpayment or diminution in value of their Class Vehicles.
   8
              449. Pursuant to CAL. CIV. CODE § 1794, Plaintiffs and Class members are
   9
        also entitled to costs and reasonable attorneys’ fees.
  10                                         COUNT IX
  11                           BREACH OF EXPRESS WARRANTY
                                       CAL. COM. CODE § 2313
  12                         (On Behalf of Plaintiffs Grammer, Pla, and
  13                            Powell, and the California Sub-Class)

  14          450. Plaintiffs repeat and reallege the allegations above as if fully set forth

  15    herein.

  16          451. This claim is brought by Plaintiff Grammer, Plaintiff Pla, and Plaintiff

  17    Powell on behalf of the California Sub-Class.

  18          452. Toyota is and was at all relevant times a merchant with respect to motor

  19    vehicles. CAL. COM. CODE § 2104.

  20          453. Pursuant to CAL. COM. CODE § 2313:

  21                (1) Express warranties by the seller are created as follows:
  22
                           (a) Any affirmation of fact or promise made by the
  23                       seller to the buyer which relates to the goods and
  24                       becomes part of the basis of the bargain creates an
                           express warranty that the goods shall conform to the
  25                       affirmation or promise.
  26
        Id.
  27
              454. In its Warranty and in advertisements, brochures, and through other
  28

                                                           PLAINTIFFS’ THIRD AMENDED
                                              84
                                                             CLASS ACTION COMPLAINT
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   1
        statements in the media, Toyota expressly warranted that it would repair or replace
   2
        defects in material or workmanship free of charge if they became apparent during the
   3
        warranty period. For example, the following language appears in all Class Vehicle
   4
        Warranty manuals: “This warranty covers repairs and adjustments needed to correct
   5
        defects in materials or workmanship of any part supplied by Toyota, subject to the
   6
        exceptions indicated under ‘What Is Not Covered’ . . . .” Ex. A.
   7
                455. Toyota’s Warranty, as well as advertisements, brochures, and other
   8
        statements in the media regarding the Class Vehicles, formed the basis of the bargain
   9
        that was reached when Plaintiffs and the other Class members purchased or leased
  10
        their Class Vehicles.
  11
                456. Toyota breached the express warranty to repair and adjust to correct
  12
        defects in materials and workmanship of any part supplied by Toyota. Toyota has not
  13
        repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
  14
        materials and workmanship defects, namely the soy- or bio-based electrical wiring
  15
        parts and components.
  16
                457. At the time of selling or leasing Class Vehicles, Toyota did not provide
  17
        Class Vehicles that conformed to its express warranties.
  18
                458. Furthermore, the warranty of repair and/or adjustments to defective
  19
        parts fails in its essential purpose because the contractual remedy is insufficient to
  20
        make Plaintiffs and the other Class members whole and because Toyota has failed
  21
        and/or has refused to adequately provide the promised remedies within a reasonable
  22
        time.
  23
                459. Accordingly, recovery by Plaintiffs and the other Class members is not
  24
        limited to the limited warranty of repair or adjustments to parts defective in materials
  25
        or workmanship, and Plaintiffs, individually and on behalf of the other Class
  26
        members, seeks all remedies as allowed by law.
  27
                460. Also, as alleged in more detail herein, at the time that Toyota warranted
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               85
                                                               CLASS ACTION COMPLAINT
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   1
        and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
   2
        warranties and were inherently defective, and Toyota wrongfully and fraudulently
   3
        misrepresented and/or concealed material facts regarding its Class Vehicles.
   4
        Plaintiffs and the other Class members were therefore induced to purchase or lease
   5
        the Class Vehicles under false and/or fraudulent pretenses.
   6
              461. Moreover, many of the injuries flowing from the Class Vehicles cannot
   7
        be resolved through the limited remedy of “replacement or adjustments,” as many
   8
        incidental and consequential damages have already been suffered due to Toyota’s
   9
        fraudulent conduct as alleged herein, and due to its failure and/or continued failure
  10
        to provide such limited remedy within a reasonable time, and any limitation on
  11
        Plaintiffs’ and the other Class members’ remedies would be insufficient to make
  12
        Plaintiffs and the other Class members whole.
  13
              462. Furthermore, the application of (or refusal to permit coverage under) the
  14
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
  15
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
  16
        disparity in bargaining power existed between Toyota and Class members, and
  17
        Toyota knew or should have known that the Class Vehicles were defective at the time
  18
        of sale and that the wiring systems would fail well before their useful lives.
  19
              463. Toyota was provided notice of these issues by numerous complaints
  20
        filed against it, including the instant complaint, and by numerous individual letters
  21
        and communications sent by Plaintiffs and the other Class members before or within
  22
        a reasonable amount of time after the allegations of the Defect became public.
  23
              464. As a direct and proximate result of Toyota’s breach of express
  24
        warranties, Plaintiffs and the other Class members have been damaged in an amount
  25
        to be determined at trial.
  26
        ///
  27
        ///
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               86
                                                               CLASS ACTION COMPLAINT
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   1                                 COUNT X
   2       BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                             CAL. COM. CODE § 2314
   3                 (On Behalf of Plaintiffs Grammer, Pla, and
   4                   Powell, and the California Sub-Class)

   5          465. Plaintiffs repeat and reallege the allegations above as if fully set forth

   6    herein.

   7          466. This claim is brought by Plaintiff Grammer, Plaintiff Pla, and Plaintiff

   8    Powell on behalf of the California Sub-Class.

   9          467. Toyota is and was at all relevant times a merchant with respect to motor

  10    vehicles. CAL. COM. CODE § 2104.

  11          468. A warranty that the Class Vehicles were in merchantable condition is

  12    implied by law, pursuant to CAL. COM. CODE § 2314.

  13          469. The Class Vehicles, when sold or leased and at all times thereafter, were

  14    not in merchantable condition and are not fit for the ordinary purpose for which cars

  15    are used. Specifically, the Class Vehicles suffer from an inherent Defect, as alleged

  16    herein.

  17          470. Toyota was provided notice of these issues by numerous complaints

  18    filed against it, including this Complaint, and by numerous individual letters,

  19    telephone calls, and other communications sent by Plaintiffs and other Class

  20    members before or within a reasonable amount of time after the allegations of the

  21    Defect became public.

  22          471. Plaintiffs and the other Class members have had sufficient direct

  23    dealings with either Toyota or its agents (dealerships) to establish privity of contract

  24    between Toyota, on the one hand, and Plaintiffs and the other Class members, on the

  25    other hand. Notwithstanding this, privity is not required in this case because Plaintiffs

  26    and the other Class members are intended third-party beneficiaries of contracts

  27    between Toyota and its dealers; specifically, they are the intended beneficiaries of

  28    Toyota’s implied warranties. The dealers were not intended to be the ultimate

                                                              PLAINTIFFS’ THIRD AMENDED
                                                87
                                                                CLASS ACTION COMPLAINT
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   1
        consumers of the Class Vehicles and have no rights under the warranty agreements
   2
        provided with the Class Vehicles; the warranty agreements were designed for and
   3
        intended to benefit the ultimate consumers only. Finally, privity is also not required
   4
        because Plaintiffs’ and the other Class members’ Class Vehicles are dangerous
   5
        instrumentalities due to the aforementioned Defect and nonconformities.
   6
              472. Furthermore, the application of (or refusal to permit coverage under) the
   7
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   8
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   9
        disparity in bargaining power existed between Toyota and Class members, and
  10
        Toyota knew or should have known that the Class Vehicles were defective at the time
  11
        of sale and that the wiring systems would fail well before their useful lives.
  12
              473. As a direct and proximate result of Toyota’s breach of the warranty of
  13
        merchantability, Plaintiffs and the other Class members have been damaged in an
  14
        amount to be proven at trial.
  15                                      COUNT XI
  16                       FRAUD/FRAUDULENT CONCEALMENT
                           (On Behalf of Plaintiffs Grammer, Pla, and
  17                         Powell, and the California Sub-Class)
  18          474. Plaintiffs repeat and reallege the allegations above as if fully set forth
  19    herein.
  20          475.    This claim is brought by Plaintiff Grammer, Plaintiff Pla, and Plaintiff
  21    Powell on behalf of the California Sub-Class.
  22          476.    Defendants concealed and suppressed material facts concerning the
  23    performance and quality of the Class Vehicles – namely, the Defect – and the quality
  24    of the Toyota brand. Specifically, Defendants knew of (or should have known of)
  25    the Defect, but failed to disclose it prior to or at the time it sold or leased Class
  26    Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
  27    Vehicles.
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               88
                                                               CLASS ACTION COMPLAINT
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   1
              477.      Plaintiffs and Class members had no way of knowing that Defendants’
   2
        representations were false and gravely misleading, or that Defendants had omitted
   3
        imperative details. Plaintiffs and Class members did not, and could not, unravel
   4
        Defendants’ deception on their own.
   5
              478.      Defendants had a duty to disclose the true performance of the Class
   6
        Vehicles and the Defect because knowledge thereof and the details related thereto
   7
        were known and/or accessible only to Defendants; Defendants had superior
   8
        knowledge and access to the facts; and Defendants knew the facts were not known
   9
        to, or reasonably discoverable, by Plaintiffs and the Class. Defendants also had a
  10
        duty to disclose because they made many general affirmative representations about
  11
        the about the qualities of the Class Vehicles.
  12
              479.      On information and belief, Defendants still have not made full and
  13
        adequate disclosures, and continue to defraud consumers by concealing material
  14
        information regarding the Defect and the performance and quality of Class Vehicles.
  15
              480.      Plaintiffs and the Class were unaware of these omitted material facts
  16
        and would not have acted as they did if they had known of the concealed and/or
  17
        suppressed facts, in that they would not have purchased or leased the Class Vehicles.
  18
        Plaintiffs’ and the Class’ actions were justified. Defendants were in exclusive
  19
        control of the material facts and such facts were not known to the public, Plaintiffs,
  20
        or the Class.
  21
              481.      Plaintiffs and the Class relied upon Defendants representations and
  22
        omissions regarding the quality of Class Vehicles and the Defect in deciding to
  23
        purchase or lease Class Vehicles.
  24
              482.      Because of the concealment and/or suppression of the facts, Plaintiffs
  25
        and the Class sustained damage because they did not receive the value of the
  26
        premium price paid for their Class Vehicles. Plaintiffs and Class members would
  27
        have paid less for Class Vehicles had they known about the Defect and the entire
  28

                                                             PLAINTIFFS’ THIRD AMENDED
                                                89
                                                               CLASS ACTION COMPLAINT
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   1
        truth about them, or they would not have purchased or leased Class Vehicles at all.
   2
              483.     Accordingly, Defendants are liable to Plaintiffs and the California
   3
        Sub-Class for damages in an amount to be proven at trial.
   4
              484.     Defendants’ acts were done maliciously, oppressively, deliberately,
   5
        with intent to defraud, and in reckless disregard of Plaintiffs’ and the Class’ rights
   6
        and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
   7
        of punitive damages in an amount sufficient to deter such conduct in the future,
   8
        which amount is to be determined according to proof.
   9
              485.     Furthermore, as the intended and expected result of its fraud and
  10
        conscious wrongdoing, Toyota has profited and benefited from Plaintiffs’ and Class
  11
        members’ purchase of Class Vehicles containing the Defect. Toyota has voluntarily
  12
        accepted and retained these profits and benefits with full knowledge and awareness
  13
        that, as a result of Toyota’s misconduct alleged herein, Plaintiffs and the Class were
  14
        not receiving automobiles of the quality, nature, fitness, or value that had been
  15
        represented by Toyota, and that a reasonable consumer would expect.
  16
              486.     Toyota has been unjustly enriched by its fraudulent, deceptive, and
  17
        otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
  18
        and by withholding benefits from Plaintiffs and the Class at the expense of these
  19
        parties. Equity and good conscience militate against permitting Toyota to retain
  20
        these profits and benefits, and Toyota should be required to make restitution of its
  21
        ill-gotten gains resulting from the conduct alleged herein.
  22
        C.    Colorado
  23
                                       COUNT XII
  24      VIOLATIONS OF THE COLORADO CONSUMER PROTECTION ACT
  25                COLO. REV. STAT. §§ 6-1-101, et seq. (“CCPA”)
               (On behalf of Plaintiff Zishka and the Colorado Sub-Class)
  26
              487. Plaintiffs repeat and reallege the allegations contained above as if fully
  27
        set forth herein.
  28

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                                               90
                                                               CLASS ACTION COMPLAINT
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    1
              488. This claim is brought by Plaintiff Zishka on behalf of the Colorado
    2
        Sub-Class.
    3
              489. The CCPA provides that a person may not engage in any unfair or
    4
        deceptive trade practice in the sale of any consumer good.
    5
              490. Toyota participated in misleading, false or deceptive acts that violated
    6
        the CCPA. By fraudulently advertising and selling Class Vehicles with the Defect as
    7
        described herein, Toyota engaged in deceptive business practices prohibited by the
    8
        CCPA.
    9
              491. Toyota is a “Person” within the meaning of the CCPA. See COLO. REV.
   10
        STAT. § 6-1-102(6).
   11
              492. Toyota’s actions as set forth above occurred in the course of its business,
   12
        vocation, or occupation. See COLO. REV. STAT. § 6-1-105(1).
   13
              493. In the course of its business, Toyota incorporated defective electrical
   14
        wiring insulation and other wiring components in Class Vehicles that attract rodents
   15
        and other pests which cause damage. Toyota concealed this Defect and otherwise
   16
        engaged in activities with the tendency or capacity to deceive. Toyota also engaged
   17
        in unlawful trade practices by employing deception, deceptive acts or practices,
   18
        fraud, misrepresentations, or concealment, suppression or omission, in connection
   19
        with the sale of Class Vehicles containing the Defect.
   20
              494. Toyota has known of the Defect in Class Vehicles from complaints and
   21
        communications by Plaintiff and Class members, but continued to conceal the Defect
   22
        in order to make sales and leases of Class Vehicles.
   23
              495. By willfully failing to disclose and actively concealing the Defect, by
   24
        marketing Class Vehicles as reliable and of high quality, and by presenting itself as
   25
        a reputable manufacturer that stood by its products after they were sold or leased
   26
        when it in fact does not, Toyota engaged in unfair and deceptive business practices
   27
        in violation of the CCPA.
   28

                                                            PLAINTIFFS’ THIRD AMENDED
                                              91
                                                              CLASS ACTION COMPLAINT
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    1
                 496. Toyota’s unfair or deceptive acts or practices were likely to and did in
    2
        fact deceive reasonable consumers, including Plaintiff and members of the Colorado
    3
        Class, about the quality, workmanship, performance, safety, and true value of the
    4
        defective Class Vehicles.
    5
                 497. Toyota intentionally and knowingly misrepresented material facts
    6
        regarding the Class Vehicles with intent to mislead Plaintiff and the Colorado Sub-
    7
        Class.
    8
                 498. Toyota’s conduct was and is violative of the CCPA specifically because
    9
        Toyota fails to disclose material information concerning Class Vehicles, which
   10
        information was known at the time of an advertisement or sale/lease, and such failure
   11
        to disclose such information was intended to induce consumers to enter into a
   12
        transaction.
   13
                 499. Toyota owed Plaintiff and the Colorado Sub-Class a duty to disclose the
   14
        Defect in Class Vehicles and the true value of Class Vehicles because Toyota:
   15
                       a.    Possesses exclusive knowledge that its manufacturing process
   16
                             entailed the inclusion of defective and rodent-damage-prone soy-
   17
                             or bio-based wiring parts and components;
   18
   19                  b.    Intentionally concealed the foregoing from Plaintiff and the
   20                        Colorado Sub-Class; and/or
   21                  c.    Made incomplete, false or misleading representations about the
   22                        characteristics, quality, workmanship, reliability, value, safety,
   23                        efficiency, and performance of Class Vehicles while purposefully
   24                        withholding material facts from Plaintiff and the Colorado Sub-
   25                        Class that contradicted these representations.
   26            500. Because Plaintiff and the Colorado Sub-Class overpaid for Class
   27   Vehicles due to Toyota’s conduct described herein and because the Defect in Class
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                92
                                                                CLASS ACTION COMPLAINT
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    1
        Vehicles has caused Plaintiff and members of the Colorado Sub-Class to incur out-
    2
        of-pocket expenses, they have suffered ascertainable loss as a direct and proximate
    3
        result of Toyota’s deceptive and unfair acts and practices in violation of the CCPA.
    4
              501. As a result of Toyota’s conduct alleged herein, Plaintiff entitled to
    5
        damages and all other relief that this Court deems appropriate. Plaintiff and the
    6
        Colorado Sub-Class are also entitled to an award of attorneys’ fees pursuant to COLO.
    7
        REV. STAT. § 6-1-113(2)(b).
    8
              502. Toyota’s conduct alleged herein was carried out in bad faith, warranting
    9
        multiple or punitive damages pursuant to COLO. REV. STAT. § 6-1-113(2)(b).
   10
                                          COUNT XIII
   11                        BREACH OF EXPRESS WARRANTY
   12                        COLO. REV. STAT. §§ 4-2-313 & 4-2.5-210
                     (On Behalf of Plaintiff Zishka the Colorado Sub-Class)
   13
              503. Plaintiffs repeat and reallege the allegations contained above as if fully
   14
        set forth herein.
   15
              504. This claim is brought by Plaintiff Zishka on behalf of the Colorado
   16
        Sub-Class.
   17
              505. Toyota is and was at all relevant times a “merchant” with respect to
   18
        motor vehicles under COLO. REV. STAT. §§ 4-2-104(1) and 4-2.5-103(3) and “seller”
   19
        of motor vehicles under section 4-2-103(1)(d).
   20
              506. With respect to leases, Toyota was at all relevant times a “lessor” of
   21
        motor vehicles under COLO. REV. STAT. § 4-2.5-103(1)(p).
   22
   23         507. The Class Vehicles are ad were at all relevant times “goods” within the

   24   meaning of COLO. REV. STAT. §§ 4-2-105(1) and 4-2.5-103(1)(h).

   25         508. In its New Vehicle Limited Warranty and in advertisements, brochures,
   26   and through other statements, Toyota expressly warranted that it would repair or
   27   replace defects in material or workmanship free of charge if they became apparent
   28   during the warranty period. For example, the following language appears in all Class

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    1
        Vehicle Warranty and Maintenance Guides:
    2
                     WHAT IS COVERED AND HOW LONG
    3
                     Basic Warranty
    4
                     This warranty covers repairs and adjustments needed to
    5                correct defects in materials or workmanship of any part
    6                supplied by Toyota, subject to the exceptions indicated
                     under “What Is Not Covered” . . . .
    7
        Ex. A.
    8
    9         509. Toyota’s Warranty does not exclude rodent or animal damage of the

   10   type suffered by Plaintiff and Class members in their Class Vehicles.

   11         510.   Toyota’s Warranty as well as advertisements, brochures, and other
   12   statements regarding the Class Vehicles, formed the basis of the bargain that was
   13   reached when Plaintiff and the other Class members purchased or leased their Class
   14   Vehicles.
   15         511. Toyota breached the express warranty to repair and adjust to correct
   16   defects in materials and workmanship of any part supplied by Toyota. Toyota has
   17   not repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
   18   materials and workmanship defects.
   19         512. In addition to Toyota’s Warranty, Toyota otherwise expressly warranted
   20   the attributes, characteristics, and qualities of its Class Vehicles. These warranties
   21   are only a sampling of the numerous warranties that Toyota made relating to safety,
   22   reliability, and operation. Generally these express warranties promise heightened,
   23   superior, and state-of-the-art, reliability, safety, and performance standards, and
   24   promote the benefits of their Class Vehicles. These warranties were made, inter alia,
   25   in advertisements, on Toyota’s website, and in uniform statements provided by
   26   Toyota to be made by salespeople, or made publicly by Toyota executives or by other
   27   authorized Toyota representatives. These affirmations and promises were part of the
   28

                                                            PLAINTIFFS’ THIRD AMENDED
                                              94
                                                              CLASS ACTION COMPLAINT
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    1
        basis of the bargain between the parties, and thus created express warranties.
    2
              513. These additional warranties were also breached because the Class
    3
        Vehicles were not fully operational, safe, or reliable, nor did they comply with the
    4
        warranties expressly made to Class Vehicle purchasers or lessees. Toyota did not
    5
        provide at the time of sale, and has not provided since then, Class Vehicles
    6
        conforming to its express warranties.
    7
              514. Toyota breached express warranties by selling to Plaintiff and Class
    8
        Members Class Vehicles with the Defect which Toyota knew or should have known
    9
        attracts rodents and other pests and makes wiring in the Class Vehicles prone to
   10
        rodent damage, causing Class Vehicles to fail prematurely and/or fail to function
   11
        properly.
   12
   13         515. In addition, since Toyota knew or should have known about the Defect,
   14   the warranty failed its essential purpose.
   15         516. Furthermore, the limited warranty of repair and/or adjustments to
   16   defective parts also fails in its essential purpose because the contractual remedy is
   17   insufficient to make Plaintiff and the other Class members whole and because Toyota
   18   has failed and/or has refused to adequately provide the promised remedies within a
   19   reasonable time.
   20         517. Toyota’s attempts to disclaim or limit its express warranties vis-à-vis
   21   consumers are unconscionable and unenforceable under the circumstances here.
   22         518. Accordingly, recovery by Plaintiff and the other Class members is not
   23   limited to the limited warranty of repair or adjustments to parts defective in materials
   24   or workmanship, and Plaintiff, individually and on behalf of the other Class
   25   members, seek all remedies as allowed by law.
   26
              519. Also, as alleged in more detail herein, at the time that Toyota warranted
   27
        and sold the Class Vehicles, it knew that the Class Vehicles did not conform to the
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                                95
                                                               CLASS ACTION COMPLAINT
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    1
        warranties and were inherently defective, and Toyota wrongfully and fraudulently
    2
        misrepresented and/or concealed material facts regarding its Class Vehicles. Plaintiff
    3
        and the other Class members were therefore induced to purchase or lease the Class
    4
        Vehicles under false and/or fraudulent pretenses.
    5
              520. Moreover, many of the injuries flowing from the Class Vehicles cannot
    6
        be resolved through the limited remedy of “replacement or adjustments,” as many
    7
        incidental and consequential damages have already been suffered due to Toyota’s
    8
        fraudulent conduct as alleged herein, and due to its failure and/or continued failure
    9
        to provide such limited remedy within a reasonable time, and any limitation on
   10
        Plaintiff’s and the other Class members’ remedies would be insufficient to make
   11
        Plaintiff and the other Class members whole.
   12
              521. Toyota was provided notice of these issues and the Defect by numerous
   13
        complaints filed against it, including the instant complaint, and by numerous
   14
        individual letters and communications (including Plaintiff’s communications) sent
   15
        by and from Class members.
   16
   17         522. The intended failure to disclose the known Defect is malicious, and it
   18   was carried out by Toyota with willful and wanton disregard for the rights and
   19   economic interests of Plaintiff and Class Members.
   20         523. Furthermore, the application of (or refusal to permit coverage under) the
   21   Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   22   Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   23   disparity in bargaining power existed between Toyota and Class members, and
   24   Toyota knew or should have known that the Class Vehicles were defective at the time
   25   of sale and that the wiring systems would fail well before their useful lives.
   26         524. Due to Toyota’s breach of warranties as set forth herein, Plaintiff and
   27   the other Class members assert as an additional and/or alternative remedy for a
   28   revocation of acceptance of the goods, and for a return to Plaintiff and to the other

                                                             PLAINTIFFS’ THIRD AMENDED
                                               96
                                                               CLASS ACTION COMPLAINT
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    1
        Class members of the purchase price of all Class Vehicles currently owned for such
    2
        other incidental and consequential damages as allowed by law.
    3
              525. As a direct and proximate result of Toyota’s breach of express
    4
        warranties, Plaintiff and the other Class members have been damaged in an amount
    5
        to be determined at trial, including but not limited to costly repairs, loss of vehicle
    6
        use, substantial loss in value and resale value of the vehicles, and other related
    7
        damage.
    8
              526. Plaintiff and Class members have complied with all obligations under
    9
        the Warranty, or otherwise have been excused from performance of said obligations
   10
        as a result of Toyota’s conduct described herein.
   11
                                            COUNT XIV
   12      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
   13                        COLO. REV. STAT. §§ 4-2-314 & 4-2.5-212
                    (On Behalf of Plaintiff Zishka and the Colorado Sub-Class)
   14
              527. Plaintiff repeats and realleges the allegations contained above as if fully
   15
        set forth herein.
   16
              528. Plaintiff brings this Count on behalf of the Nationwide Class, or in the
   17
        alternative, the Colorado Sub-Class.
   18
              529. Toyota is and was at all relevant times a “merchant” with respect to
   19
        motor vehicles under COLO. REV. STAT. §§ 4-2-104(1) and 4-2.5-103(3) and “seller”
   20
        of motor vehicles under section 4-2-103(1)(d).
   21
              530. With respect to leases, Toyota was at all relevant times a “lessor” of
   22
        motor vehicles under COLO. REV. STAT. § 4-2.5-103(1)(p).
   23
   24         531. The Class Vehicles are ad were at all relevant times “goods” within the

   25   meaning of COLO. REV. STAT. §§ 4-2-105(1) and 4-2.5-103(1)(h).

   26         532. A warranty that the Class Vehicles were in merchantable condition is

   27   implied by law. See COLO. REV. STAT. §§ 4-2-314 and 4-2.5-212.

   28         533. Toyota impliedly warranted that the Class Vehicles were of a

                                                             PLAINTIFFS’ THIRD AMENDED
                                               97
                                                               CLASS ACTION COMPLAINT
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    1
        merchantable quality.
    2
              534. Toyota breached the implied warranty of merchantability because the
    3
        Class Vehicles were not of a merchantable quality due to the defective soy- or bio-
    4
        based materials and parts, and the associated problems caused by the Defect.
    5
              535. Plaintiff and Class members’ interactions with Toyota suffice to create
    6
        privity of contract between Plaintiff and Class members, on the one hand, and Toyota,
    7
        on the other hand; however, privity of contract need not be established nor is it
    8
        required because Plaintiff and Class members are intended third-party beneficiaries
    9
        of contracts between Toyota and its authorized dealers, and specifically, of Toyota’s
   10
        implied warranties. Toyota’s dealers are intermediaries between Toyota and
   11
        consumers that sell Class Vehicles to consumers and are not consumers of Class
   12
        Vehicles, and therefore have no rights against Toyota with respect to Plaintiff and
   13
        Class members’ purchases or leases of Class Vehicles. Toyota’s warranties were
   14
        designed for the benefit of consumers who purchase(d) or lease(d) Class Vehicles.
   15
              536. As a direct and proximate result of the breach of said warranties,
   16
        Plaintiff and Class members were injured and are entitled to damages.
   17
              537. Toyota’s attempt to disclaim or limit the implied warranty of
   18
        merchantability vis-à-vis consumers is unconscionable and unenforceable here.
   19
        Specifically, Toyota’s Warranty limitations are unenforceable because Toyota
   20
        knowingly sold a defective product without informing consumers about the Defect.
   21
              538. Furthermore, the application of (or refusal to permit coverage under) the
   22
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   23
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   24
        disparity in bargaining power existed between Toyota and Class members, and
   25
        Toyota knew or should have known that the Class Vehicles were defective at the time
   26
        of sale and that the wiring systems would fail well before their useful lives.
   27
              539. Plaintiff and Class members have complied with all obligations under
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               98
                                                               CLASS ACTION COMPLAINT
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    1
        the warranty or otherwise have been excused from performance of said obligations
    2
        as a result of Toyota’s conduct described herein.
    3
              540. Toyota was provided notice of these issues by complaints lodged by
    4
        consumers directly and via NHTSA and elsewhere—which vehicle manufacturers
    5
        like Toyota routinely monitor—before or within a reasonable amount of time after
    6
        the allegations of the Defect became public.
    7
              541. To the extent it is required, the parties are in privity or, alternatively,
    8
        Plaintiff and Class members are the intended beneficiaries of Toyota’s contracts.
    9                                      COUNT XV
   10                      FRAUD/FRAUDULENT CONCEALMENT
                   (On Behalf of Plaintiff Zishka and the Colorado Sub-Class)
   11
              542. Plaintiffs repeat and reallege the allegations above as if fully set forth
   12
        herein.
   13
              543.    This claim is brought by Plaintiff Zishka on behalf of the Colorado
   14
        Sub-Class.
   15
              544.    Defendants concealed and suppressed material facts concerning the
   16
        performance and quality of the Class Vehicles – namely, the Defect – and the quality
   17
        of the Toyota brand. Specifically, Defendants knew of (or should have known of)
   18
        the Defect, but failed to disclose it prior to or at the time it sold or leased Class
   19
        Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
   20
        Vehicles.
   21
              545.    Defendants had a duty to disclose the true performance of the Class
   22
        Vehicles and the Defect because knowledge thereof and the details related thereto
   23
        were known and/or accessible only to Defendants; Defendants had superior
   24
        knowledge and access to the facts; and Defendants knew the facts were not known
   25
        to, or reasonably discoverable, by Plaintiff and the Class. Defendants also had a duty
   26
        to disclose because they made many general affirmative representations about the
   27
        about the qualities of the Class Vehicles.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               99
                                                               CLASS ACTION COMPLAINT
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    1
              546.      On information and belief, Defendants still have not made full and
    2
        adequate disclosures, and continue to defraud consumers by concealing material
    3
        information regarding the Defect and the performance and quality of Class Vehicles.
    4
              547.      Plaintiff and the Class were unaware of these omitted material facts
    5
        and would not have acted as they did if they had known of the concealed and/or
    6
        suppressed facts, in that they would not have purchased or leased the Class Vehicles.
    7
        Plaintiff’s and the Class’ actions were justified. Defendants were in exclusive
    8
        control of the material facts and such facts were not known to the public, Plaintiffs,
    9
        or the Class.
   10
              548.      Plaintiff and the Class relied upon Defendants’ representations and
   11
        omissions regarding the quality of Class Vehicles and the Defect in deciding to
   12
        purchase or lease Class Vehicles.
   13
              549.      Because of the concealment and/or suppression of the facts, Plaintiff
   14
        and the Class sustained damage because they did not receive the value of the
   15
        premium price paid for their Class Vehicles. Plaintiff and Class members would
   16
        have paid less for Class Vehicles had they known about the Defect and the entire
   17
        truth about them, or they would not have purchased or leased Class Vehicles at all.
   18
              550.      Accordingly, Defendants are liable to Plaintiff and the Colorado Sub-
   19
        Class for damages in an amount to be proven at trial.
   20
              551.      Defendants’ acts were done maliciously, oppressively, deliberately,
   21
        with intent to defraud, and in reckless disregard of Plaintiff’s and the Class’ rights
   22
        and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
   23
        of punitive damages in an amount sufficient to deter such conduct in the future,
   24
        which amount is to be determined according to proof.
   25
        ///
   26
        ///
   27
        ///
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               100
                                                               CLASS ACTION COMPLAINT
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    1                                     COUNT XVI
    2                              UNJUST ENRICHMENT
                   (On Behalf of Plaintiff Zishka and the Colorado Sub-Class)
    3
               552. Plaintiffs repeat and reallege the allegations above as if fully set forth
    4
        herein.
    5
               553.   This claim is brought by Plaintiff Zishka on behalf of the Colorado
    6
        Sub-Class. This claim is pled in the alternative to the other claims set forth herein.
    7
               554.   As the intended and expected result of its conscious wrongdoing,
    8
        Toyota has profited and benefited from Plaintiff’s and Class members’ purchase of
    9
        Class Vehicles containing the Defect.
   10
               555.   Toyota has voluntarily accepted and retained these profits and benefits
   11
        with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
   12
        herein, Plaintiff and the Class were not receiving automobiles of the quality, nature,
   13
        fitness, or value that had been represented by Toyota, and that a reasonable
   14
        consumer would expect.
   15
               556.   Toyota has been unjustly enriched by its fraudulent, deceptive, and
   16
        otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
   17
        and by withholding benefits from Plaintiff and the Class at the expense of these
   18
        parties.
   19
               557.   Equity and good conscience militate against permitting Toyota to
   20
        retain these profits and benefits, and Toyota should be required to make restitution
   21
        of its ill-gotten gains resulting from the conduct alleged herein.
   22
        D.     Florida
   23                                     COUNT XVII
   24              VIOLATION OF THE FLORIDA DECEPTIVE & UNFAIR
                           TRADE PRACTICES ACT (“FDUTPA”)
   25                             FLA. STAT. §§ 501.204, et seq.
   26                (On Behalf of Plaintiff Toler and the Florida Sub-Class)
   27          558. Plaintiffs repeat and reallege the allegations above as if fully set forth

   28   herein.

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                                                101
                                                               CLASS ACTION COMPLAINT
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    1
                 559. This claim is brought by Plaintiff Toler on behalf of the Florida Sub-
    2
        Class.
    3
                 560. The    FDUPTA       prohibits   “[u]nfair   methods    of   competition,
    4
        unconscionable acts or practices, and unfair or deceptive acts or practices in the
    5
        conduct of any trade or commerce.” FLA. STAT. § 501.204(1).
    6
                 561. In the course of Toyota’s business, it willfully failed to disclose and
    7
        actively concealed the Defect in Class Vehicles as described herein.
    8
                 562. Accordingly, Toyota engaged in unfair methods of competition,
    9
        unconscionable acts or practices, and unfair or deceptive acts or practices as defined
   10
        in FLA. STAT. § 501.204(1), including representing that Class Vehicles have
   11
        characteristics, uses, benefits, and qualities which they do not have; representing that
   12
        Class Vehicles are of a particular standard and quality when they are not; advertising
   13
        Class Vehicles with the intent not to sell them as advertised; and otherwise engaging
   14
        in conduct likely to deceive.
   15
                 563. Toyota’s actions as set forth above occurred in the conduct of trade or
   16
        commerce.
   17
                 564. Plaintiff and Florida Sub-Class members relied on Toyota to make full
   18
        disclosure as to the true nature of the Class Vehicles, namely the existence of the
   19
        Defect, and in reliance thereupon and in light of this omission, Plaintiff and Florida
   20
        Sub-Class members were deceived. Had the Defect been disclosed, Plaintiff and
   21
        Florida Sub-Class members would not have paid for their Class Vehicles, or would
   22
        have paid less.
   23
                 565. Toyota’s conduct proximately caused injuries to Plaintiff Toler and the
   24
        other Class members.
   25
                 566. Plaintiff Toler and the other Class members were injured as a result of
   26
        Toyota’s conduct in that Plaintiff Toler and the other Class members overpaid for
   27
        their Class Vehicles and did not receive the benefit of their bargain, and their Class
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               102
                                                               CLASS ACTION COMPLAINT
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    1
        Vehicles have suffered a diminution in value. These injuries are the direct and natural
    2
        consequence of Toyota’s misrepresentations and omissions.
    3
                 567. Plaintiff is entitled to actual damages and, pursuant to FLA. STAT. §
    4
        501.2105, reasonable costs and attorneys’ fees.
    5                                     COUNT XVIII
    6                       BREACH OF EXPRESS WARRANTY
                                      FLA. STAT. § 672.313
    7               (On Behalf of Plaintiff Toler and the Florida Sub-Class)
    8            568. Plaintiffs repeat and reallege the allegations above as if fully set forth
    9   herein.
   10            569. This claim is brought by Plaintiff Toler on behalf of the Florida Sub-
   11   Class.
   12            570. Toyota is and was at all relevant times a merchant with respect to motor
   13   vehicles.
   14            571. In its Warranty and in advertisements, brochures, and through other
   15   statements in the media, Toyota expressly warranted that it would repair or replace
   16   defects in material or workmanship free of charge if they became apparent during the
   17   warranty period. For example, the following language appears in all Class Vehicle
   18   Warranty manuals: “This warranty covers repairs and adjustments needed to correct
   19   defects in materials or workmanship of any part supplied by Toyota, subject to the
   20   exceptions indicated under ‘What Is Not Covered’ . . . .”
   21            572. Toyota’s Warranty, as well as advertisements, brochures, and other
   22   statements in the media regarding the Class Vehicles, formed the basis of the bargain
   23   that was reached when Plaintiff Toler and the other Class members purchased or
   24   leased their Class Vehicles.
   25            573. Toyota breached the express warranty to repair and adjust to correct
   26   defects in materials and workmanship of any part supplied by Toyota. Toyota has not
   27   repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                103
                                                                CLASS ACTION COMPLAINT
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    1
        materials and workmanship defects, namely the soy- or bio-based electrical wiring
    2
        parts and components.
    3
              574. At the time of selling or leasing Class Vehicles, Toyota did not provide
    4
        Class Vehicles that conformed to its express warranties.
    5
              575. The Warranty of repair and/or adjustments to defective parts fails in its
    6
        essential purpose because the contractual remedy is insufficient to make Plaintiff
    7
        Toler and the other Class members whole and because Toyota has failed and/or has
    8
        refused to adequately provide the promised remedies within a reasonable time.
    9
              576. Accordingly, recovery by Plaintiff and the other Class members is not
   10
        limited to the limited warranty of repair or adjustments to parts defective in materials
   11
        or workmanship, and Plaintiff, individually and on behalf of the other Class
   12
        members, seeks all remedies as allowed by law.
   13
              577. Also, as alleged in more detail herein, at the time that Toyota warranted
   14
        and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
   15
        warranties and were inherently defective, and Toyota wrongfully and fraudulently
   16
        misrepresented and/or concealed material facts regarding its Class Vehicles. Plaintiff
   17
        and the other Class members were therefore induced to purchase or lease the Class
   18
        Vehicles under false and/or fraudulent pretenses.
   19
              578. Moreover, many of the injuries flowing from the Class Vehicles cannot
   20
        be resolved through the limited remedy of “replacement or adjustments,” as many
   21
        incidental and consequential damages have already been suffered due to Toyota’s
   22
        fraudulent conduct as alleged herein, and due to its failure and/or continued failure
   23
        to provide such limited remedy within a reasonable time, and any limitation on
   24
        Plaintiff’s and the other Class members’ remedies would be insufficient to make
   25
        Plaintiff and the other Class members whole.
   26
              579. Furthermore, the application of (or refusal to permit coverage under) the
   27
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               104
                                                               CLASS ACTION COMPLAINT
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    1
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
    2
        disparity in bargaining power existed between Toyota and Class members, and
    3
        Toyota knew or should have known that the Class Vehicles were defective at the time
    4
        of sale and that the wiring systems would fail well before their useful lives.
    5
                 580. Finally, due to Toyota’s breach of warranties as set forth herein, Plaintiff
    6
        Toler and the other Class members assert as an additional and/or alternative remedy,
    7
        as set forth in FLA. STAT. § 672.608, for a revocation of acceptance of the goods, and
    8
        for a return to Plaintiff and to the other Class members of the purchase price of all
    9
        Class Vehicles currently owned for such other incidental and consequential damages
   10
        as allowed under FLA. STAT. §§ 672.711 and 672.608.
   11
                 581. Toyota was provided notice of these issues by numerous complaints
   12
        filed against it, including the instant complaint, and by numerous individual letters
   13
        and communications sent by Plaintiffs and the other Class members before or within
   14
        a reasonable amount of time after the allegations of the Defect became public.
   15
                 582. As a direct and proximate result of Toyota’s breach of express
   16
        warranties, Plaintiff Toler and the other Class members have been damaged in an
   17
        amount to be determined at trial.
   18                                 COUNT XIX
   19      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                                 FLA. STAT. § 672.314
   20           (On Behalf of Plaintiff Toler and the Florida Sub-Class)
   21            583. Plaintiffs repeat and reallege the allegations above as if fully set forth
   22   herein.
   23            584. This claim is brought by Plaintiff Toler on behalf of the Florida Sub-
   24   Class.
   25            585. Toyota is and was at all relevant times a merchant with respect to motor
   26   vehicles.
   27            586. A warranty that the Class Vehicles were in merchantable condition is
   28

                                                               PLAINTIFFS’ THIRD AMENDED
                                                 105
                                                                 CLASS ACTION COMPLAINT
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    1
        implied by law.
    2
              587. The Class Vehicles, when sold or leased and at all times thereafter, were
    3
        not in merchantable condition and are not fit for the ordinary purpose for which cars
    4
        are used. Specifically, the Class Vehicles are inherently defective in that they contain
    5
        soy- or bio-based electrical wiring (or other parts) that is predisposed to rodents and
    6
        rodent damage, and which damage frequently renders Class Vehicles partially or
    7
        wholly inoperable.
    8
              588. Furthermore, the application of (or refusal to permit coverage under) the
    9
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   10
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   11
        disparity in bargaining power existed between Toyota and Class members, and
   12
        Toyota knew or should have known that the Class Vehicles were defective at the time
   13
        of sale and that the wiring systems would fail well before their useful lives.
   14
              589. Toyota was provided notice of these issues by numerous complaints
   15
        filed against it, including the instant Complaint, and by numerous individual letters
   16
        and communications sent by Plaintiffs and other Class members before or within a
   17
        reasonable amount of time after the allegations of the Defect became public.
   18
              590. As a direct and proximate result of Toyota’s breach of the implied
   19
        warranty of merchantability, Plaintiff Toler and the other Class members have been
   20
        damaged in an amount to be proven at trial.
   21
              591. To the extent it is required, the parties are in privity or, alternatively,
   22
        Plaintiff and Class members are the intended beneficiaries of Toyota’s contracts.
   23                                      COUNT XX
   24                      FRAUD/FRAUDULENT CONCEALMENT
                     (On Behalf of Plaintiff Toler and the Florida Sub-Class)
   25
              592. Plaintiffs repeat and reallege the allegations above as if fully set forth
   26
        herein.
   27
              593.    This claim is brought by Plaintiff Toler on behalf of the Florida Sub-
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               106
                                                               CLASS ACTION COMPLAINT
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    1
        Class.
    2
                 594.   Defendants concealed and suppressed material facts concerning the
    3
        performance and quality of the Class Vehicles – namely, the Defect – and the quality
    4
        of the Toyota brand. Specifically, Defendants knew of (or should have known of)
    5
        the Defect, but failed to disclose it prior to or at the time it sold or leased Class
    6
        Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
    7
        Vehicles.
    8
                 595.   Plaintiff and Class members did not, and could not, unravel
    9
        Defendants’ deception on their own.
   10
                 596.   Defendants had a duty to disclose the true performance of the Class
   11
        Vehicles and the Defect because knowledge thereof and the details related thereto
   12
        were known and/or accessible only to Defendants; Defendants had superior
   13
        knowledge and access to the facts; and Defendants knew the facts were not known
   14
        to, or reasonably discoverable, by Plaintiff and the Class. Defendants also had a duty
   15
        to disclose because they made many general affirmative representations about the
   16
        about the qualities of the Class Vehicles.
   17
                 597.   On information and belief, Defendants still have not made full and
   18
        adequate disclosures, and continue to defraud consumers by concealing material
   19
        information regarding the Defect and the performance and quality of Class Vehicles.
   20
                 598.   Plaintiff and the Class were unaware of these omitted material facts
   21
        and would not have acted as they did if they had known of the concealed and/or
   22
        suppressed facts, in that they would not have purchased or leased the Class Vehicles.
   23
        Plaintiff’s and the Class’ actions were justified. Defendants were in exclusive
   24
        control of the material facts and such facts were not known to the public, Plaintiffs,
   25
        or the Class.
   26
                 599.   Plaintiff and the Class relied upon Defendants representations and
   27
        omissions regarding the quality of Class Vehicles and the Defect in deciding to
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               107
                                                               CLASS ACTION COMPLAINT
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    1
        purchase or lease Class Vehicles.
    2
              600.    Because of the concealment and/or suppression of the facts, Plaintiff
    3
        and the Class sustained damage because they did not receive the value of the
    4
        premium price paid for their Class Vehicles. Plaintiff and Class members would
    5
        have paid less for Class Vehicles had they known about the Defect and the entire
    6
        truth about them, or they would not have purchased or leased Class Vehicles at all.
    7
              601.    Accordingly, Defendants are liable to Plaintiff and the Florida Sub-
    8
        Class for damages in an amount to be proven at trial.
    9
              602.    Defendants’ acts were done maliciously, oppressively, deliberately,
   10
        with intent to defraud, and in reckless disregard of Plaintiff’s and the Class’ rights
   11
        and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
   12
        of punitive damages in an amount sufficient to deter such conduct in the future,
   13
        which amount is to be determined according to proof.
   14                                    COUNT XXI
   15                              UNJUST ENRICHMENT
                  (On Behalf of Plaintiff Toler and the Florida Sub-Class)
   16
              603. Plaintiffs repeat and reallege the allegations above as if fully set forth
   17
        herein.
   18
              604.    This claim is brought by Plaintiff Toler on behalf of the Florida Sub-
   19
        Class. This claim is pled in the alternative to the other claims set forth herein.
   20
              605.    As the intended and expected result of its conscious wrongdoing,
   21
        Toyota has profited and benefited from Plaintiff’s and Class members’ purchase of
   22
        Class Vehicles containing the Defect.
   23
              606.    Toyota has voluntarily accepted and retained these profits and benefits
   24
        with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
   25
        herein, Plaintiff and the Class were not receiving automobiles of the quality, nature,
   26
        fitness, or value that had been represented by Toyota, and that a reasonable
   27
        consumer would expect.
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                108
                                                                CLASS ACTION COMPLAINT
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    1
                 607.    Toyota has been unjustly enriched by its fraudulent, deceptive, and
    2
        otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
    3
        and by withholding benefits from Plaintiff and the Class at the expense of these
    4
        parties.
    5
                 608.    Equity and good conscience militate against permitting Toyota to
    6
        retain these profits and benefits, and Toyota should be required to make restitution
    7
        of its ill-gotten gains resulting from the conduct alleged herein.
    8
        E.       Georgia
    9                                  COUNT XXII
   10        VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES ACT
                      GA. CODE ANN. §§ 10-1-390, et seq. (“GFBPA”)
   11
                  (On Behalf of Plaintiff York and the Georgia Sub-Class)
   12            609. Plaintiffs reallege and incorporate by reference all paragraphs as
   13   though fully set forth herein.
   14            610. This claim is brought by Plaintiff York on behalf of the Georgia Sub-
   15   Class.
   16            611. GA. CODE ANN. § 10-1-393, provides that: “Unfair or deceptive acts or
   17   practices in the conduct of consumer transactions and consumer acts or practices in
   18   trade or commerce is declared unlawful.”
   19            612. Toyota’s conduct alleged herein is in violation of the GFBPA under
   20   GA. CODE ANN. § 10-1-393(b) which makes the following conduct unlawful:
   21
                        (2) Causing actual confusion or actual misunderstanding as to the
   22
                        source, sponsorship, approval, or certification of goods or services;
   23
                        (5) Representing that goods or services have sponsorship, approval,
   24
                        characteristics, ingredients, uses, benefits, or quantities that they do
   25                   not have;
   26
                        (7) Representing that good or services are of a particular standard,
   27                   quality, or grade or that goods are of a particular style or model, if
                        they are of another; and
   28

                                                                 PLAINTIFFS’ THIRD AMENDED
                                                  109
                                                                   CLASS ACTION COMPLAINT
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    1
    2                (9) Advertising goods or services with intent not to sell them as
                     advertised.
    3
              613. Defendants are “persons” as that term is defined under GA. CODE ANN.
    4
        § 10-1-392(a)(24).
    5
              614. Plaintiffs and Class members are “consumers” as that term is defined
    6
        under GA. CODE ANN. § 10-1-392(a)(6).
    7
              615. All of the advertisements, marketing, statements, omissions, and
    8
        representations made by Defendants qualify as “Consumer acts or practices” under
    9
        GA. CODE ANN. § 10-1-392(a)(7).
   10
              616. Toyota’s business practices, in advertising, marketing, and selling or
   11
        leasing Class Vehicles, in misrepresenting or concealing material facts, including
   12
        that the Class Vehicles contained the Defect, constitute multiple, separate violations
   13
        of GA. CODE ANN. § 10-1-393, including:
   14
                    a.       Falsely representing that the Class Vehicles had accessories,
   15
                             characteristics, ingredients, uses, or benefits which they did not
   16
                             actually possess;
   17
                    b.       Falsely representing that the Class Vehicles are of a particular
   18
                             standard, quality, grade, style, or model which they are not;
   19
                    c.       Failing to state material facts regarding the Defect in the Class
   20
                             Vehicles, the failure of which deceived or tends to deceive
   21
                             consumers, including Plaintiff and Class members;
   22
                    d.       Advertising or offering the Class Vehicles for sale without the
   23
                             intent to sell them with the advertised capabilities, performance,
   24
                             specifications, qualities, and characteristics (i.e., free of the
   25
                             Defect); and
   26
                    e.       Misrepresenting, and/or knowingly concealing, suppressing, or
   27
                             omitting material facts, including the Class Vehicles’ actual
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                 110
                                                                CLASS ACTION COMPLAINT
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    1
                           capabilities,   performance,   specifications,   including   the
    2
                           propensity of the Defect to manifest in Class Vehicles.
    3
              617. Defendants engaged in the above conduct in the course of its business,
    4
        as set forth herein. By way of statements and advertisements Toyota made to
    5
        Plaintiff and Class members prior to and at the time of sale or lease regarding the
    6
        capabilities, performance, specifications, qualities, and characteristics the Class
    7
        Vehicles, Defendants made false and misleading representations or omissions of
    8
        material fact with the intent that Plaintiff and Class members would rely upon them.
    9
        By not stating or advertising the Class Vehicles’ actual capabilities, performance,
   10
        specifications, qualities, and characteristics, Defendants omitted material facts,
   11
        which it knew Plaintiff and Class members would otherwise rely upon in deciding
   12
        whether to purchase or lease Class Vehicles.
   13
              618. As a result of Defendants’ unlawful conduct, Plaintiff and Class
   14
        members were injured and suffered damages and are entitled to monetary,
   15
        injunctive, and other equitable relief as determined by the Court, pursuant to
   16
        Georgia law.
   17
              619. Defendants’ conduct was intentional and willful, entitling Plaintiff and
   18
        Class members to an award of trebled damages pursuant to GA. CODE. ANN. § 10-
   19
        1-399(c).
   20
              620. Plaintiff and Class members are entitled to an award of costs of suit
   21
        and reasonable attorneys’ fees pursuant to GA. CODE. ANN. § 10-1-399(d).
   22
              621. On or about March 28, 2017, Plaintiff York notified Toyota of the
   23
        damages and Defect in his Class Vehicle in satisfaction of GA. CODE ANN. § 10-1-
   24
        399(b). Plaintiff York has made pre-suit attempts to remedy the Defect in his Class
   25
        Vehicle, to no avail.
   26
        ///
   27
        ///
   28

                                                           PLAINTIFFS’ THIRD AMENDED
                                              111
                                                             CLASS ACTION COMPLAINT
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    1                                      COUNT XXIII
    2                    VIOLATIONS OF THE GEORGIA UNIFORM
                            DECEPTIVE TRADE PRACTICES ACT
    3                  GA. CODE ANN. §§ 10-1-370, et seq. (“Georgia DTPA”)
    4                 (On Behalf of Plaintiff York and the Georgia Sub-Class)

    5            622. Plaintiffs reallege and incorporate by reference all paragraphs as

    6   though fully set forth herein.

    7            623. This claim is brought by Plaintiff York on behalf of the Georgia Sub-

    8   Class.

    9            624. Defendants, Plaintiff, and the Georgia Sub-Class are “persons” within

   10   the meaning of the Georgia DTPA. GA. CODE. ANN. § 10-1-371(5).

   11            625. The Georgia DTPA prohibits “deceptive trade practices,” which

   12   include the “misrepresentation of standard or quality of goods or services,” and

   13   “engaging in any other conduct which similarly creates a likelihood of confusion or

   14   of misunderstanding.” GA. CODE. ANN. § 10-1-372(a).

   15            626. In the course of their business, Defendants concealed and suppressed

   16   material facts concerning the Class Vehicles, namely the Defect. During normal

   17   operations, the Class Vehicles would experience rodent or other animal damage in

   18   Class Vehicle wiring because of the bio-based materials in the wiring.

   19            627. Plaintiff and Georgia Sub-Class members had no way of discerning

   20   Toyota’s omissions or that Toyota’ representations were false and misleading

   21   because the Defect involves and entails extremely sophisticated technology and

   22   technical specifications relating to manufacturing of which only Toyota possesses

   23   knowledge. Plaintiff and Georgia Sub-Class members did not and could not unravel

   24   Toyota’s deception on their own.

   25            628. Defendants thus violated the Georgia DTPA by, at minimum:

   26   employing deception, deceptive acts or practices, fraud, misrepresentations, or

   27   concealment, suppression or omission of any material fact with intent that others

   28   rely upon such concealment, suppression or omission, in connection with the sale

                                                            PLAINTIFFS’ THIRD AMENDED
                                               112
                                                              CLASS ACTION COMPLAINT
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    1
        or lease of Class Vehicles.
    2
                 629. Defendants engaged in misleading, false, unfair or deceptive acts or
    3
        practices that violated the Georgia DTPA by failing to disclose and actively
    4
        concealing the Defect, by marketing Class Vehicles as being of high quality, and by
    5
        presenting itself as a reputable manufacturer that stood behind Class Vehicles after
    6
        they were sold or leased.
    7
                 630. Defendants knew the true nature of the Class Vehicles and the Defect,
    8
        but concealed all of that information from Plaintiff and consumers. Indeed,
    9
        Defendants have acknowledged the Defect in written statements to the media and
   10
        elsewhere, but still failed to disclose it to consumers or to provide a warning.
   11
                 631. Defendants intentionally and knowingly misrepresented material facts
   12
        regarding the Class Vehicles with intent to mislead Plaintiff and the Georgia Sub-
   13
        Class.
   14
                 632. Defendants knew or should have known that their conduct violated the
   15
        Georgia DTPA.
   16
                 633. Defendants owed Plaintiff a duty to disclose the Defect because they:
   17
                      a.     possessed exclusive knowledge that they were manufacturing,
   18
                             selling, and distributing Class Vehicles containing the Defect;
   19
                      b.     intentionally concealed the foregoing from Plaintiff and Class
   20
                             members; and/or
   21
                      c.     made incomplete representations about the quality, functionality,
   22
                             safety, or other characteristics of Class Vehicles generally,
   23
                             including the related warranties, while purposefully withholding
   24
                             material   facts   from   Plaintiff   that   contradicted     these
   25
                             representations.
   26
                 634. Defendants’ concealment of the Defect and true characteristics of the
   27
        Class Vehicles were material to Plaintiff and the Georgia Sub-Class. Had Plaintiff
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                113
                                                                CLASS ACTION COMPLAINT
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    1
        and members of the Georgia Sub-Class known of the Defect, they would not have
    2
        purchased or leased Class Vehicles, or would have paid significantly less.
    3
              635. Defendants’ unfair or deceptive acts or practices were likely to and did
    4
        in fact deceive reasonable consumers, including Plaintiff, about the true nature,
    5
        quality, and characteristics of the Class Vehicles, the Defect, and Toyota’s brand.
    6
              636. Plaintiff and the Georgia Class suffered ascertainable loss and actual
    7
        damages as a direct and proximate result of Defendants’ misrepresentations and its
    8
        concealment of and failure to disclose material information. Plaintiff’s and Georgia
    9
        Sub-Class members Class Vehicles have also suffered diminished value, as well as
   10
        lost or diminished use.
   11
              637. Defendants had an ongoing duty to all Toyota customers to refrain from
   12
        unfair and deceptive practices under the Georgia DTPA. All owners or lessees of
   13
        Class Vehicles suffered ascertainable losses, including out of pocket expenses,
   14
        future repairs, loss of use, and diminished value.
   15
              638. Defendants’ violations present a continuing risk to Plaintiff as well as
   16
        to the general public. Defendants’ unlawful acts and practices complained of herein
   17
        affect the public interest.
   18
              639. As a direct and proximate result of Defendants’ violations of the
   19
        Georgia DTPA, Plaintiff and the Georgia Sub-Class have suffered injury-in-fact
   20
        and/or actual damage.
   21
              640. Plaintiff seeks an order enjoining Defendants’ unfair, unlawful, and/or
   22
        deceptive practices, attorneys’ fees, and any other just and proper relief available
   23
        under the Georgia DTPA per GA. CODE ANN. § 10-1-373.
   24
              641. Plaintiff and Class members are entitled to an award of costs of suit
   25
        and reasonable attorneys’ fees pursuant to GA. CODE. ANN. § 10-1-373(b)(2)
   26
        because Toyota willfully engaged in the conduct alleged herein with knowledge that
   27
        this conduct was and is deceptive.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                              114
                                                               CLASS ACTION COMPLAINT
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    1                                      COUNT XXIV
    2                        BREACH OF EXPRESS WARRANTY
                                     GA. CODE ANN. § 11-2-313
    3                 (On Behalf of Plaintiff York and the Georgia Sub-Class)
    4            642. Plaintiffs reallege and incorporate by reference all paragraphs as
    5   though fully set forth herein.
    6            643. This claim is brought by Plaintiff York on behalf of the Georgia Sub-
    7   Class.
    8            644. Toyota is and was at all times a “merchant” and the Class Vehicles are
    9   “goods.”
   10            645. Class Vehicles are accompanied by Toyota’s 36 months/36,000 miles
   11   Warranty. See Ex. A.
   12
                 646. In its Warranty and in advertisements, brochures, and through other
   13
        statements, Toyota expressly warranted that it would repair or replace defects in
   14
        material or workmanship free of charge if they became apparent during the warranty
   15
        period. For example, the following language appears in all Class Vehicle Warranty
   16
        and Maintenance Guides:
   17
                       WHAT IS COVERED AND HOW LONG
   18
                       Basic Warranty
   19
                       This warranty covers repairs and adjustments needed to
   20                  correct defects in materials or workmanship of any part
   21                  supplied by Toyota, subject to the exceptions indicated
                       under “What Is Not Covered” . . . .
   22
        See id.
   23
   24            647. Toyota’s Warranty does not exclude rodent or animal damage of the

   25   type suffered by Plaintiffs and Class members to their Class Vehicles.

   26            648. Toyota’s Warranty as well as advertisements, brochures, and other
   27   statements regarding the Class Vehicles, formed the basis of the bargain that was
   28   reached when Plaintiff and the other Class members purchased or leased their Class

                                                            PLAINTIFFS’ THIRD AMENDED
                                               115
                                                              CLASS ACTION COMPLAINT
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    1
        Vehicles. GA. CODE ANN. § 11-2-313.
    2
              649. Toyota breached the express warranty to repair and adjust to correct
    3
        defects in materials and workmanship of any part supplied by Toyota, as provided
    4
        for under the Warranty. Toyota has not repaired or adjusted, and has been unable to
    5
        repair or adjust, the Class Vehicles’ materials and workmanship defects under the
    6
        terms of the Warranty.
    7
              650. Toyota breached express warranties by selling or leasing to Plaintiff and
    8
        Class Members Class Vehicles with defective wiring which Toyota knew or should
    9
        have known attracts rodents and other pests and which makes wiring systems in the
   10
        Class Vehicles prone to rodent or other animal damage, causing Class Vehicles to
   11
        fail prematurely and/or fail to function properly.
   12
   13         651. In addition, since Toyota knew or should have known about the Defect,
   14   the warranty failed its essential purpose.
   15         652. Furthermore, the limited warranty of repair and/or adjustments to
   16   defective parts also fails in its essential purpose because the contractual remedy is
   17   insufficient to make Plaintiff and the other Class members whole and because Toyota
   18   has failed and/or has refused to adequately provide the promised remedies within a
   19   reasonable time.
   20         653. Furthermore, the application of (or refusal to permit coverage under) the
   21   Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   22   Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   23   disparity in bargaining power existed between Toyota and Class members, and
   24   Toyota knew or should have known that the Class Vehicles were defective at the time
   25   of sale and that the wiring systems would fail well before their useful lives.
   26         654. Toyota’s attempts to disclaim or limit its warranties vis-à-vis consumers
   27   are unenforceable under the circumstances here.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               116
                                                               CLASS ACTION COMPLAINT
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    1
              655. Accordingly, recovery by Plaintiff and the other Class members is not
    2
        limited to the limited warranty of repair or adjustments to parts defective in materials
    3
        or workmanship, and Plaintiff, individually and on behalf of the other Class
    4
        members, seek all remedies as allowed by law.
    5
              656. Also, as alleged in more detail herein, at the time that Toyota warranted
    6
        and sold or leased the Class Vehicles, it knew that the Class Vehicles did not conform
    7
        to the warranties and were inherently defective, and Toyota wrongfully and
    8
        fraudulently misrepresented and/or concealed material facts regarding its Class
    9
        Vehicles. Plaintiff and the other Class members were therefore induced to purchase
   10
        or lease the Class Vehicles under false and/or fraudulent pretenses.
   11
              657. Moreover, many of the injuries flowing from the Class Vehicles cannot
   12
        be resolved through the limited remedy of “replacement or adjustments,” as many
   13
        incidental and consequential damages have already been suffered due to Toyota’s
   14
        fraudulent conduct as alleged herein, and due to its failure and/or continued failure
   15
        to provide such limited remedy within a reasonable time, and any limitation on
   16
        Plaintiff’s and the other Class members’ remedies would be insufficient to make
   17
        Plaintiff and the other Class members whole.
   18
   19         658. The intended failure to disclose the known Defect is malicious, and it
   20   was carried out by Toyota with willful and wanton disregard for the rights and
   21   economic interests of Plaintiff and Class Members.
   22         659. As a direct and proximate result of Toyota’s breach of express
   23   warranties, Plaintiff and the other Class members have suffered direct and
   24   consequential damages in an amount to be determined at trial, including but not
   25   limited to costly repairs, loss of vehicle use, substantial loss in value and resale value
   26   of the vehicles, and other related damage.
   27         660. Due to Toyota’s breach of warranties as set forth herein, Plaintiff and
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                117
                                                                CLASS ACTION COMPLAINT
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    1
        the other Class members assert as an additional and/or alternative remedy for a
    2
        revocation of acceptance of the goods, and for a return to Plaintiff and to the other
    3
        Class members of the purchase price of all Class Vehicles currently owned for such
    4
        other incidental and consequential damages as allowed by law.
    5
                 661. Toyota was provided notice of these issues by numerous complaints
    6
        filed against it, including the instant Complaint, and by numerous individual letters
    7
        and communications sent by consumers and Class members.
    8
                 662. Plaintiff and Class members have complied with all obligations under
    9
        the Warranty, or otherwise have been excused from performance of said obligations
   10
        as a result of Toyota’s conduct described herein.
   11
                                           COUNT XXV
   12      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
   13                               GA. CODE ANN. § 11-2-314
                     (On Behalf of Plaintiff York and the Georgia Sub-Class)
   14
                 663. Plaintiffs reallege and incorporate by reference all paragraphs as
   15
        though fully set forth herein.
   16
                 664. This claim is brought by Plaintiff York on behalf of the Georgia Sub-
   17
        Class.
   18
                 665. Toyota is and was at all times a “merchant” and the Class Vehicles are
   19
        “goods.”
   20
                 666. A warranty that the Class Vehicles were in merchantable condition is
   21
        implied by law.
   22
                 667. Toyota impliedly warranted that the Class Vehicles were of a good and
   23
        merchantable condition and quality – fit and safe for their ordinary intended use, and
   24
        would be reasonably safe.
   25
                 668. The Class Vehicles were defective at the time they left the possession
   26
        of Toyota. Toyota knew of the Defect at the time these transactions occurred. Thus,
   27
        the Class Vehicles, when sold or leased, and at all times thereafter, were not in
   28

                                                            PLAINTIFFS’ THIRD AMENDED
                                               118
                                                              CLASS ACTION COMPLAINT
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    1
        merchantable condition or quality and are not fit for their ordinary intended purpose.
    2
              669. As a direct and proximate result of the breach of said warranties,
    3
        Plaintiff and Class members were injured and are entitled to damages.
    4
              670. Toyota’s attempt to disclaim or limit the implied warranty of
    5
        merchantability vis-à-vis consumers is unconscionable and unenforceable here.
    6
        Specifically, Toyota’s Warranty limitations are unenforceable because Toyota
    7
        knowingly sold a defective product without informing consumers about the Defect.
    8
              671. Furthermore, the application of (or refusal to permit coverage under) the
    9
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   10
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   11
        disparity in bargaining power existed between Toyota and Class members, and
   12
        Toyota knew or should have known that the Class Vehicles were defective at the time
   13
        of sale and that the wiring systems would fail well before their useful lives.
   14
              672. Plaintiff and Class members have complied with all obligations under
   15
        the warranty or otherwise have been excused from performance of said obligations
   16
        as a result of Toyota’s conduct described herein.
   17
              673. Toyota was provided notice of these issues by complaints lodged by
   18
        consumers directly or via NHTSA and elsewhere—which vehicle manufacturers like
   19
        Toyota routinely monitor—before or within a reasonable amount of time after the
   20
        allegations of the Defect became public. Notwithstanding such notice, Toyota failed
   21
        to offer an effective remedy.
   22
              674. To the extent it is required, the parties are in privity or, alternatively,
   23
        Plaintiff and Class members are the intended beneficiaries of Toyota’s contracts.
   24                                     COUNT XXVI
   25                      FRAUD/FRAUDULENT CONCEALMENT
                     (On Behalf of Plaintiff York and the Georgia Sub-Class)
   26
              675. Plaintiffs repeat and reallege the allegations above as if fully set forth
   27
        herein.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                              119
                                                               CLASS ACTION COMPLAINT
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    1
                 676.   This claim is brought by Plaintiff York on behalf of the Georgia Sub-
    2
        Class.
    3
                 677.   Defendants concealed and suppressed material facts concerning the
    4
        performance and quality of the Class Vehicles – namely, the Defect – and the quality
    5
        of the Toyota brand. Specifically, Defendants knew of (or should have known of)
    6
        the Defect, but failed to disclose it prior to or at the time it sold or leased Class
    7
        Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
    8
        Vehicles.
    9
                 678.   Plaintiff and Class members did not, and could not, unravel
   10
        Defendants’ deception on their own.
   11
                 679.   Defendants had a duty to disclose the true performance of the Class
   12
        Vehicles and the Defect because knowledge thereof and the details related thereto
   13
        were known and/or accessible only to Defendants; Defendants had superior
   14
        knowledge and access to the facts; and Defendants knew the facts were not known
   15
        to, or reasonably discoverable, by Plaintiff and the Class. Defendants also had a duty
   16
        to disclose because they made many general affirmative representations about the
   17
        about the qualities of the Class Vehicles.
   18
                 680.   On information and belief, Defendants still have not made full and
   19
        adequate disclosures, and continue to defraud consumers by concealing material
   20
        information regarding the Defect and the performance and quality of Class Vehicles.
   21
                 681.   Plaintiff and the Class were unaware of these omitted material facts
   22
        and would not have acted as they did if they had known of the concealed and/or
   23
        suppressed facts, in that they would not have purchased or leased the Class Vehicles.
   24
        Plaintiff’s and the Class’ actions were justified. Defendants were in exclusive
   25
        control of the material facts and such facts were not known to the public, Plaintiffs,
   26
        or the Class.
   27
                 682.   Plaintiff and the Class relied upon Defendants representations and
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               120
                                                               CLASS ACTION COMPLAINT
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    1
        omissions regarding the quality of Class Vehicles and the Defect in deciding to
    2
        purchase or lease Class Vehicles.
    3
              683.    Because of the concealment and/or suppression of the facts, Plaintiff
    4
        and the Class sustained damage because they did not receive the value of the
    5
        premium price paid for their Class Vehicles. Plaintiff and Class members would
    6
        have paid less for Class Vehicles had they known about the Defect and the entire
    7
        truth about them, or they would not have purchased or leased Class Vehicles at all.
    8
              684.    Accordingly, Defendants are liable to Plaintiff and the Georgia Sub-
    9
        Class for damages in an amount to be proven at trial.
   10
              685.    Defendants’ acts were done maliciously, oppressively, deliberately,
   11
        with intent to defraud, and in reckless disregard of Plaintiff’s and the Class’ rights
   12
        and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
   13
        of punitive damages in an amount sufficient to deter such conduct in the future,
   14
        which amount is to be determined according to proof.
   15                                  COUNT XXVII
   16                              UNJUST ENRICHMENT
                  (On Behalf of Plaintiff York and the Georgia Sub-Class)
   17
              686. Plaintiffs repeat and reallege the allegations above as if fully set forth
   18
        herein.
   19
              687.    This claim is brought by Plaintiff York on behalf of the Georgia Sub-
   20
        Class. This claim is pled in the alternative to the other claims set forth herein.
   21
              688.    As the intended and expected result of its conscious wrongdoing,
   22
        Toyota has profited and benefited from Plaintiff’s and Class members’ purchase of
   23
        Class Vehicles containing the Defect.
   24
              689.    Toyota has voluntarily accepted and retained these profits and benefits
   25
        with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
   26
        herein, Plaintiff and the Class were not receiving automobiles of the quality, nature,
   27
        fitness, or value that had been represented by Toyota, and that a reasonable
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                121
                                                                CLASS ACTION COMPLAINT
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    1
        consumer would expect.
    2
                 690.    Toyota has been unjustly enriched by its fraudulent, deceptive, and
    3
        otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
    4
        and by withholding benefits from Plaintiff and the Class at the expense of these
    5
        parties.
    6
                 691.    Equity and good conscience militate against permitting Toyota to
    7
        retain these profits and benefits, and Toyota should be required to make restitution
    8
        of its ill-gotten gains resulting from the conduct alleged herein.
    9                                       COUNT XXVIII
   10                         BAD FAITH LITIGATION EXPENSES
                                       GA. CODE ANN. § 13-6-11
   11                 (On Behalf of Plaintiff York and the Georgia Sub-Class)
   12            692. Plaintiffs repeat and reallege the allegations above as if fully set forth
   13   herein.
   14            693. This claim is brought by Plaintiff York on behalf of the Georgia Sub-
   15   Class.
   16          694. The fraudulent conduct and other conduct of Toyota as alleged herein
        constitutes bad faith such as to warrant an award to Plaintiffs and the Class their
   17   expenses of litigation, including reasonable attorneys’ fees, pursuant to GA. CODE
   18   ANN. § 13-6-11.

   19   F.       Idaho
                                      COUNT XXIX
   20         VIOLATION OF THE IDAHO CONSUMER PROTECTION ACT
   21                   IDAHO CODE §§ 48-601, et seq. (“IDCPA”)
                  (On Behalf of Plaintiff Munns and the Idaho Sub-Class)
   22
                 695. Plaintiffs repeat and reallege the allegations above as if fully set forth
   23
        herein.
   24
                 696. This claim is brought by Plaintiff Munns on behalf of the Idaho Sub-
   25
        Class.
   26
                 697. Toyota is a “person” under the IDCPA. IDAHO CODE § 48-602(1).
   27
                 698. Toyota’s acts or practices as set forth above occurred in the conduct of
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                122
                                                                CLASS ACTION COMPLAINT
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    1
        “trade” or “commerce” under IDAHO CODE § 48-602(2).
    2
              699. Toyota participated or engaged in misleading, false, or deceptive acts
    3
        that violated the IDCPA. By willfully failing to disclose and actively concealing the
    4
        Defect, Toyota engaged in deceptive business practices prohibited by the IDCPA,
    5
        including: (1) representing that the Class Vehicles have characteristics, uses, and
    6
        benefits which they do not have; (2) representing that the Class Vehicles are of a
    7
        particular standard, quality, and grade when they are not; (3) advertising the Class
    8
        Vehicles with the intent not to sell them as advertised; (4) engaging in acts or
    9
        practices which are otherwise misleading, false, or deceptive to consumers; and (5)
   10
        engaging in any unconscionable method, act or practice in the conduct of trade or
   11
        commerce. See IDAHO CODE § 48-603.
   12
              700. In the course of its business, Toyota willfully failed to disclose and
   13
        actively concealed the Defect, as discussed herein, and otherwise engaged in
   14
        activities with a tendency or capacity to deceive. Toyota also engaged in unlawful
   15
        trade practices by employing deception, deceptive acts or practices, fraud,
   16
        misrepresentations, or concealment, suppression or omission of any material fact
   17
        with intent that others rely upon such concealment, suppression or omission, in
   18
        connection with the sale of Class Vehicles.
   19
              701. Toyota knew of the Defect, but concealed this information. Toyota was
   20
        also aware that it valued profits over safety, and that it was manufacturing, selling,
   21
        and distributing vehicles throughout the United States that did not perform as
   22
        advertised and jeopardized the safety of the vehicle’s occupants. Toyota concealed
   23
        this information as well.
   24
              702. By failing to disclose the Defect, by marketing its vehicles as safe,
   25
        reliable, and of high quality, and by presenting itself as a reputable manufacturer that
   26
        valued safety and stood behind its vehicles after they were sold or leased, Toyota
   27
        engaged in deceptive business practices in violation of the IDCPA.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               123
                                                               CLASS ACTION COMPLAINT
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    1
              703. Toyota’s unfair or deceptive acts or practices were likely to, and did in
    2
        fact, deceive reasonable consumers, including Plaintiff and the other Class members,
    3
        about the true performance of Class Vehicles, the quality of the Toyota brand, the
    4
        devaluing of safety and performance at Toyota, and the true value of the Class
    5
        Vehicles.
    6
              704. Toyota intentionally and knowingly misrepresented material facts
    7
        regarding the Class Vehicles with an intent to mislead Plaintiff and the Idaho Class.
    8
              705. Toyota knew or should have known that its conduct violated the IDCPA.
    9
              706. Toyota owed Plaintiff a duty to disclose the true safety, performance,
   10
        and reliability of the Class Vehicles and the devaluing of safety and performance at
   11
        Toyota because Toyota:
   12
                    a.     Possessed exclusive knowledge that it valued profits and cost-
   13
                           cutting over safety and performance, and that it was
   14
                           manufacturing, selling, and distributing vehicles throughout the
   15
                           United States that contained the Defect and did not perform as
   16
                           advertised;
   17
                    b.     Intentionally concealed the foregoing from Plaintiff and the Class;
   18
                           and/or
   19
                    c.     Made incomplete representations about the quality, the safety and
   20
                           performance of the Class Vehicles generally, and the Defect in
   21
                           particular, while purposefully withholding material facts from
   22
                           Plaintiff and the Class that contradicted these representations.
   23
              707. Because Toyota fraudulently concealed the Defect and the true
   24
        performance of Class Vehicles, resulting in a raft of negative publicity once the
   25
        Defect came to the attention of the public, the value of the Class Vehicles has greatly
   26
        diminished. In light of the stigma attached to those vehicles by Toyota’s conduct,
   27
        they are now worth significantly less than they otherwise would be.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                              124
                                                               CLASS ACTION COMPLAINT
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    1
              708. Toyota’s fraudulent omissions relating to Class Vehicle and the Defect
    2
        and the true performance of Class Vehicles were material to Plaintiff and the Idaho
    3
        Sub-Class. A vehicle made by a reputable manufacturer of safe, high-performing,
    4
        vehicles with wiring that will not be subjected to diminished integrity or damage by
    5
        animals is safer and worth more than an otherwise comparable vehicle made by a
    6
        disreputable manufacturer of unsafe, rodent-damage-prone vehicles that conceal
    7
        defects rather than promptly remedying them.
    8
              709. Plaintiff and the Idaho Sub-Class suffered ascertainable loss caused by
    9
        Toyota’s misrepresentations and its concealment of and failure to disclose material
   10
        information. Class members who purchased the Class Vehicles either would have
   11
        paid less for their vehicles or would not have purchased or leased them at all but for
   12
        Toyota’s violations of the IDCPA.
   13
              710. Toyota had an ongoing duty to all Toyota customers to refrain from
   14
        unfair and deceptive practices under the IDCPA. All owners of Class Vehicles
   15
        suffered ascertainable loss in the form of the diminished value of their vehicles as a
   16
        result of Toyota’s deceptive and unfair acts and practices made in the course of
   17
        Toyota’s business.
   18
              711. Toyota’s violations present a continuing risk to Plaintiff as well as to the
   19
        general public. Toyota’s unlawful acts and practices complained of herein affect the
   20
        public interest.
   21
              712. As a direct and proximate result of Toyota’s violations of the IDCPA,
   22
        Plaintiff and the Idaho Sub-Class have suffered injury-in-fact and/or actual damage.
   23
              713. Pursuant to IDAHO CODE § 48-608, Plaintiff, individually and on behalf
   24
        of the Idaho Sub-Class, seeks monetary relief against Toyota, measured as the greater
   25
        of (a) actual damages in an amount to be determined at trial, and (b) statutory
   26
        damages in the amount of $1,000 for each Plaintiff and each Idaho Sub-Class
   27
        member.
   28

                                                            PLAINTIFFS’ THIRD AMENDED
                                              125
                                                              CLASS ACTION COMPLAINT
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    1
                 714. Plaintiff also seeks an order enjoining Toyota’s unfair, unlawful, and/or
    2
        deceptive practices, attorneys’ fees (pursuant to IDAHO CODE § 48-608(5)), and any
    3
        other just and proper relief available under the IDCPA.
    4
                 715. Plaintiff also seeks punitive damages against Toyota because Toyota’s
    5
        conduct evidences an extreme deviation from reasonable standards and its conduct.
    6
        Toyota repeatedly flagrantly, maliciously, and fraudulently misrepresented the safety
    7
        and performance of the Class Vehicles, deceived Class members on life-or-death
    8
        matters, concealed material facts that only they knew, and promised Class members
    9
        all vehicles were safe—all to avoid the expense and public relations nightmare of
   10
        correcting a noxious flaw in the Class Vehicles. Toyota’s unlawful conduct
   11
        constitutes malice, oppression, and fraud, warranting punitive damages pursuant to
   12
        IDAHO CODE § 48-608(1).
   13
                 716. Furthermore, in addition to the remedies available under IDAHO CODE §
   14
        48-608(1), each elderly and disabled person comprising the Idaho Sub-Class who
   15
        was victimized by Toyota’s conduct alleged herein is entitled to an enhanced penalty
   16
        of the greater of $15,000 or trebled damages. IDAHO CODE § 48-608(2).
   17                                       COUNT XXX
   18                        BREACH OF EXPRESSS WARRANTY
                                       IDAHO CODE § 28-2-313
   19                (On Behalf of Plaintiff Munns and the Idaho Sub-Class)
   20            717. Plaintiffs repeat and reallege the allegations above as if fully set forth
   21   herein.
   22            718. This claim is brought by Plaintiff Munns on behalf of the Idaho Sub-
   23   Class.
   24            719. Toyota is and was at all relevant times a “merchant” with respect to
   25   motor vehicles. IDAHO CODE § 28-2-104(1). The Class Vehicles are “goods.” Id. §
   26   28-2-105(1).
   27            720. Class Vehicles are accompanied by Toyota’s 36 months/36,000 miles
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                126
                                                                CLASS ACTION COMPLAINT
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    1
        Warranty. See Ex. A.
    2
              721. In its Warranty and in advertisements, brochures, and through other
    3
        statements, Toyota expressly warranted that it would repair or replace defects in
    4
        material or workmanship free of charge if they became apparent during the warranty
    5
        period. For example, the following language appears in all Class Vehicle Warranty
    6
        and Maintenance Guides:
    7
                    WHAT IS COVERED AND HOW LONG
    8
    9               Basic Warranty
                    This warranty covers repairs and adjustments needed to
   10
                    correct defects in materials or workmanship of any part
   11               supplied by Toyota, subject to the exceptions indicated
   12               under “What Is Not Covered” . . . .

   13   See id.

   14         722. Toyota’s Warranty does not exclude rodent or animal damage of the
   15   type suffered by Plaintiffs and Class members to their Class Vehicles.
   16         723. Toyota’s Warranty as well as advertisements, brochures, and other
   17   statements regarding the Class Vehicles, formed the basis of the bargain that was
   18   reached when Plaintiff and the other Class members purchased or leased their Class
   19   Vehicles. IDAHO CODE § 28-2-313.
   20         724. Toyota breached the express warranty to repair and adjust to correct
   21   defects in materials and workmanship of any part supplied by Toyota, as provided
   22   for under the Warranty. Toyota has not repaired or adjusted, and has been unable to
   23   repair or adjust, the Class Vehicles’ materials and workmanship defects under the
   24   terms of the Warranty.
   25
              725. Toyota breached express warranties by selling or leasing to Plaintiff and
   26
        Class Members Class Vehicles with defective wiring which Toyota knew or should
   27
        have known attracts rodents and other pests and which makes wiring systems in the
   28

                                                           PLAINTIFFS’ THIRD AMENDED
                                             127
                                                             CLASS ACTION COMPLAINT
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    1
        Class Vehicles prone to rodent or other animal damage, causing Class Vehicles to
    2
        fail prematurely and/or fail to function properly.
    3
              726. In addition, since Toyota knew or should have known about the Defect,
    4
        the warranty failed its essential purpose.
    5
              727. The limited warranty of repair and/or adjustments to defective parts also
    6
        fails in its essential purpose because the contractual remedy is insufficient to make
    7
        Plaintiff and the other Class members whole and because Toyota has failed and/or
    8
        has refused to adequately provide the promised remedies within a reasonable time.
    9
              728. Furthermore, the application of (or refusal to permit coverage under) the
   10
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   11
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   12
        disparity in bargaining power existed between Toyota and Class members, and
   13
        Toyota knew or should have known that the Class Vehicles were defective at the time
   14
        of sale and that the wiring systems would fail well before their useful lives.
   15
   16         729. Toyota’s attempts to disclaim or limit its warranties vis-à-vis consumers
   17   are unenforceable under the circumstances here.
   18         730. Accordingly, recovery by Plaintiff and the other Class members is not
   19   limited to the limited warranty of repair or adjustments to parts defective in materials
   20   or workmanship, and Plaintiff, individually and on behalf of the other Class
   21   members, seek all remedies as allowed by law.
   22         731. Also, as alleged in more detail herein, at the time that Toyota warranted
   23   and sold or leased the Class Vehicles, it knew that the Class Vehicles did not conform
   24   to the warranties and were inherently defective, and Toyota wrongfully and
   25   fraudulently misrepresented and/or concealed material facts regarding its Class
   26   Vehicles. Plaintiff and the other Class members were therefore induced to purchase
   27   or lease the Class Vehicles under false and/or fraudulent pretenses.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               128
                                                               CLASS ACTION COMPLAINT
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    1
              732. Moreover, many of the injuries flowing from the Class Vehicles cannot
    2
        be resolved through the limited remedy of “replacement or adjustments,” as many
    3
        incidental and consequential damages have already been suffered due to Toyota’s
    4
        fraudulent conduct as alleged herein, and due to its failure and/or continued failure
    5
        to provide such limited remedy within a reasonable time, and any limitation on
    6
        Plaintiff’s and the other Class members’ remedies would be insufficient to make
    7
        Plaintiff and the other Class members whole.
    8
              733. The intended failure to disclose the known Defect is malicious, and it
    9
        was carried out by Toyota with willful and wanton disregard for the rights and
   10
        economic interests of Plaintiff and Class Members.
   11
              734. As a direct and proximate result of Toyota’s breach of express
   12
        warranties, Plaintiff and the other Class members have suffered direct and
   13
        consequential damages in an amount to be determined at trial, including but not
   14
        limited to costly repairs, loss of vehicle use, substantial loss in value and resale value
   15
        of the vehicles, and other related damage.
   16
   17         735. Due to Toyota’s breach of warranties as set forth herein, Plaintiff and
   18   the other Class members assert as an additional and/or alternative remedy for a
   19   revocation of acceptance of the goods, and for a return to Plaintiff and to the other
   20   Class members of the purchase price of all Class Vehicles currently owned for such
   21   other incidental and consequential damages as allowed by law.
   22         736. Toyota was provided notice of these issues by numerous complaints
   23   filed against it, including the instant Complaint, and by numerous individual letters
   24   and communications sent by consumers and Class members.
   25         737. Plaintiff and Class members have complied with all obligations under
   26   the Warranty, or otherwise have been excused from performance of said obligations
   27   as a result of Toyota’s conduct described herein.
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                129
                                                                CLASS ACTION COMPLAINT
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    1                                 COUNT XXXI
    2         BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                  IDAHO CODE § 28-2-314
    3             (On Behalf of Plaintiff Munns and the Idaho Sub-Class)
    4            738. Plaintiffs repeat and reallege the allegations above as if fully set forth
    5   herein.
    6            739. This claim is brought by Plaintiff Munns on behalf of the Idaho Sub-
    7   Class.
    8            740. Toyota is and was at all relevant times a merchant with respect to motor
    9   vehicles under IDAHO CODE § 28-2-104(1).
   10            741. A warranty that the Class Vehicles were in merchantable condition was
   11   implied by law in the instant transaction, pursuant to Idaho Code § 28-2-314.
   12            742. The Class Vehicles, when sold or leased and at all times thereafter, were
   13   not in merchantable condition and are not fit for the ordinary purpose for which cars
   14   are used. Specifically, the Class Vehicles suffer from an inherent Defect, as alleged
   15   herein.
   16            743. Toyota was provided notice of these issues by numerous complaints
   17   filed against it, including this Complaint, and by numerous individual letters,
   18   telephone calls, and other communications sent by Plaintiffs and other Class
   19   members before or within a reasonable amount of time after the allegations of the
   20   Defect became public.
   21            744. Plaintiff and the other Class members have had sufficient direct dealings
   22   with either Toyota or its agents (dealerships) to establish privity of contract between
   23   Toyota, on the one hand, and Plaintiffs and the other Class members, on the other
   24   hand. Notwithstanding this, privity is not required in this case because Plaintiffs and
   25   the other Class members are intended third-party beneficiaries of contracts between
   26   Toyota and its dealers; specifically, they are the intended beneficiaries of Toyota’s
   27   implied warranties. The dealers were not intended to be the ultimate consumers of
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                130
                                                                CLASS ACTION COMPLAINT
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    1
        the Class Vehicles and have no rights under the warranty agreements provided with
    2
        the Class Vehicles; the warranty agreements were designed for and intended to
    3
        benefit the ultimate consumers only. Finally, privity is also not required because
    4
        Plaintiffs’ and the other Class members’ Class Vehicles are dangerous
    5
        instrumentalities due to the aforementioned Defect and nonconformities.
    6
                 745. Furthermore, the application of (or refusal to permit coverage under) the
    7
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
    8
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
    9
        disparity in bargaining power existed between Toyota and Class members, and
   10
        Toyota knew or should have known that the Class Vehicles were defective at the time
   11
        of sale and that the wiring systems would fail well before their useful lives.
   12
                 746. As a direct and proximate result of Toyota’s breach of the warranty of
   13
        merchantability, Plaintiff Munns and the other Class members have been damaged in
   14
        an amount to be proven at trial.
   15                                       COUNT XXXII
   16                        FRAUD/FRAUDULENT CONCEALMENT
                        (On Behalf of Plaintiff Munns and the Idaho Sub-Class)
   17
                 747. Plaintiffs repeat and reallege the allegations above as if fully set forth
   18
        herein.
   19
                 748.    This claim is brought by Plaintiff Munns on behalf of the Idaho Sub-
   20
        Class.
   21
                 749.    Defendants concealed and suppressed material facts concerning the
   22
        performance and quality of the Class Vehicles – namely, the Defect – and the quality
   23
        of the Toyota brand. Specifically, Defendants knew of (or should have known of)
   24
        the Defect, but failed to disclose it prior to or at the time it sold or leased Class
   25
        Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
   26
        Vehicles.
   27
                 750.    Plaintiff and Class members did not, and could not, unravel
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                131
                                                                CLASS ACTION COMPLAINT
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    1
        Defendants’ deception on their own.
    2
              751.      Defendants had a duty to disclose the true performance of the Class
    3
        Vehicles and the Defect because knowledge thereof and the details related thereto
    4
        were known and/or accessible only to Defendants; Defendants had superior
    5
        knowledge and access to the facts; and Defendants knew the facts were not known
    6
        to, or reasonably discoverable, by Plaintiff and the Class. Defendants also had a duty
    7
        to disclose because they made many general affirmative representations about the
    8
        about the qualities of the Class Vehicles.
    9
              752.      On information and belief, Defendants still have not made full and
   10
        adequate disclosures, and continue to defraud consumers by concealing material
   11
        information regarding the Defect and the performance and quality of Class Vehicles.
   12
              753.      Plaintiff and the Class were unaware of these omitted material facts
   13
        and would not have acted as they did if they had known of the concealed and/or
   14
        suppressed facts, in that they would not have purchased or leased the Class Vehicles.
   15
        Plaintiff’s and the Class’ actions were justified. Defendants were in exclusive
   16
        control of the material facts and such facts were not known to the public, Plaintiffs,
   17
        or the Class.
   18
              754.      Plaintiff and the Class relied upon Defendants representations and
   19
        omissions regarding the quality of Class Vehicles and the Defect in deciding to
   20
        purchase or lease Class Vehicles.
   21
              755.      Because of the concealment and/or suppression of the facts, Plaintiff
   22
        and the Class sustained damage because they did not receive the value of the
   23
        premium price paid for their Class Vehicles. Plaintiff and Class members would
   24
        have paid less for Class Vehicles had they known about the Defect and the entire
   25
        truth about them, or they would not have purchased or leased Class Vehicles at all.
   26
              756.      Accordingly, Defendants are liable to Plaintiff and the Georgia Sub-
   27
        Class for damages in an amount to be proven at trial.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               132
                                                               CLASS ACTION COMPLAINT
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    1
               757.   Defendants’ acts were done maliciously, oppressively, deliberately,
    2
        with intent to defraud, and in reckless disregard of Plaintiff’s and the Class’ rights
    3
        and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
    4
        of punitive damages in an amount sufficient to deter such conduct in the future,
    5
        which amount is to be determined according to proof.
    6                                  COUNT XXXIII
    7                              UNJUST ENRICHMENT
                  (On Behalf of Plaintiff Munns and the Idaho Sub-Class)
    8
               758. Plaintiffs repeat and reallege the allegations above as if fully set forth
    9
        herein.
   10
               759.   This claim is brought by Plaintiff Munns on behalf of the Idaho Sub-
   11
        Class. This claim is pled in the alternative to the other claims set forth herein.
   12
               760.   As the intended and expected result of its conscious wrongdoing,
   13
        Toyota has profited and benefited from Plaintiff’s and Class members’ purchase of
   14
        Class Vehicles containing the Defect.
   15
               761.   Toyota has voluntarily accepted and retained these profits and benefits
   16
        with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
   17
        herein, Plaintiff and the Class were not receiving automobiles of the quality, nature,
   18
        fitness, or value that had been represented by Toyota, and that a reasonable
   19
        consumer would expect.
   20
               762.   Toyota has been unjustly enriched by its fraudulent, deceptive, and
   21
        otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
   22
        and by withholding benefits from Plaintiff and the Class at the expense of these
   23
        parties.
   24
               763.   Equity and good conscience militate against permitting Toyota to
   25
        retain these profits and benefits, and Toyota should be required to make restitution
   26
        of its ill-gotten gains resulting from the conduct alleged herein.
   27
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                133
                                                                CLASS ACTION COMPLAINT
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    1
        G.    Illinois
    2                                     COUNT XXXIV
    3             VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND
                  DECEPTIVE BUSINESS PRACTICES ACT (“Illinois CFA”)
    4                         815 ILL. COMP. STAT. §§ 505/1, et seq.
    5              (On Behalf of Plaintiff Siffermann and the Illinois Sub-Class)

    6         764. Plaintiffs repeat and reallege the allegations above as if fully set forth

    7   herein.

    8         765. This claim is brought on behalf of Plaintiff Siffermann and the Illinois

    9   Sub-Class.

   10         766. Plaintiff and the Illinois Sub-Class are “consumers” as that term is

   11   defined in 815 ILL. COMP. STAT. § 505/1(e).

   12         767. Toyota’s acts or practices as set forth above occurred in the conduct of

   13   “trade” or “commerce” under 815 ILL. COMP. STAT. § 505/2.

   14         768. Toyota participated in misleading, false, or deceptive acts that violated

   15   the Illinois CFA. By willfully failing to disclose and actively concealing the Defect,

   16   Toyota engaged in deceptive business practices prohibited by the Illinois CFA,

   17   including “the use or employment of any deception, fraud, false pretense, false

   18   promise, misrepresentation or the concealment, suppression or omission of any

   19   material fact, with intent that others rely upon the concealment, suppression or

   20   omission of such material fact . . . in the conduct of any trade or commerce . . .

   21   whether any person has in fact been misled, deceived or damaged thereby.” 815 ILL.

   22   COMP. STAT. § 505/2.

   23         769. In the course of its business, Toyota willfully failed to disclose and

   24   actively concealed the Defect discussed herein and otherwise engaged in activities

   25   with a tendency or capacity to deceive. Toyota also engaged in unlawful trade

   26   practices by employing deception, deceptive acts or practices, fraud,

   27   misrepresentations, or concealment, suppression or omission of any material fact

   28   with intent that others rely upon such concealment, suppression or omission, in

                                                             PLAINTIFFS’ THIRD AMENDED
                                              134
                                                               CLASS ACTION COMPLAINT
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    1
        connection with the sale and lease of Class Vehicles.
    2
               770. Toyota knew of the presence of the Defect in Class Vehicles, but
    3
        concealed all of that information.
    4
               771. Toyota was aware that they were manufacturing, selling, and
    5
        distributing automobiles throughout the United States that did not perform as
    6
        advertised, including in terms of quality, workmanship, and safety.
    7
               772. By failing to disclose the Defect, and by presenting itself as a reputable
    8
        automobile manufacturer that stood behind its automobiles after they were leased or
    9
        sold, Toyota engaged in deceptive business practices in violation of the Illinois
   10
        CFA.
   11
               773. Toyota’s unfair or deceptive acts or practices were likely to and did in
   12
        fact deceive reasonable consumers, including Plaintiff and the other Class members,
   13
        about the true performance of the Class Vehicles, the quality of the Toyota brand,
   14
        and the true value of the Class Vehicles.
   15
               774. Toyota intentionally and knowingly misrepresented or omitted
   16
        material facts regarding the Class Vehicles with an intent to mislead Plaintiff and
   17
        the Illinois Sub-Class.
   18
               775. Toyota knew or should have known that its conduct violated the Illinois
   19
        CFA.
   20
               776. Toyota owed Plaintiff a duty to disclose the Defect and the true
   21
        performance of Class Vehicles because Toyota possessed exclusive knowledge of
   22
        the Defect in Class Vehicles and that they did not contain the qualities or
   23
        characteristics, or perform, as advertised; Toyota intentionally concealed the
   24
        foregoing from Plaintiff and the Class; and/or Toyota made incomplete
   25
        representations about the Class Vehicles while purposefully withholding material
   26
        facts from and the Class that contradicted these representations.
   27
               777. Because Toyota fraudulently concealed the Defect, the value of the
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               135
                                                               CLASS ACTION COMPLAINT
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    1
        Class Vehicles has greatly diminished. Class Vehicles are worth significantly less
    2
        than they otherwise would be.
    3
              778. Toyota’s conduct and false representations/omissions were material to
    4
        Plaintiff and the Illinois Sub-Class.
    5
              779. Plaintiff and the Illinois Sub-Class suffered ascertainable loss caused
    6
        by Toyota’s misrepresentations and its concealment of and failure to disclose
    7
        material information. Class members who purchased or leased Class Vehicles either
    8
        would have paid less for their Class Vehicles or would not have purchased or leased
    9
        them at all but for Toyota’s violations of the Illinois CFA.
   10
              780. Toyota had an ongoing duty to consumers to refrain from unfair and
   11
        deceptive practices under the Illinois CFA. All owners and lessees of Class Vehicles
   12
        suffered ascertainable loss as a result of Toyota’s deceptive and unfair acts and
   13
        practices made in the course of Toyota’s business.
   14
              781. Toyota’s violations present a continuing risk to Plaintiff as well as to
   15
        the general public, including with respect to safety, and have occurred repeatedly
   16
        and have the potential for repetition. Toyota’s unlawful acts and practices
   17
        complained of herein affect the public interest.
   18
              782. As a direct and proximate result of Toyota’s violations of the Illinois
   19
        CFA, Plaintiff and the Illinois Sub-Class have suffered injury-in-fact and/or actual
   20
        damage.
   21
              783. Pursuant to 815 ILL. COMP. STAT. § 505/10a(a), Plaintiff Siffermann,
   22
        individually and on behalf of the other Illinois Sub-Class members, seeks monetary
   23
        relief against Toyota in the amount of actual damages, as well as punitive damages
   24
        (pursuant to 815 ILL. COMP. STAT. § 505/10a(c)), because Toyota acted with fraud
   25
        and/or malice and/or was grossly negligent.
   26
              784. Plaintiff also seeks an order enjoining Toyota’s unfair and/or deceptive
   27
        acts or practices, punitive damages, and attorneys’ fees, and any other just and
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                                136
                                                               CLASS ACTION COMPLAINT
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    1
        proper relief available under 815 ILL. COMP. STAT. § 505/1, et seq.
    2                                     COUNT XXXV
    3            VIOLATIONS OF THE ILLINOIS UNIFORM DECEPTIVE
                          TRADE PRACTICES ACT (“Illinois DTPA”)
    4                          815 ILL. COMP. STAT. §§ 510/1, et seq.
    5             (On Behalf of Plaintiff Siffermann and the Illinois Sub-Class)

    6         785. Plaintiffs repeat and reallege the allegations above as if fully set forth

    7   herein.

    8         786. This claim is brought on behalf of Plaintiff Siffermann and the Illinois

    9   Sub-Class.

   10         787. The Illinois DTPA prohibits deceptive trade practices, including

   11   among others,

   12                (2) causing likelihood of confusion or of misunderstanding as to the

   13                    source, sponsorship, approval, or certification of goods or services;

   14                (5) representing that goods or services have sponsorship, approval,

   15                    characteristics, ingredients, uses, benefits, or quantities that they

   16                    do not have;

   17                (7) representing that goods or services are of a particular standard,

   18                    quality, or grade if they are of another;

   19                (9) advertising goods or services with intent not to sell them as

   20                    advertised; and

   21                (12) engaging in any other conduct which similarly creates a likelihood

   22                    of confusion or misunderstanding.

   23         788. Toyota is a “person” as defined in 815 ILL. COMP. STAT. § 510/1(5).

   24         789. In the course of Toyota’s business, it willfully failed to disclose and

   25   actively concealed the Defect in Class Vehicles as described above. Accordingly,

   26   Toyota engaged in deceptive trade practices as defined in 815 ILL. COMP. STAT. §

   27   510/2, including representing that Class Vehicles have characteristics, uses,

   28   benefits, and qualities which they do not have; representing that Class Vehicles are

                                                             PLAINTIFFS’ THIRD AMENDED
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                                                               CLASS ACTION COMPLAINT
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    1
        of a particular standard and quality when they are not; advertising Class Vehicles
    2
        with the intent not to sell them as advertised; and otherwise engaging in conduct
    3
        likely to deceive.
    4
              790. Toyota intended for Plaintiff and the other Class members to rely on
    5
        its aforementioned unfair and deceptive acts and practices, including the
    6
        misrepresentations and omissions alleged hereinabove.
    7
              791. Toyota’s actions as set forth above occurred in the conduct of trade or
    8
        commerce.
    9
              792. Toyota knew or should have known that its conduct violated the Illinois
   10
        DTPA.
   11
              793. Toyota owed Plaintiff a duty to disclose the Defect and the true
   12
        performance of Class Vehicles because Toyota possessed exclusive knowledge of
   13
        the Defect in Class Vehicles and that they did not contain the qualities or
   14
        characteristics, or perform, as advertised; Toyota intentionally concealed the
   15
        foregoing from Plaintiff and the Class; and/or Toyota made incomplete
   16
        representations about the Class Vehicles while purposefully withholding material
   17
        facts from and the Class that contradicted these representations.
   18
              794. Because Toyota fraudulently concealed the Defect, the value of the
   19
        Class Vehicles has greatly diminished. Class Vehicles are worth significantly less
   20
        than they otherwise would be.
   21
              795. Toyota’s conduct and false representations/omissions were material to
   22
        Plaintiff and the Illinois Sub-Class.
   23
              796. Plaintiff and the Illinois Sub-Class suffered ascertainable loss caused
   24
        by Toyota’s misrepresentations and its concealment of and failure to disclose
   25
        material information. Class members who purchased or leased Class Vehicles either
   26
        would have paid less for their Class Vehicles or would not have purchased or leased
   27
        them at all but for Toyota’s violations of the Illinois DTPA.
   28

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                                                138
                                                              CLASS ACTION COMPLAINT
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    1
              797. Toyota had an ongoing duty to consumers to refrain from unfair and
    2
        deceptive acts and practices under the Illinois DTPA. All owners and lessees of
    3
        Class Vehicles suffered ascertainable loss as a result of Toyota’s deceptive and
    4
        unfair acts and practices made in the course of Toyota’s business.
    5
              798. Toyota’s conduct alleged herein proximately caused injuries to
    6
        Plaintiff and the other Class members.
    7
              799. Plaintiff Siffermann and the other Illinois Sub-Class members were
    8
        injured as a result of Toyota’s conduct in that Plaintiff and the other Class members
    9
        overpaid for their Class Vehicles and did not receive the benefit of their bargain,
   10
        and their Class Vehicles have suffered a diminution in value. These injuries are the
   11
        direct and natural consequence of Toyota’s misrepresentations and omissions in
   12
        violation of the Illinois DTPA.
   13
              800. Pursuant to 815 ILL. COMP. STAT. § 510/3, Plaintiff and the Class are
   14
        entitled to an award of injunctive relief to prevent Toyota’s deceptive trade practices
   15
        and, because Toyota’s conduct was willful, an award of reasonable attorneys’ fees.
   16                                   COUNT XXXVI
   17                       BREACH OF EXPRESS WARRANTY
                                810 ILL. COMP. STAT. § 5/2-313
   18            (On Behalf of Plaintiff Siffermann and the Illinois Sub-Class)
   19         801. Plaintiffs repeat and reallege the allegations above as if fully set forth
   20   herein.
   21         802. This claim is brought on behalf of Plaintiff Siffermann and the Illinois
   22   Sub-Class.
   23         803. Toyota is and was at all relevant times a merchant with respect to motor
   24   vehicles.
   25         804. In its New Vehicle Limited Warranty and in advertisements, brochures,
   26   and through other statements, Toyota expressly warranted that it would repair or
   27   replace defects in material or workmanship free of charge if they became apparent
   28

                                                             PLAINTIFFS’ THIRD AMENDED
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                                                               CLASS ACTION COMPLAINT
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    1
        during the warranty period. For example, the following language appears in all Class
    2
        Vehicle Warranty and Maintenance Guides:
    3
                     WHAT IS COVERED AND HOW LONG
    4
                     Basic Warranty
    5
                     This warranty covers repairs and adjustments needed to
    6                correct defects in materials or workmanship of any part
    7                supplied by Toyota, subject to the exceptions indicated
                     under “What Is Not Covered” . . . .
    8
        See Ex. A.
    9
   10         805. Toyota’s Warranty does not exclude damage of the type suffered by

   11   Plaintiffs and Class members in their Class Vehicles.

   12         806.   Toyota’s Warranty as well as advertisements, brochures, and other
   13   statements regarding the Class Vehicles, formed the basis of the bargain that was
   14   reached when Plaintiff and the other Class members purchased or leased their Class
   15   Vehicles.
   16         807. Toyota breached the express warranty to repair and adjust to correct
   17   defects in materials and workmanship of any part supplied by Toyota. Toyota has
   18   not repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
   19   materials and workmanship defects.
   20         808. In addition to Toyota’s Warranty, Toyota otherwise expressly warranted
   21   several attributes, characteristics, and qualities of its Class Vehicles. These
   22   warranties are only a sampling of the numerous warranties that Toyota made relating
   23   to safety, reliability, and operation. Generally these express warranties promise
   24   heightened, superior, and state-of-the-art safety, reliability, performance standards,
   25   and promote the benefits of their Class Vehicles. These warranties were made, inter
   26   alia, in advertisements, on Toyota’s website, and in uniform statements provided by
   27   Toyota to be made by salespeople, or made publicly by Toyota executives or by other
   28

                                                            PLAINTIFFS’ THIRD AMENDED
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                                                              CLASS ACTION COMPLAINT
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    1
        authorized Toyota representatives. These affirmations and promises were part of the
    2
        basis of the bargain between the parties, thereby constituting express warranties
    3
        under 810 ILL. COMP. STAT. § 5/2-313.
    4
              809. These additional warranties were also breached because the Class
    5
        Vehicles were not fully operational, safe, or reliable, nor did they comply with the
    6
        warranties expressly made to purchasers or lessees. Toyota did not provide at the
    7
        time of sale, and has not provided since then, Class Vehicles conforming to its
    8
        express warranties.
    9
              810. Furthermore, the limited warranty of repair and/or adjustments to
   10
        defective parts, fails in its essential purpose because the contractual remedy is
   11
        insufficient to make Plaintiff and the other Class members whole and because Toyota
   12
        has failed and/or has refused to adequately provide the promised remedies within a
   13
        reasonable time.
   14
   15         811. Accordingly, recovery by Plaintiff and the other Class members is not
   16   limited to the limited warranty of repair or adjustments to parts defective in materials
   17   or workmanship, and Plaintiff, individually and on behalf of the other Class
   18   members, seeks all remedies as allowed by law.
   19         812. Also, as alleged in more detail herein, at the time that Toyota warranted
   20   and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
   21   warranties and were inherently defective, and Toyota wrongfully and fraudulently
   22   misrepresented and/or concealed material facts regarding its Class Vehicles. Plaintiff
   23   and the other Class members were therefore induced to purchase or lease the Class
   24   Vehicles under false and/or fraudulent pretenses.
   25         813. Moreover, many of the injuries flowing from the Class Vehicles cannot
   26   be resolved through the limited remedy of “replacement or adjustments,” as many
   27   incidental and consequential damages have already been suffered due to Toyota’s
   28

                                                             PLAINTIFFS’ THIRD AMENDED
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                                                               CLASS ACTION COMPLAINT
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    1
        fraudulent conduct as alleged herein, and due to its failure and/or continued failure
    2
        to provide such limited remedy within a reasonable time, and any limitation on
    3
        Plaintiff’s and the other Class members’ remedies would be insufficient to make
    4
        Plaintiff and the other Class members whole.
    5
              814. Furthermore, the application of (or refusal to permit coverage under) the
    6
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
    7
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
    8
        disparity in bargaining power existed between Toyota and Class members, and
    9
        Toyota knew or should have known that the Class Vehicles were defective at the time
   10
        of sale and that the wiring systems would fail well before their useful lives.
   11
              815. Toyota was provided notice of these issues by numerous complaints
   12
        filed against it, including the instant complaint, and by numerous individual letters
   13
        and communications sent by Class members, within a reasonable amount of time
   14
        after the allegations of Class Vehicle Defect became public
   15
              816. As a direct and proximate result of Toyota’s breach of express
   16
        warranties, Plaintiff Siffermann has suffered harm and is entitled to damages in an
   17
        amount to be determined at trial.
   18
              817. Due to Toyota’s breach of warranties as set forth herein, Plaintiff and
   19
        the other Class members assert as an additional and/or alternative remedy, as set
   20
        forth in 810 ILL. COMP. STAT. § 5/2-608, for a revocation of acceptance of the goods,
   21
        and for a return to Plaintiff and to the other Class members of the purchase price of
   22
        all Class Vehicles currently owned for such other incidental and consequential
   23
        damages as allowed under 810 ILL. COMP. STAT. §§ 5/2-711 and 5/2-608.
   24
                                      COUNT XXXVII
   25     BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
   26                          810 ILL. COMP. STAT. § 5/2-314
                (On Behalf of Plaintiff Siffermann and the Illinois Sub-Class)
   27
              818. Plaintiffs repeat and reallege the allegations above as if fully set forth
   28

                                                             PLAINTIFFS’ THIRD AMENDED
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                                                               CLASS ACTION COMPLAINT
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    1
        herein.
    2
              819. This claim is brought on behalf of Plaintiff Siffermann and the Illinois
    3
        Sub-Class.
    4
              820. Toyota is and was at all relevant times a merchant with respect to motor
    5
        vehicles.
    6
              821. A warranty that the Class Vehicles were in merchantable condition is
    7
        implied by law in the instant transactions. 810 ILL. COMP. STAT. § 5/2-314.
    8
              822. At the time Toyota designed, manufactured, produced, tested, studied,
    9
        inspected, labeled, marketed, advertised, sold/leased, promoted, and distributed its
   10
        Class Vehicles, Toyota knew of the use for which its Class Vehicles were intended.
   11
              823. These Class Vehicles, when sold or leased and at all times thereafter,
   12
        were not in merchantable condition and are not fit for the ordinary purpose for which
   13
        cars are used. Specifically, the Class Vehicles are inherently defective in that certain
   14
        electrical wiring components in Class Vehicles are coated or designed with soy- or
   15
        bio-based products that attract rodents which chew, gnaw, or eat through these
   16
        components, causing damage – including but not limited to partial or total failure –
   17
        in Class Vehicle electrical and wiring systems.
   18
              824. Furthermore, the application of (or refusal to permit coverage under) the
   19
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   20
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   21
        disparity in bargaining power existed between Toyota and Class members, and
   22
        Toyota knew or should have known that the Class Vehicles were defective at the time
   23
        of sale and that the wiring systems would fail well before their useful lives.
   24
   25         825. Toyota was provided notice of these issues by numerous complaints
   26   filed against it, including the instant complaint, and by numerous individual letters
   27   and communications sent by Class members.

   28         826. As a direct and proximate result of Toyota’s breach of the warranties

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    1
        of merchantability, Plaintiff and the other Class members have been damaged in an
    2
        amount to be proven at trial.
    3
              827. To the extent it is required, the parties are in privity or, alternatively,
    4
        Plaintiff and Class members are the intended beneficiaries of Toyota’s contracts.
    5                                    COUNT XXXVIII
    6                      FRAUD/FRAUDULENT CONCEALMENT
                   (On Behalf of Plaintiff Siffermann and the Illinois Sub-Class)
    7
              828. Plaintiffs repeat and reallege the allegations above as if fully set forth
    8
        herein.
    9
              829. This claim is brought on behalf of Plaintiff Siffermann and the Illinois
   10
        Sub-Class.
   11
              830.    Defendants concealed and suppressed material facts concerning the
   12
        performance and quality of the Class Vehicles – namely, the Defect – and the quality
   13
        of the Toyota brand. Specifically, Defendants knew of (or should have known of)
   14
        the Defect, but failed to disclose it prior to or at the time it sold or leased Class
   15
        Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
   16
        Vehicles.
   17
              831.    Plaintiff and Class members had no way of knowing that Defendants’
   18
        representations were false and gravely misleading, or that Defendants had omitted
   19
        imperative details. Plaintiff and Class members did not, and could not, unravel
   20
        Defendants’ deception on their own.
   21
              832.    Defendants had a duty to disclose the true performance of the Class
   22
        Vehicles and the Defect because knowledge thereof and the details related thereto
   23
        were known and/or accessible only to Defendants; Defendants had superior
   24
        knowledge and access to the facts; and Defendants knew the facts were not known
   25
        to, or reasonably discoverable, by Plaintiff and the Class. Defendants also had a duty
   26
        to disclose because they made many general affirmative representations about the
   27
        about the qualities of the Class Vehicles.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
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                                                               CLASS ACTION COMPLAINT
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    1
              833.     On information and belief, Defendants still have not made full and
    2
        adequate disclosures, and continue to defraud consumers by concealing material
    3
        information regarding the Defect and the performance and quality of Class Vehicles.
    4
              834.     Plaintiff and the Illinois Sub-Class were unaware of these omitted
    5
        material facts and would not have acted as they did if they had known of the
    6
        concealed and/or suppressed facts, in that they would not have purchased or leased
    7
        the Class Vehicles. Plaintiff’s and the Class’ actions were justified. Defendants were
    8
        in exclusive control of the material facts and such facts were not known to the
    9
        public, Plaintiff, or the Class.
   10
              835.     Plaintiff and the Class relied upon Defendants representations and
   11
        omissions regarding the quality of Class Vehicles and the Defect in deciding to
   12
        purchase or lease Class Vehicles.
   13
              836.     Because of the concealment and/or suppression of the facts, Plaintiff
   14
        and the Class sustained damage because they did not receive the value of the
   15
        premium price paid for their Class Vehicles. Plaintiff and Class members would
   16
        have paid less for Class Vehicles had they known about the Defect and the entire
   17
        truth about them, or they would not have purchased or leased Class Vehicles at all.
   18
              837.     Accordingly, Defendants are liable to Plaintiff and the Illinois Sub-
   19
        Class for damages in an amount to be proven at trial.
   20
               838.    Defendants’ acts were done maliciously, oppressively, deliberately,
   21
        with intent to defraud, and in reckless disregard of Plaintiff’s and the Class’ rights
   22
        and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
   23
        of punitive damages in an amount sufficient to deter such conduct in the future,
   24
        which amount is to be determined according to proof.
   25
        ///
   26
        ///
   27
        ///
   28

                                                             PLAINTIFFS’ THIRD AMENDED
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                                                               CLASS ACTION COMPLAINT
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    1                                    COUNT XXXIX
    2                               UNJUST ENRICHMENT
                   (On Behalf of Plaintiff Siffermann and the Illinois Sub-Class)
    3
               839. Plaintiffs repeat and reallege the allegations above as if fully set forth
    4
        herein.
    5
               840. This claim is brought by Plaintiff Siffermann on behalf of the Illinois
    6
        Sub-Class. This claim is pled in the alternative to the other claims set forth herein.
    7
               841.    As the intended and expected result of its conscious wrongdoing,
    8
        Toyota has profited and benefited from Plaintiff’s and Class members’ purchase of
    9
        Class Vehicles containing the Defect.
   10
               842.    Toyota has voluntarily accepted and retained these profits and benefits
   11
        with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
   12
        herein, Plaintiff and the Class were not receiving automobiles of the quality, nature,
   13
        fitness, or value that had been represented by Toyota, and that a reasonable
   14
        consumer would expect.
   15
               843.    Toyota has been unjustly enriched by its fraudulent, deceptive, and
   16
        otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
   17
        and by withholding benefits from Plaintiff and the Class at the expense of these
   18
        parties.
   19
               844.    Equity and good conscience militate against permitting Toyota to
   20
        retain these profits and benefits, and Toyota should be required to make restitution
   21
        of its ill-gotten gains resulting from the conduct alleged herein.
   22
        H.     Indiana
   23                                   COUNT XL
   24    VIOLATIONS OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                        IND. CODE §§ 24-5-0.5-1, et seq. (“IDCSA”)
   25       (On Behalf of Plaintiff Heber and Lesko, and the Indiana Sub-Class)
   26          845. Plaintiffs repeat and reallege the allegations above as if fully set forth
   27   herein.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
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    1
              846. This claim is brought by Plaintiff Heber and the Lesko Plaintiffs on
    2
        behalf of the Indiana Sub-Class.
    3
              847. The IDCSA allows a person to bring an action for damages from
    4
        “relying upon an uncured or incurable deceptive act.” IND. CODE 24-5-0.5-4(a).
    5
              848. Additionally, the IDCSA expressly allows persons damaged by a
    6
        “deceptive act” to bring a class action. Id. § 24-5-0.5-4(b).
    7
              849. The IDCSA defines a “deceptive act” as when a supplier commits an
    8
        “unfair, abusive, or deceptive act, omission, or practice in connection with a
    9
        consumer transaction” whether such conduct occurred before, during, or after the
   10
        transaction. Id. § 24-5-0.5-3(a). Further, deceptive acts “include both implicit and
   11
        explicit misrepresentations.” Id.
   12
              850. The IDCSA enumerates some “representations as to the subject matter
   13
        of the consumer transaction, made orally, in writing, or by electronic communication,
   14
        by a supplier” that are considered per se deceptive acts. Id. § 24-5-0.5-3(b). Pertinent
   15
        here are the following deceptive acts which Defendant has committed as alleged
   16
        herein:
   17
                    a.     (b)(1): That such subject of a consumer transaction has
   18
                           sponsorship, approval, performance, characteristics, accessories,
   19
                           uses, or benefits it does not have which the supplier knows or
   20
                           should reasonably know it does not have.
   21
                    b.     (b)(2): That such subject of a consumer transaction is of a
   22
                           particular standard, quality, grade, style, or model, if it is not and
   23
                           if the supplier knows or should reasonably know that it is not.
   24
                    c.     (b)(8): That such consumer transaction involves or does not
   25
                           involve a warranty, a disclaimer of warranties, or other rights,
   26
                           remedies, or obligations, if the representation is false and if the
   27
                           supplier knows or should reasonably know that the representation
   28

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    1
                           is false.
    2
              851. Defendants represented in the Warranty that it is “dedicated to building
    3
        products of the highest quality and reliability.” Ex. A. Defendants represented that
    4
        its “excellent warranty coverage is evidence that [Toyota] stand[s] behind the quality
    5
        of our vehicles.” Id. Defendant further represents that it is confident that its Toyotas
    6
        will provide its customers “with many years of enjoyable driving.” Id.
    7
              852. But Defendants sold Class Vehicles to Plaintiffs and the Indiana Sub-
    8
        Class that did not perform or have the characteristics, uses, benefits or quality that
    9
        Defendants represented its Class Vehicles to have. Instead, Defendants sold to
   10
        Plaintiffs and members of the Indiana Sub-Class vehicles with soy- or bio-based
   11
        wiring which are and continue to be chewed through by rodents. The Defect is
   12
        incurable and cannot be remedied unless Defendants replace Class Vehicle wiring
   13
        with a non-soy- or non-bio-based wiring that will not attract rodents and other pests.
   14
              853. Defendant has and will continue to refuse to replace defective wiring in
   15
        Class Vehicles because it contends that the Defect is not covered by the Warranty.
   16
              854. Defendants have refused and continue to refuse to cover the Defect
   17
        under the Warranty. Defendants did not exclude or disclaim the Defect or rodent
   18
        damage under the terms of the Warranty. Therefore, Defendants have breached their
   19
        express warranty and have misled and deceived consumers about the scope of its
   20
        Warranty. Defendants have engaged in multiple deceptive acts in violation of the
   21
        IDCSA. Therefore, Plaintiffs Heber and Lesko seek both injunctive relief and
   22
        monetary damages against Defendants pursuant to the IDCSA, §§ 2 and 4.
   23
              855. Furthermore, Defendants omitted and concealed information about the
   24
        Defect from Plaintiffs and Indiana Sub-Class members. Defendants had a duty to
   25
        disclose the truth about Class Vehicles, including the Defect, and Plaintiffs and Class
   26
        members could not have discovered the truth on their own. Plaintiffs and Class
   27
        members relied upon Defendants’ representations and omissions with respect to
   28

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    1
        Class Vehicles, and it was Defendants’ concealment of the Defect that induced
    2
        Plaintiffs and Class members to purchase or lease Class Vehicles.
    3
              856. As a result of Defendants’ conduct alleged herein, Plaintiffs and
    4
        members of the Indiana Sub-Class have suffered irreparable harm. Plaintiffs’ and the
    5
        other Indiana Sub-Class members’ injuries were proximately caused by Defendants’
    6
        conduct as alleged herein. Plaintiffs, individually and on behalf of all other Indiana
    7
        Sub-Class members, seek an award of damages for Defendants’ willful violations of
    8
        the IDCSA, costs, attorneys’ fees, and such other relief as deemed appropriate and
    9
        proper by the Court.
   10                                     COUNT XLI
   11                      BREACH OF EXPRESS WARRANTY
                                     IND. CODE § 26-1-2-313
   12        (On Behalf of Plaintiff Heber and Lesko, and the Indiana Sub-Class)
   13         857. Plaintiffs repeat and reallege the allegations above as if fully set forth
   14   herein.
   15         858. This claim is brought by Plaintiffs Heber and the Lesko Plaintiffs on
   16   behalf of the Indiana Sub-Class.
   17         859. Toyota is and was at all relevant times a merchant with respect to motor
   18   vehicles.
   19
              860. In its New Vehicle Limited Warranty and in advertisements, brochures,
   20
        and through other statements, Toyota expressly warranted that it would repair or
   21
        replace defects in material or workmanship free of charge if they became apparent
   22
        during the warranty period. For example, the following language appears in all Class
   23
        Vehicle Warranty and Maintenance Guides:
   24
                     WHAT IS COVERED AND HOW LONG
   25
                     Basic Warranty
   26
                     This warranty covers repairs and adjustments needed to
   27                correct defects in materials or workmanship of any part
   28                supplied by Toyota, subject to the exceptions indicated

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    1                under “What Is Not Covered” . . . .
    2   Ex. A.
    3
              861. Toyota’s Warranty does not exclude rodent damage of the type suffered
    4
        by Plaintiffs and Class members in their Class Vehicles.
    5
              862.   Toyota’s Warranty as well as advertisements, brochures, and other
    6
        statements regarding the Class Vehicles, formed the basis of the bargain that was
    7
        reached when Plaintiffs and the other Class members purchased or leased their Class
    8
        Vehicles.
    9
              863. Toyota breached the express warranty to repair and adjust to correct
   10
        defects in materials and workmanship of any part supplied by Toyota. Toyota has
   11
        not repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
   12
        materials and workmanship defects.
   13
   14         864. In addition to Toyota’s Warranty, Toyota otherwise expressly warranted

   15   several attributes, characteristics, and qualities of its Class Vehicles. These

   16   warranties are only a sampling of the numerous warranties that Toyota made relating

   17   to safety, reliability, and operation. Generally these express warranties promise

   18   heightened, superior, and state-of-the-art safety, reliability, performance standards,

   19   and promote the benefits of their Class Vehicles. These warranties were made, inter

   20   alia, in advertisements, on Toyota’s website, and in uniform statements provided by

   21   Toyota to be made by salespeople, or made publicly by Toyota executives or by other

   22   authorized Toyota representatives. These affirmations and promises were part of the

   23   basis of the bargain between the parties, thereby constituting express warranties

   24   under IND. CODE § 26-1-2-313.

   25         865. These additional warranties were also breached because the Class
   26   Vehicles were not fully operational, safe, or reliable, nor did they comply with the
   27   warranties expressly made to purchasers or lessees. Toyota did not provide at the
   28   time of sale, and has not provided since then, Class Vehicles conforming to its

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    1
        express warranties.
    2
              866. Furthermore, the limited warranty of repair and/or adjustments to
    3
        defective parts, fails in its essential purpose because the contractual remedy is
    4
        insufficient to make Plaintiffs and the other Class members whole and because
    5
        Toyota has failed and/or has refused to adequately provide the promised remedies
    6
        within a reasonable time.
    7
              867. Accordingly, recovery by Plaintiffs and the other Class members is not
    8
        limited to the limited warranty of repair or adjustments to parts defective in materials
    9
        or workmanship, and Plaintiffs, individually and on behalf of the other Class
   10
        members, seek all remedies as allowed by law.
   11
   12         868. Also, as alleged in more detail herein, at the time that Toyota warranted
   13   and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
   14   warranties and were inherently defective, and Toyota wrongfully and fraudulently
   15   misrepresented     and/or    concealed       material   facts   regarding   its   Class
   16   Vehicles. Plaintiffs and the other Class members were therefore induced to purchase
   17   or lease the Class Vehicles under false and/or fraudulent pretenses.
   18         869. Moreover, many of the injuries flowing from the Class Vehicles cannot
   19   be resolved through the limited remedy of “replacement or adjustments,” as many
   20   incidental and consequential damages have already been suffered due to Toyota’s
   21   fraudulent conduct as alleged herein, and due to its failure and/or continued failure
   22   to provide such limited remedy within a reasonable time, and any limitation on
   23   Plaintiffs’ and the other Class members’ remedies would be insufficient to make
   24   Plaintiffs and the other Class members whole.
   25         870. Furthermore, the application of (or refusal to permit coverage under) the
   26   Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   27   Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   28   disparity in bargaining power existed between Toyota and Class members, and

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    1
        Toyota knew or should have known that the Class Vehicles were defective at the time
    2
        of sale and that the wiring systems would fail well before their useful lives.
    3
               871. Toyota was provided notice of these issues by numerous complaints
    4
        filed against it, including the instant complaint, and by numerous individual letters
    5
        and communications sent by Class members.
    6
               872. As a direct and proximate result of Toyota’s breach of express
    7
        warranties, Plaintiffs and the Indiana Sub-Class have suffered harm and are entitled
    8
        to damages in an amount to be determined at trial.
    9
               873. Due to Toyota’s breach of warranties as set forth herein, Plaintiffs and
   10
        the other Indiana Sub-Class members assert as an additional and/or alternative
   11
        remedy, as set forth in IND. CODE § 26-1-2-313, for a revocation of acceptance of
   12
        the goods, and for a return to Plaintiffs and to the other Class members of the
   13
        purchase price of all Class Vehicles currently owned, and for such other incidental
   14
        and consequential damages as allowed under IND. CODE §§ 26-1-2-711 and 26-1-2-
   15
        608.
   16
                                         COUNT XLII
   17      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
   18                               IND. CODE § 26-1-2-314
            (On Behalf of Plaintiff Heber and Lesko, and the Indiana Sub-Class)
   19
               874. Plaintiffs repeat and reallege the allegations above as if fully set forth
   20
        herein.
   21
               875. This claim is brought by Plaintiff Heber and the Lesko Plaintiffs on
   22
        behalf of the Indiana Sub-Class.
   23
               876. Toyota is and was at all relevant times a merchant with respect to motor
   24
        vehicles.
   25
               877. A warranty that the Class Vehicles were in merchantable condition is
   26
        implied by law in the instant transactions.
   27
   28          878. At the time Toyota designed, manufactured, produced, tested, studied,

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    1
        inspected, labeled, marketed, advertised, sold/leased, promoted, and distributed its
    2
        Class Vehicles, Toyota knew of the use for which its Class Vehicles were intended.
    3
              879. These Class Vehicles, when sold or leased and at all times thereafter,
    4
        were not in merchantable condition and are not fit for the ordinary purpose for which
    5
        cars are used. Specifically, the Class Vehicles are inherently defective in that certain
    6
        electrical wiring components in Class Vehicles are coated or designed with soy- or
    7
        bio-based products that attract rodents which chew, gnaw, or eat through these
    8
        components, causing damage – including but not limited to partial or total failure –
    9
        in Class Vehicle electrical and wiring systems.
   10
              880. Furthermore, the application of (or refusal to permit coverage under) the
   11
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   12
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   13
        disparity in bargaining power existed between Toyota and Class members, and
   14
        Toyota knew or should have known that the Class Vehicles were defective at the time
   15
        of sale and that the wiring systems would fail well before their useful lives.
   16
              881. Toyota was provided notice of these issues by numerous complaints
   17
        filed against it, including the instant complaint, and by numerous individual letters
   18
        and communications sent by Class members.
   19
   20         882. As a direct and proximate result of Toyota’s breach of the warranties
   21   of merchantability, Plaintiffs and the other Class members have been damaged in an
   22   amount to be proven at trial.
   23         883. To the extent it is required, the parties are in privity or, alternatively,
   24   Plaintiffs and Class members are the intended beneficiaries of Toyota’s contracts.
                                          COUNT XLIII
   25                      FRAUD/FRAUDULENT CONCEALMENT
   26         (On Behalf of Plaintiff Heber and Lesko, and the Indiana Sub-Class)
   27         884. Plaintiffs repeat and reallege the allegations above as if fully set forth
   28   herein.

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    1
              885. This claim is brought by Plaintiffs Heber and the Lesko Plaintiffs on
    2
        behalf of the Indiana Sub-Class.
    3
              886.     Defendants concealed and suppressed material facts concerning the
    4
        performance and quality of the Class Vehicles – namely, the Defect – and the quality
    5
        of the Toyota brand. Specifically, Defendants knew of (or should have known of)
    6
        the Defect, but failed to disclose it prior to or at the time it sold or leased Class
    7
        Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
    8
        Vehicles.
    9
              887.     Plaintiffs and Class members did not, and could not, unravel
   10
        Defendants’ deception on their own.
   11
              888.     Defendants had a duty to disclose the true performance of the Class
   12
        Vehicles and the Defect because knowledge thereof and the details related thereto
   13
        were known and/or accessible only to Defendants; Defendants had superior
   14
        knowledge and access to the facts; and Defendants knew the facts were not known
   15
        to, or reasonably discoverable, by Plaintiffs and the Class. Defendants also had a
   16
        duty to disclose because they made many general affirmative representations about
   17
        the about the qualities of the Class Vehicles.
   18
              889.     On information and belief, Defendants still have not made full and
   19
        adequate disclosures, and continue to defraud consumers by concealing material
   20
        information regarding the Defect and the performance and quality of Class Vehicles.
   21
              890.     Plaintiffs and the Indiana Sub-Class were unaware of these omitted
   22
        material facts and would not have acted as they did if they had known of the
   23
        concealed and/or suppressed facts, in that they would not have purchased or leased
   24
        the Class Vehicles. Plaintiffs’ and the Class’ actions were justified. Defendants were
   25
        in exclusive control of the material facts and such facts were not known to the
   26
        public, Plaintiffs, or the Class.
   27
              891.     Plaintiffs and the Class relied upon Defendants representations and
   28

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    1
        omissions regarding the quality of Class Vehicles and the Defect in deciding to
    2
        purchase or lease Class Vehicles.
    3
              892.    Because of the concealment and/or suppression of the facts, Plaintiffs
    4
        and the Class sustained damage because they did not receive the value of the
    5
        premium price paid for their Class Vehicles. Plaintiffs and Class members would
    6
        have paid less for Class Vehicles had they known about the Defect and the entire
    7
        truth about them, or they would not have purchased or leased Class Vehicles at all.
    8
              893.    Accordingly, Defendants are liable to Plaintiffs and the Indiana Sub-
    9
        Class for damages in an amount to be proven at trial.
   10
              894.    Defendants’ acts were done maliciously, oppressively, deliberately,
   11
        with intent to defraud, and in reckless disregard of Plaintiffs’ and the Class’ rights
   12
        and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
   13
        of punitive damages in an amount sufficient to deter such conduct in the future,
   14
        which amount is to be determined according to proof.
   15                                   COUNT XLIV
   16                              UNJUST ENRICHMENT
             (On Behalf of Plaintiff Heber and Lesko, and the Indiana Sub-Class)
   17
              895. Plaintiffs repeat and reallege the allegations above as if fully set forth
   18
        herein.
   19
              896.    This claim is brought by Plaintiffs Heber and the Lesko Plaintiffs on
   20
        behalf of the Indiana Sub-Class. This claim is pled in the alternative to the other
   21
        claims set forth herein.
   22
              897.    As the intended and expected result of its conscious wrongdoing,
   23
        Toyota has profited and benefited from Plaintiffs’ and Class members’ purchase of
   24
        Class Vehicles containing the Defect.
   25
              898.    Toyota has voluntarily accepted and retained these profits and benefits
   26
        with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
   27
        herein, Plaintiffs and the Class were not receiving automobiles of the quality, nature,
   28

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    1
        fitness, or value that had been represented by Toyota, and that a reasonable
    2
        consumer would expect.
    3
               899.   Toyota has been unjustly enriched by its fraudulent, deceptive, and
    4
        otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
    5
        and by withholding benefits from Plaintiffs and the Class at the expense of these
    6
        parties.
    7
               900.   Equity and good conscience militate against permitting Toyota to
    8
        retain these profits and benefits, and Toyota should be required to make restitution
    9
        of its ill-gotten gains resulting from the conduct alleged herein.
   10
        I.     Maryland
   11                                    COUNT XLV
   12     VIOLATIONS OF THE MARYLAND CONSUMER PROTECTION ACT
                      MD. CODE COM. LAW §§ 13-101, et seq. (“MCPA”)
   13
         (On behalf of Plaintiffs Bennett and Faulkner, and the Maryland Sub-Class)
   14          901. Plaintiffs repeat and reallege the allegations above as if fully set forth
   15   herein.
   16          902. This claim is brought by Plaintiffs Bennett and Faulkner on behalf of
   17   the Maryland Sub-Class.
   18          903. The MCPA provides that a person may not engage in any unfair or
   19   deceptive trade practice in the sale of any consumer good. MD. CODE COM. LAW §
   20   13-303. Toyota participated in misleading, false or deceptive acts that violated the
   21   MCPA. By fraudulently advertising and selling Class Vehicles with the Defect as
   22   described herein, Toyota engaged in deceptive business practices prohibited by the
   23   MCPA.
   24          904. Plaintiffs and the Maryland Sub-Class are “consumers” within the
   25   meaning of MD. CODE COM. LAW § 13-101(c), and Toyota is a “person” with the
   26   meaning of MD. CODE COM. LAW § 13-101(h).
   27          905. Toyota’s actions as set forth above occurred in the conduct of trade or
   28

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    1
        commerce.
    2
                 906. In the course of its business, Toyota incorporated soy- or bio-based
    3
        electrical wiring insulation and related components in Class Vehicles that attract
    4
        rodents and other pests which cause damage, and Toyota concealed this Defect and
    5
        otherwise engaged in activities with the tendency or capacity to deceive. Toyota also
    6
        engaged in unlawful trade practices by employing deception, deceptive acts or
    7
        practices, fraud, misrepresentations, or concealment, suppression or omission, in
    8
        connection with the sale of Class Vehicles containing the Defect.
    9
                 907. Toyota has known of the Defect in Class Vehicles from complaints and
   10
        communications by Plaintiffs and Class members, but continued to conceal the
   11
        Defect in order to make sales and leases of Class Vehicles.
   12
                 908. By failing to disclose and actively concealing the Defect, by marketing
   13
        Class Vehicles as reliable and of high quality, and by presenting itself as a reputable
   14
        manufacturer that stood by its products after they were sold when it in fact does not,
   15
        Toyota engaged in unfair and deceptive business practices in violation of the MCPA.
   16
                 909. In the course of Toyota’s business, it willfully failed to disclose and
   17
        actively concealed the Defect in Class Vehicles discussed above.
   18
                 910. Toyota’s unfair or deceptive acts or practices were likely to and did in
   19
        fact deceive reasonable consumers, including Plaintiffs and the Maryland Sub-Class,
   20
        about the quality, workmanship, performance, safety, and true value of the defective
   21
        Class Vehicles.
   22
                 911. Toyota intentionally and knowingly misrepresented material facts
   23
        regarding the Class Vehicles with intent to mislead Plaintiffs and the Maryland Sub-
   24
        Class.
   25
                 912. Toyota knew or should have known that its conduct violated the MCPA.
   26
                 913. Toyota owed Plaintiffs and the Maryland Sub-Class a duty to disclose
   27
        the Defect in Class Vehicles and the true value of Class Vehicles because Toyota:
   28

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    1
                    a.    Possessed exclusive knowledge that its manufacturing process
    2
                          entailed the inclusion of defective and rodent damage-prone soy-
    3
                          or bio-based wiring and wiring insulation;
    4
                    b.    Intentionally concealed the foregoing from Plaintiffs and the
    5
                          Maryland Sub-Class; and/or
    6
                    c.    Made incomplete, false or misleading representations about the
    7
                          characteristics, quality, workmanship, reliability, value, safety,
    8
                          efficiency, and performance of Class Vehicles while purposefully
    9
                          withholding material facts from Plaintiffs and the Maryland Sub-
   10
                          Class that contradicted these representations.
   11
              914. Because the Class Vehicles are worth far less than paid for by Plaintiffs
   12
        and the Maryland Sub-Class and the Defect in Class Vehicles have caused Plaintiffs
   13
        and members of the Maryland Sub-Class to incur out-of-pocket expenses, they have
   14
        suffered ascertainable loss as a result of Toyota’s deceptive and unfair acts and
   15
        practices made in the course of Toyota’s business.
   16
              915. As a direct and proximate result of Toyota’s violations of the MCPA,
   17
        Plaintiffs and the Maryland Sub-Class have suffered ascertainable injury-in-fact
   18
        and/or actual damage.
   19
              916. Pursuant to MD. CODE COM. LAW § 13-408, Plaintiffs and the Maryland
   20
        Sub-Class seek actual damages, attorneys’ fees, and any other just and proper relief
   21
        available under the MCPA.
   22                                   COUNT XLVI
   23                      BREACH OF EXPRESS WARRANTY
                                  MD. CODE COM. LAW § 2-313
   24    (On Behalf of Plaintiffs Bennett and Faulkner, and the Maryland Sub-Class)
   25         917. Plaintiffs repeat and reallege the allegations above as if fully set forth
   26   herein.
   27         918. This claim is brought by Plaintiffs Bennett and Faulkner on behalf of
   28

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    1
        the Maryland Sub-Class.
    2
              919. Toyota is and was at all relevant times a merchant with respect to motor
    3
        vehicles.
    4
              920. In its New Vehicle Limited Warranty and in advertisements, brochures,
    5
        and through other statements, Toyota expressly warranted that it would repair or
    6
        replace defects in material or workmanship free of charge if they became apparent
    7
        during the warranty period. For example, the following language appears in all Class
    8
        Vehicle Warranty and Maintenance Guides:
    9
   10                WHAT IS COVERED AND HOW LONG
   11                Basic Warranty
   12                This warranty covers repairs and adjustments needed to
                     correct defects in materials or workmanship of any part
   13                supplied by Toyota, subject to the exceptions indicated
   14                under “What Is Not Covered” . . . .
   15   Ex. A.
   16         921. Toyota’s Warranty does not exclude rodent damage of the type suffered
   17   by Plaintiffs and Class members in their Class Vehicles.
   18         922.   Toyota’s Warranty as well as advertisements, brochures, and other
   19   statements regarding the Class Vehicles, formed the basis of the bargain that was
   20   reached when Plaintiffs and the other Class members purchased or leased their Class
   21   Vehicles.
   22
              923. Toyota breached the express warranty to repair and adjust to correct
   23
        defects in materials and workmanship of any part supplied by Toyota. Toyota has
   24
        not repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
   25
        materials and workmanship defects.
   26
              924. In addition to Toyota’s Warranty, Toyota otherwise expressly warranted
   27
        several attributes, characteristics, and qualities of its Class Vehicles. These
   28

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    1
        warranties are only a sampling of the numerous warranties that Toyota made relating
    2
        to safety, reliability, and operation. Generally these express warranties promise
    3
        heightened, superior, and state-of-the-art safety, reliability, performance standards,
    4
        and promote the benefits of their Class Vehicles. These warranties were made, inter
    5
        alia, in advertisements, on Toyota’s website, and in uniform statements provided by
    6
        Toyota to be made by salespeople, or made publicly by Toyota executives or by other
    7
        authorized Toyota representatives. These affirmations and promises were part of the
    8
        basis of the bargain between the parties, thereby constituting express warranties
    9
        under MD. COM. CODE § 2-313.
   10
              925. These additional warranties were also breached because the Class
   11
        Vehicles were not fully operational, safe, or reliable, nor did they comply with the
   12
        warranties expressly made to purchasers or lessees. Toyota did not provide at the
   13
        time of sale, and has not provided since then, Class Vehicles conforming to its
   14
        express warranties.
   15
              926. Furthermore, the limited warranty of repair and/or adjustments to
   16
        defective parts, fails in its essential purpose because the contractual remedy is
   17
        insufficient to make Plaintiffs and the other Class members whole and because
   18
        Toyota has failed and/or has refused to adequately provide the promised remedies
   19
        within a reasonable time.
   20
   21         927. Accordingly, recovery by Plaintiffs and the other Class members is not
   22   limited to the limited warranty of repair or adjustments to parts defective in materials
   23   or workmanship, and Plaintiffs, individually and on behalf of the other Class
   24   members, seek all remedies as allowed by law.
   25         928. Also, as alleged in more detail herein, at the time that Toyota warranted
   26   and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
   27   warranties and were inherently defective, and Toyota wrongfully and fraudulently
   28   misrepresented     and/or    concealed       material   facts   regarding   its   Class

                                                                PLAINTIFFS’ THIRD AMENDED
                                               160
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    1
        Vehicles. Plaintiffs and the other Class members were therefore induced to purchase
    2
        or lease the Class Vehicles under false and/or fraudulent pretenses.
    3
              929. Moreover, many of the injuries flowing from the Class Vehicles cannot
    4
        be resolved through the limited remedy of “replacement or adjustments,” as many
    5
        incidental and consequential damages have already been suffered due to Toyota’s
    6
        fraudulent conduct as alleged herein, and due to its failure and/or continued failure
    7
        to provide such limited remedy within a reasonable time, and any limitation on
    8
        Plaintiffs’ and the other Class members’ remedies would be insufficient to make
    9
        Plaintiffs and the other Class members whole.
   10
              930. Furthermore, the application of (or refusal to permit coverage under) the
   11
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   12
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   13
        disparity in bargaining power existed between Toyota and Class members, and
   14
        Toyota knew or should have known that the Class Vehicles were defective at the time
   15
        of sale and that the wiring systems would fail well before their useful lives.
   16
              931. Toyota was provided notice of these issues by numerous complaints
   17
        filed against it, including the instant complaint, and by numerous individual letters
   18
        and communications (including Plaintiff Bennett’s and Faulkner’s communications)
   19
        sent by Class members.
   20
   21         932. As a direct and proximate result of Toyota’s breach of express
   22   warranties, Plaintiffs Bennett and Faulkner have suffered harm and are entitled to
   23   damages under MD. CODE COM. § 2-313 in an amount to be determined at trial.
                                       COUNT XLVII
   24        BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
   25                            MD. CODE COM. LAW § 2-314
           (On behalf of Plaintiffs Bennett and Faulkner, and the Maryland Class)
   26
              933. Plaintiffs repeat and reallege the allegations above as if fully set forth
   27
        herein.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                               161
                                                               CLASS ACTION COMPLAINT
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    1
              934. This claim is brought by Plaintiffs Bennett and Faulkner on behalf of
    2
        the Maryland Sub-Class.
    3
              935. Toyota is and was at all relevant times a merchant with respect to motor
    4
        vehicles.
    5
              936. A warranty that the Class Vehicles were in merchantable condition is
    6
        implied by law in the instant transactions.
    7
    8         937. At the time Toyota designed, manufactured, produced, tested, studied,
    9   inspected, labeled, marketed, advertised, sold/leased, promoted, and distributed its
   10   Class Vehicles, Toyota knew of the use for which its Class Vehicles were intended.
   11         938. These Class Vehicles, when sold or leased and at all times thereafter,
   12   were not in merchantable condition and are not fit for the ordinary purpose for which
   13   cars are used. Specifically, the Class Vehicles are inherently defective in that certain
   14   electrical wiring components in Class Vehicles are coated or designed with soy- or
   15   other bio-based products that attract rodents which chew, gnaw, or eat through these
   16   components, causing damage – including but not limited to partial or total failure –
   17   in Class Vehicle electrical and wiring systems.
   18         939. Furthermore, the application of (or refusal to permit coverage under) the
   19   Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   20   Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   21   disparity in bargaining power existed between Toyota and Class members, and
   22   Toyota knew or should have known that the Class Vehicles were defective at the time
   23   of sale and that the wiring systems would fail well before their useful lives.
   24         940. Toyota was provided notice of these issues by numerous complaints
   25   filed against it, including the instant complaint, and by numerous individual letters
   26   and communications (including communications from Plaintiffs Bennett and
   27   Faulkner) sent by Class members.
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                               162
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    1
              941. As a direct and proximate result of Toyota’s breach of the warranties
    2
        of merchantability, Plaintiffs and the other Class members have been damaged in an
    3
        amount to be proven at trial.
    4
              942. To the extent it is required, the parties are in privity or, alternatively,
    5
        Plaintiff and Class members are the intended beneficiaries of Toyota’s contracts.
    6                                    COUNT XLVIII
    7                      FRAUD/FRAUDULENT CONCEALMENT
         (On Behalf of Plaintiffs Bennett and Faulkner, and the Maryland Sub-Class)
    8
              943. Plaintiffs repeat and reallege the allegations above as if fully set forth
    9
        herein.
   10
              944. This claim is brought by Plaintiffs Bennett and Faulkner on behalf of
   11
        the Maryland Sub-Class.
   12
              945.    Defendants concealed and suppressed material facts concerning the
   13
        performance and quality of the Class Vehicles – namely, the Defect – and the quality
   14
        of the Toyota brand. Specifically, Defendants knew of (or should have known of)
   15
        the Defect, but failed to disclose it prior to or at the time it sold or leased Class
   16
        Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
   17
        Vehicles.
   18
              946.    Plaintiffs and Class members did not, and could not, unravel
   19
        Defendants’ deception on their own.
   20
              947.    Defendants had a duty to disclose the true performance of the Class
   21
        Vehicles and the Defect because knowledge thereof and the details related thereto
   22
        were known and/or accessible only to Defendants; Defendants had superior
   23
        knowledge and access to the facts; and Defendants knew the facts were not known
   24
        to, or reasonably discoverable, by Plaintiffs and the Class. Defendants also had a
   25
        duty to disclose because they made many general affirmative representations about
   26
        the about the qualities of the Class Vehicles.
   27
              948.    On information and belief, Defendants still have not made full and
   28

                                                            PLAINTIFFS’ THIRD AMENDED
                                              163
                                                              CLASS ACTION COMPLAINT
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    1
        adequate disclosures, and continue to defraud consumers by concealing material
    2
        information regarding the Defect and the performance and quality of Class Vehicles.
    3
              949.     Plaintiffs and the Maryland Sub-Class were unaware of these omitted
    4
        material facts and would not have acted as they did if they had known of the
    5
        concealed and/or suppressed facts, in that they would not have purchased or leased
    6
        the Class Vehicles. Plaintiffs’ and the Class’ actions were justified. Defendants were
    7
        in exclusive control of the material facts and such facts were not known to the
    8
        public, Plaintiffs, or the Class.
    9
              950.     Plaintiffs and the Class relied upon Defendants representations and
   10
        omissions regarding the quality of Class Vehicles and the Defect in deciding to
   11
        purchase or lease Class Vehicles.
   12
              951.     Because of the concealment and/or suppression of the facts, Plaintiffs
   13
        and the Class sustained damage because they did not receive the value of the
   14
        premium price paid for their Class Vehicles. Plaintiffs and Class members would
   15
        have paid less for Class Vehicles had they known about the Defect and the entire
   16
        truth about them, or they would not have purchased or leased Class Vehicles at all.
   17
              952.     Accordingly, Defendants are liable to Plaintiffs and the Maryland
   18
        Sub-Class for damages in an amount to be proven at trial.
   19
              953.     Defendants’ acts were done maliciously, oppressively, deliberately,
   20
        with intent to defraud, and in reckless disregard of Plaintiffs’ and the Class’ rights
   21
        and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
   22
        of punitive damages in an amount sufficient to deter such conduct in the future,
   23
        which amount is to be determined according to proof.
   24                                   COUNT XLIX
   25                              UNJUST ENRICHMENT
         (On Behalf of Plaintiffs Bennett and Faulkner, and the Maryland Sub-Class)
   26
              954. Plaintiffs repeat and reallege the allegations above as if fully set forth
   27
        herein.
   28

                                                             PLAINTIFFS’ THIRD AMENDED
                                              164
                                                               CLASS ACTION COMPLAINT
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    1
               955.     This claim is brought by Plaintiffs Bennett and Faulkner on behalf of
    2
        the Maryland Sub-Class. This claim is pled in the alternative to the other claims set
    3
        forth herein.
    4
               956.     As the intended and expected result of its conscious wrongdoing,
    5
        Toyota has profited and benefited from Plaintiffs’ and Class members’ purchase of
    6
        Class Vehicles containing the Defect.
    7
               957.     Toyota has voluntarily accepted and retained these profits and benefits
    8
        with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
    9
        herein, Plaintiffs and the Class were not receiving automobiles of the quality, nature,
   10
        fitness, or value that had been represented by Toyota, and that a reasonable
   11
        consumer would expect.
   12
               958.     Toyota has been unjustly enriched by its fraudulent, deceptive, and
   13
        otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
   14
        and by withholding benefits from Plaintiffs and the Class at the expense of these
   15
        parties.
   16
               959.     Equity and good conscience militate against permitting Toyota to
   17
        retain these profits and benefits, and Toyota should be required to make restitution
   18
        of its ill-gotten gains resulting from the conduct alleged herein.
   19
        J.     Nebraska
   20                                     COUNT L
   21        VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT
                             NEB. REV. STAT. §§ 59-1601, et seq.
   22            (On Behalf of Plaintiff Porter and the Nebraska Sub-Class)
   23          960. Plaintiffs incorporate by reference each preceding paragraph as though
   24   fully set forth herein.
   25          961. Plaintiff Porter (for the purpose of this section, “Plaintiff”) brings this
   26   action on behalf of herself and the Nebraska Class against all Defendants.
   27          962. Toyota, Plaintiff and Nebraska Class members are
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                165
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    1
        “person[s]” under the Nebraska Consumer Protection Act (“Nebraska CPA”), Neb.
    2
        Rev. Stat. § 59-1601(1).
    3
              963. Toyota’s actions as set forth herein occurred in the conduct of trade or
    4
        commerce as defined under Neb. Rev. Stat. § 59-1601(2).
    5
              964. The Nebraska CPA prohibits “unfair or deceptive acts or practices in the
    6
        conduct of any trade or commerce.” Neb. Rev. Stat. § 59-1602. The conduct Toyota
    7
        as set forth herein constitutes unfair or deceptive acts or practices.
    8
              965. Toyota thus violated the Nebraska CPA by, at minimum employing
    9
        deception, deceptive acts or practices, fraud, misrepresentations, or concealment,
   10
        suppression or omission of any material fact with intent that others rely upon such
   11
        concealment, suppression or omission, in connection with the sale of the Class
   12
        Vehicles.
   13
              966. In advertising and selling or leasing Class Vehicles containing the
   14
        Defect, Toyota violated and continues to violate the Nebraska CPA by engaging in
   15
        the following unconscionable, false, misleading or deceptive act(s) or practice(s),
   16
        which were false or had the capacity to deceive:
   17
                    a.      Making a false or misleading representation, knowingly or with
   18
                            reason to know, as to the source, sponsorship, approval, or
   19
                            certification of the subject of a consumer transaction;
   20
   21               b.      Making a false representation, knowingly or with reason to
   22                       know, as to the characteristics, ingredients, uses, benefits,
   23                       alterations, or quantities of the subject of a consumer transaction;
   24               c.      Representing, knowingly or with reason to know, that the subject
   25                       of a consumer transaction is of a particular standard, style or
   26                       model, if it is of another; and
   27               d.      Advertising, knowingly or with reason to know, the subject of a
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                               166
                                                                CLASS ACTION COMPLAINT
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    1
                              consumer transaction with intent not to sell it as advertised.
    2
              967. Toyota intentionally and knowingly misrepresented material facts
    3
        regarding the Class Vehicles with intent to mislead Plaintiff and the Nebraska Class.
    4
              968. Toyota knew or should have known that its conduct violated
    5
        the Nebraska CPA.
    6
              969. Toyota’s unfair or deceptive acts or practices were likely to and did in
    7
        fact deceive reasonable consumers, including Plaintiff, about the Defect contained in
    8
        the Class Vehicles.
    9
              970. Plaintiff and the Nebraska Class suffered ascertainable loss and
   10
        actual damages as a direct and proximate result of Toyota’s misrepresentations and
   11
        its concealment of and failure to disclose material information relating to the Defect.
   12
        Plaintiff and the Nebraska Class members who purchased or leased the Class
   13
        Vehicles would not have purchased or leased them at all and/or—if the Defect in the
   14
        Class Vehicles had been disclosed—would have paid significantly less for them.
   15
        Plaintiff and the Nebraska Class also suffered diminished value of their vehicles, as
   16
        well as lost or diminished use..
   17
              971. Toyota had an ongoing duty to all Toyota customers to
   18
        refrain from unfair and deceptive acts or practices under the Nebraska CPA. All
   19
        owners of Class Vehicles suffered ascertainable loss in the form of the diminished
   20
        value of their vehicles as a result of Toyota’s deceptive and unfair acts and practices
   21
        made in the course of Toyota’s business.
   22
              972. Toyota’s violations present a continuing risk to Plaintiff as well
   23
        as to the general public. Defendants’ unlawful acts and practices complained of
   24
        herein affect the public interest.
   25
              973. As a direct and proximate result of Defendants’ violations of the
   26
        Nebraska CPA, Plaintiff and the Nebraska Class have suffered injury-in-fact and/or
   27
        actual damage.
   28

                                                               PLAINTIFFS’ THIRD AMENDED
                                                 167
                                                                 CLASS ACTION COMPLAINT
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    1
                 974. Because Toyota’s conduct caused injury to Nebraska Class
    2
        members’ property through violations of the Nebraska CPA, the Nebraska Class
    3
        seeks recovery of actual damages, as well as enhanced damages up to $1,000, an
    4
        order enjoining Toyota’s unfair or deceptive acts and practices, costs of Court,
    5
        reasonable attorneys’ fees, and any other just and proper relief available under Neb.
    6
        Rev. Stat. § 59-1609.
    7                                        COUNT LI
    8                        BREACH OF EXPRESS WARRANTY
                               NEB. REV. STAT. §§ 2-313 and 2A-210
    9                (On Behalf of Plaintiff Porter and the Nebraska Sub-Class)
   10
   11            975. Plaintiffs repeat and reallege the allegations above as if fully set forth

   12   herein.

   13            976. This claim is brought by Plaintiff Porter on behalf of the Nebraska Sub-

   14   Class.

   15            977. Toyota is and was at all relevant times a merchant with respect to motor
   16   vehicles.
   17            978. In its New Vehicle Limited Warranty and in advertisements, brochures,
   18   and through other statements, Toyota expressly warranted that it would repair or
   19   replace defects in material or workmanship free of charge if they became apparent
   20   during the warranty period. For example, the following language appears in all Class
   21   Vehicle Warranty and Maintenance Guides:
   22                  WHAT IS COVERED AND HOW LONG
   23
                       Basic Warranty
   24                  This warranty covers repairs and adjustments needed to
   25                  correct defects in materials or workmanship of any part
                       supplied by Toyota, subject to the exceptions indicated
   26                  under “What Is Not Covered” . . . .
   27
        Ex. A.
   28

                                                              PLAINTIFFS’ THIRD AMENDED
                                                168
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    1
              979. Toyota’s Warranty does not exclude rodent damage of the type suffered
    2
        by Plaintiff and Class members in their Class Vehicles.
    3
              980.   Toyota’s Warranty as well as advertisements, brochures, and other
    4
        statements regarding the Class Vehicles, formed the basis of the bargain that was
    5
        reached when Plaintiff and the other Class members purchased or leased their Class
    6
        Vehicles.
    7
              981. Toyota breached the express warranty to repair and adjust to correct
    8
        defects in materials and workmanship of any part supplied by Toyota. Toyota has
    9
        not repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
   10
        materials and workmanship defects.
   11
   12         982. In addition to Toyota’s Warranty, Toyota otherwise expressly warranted
   13   several attributes, characteristics, and qualities of its Class Vehicles. These
   14   warranties are only a sampling of the numerous warranties that Toyota made relating
   15   to safety, reliability, and operation. Generally these express warranties promise
   16   heightened, superior, and state-of-the-art safety, reliability, performance standards,
   17   and promote the benefits of their Class Vehicles. These warranties were made, inter
   18   alia, in advertisements, on Toyota’s website, and in uniform statements provided by
   19   Toyota to be made by salespeople, or made publicly by Toyota executives or by other
   20   authorized Toyota representatives. These affirmations and promises were part of the
   21   basis of the bargain between the parties, thereby constituting express warranties
   22   under NEB.REV.ST. U.C.C. § 2-313.
   23         983. These additional warranties were also breached because the Class
   24   Vehicles were not fully operational, safe, or reliable, nor did they comply with the
   25   warranties expressly made to purchasers or lessees. Toyota did not provide at the
   26   time of sale, and has not provided since then, Class Vehicles conforming to its
   27   express warranties.
   28

                                                            PLAINTIFFS’ THIRD AMENDED
                                              169
                                                              CLASS ACTION COMPLAINT
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    1
              984. Furthermore, the limited warranty of repair and/or adjustments to
    2
        defective parts, fails in its essential purpose because the contractual remedy is
    3
        insufficient to make Plaintiffs and the other Class members whole and because
    4
        Toyota has failed and/or has refused to adequately provide the promised remedies
    5
        within a reasonable time.
    6
              985. Accordingly, recovery by Plaintiff and the other Class members is not
    7
        limited to the limited warranty of repair or adjustments to parts defective in materials
    8
        or workmanship, and Plaintiff, individually and on behalf of the other Class
    9
        members, seek all remedies as allowed by law.
   10
              986. Also, as alleged in more detail herein, at the time that Toyota warranted
   11
        and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
   12
        warranties and were inherently defective, and Toyota wrongfully and fraudulently
   13
        misrepresented and/or concealed material facts regarding its Class Vehicles. Plaintiff
   14
        and the other Class members were therefore induced to purchase or lease the Class
   15
        Vehicles under false and/or fraudulent pretenses.
   16
   17         987. Moreover, many of the injuries flowing from the Class Vehicles cannot
   18   be resolved through the limited remedy of “replacement or adjustments,” as many
   19   incidental and consequential damages have already been suffered due to Toyota’s
   20   fraudulent conduct as alleged herein, and due to its failure and/or continued failure
   21   to provide such limited remedy within a reasonable time, and any limitation on
   22   Plaintiffs’ and the other Class members’ remedies would be insufficient to make
   23   Plaintiffs and the other Class members whole.
   24         988. Furthermore, the application of (or refusal to permit coverage under) the
   25   Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   26   Nebraska Class given that Toyota knew of the Defect but failed and fails to disclose
   27   it. A gross disparity in bargaining power existed between Toyota and Class members,

   28   and Toyota knew or should have known that the Class Vehicles were defective at the

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                                               170
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    1
        time of sale and that the wiring systems would fail well before their useful lives.
    2
              989. Toyota was provided notice of these issues by numerous complaints
    3
        filed against it, including the instant complaint, and by numerous individual letters
    4
        and communications (including Plaintiff Porter’s communications) sent by Class
    5
        members.
    6
              990. As a direct and proximate result of Toyota’s breach of express
    7
        warranties, Plaintiff Porter and members of the Nebraska Class have suffered harm
    8
        and are entitled to damages under NEB. REV. STAT. U.C.C. § 2-313 in an amount to
    9
        be determined at trial.
   10
   11                                  COUNT LII
   12      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                         NEB. REV. STAT. §§ 2-314 and 2A-212
   13          (On Behalf of Plaintiff Porter and the Nebraska Sub-Class)
   14         991. Plaintiffs reallege and incorporate by reference all allegations of the
   15   preceding paragraphs as though fully set forth herein.
   16         992. Plaintiffs bring this Count on behalf of the Nebraska Class, against
   17   Toyota.
   18         993. Toyota is and was at all relevant times a “merchant” with respect to
   19   motor vehicles under Neb. Rev. Stat. U.C.C. § 2-104(1) and a “seller” of motor
   20   vehicles under § 2-103(1)(d).
   21         994. With respect to leases, Toyota is and was at all relevant times a “lessor”
   22   of motor vehicles under Neb. Rev. Stat. U.C.C. § 2A-103(1)(p).
   23         995. The Class Vehicles are and were at all relevant times “goods” within
   24   the meaning of Neb.Rev.Stat. U.C.C. §§ 2-105(1) and 2A-103(1)(h).
   25         996. A warranty that the Class Vehicles were in merchantable condition and
   26   fit for the ordinary purpose for which vehicles are used is implied by law pursuant to
   27   Neb.Rev.Stat. U.C.C.§§ 2-314 and 2A-212.
   28          997. The Class Vehicles, when sold or leased and at all times thereafter, were

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                                              171
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    1
        not in merchantable condition and are not fit for the ordinary purpose for which
    2
        vehicles are used.
    3
              998. Toyota was provided notice of these issues by numerous complaints
    4
        filed against it including the instant Complaint, and by numerous individual letters
    5
        and communications sent by Plaintiffs and others within a reasonable amount of time
    6
        after the allegations of the Defect in the Class Vehicle became public.
    7
              999. As a direct and proximate result of Toyota’s breach of the implied
    8
        warranty of merchantability, Plaintiff and the other Nebraska Class members have
    9
        been damaged in an amount to be proven at trial.
   10                                    COUNT LIII
   11                    FRAUD/FRAUDULENT CONCEALMENT
                 (On Behalf of Plaintiff Porter and the Nebraska Sub-Class)
   12
              1000. Plaintiffs repeat and reallege the allegations above as if fully set forth
   13
        herein.
   14
              1001. This claim is brought by Plaintiff Porter on behalf of the Nebraska Sub-
   15
         Class.
   16
              1002. Toyota concealed and suppressed material facts concerning the
   17
        performance and quality of the Class Vehicles – namely, the Defect – and the quality
   18
        of the Toyota brand. Specifically, Toyota knew of (or should have known of) the
   19
        Defect, but failed to disclose it prior to or at the time it sold or leased Class Vehicles
   20
        to consumers. Toyota did so in order to boost sales and leases of Class Vehicles.
   21
              1003. Plaintiff and Class members did not, and could not, unravel Toyota’s
   22
        deception on their own.
   23
              1004. Toyota had a duty to disclose the true performance of the Class
   24
        Vehicles and the Defect because knowledge thereof and the details related thereto
   25
        were known and/or accessible only to Toyota; Toyota had superior knowledge and
   26
        access to the facts; and Toyota knew the facts were not known to, or reasonably
   27
        discoverable, by Plaintiff and the Class. Toyota also had a duty to disclose because
   28

                                                               PLAINTIFFS’ THIRD AMENDED
                                                172
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    1
        it made many general affirmative representations about the about the qualities of the
    2
        Class Vehicles.
    3
               1005. On information and belief, Defendants still have not made full and
    4
        adequate disclosures, and continue to defraud consumers by concealing material
    5
        information regarding the Defect and the performance and quality of Class Vehicles.
    6
               1006. Plaintiff and the Nebraska Sub-Class were unaware of these omitted
    7
        material facts and would not have acted as they did if they had known of the
    8
        concealed and/or suppressed facts, in that they would not have purchased or leased
    9
        the Class Vehicles. Plaintiff and the Class’ actions were justified. Toyota was in
   10
        exclusive control of the material facts and such facts were not known to the public,
   11
        Plaintiff, or the Class.
   12
               1007. Plaintiff and the Class relied upon Toyota representations and
   13
        omissions regarding the quality of Class Vehicles and the Defect in deciding to
   14
        purchase or lease the Class Vehicles.
   15
               1008. Because of the concealment and/or suppression of the facts, Plaintiff
   16
        and the Class sustained damage because they did not receive the value of the
   17
        premium price paid for their Class Vehicles. Plaintiff and Class members would
   18
        have paid less for Class Vehicles had they known about the Defect and the entire
   19
        truth about them, or they would not have purchased or leased Class Vehicles at all.
   20
               1009. Accordingly, Toyota is liable to Plaintiff and the Nebraska Sub-Class
   21
        for damages in an amount to be proven at trial.
   22
               1010. Toyota’s acts were done maliciously, oppressively, deliberately, with
   23
        intent to defraud, and in reckless disregard of Plaintiff’s and the Class’ rights and
   24
        well-being to enrich Toyota. Toyota’s conduct warrants an assessment of punitive
   25
        damages in an amount sufficient to deter such conduct in the future, which amount
   26
        is to be determined according to proof.
   27
   28

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    1                                      COUNT LIV
    2                              UNJUST ENRICHMENT
                   (On Behalf of Plaintiff Porter and the Nebraska Sub-Class)
    3
               1011. Plaintiffs repeat and reallege the allegations above as if fully set forth
    4
        herein.
    5
               1012. This claim is brought by Plaintiff Porter on behalf of the Nebraska
    6
        Sub-Class. This claim is pled in the alternative to the other claims set forth herein.
    7
               1013. As the intended and expected result of its conscious wrongdoing,
    8
        Toyota has profited and benefited from Plaintiff and Class members’ purchase of
    9
        Class Vehicles containing the Defect.
   10
               1014. Toyota has voluntarily accepted and retained these profits and benefits
   11
        with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
   12
        herein, Plaintiff and the Class were not receiving automobiles of the quality, nature,
   13
        fitness, or value that had been represented by Toyota, and that a reasonable
   14
        consumer would expect.
   15
               1015. Toyota has been unjustly enriched by its fraudulent, deceptive, and
   16
        otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
   17
        and by withholding benefits from Plaintiff and the Class at the expense of these
   18
        parties.
   19
               1016. Equity and good conscience militate against permitting Toyota to retain
   20
        these profits and benefits, and Toyota should be required to make restitution of its
   21
        ill-gotten gains resulting from the conduct alleged herein.
   22
        K.     New Jersey
   23                                    COUNT LV
   24         VIOLATIONS OF THE NEW JERSEY CONSUMER FRAUD ACT
                                  N.J.S.A. §§ 56:8-1, et seq.
   25          (On Behalf of Plaintiff Donoghue and the New Jersey Sub-Class)
   26          1017. Plaintiffs incorporate by reference all preceding allegations as
   27   though fully set forth herein.
   28

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    1            1018. Plaintiff Donoghue bring this Count on behalf of New Jersey Class
    2   members.
    3            1019. The New Jersey Consumer Fraud Act, N.J.S.A. §§ 56:8-1, et seq.
    4   (“NJ CFA”), prohibits unfair or deceptive acts or practices in the conduct of any
    5   trade or commerce.
    6
                 1020. Toyota violated the NJ CFA by, at minimum employing deception,
    7
        deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or
    8
        omission of any material fact with intent that others rely upon such concealment,
    9
        suppression or omission, in connection with the sale of the Class Vehicles.
   10
                 1021. In advertising and selling or leasing the Class Vehicles containing the
   11
        Defect, Toyota violated and continues to violate the N.J.S.A. by engaging in the
   12
        following unconscionable, false, misleading or deceptive act(s) or practice(s), which
   13
        were false or had the capacity to deceive:
   14
                      a.     Making a false or misleading representation, knowingly or with
   15
                             reason to know, as to the source, sponsorship, approval, or
   16
                             certification of the subject of a consumer transaction;
   17
   18                 b.     Making a false representation, knowingly or with reason to

   19                        know, as to the characteristics, ingredients, uses, benefits,

   20                        alterations, or quantities of the subject of a consumer transaction;

   21                 c.     Representing, knowingly or with reason to know, that the subject
   22                        of a consumer transaction is of a particular standard, style or
   23                        model, if it is of another; and
   24                 d.     Advertising, knowingly or with reason to know, the subject of a
   25                       consumer transaction with intent not to sell it as advertised.
   26            1022. Toyota intentionally and knowingly misrepresented material facts
   27   regarding the Class Vehicles with intent to mislead Plaintiff and the New Jersey
   28   Class.

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    1            1023. Toyota’s actions as set forth above occurred in the conduct of trade
    2   or commerce.
    3
                 1024. Toyota’s unfair or deceptive acts or practices were likely to and did in
    4
        fact deceive reasonable consumers.
    5
                 1025. Toyota intentionally and knowingly misrepresented material facts
    6
        regarding the Class Vehicles with an intent to mislead Plaintiff and the New Jersey
    7
        Class.
    8
                 1026. Toyota knew or should have known that its conduct violated the NJ
    9
        CFA.
   10
                 1027. Toyota owed Plaintiffs and the Class a duty to disclose the truth about
   11
        the Defect because Toyota:
   12
   13              a.    Possessed exclusive knowledge of the Defect;

   14              b.    Intentionally concealed the foregoing from Plaintiffs
                         and the Class; and/or
   15
   16              c.    Made incomplete representations regarding Class
                         Vehicles, while purposefully withholding material facts
   17                    from Plaintiffs including with respect to the Defect.
   18
   19            1028. Toyota’s conduct proximately caused injuries to Plaintiffs and the

   20   other Class members.

   21            1029. Plaintiff and the other New Jersey Class members were injured and

   22   suffered ascertainable loss, injury-in-fact, and/or actual damage as a proximate result

   23   of Toyota’s conduct in that Plaintiff and the other New Jersey Class members

   24   overpaid for their Class Vehicles and did not receive the benefit of their bargain, and

   25   their Class Vehicles have suffered a diminution in value. These injuries are the direct

   26   and natural consequence of Toyota’s misrepresentations and omissions.

   27            1030. Toyota’s violations present a continuing risk to Plaintiffs as well as to

   28   the general public. Toyota’s unlawful acts and practices complained of herein affect

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    1
        the public interest.
    2
              1031. Pursuant to N.J.S.A. § 56:8-20, Plaintiffs will serve the New Jersey
    3
        Attorney General with a copy of this Complaint within 10 days of filing.
    4
    5                                       COUNT LVI
                              BREACH OF EXPRESS WARRANTY
    6                            N.J.S.A. § 12A:2-313 and 2A-210
    7             (On Behalf of Plaintiff Donoghue and the New Jersey Sub-Class)

    8         1032. Plaintiffs repeat and reallege the allegations above as if fully set forth

    9   herein.

   10         1033. This claim is brought by Plaintiff Donoghue on behalf of the New Jersey

   11   Sub-Class.

   12         1034. Toyota is and was at all relevant times a merchant with respect to motor
   13   vehicles.
   14         1035. In its New Vehicle Limited Warranty and in advertisements, brochures,
   15   and through other statements, Toyota expressly warranted that it would repair or
   16   replace defects in material or workmanship free of charge if they became apparent
   17   during the warranty period. For example, the following language appears in all Class
   18   Vehicle Warranty and Maintenance Guides:
   19                 WHAT IS COVERED AND HOW LONG
   20
                      Basic Warranty
   21                 This warranty covers repairs and adjustments needed to
   22                 correct defects in materials or workmanship of any part
                      supplied by Toyota, subject to the exceptions indicated
   23                 under “What Is Not Covered” . . . .
   24
        Ex. A.
   25
              1036. Toyota’s Warranty does not exclude rodent damage of the type suffered
   26
        by Plaintiff and New Jersey Class members in their Class Vehicles.
   27
              1037. Toyota’s Warranty as well as advertisements, brochures, and other
   28

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    1
        statements regarding the Class Vehicles, formed the basis of the bargain that was
    2
        reached when Plaintiff and the other New Jersey Class members purchased or leased
    3
        their Class Vehicles.
    4
              1038. Toyota breached the express warranty to repair and adjust to correct
    5
        defects in materials and workmanship of any part supplied by Toyota. Toyota has
    6
        not repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
    7
        materials and workmanship defects.
    8
              1039. In addition to Toyota’s Warranty, Toyota otherwise expressly warranted
    9
        several attributes, characteristics, and qualities of its Class Vehicles. These
   10
        warranties are only a sampling of the numerous warranties that Toyota made relating
   11
        to safety, reliability, and operation. Generally these express warranties promise
   12
        heightened, superior, and state-of-the-art safety, reliability, performance standards,
   13
        and promote the benefits of their Class Vehicles. These warranties were made, inter
   14
        alia, in advertisements, on Toyota’s website, and in uniform statements provided by
   15
        Toyota to be made by salespeople, or made publicly by Toyota executives or by other
   16
        authorized Toyota representatives. These affirmations and promises were part of the
   17
        basis of the bargain between the parties, thereby constituting express warranties
   18
        under N.J.S. 12A:2-314 and 2A-212.
   19
   20         1040. These additional warranties were also breached because the Class
   21   Vehicles were not fully operational, safe, or reliable, nor did they comply with the
   22   warranties expressly made to purchasers or lessees. Toyota did not provide at the
   23   time of sale, and has not provided since then, Class Vehicles conforming to its
   24   express warranties.
   25         1041. Furthermore, the limited warranty of repair and/or adjustments to
   26   defective parts, fails in its essential purpose because the contractual remedy is
   27   insufficient to make Plaintiffs and the other New Jersey Class members whole and
   28   because Toyota has failed and/or has refused to adequately provide the promised

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    1
        remedies within a reasonable time.
    2
              1042. Accordingly, recovery by Plaintiff and the other New Jersey Class
    3
        members is not limited to the limited warranty of repair or adjustments to parts
    4
        defective in materials or workmanship, and Plaintiff, individually and on behalf of
    5
        the other Mew Jersey Class members, seek all remedies as allowed by law.
    6
              1043. Also, as alleged in more detail herein, at the time that Toyota warranted
    7
        and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
    8
        warranties and were inherently defective, and Toyota wrongfully and fraudulently
    9
        misrepresented and/or concealed material facts regarding its Class Vehicles. Plaintiff
   10
        and the other New Jersey Class members were therefore induced to purchase or lease
   11
        the Class Vehicles under false and/or fraudulent pretenses.
   12
   13         1044. Moreover, many of the injuries flowing from the Class Vehicles cannot
   14   be resolved through the limited remedy of “replacement or adjustments,” as many
   15   incidental and consequential damages have already been suffered due to Toyota’s
   16   fraudulent conduct as alleged herein, and due to its failure and/or continued failure
   17   to provide such limited remedy within a reasonable time, and any limitation on
   18   Plaintiffs’ and the other New Jersey Class members’ remedies would be insufficient
   19   to make Plaintiffs and the other New Jersey Class members whole.
   20         1045. Furthermore, the application of (or refusal to permit coverage under) the
   21   Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   22   New Jersey Class given that Toyota knew of the Defect but failed and fails to disclose
   23   it. A gross disparity in bargaining power existed between Toyota and New Jersey
   24   Class members, and Toyota knew or should have known that the Class Vehicles were
   25   defective at the time of sale and that the wiring systems would fail well before their
   26   useful lives.
   27         1046. Toyota was provided notice of these issues by numerous complaints
   28   filed against it, including the instant complaint, and by numerous individual letters

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    1
        and communications sent by Class members.
    2
              1047. As a direct and proximate result of Toyota’s breach of express
    3
        warranties, Plaintiff Donoghue have suffered harm and are entitled to damages under
    4
        N.J.S. 12A:2-314 and 2A-212 in an amount to be determined at trial.
    5                                    COUNT LVII
    6      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                               N.J.S.A. § 12A:2-314 and 2A-212
    7
                (On Behalf of Plaintiff Donoghue and the New Jersey Sub-Class
    8         1048. Plaintiffs repeat and reallege the allegations above as if fully set forth
    9   herein.
   10         1049. This claim is brought by Plaintiff Donoghue on behalf of the New Jersey
   11   Sub-Class.
   12
              1050. Toyota is and was at all relevant times a merchant with respect to motor
   13
        vehicles.
   14
              1051. A warranty that the Class Vehicles were in merchantable condition is
   15
        implied by law in the instant transactions.
   16
              1052. At the time Toyota designed, manufactured, produced, tested, studied,
   17
        inspected, labeled, marketed, advertised, sold/leased, promoted, and distributed its
   18
        Class Vehicles, Toyota knew of the use for which its Class Vehicles were intended.
   19
   20         1053. These Class Vehicles, when sold or leased and at all times thereafter,

   21   were not in merchantable condition and are not fit for the ordinary purpose for which

   22   cars are used. Specifically, the Class Vehicles are inherently defective in that certain

   23   electrical wiring components in Class Vehicles are coated or designed with soy- or

   24   other bio-based products that attract rodents which chew, gnaw, or eat through these

   25   components, causing damage – including but not limited to partial or total failure –

   26   in Class Vehicle electrical and wiring systems.

   27         1054. Furthermore, the application of (or refusal to permit coverage under) the

   28   Warranty is unconscionable and inadequate to protect Plaintiff and members of the

                                                              PLAINTIFFS’ THIRD AMENDED
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    1
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
    2
        disparity in bargaining power existed between Toyota and Class members, and
    3
        Toyota knew or should have known that the Class Vehicles were defective at the time
    4
        of sale and that the wiring systems would fail well before their useful lives.
    5
              1055. Toyota was provided notice of these issues by numerous complaints
    6
        filed against it, including the instant complaint, and by numerous individual letters
    7
        and communications sent by Class members.
    8
              1056. As a direct and proximate result of Toyota’s breach of the warranties
    9
        of merchantability, Plaintiff and the other Class members have been damaged in an
   10
        amount to be proven at trial.
   11
              1057. To the extent it is required, the parties are in privity or, alternatively,
   12
        Plaintiff and Class members are the intended beneficiaries of Toyota’s contracts.
   13
                                          COUNT LVIII
   14                      FRAUD/FRAUDULENT CONCEALMENT
   15         (On Behalf of Plaintiff Donoghue and the New Jersey Sub-Class)

   16         1058. Plaintiffs incorporate by reference all preceding allegations as though
   17   fully set forth herein.
   18
              1059. Plaintiffs bring this Count on behalf of the New Jersey Class.
   19
              1060. Toyota knew these representations were false when made.
   20
              1061. Toyota further affirmatively misrepresented to Plaintiffs in advertising
   21
        and other forms of communication, including standard and uniform material provided
   22
        with each car, that the Class Vehicles it was selling had no significant defects, were
   23
        Earth-friendly and would perform and operate properly when driven in normal usage.
   24
              1062. Accordingly, Toyota is liable to Plaintiff and the New Jersey Class
   25
        members for damages in an amount to be proven at trial.
   26
              1063. Toyota’s acts were done wantonly, maliciously, oppressively,
   27
        deliberately, with intent to defraud, and in reckless disregard of Plaintiff’s and the
   28

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    1
        New Jersey Class members’ rights and the representations that Toyota made to them,
    2
        in order to enrich Toyota. Toyota’s conduct warrants an assessment of punitive
    3
        damages in an amount sufficient to deter such conduct in the future, which amount
    4
        is to be determined according to proof.
    5                                      COUNT LIX
    6                               UNJUST ENRICHMENT
               (On Behalf of Plaintiff Donoghue and the New Jersey Sub-Class)
    7
    8         1064. Plaintiffs repeat and reallege the allegations above as if fully set forth

    9   herein.

   10         1065. This claim is brought by Plaintiff Donoghue on behalf of the New

   11   Jersey Sub-Class. This claim is pled in the alternative to the other claims set forth

   12   herein.

   13         1066. As the intended and expected result of its conscious wrongdoing,

   14   Toyota has profited and benefited from Plaintiff and New Jersey Class members’

   15   purchase of Class Vehicles containing the Defect.

   16         1067. Toyota has voluntarily accepted and retained these profits and benefits

   17   with full knowledge and awareness that, as a result of Toyota’s misconduct alleged

   18   herein, Plaintiff and the New Jersey Class were not receiving automobiles of the

   19   quality, nature, fitness, or value that had been represented by Toyota, and that a

   20   reasonable consumer would expect.

   21         1068. Toyota has been unjustly enriched by its fraudulent, deceptive, and

   22   otherwise unlawful conduct in connection with the sale and lease of the Class

   23   Vehicles and by withholding benefits from Plaintiff and the New Jersey Class at the

   24   expense of these parties.

   25         1069. Equity and good conscience militate against permitting Toyota to retain
   26   these profits and benefits, and Toyota should be required to make restitution of its
   27   ill-gotten gains resulting from the conduct alleged herein.
   28

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    1
        L.    Oklahoma
    2                                       COUNT LX
                             VIOLATION OF THE OKLAHOMA
    3                          CONSUMER PROTECTION ACT
    4                     OKLA. STAT. tit. 15, §§ 751, et seq. (“OCPA”)
                  (On Behalf of Plaintiff Cochrane and the Oklahoma Sub-Class)
    5
              1070. Plaintiffs repeat and reallege the allegations above as if fully set forth
    6
        herein.
    7
              1071. This claim is brought by Plaintiff Cochrane on behalf of the Oklahoma
    8
        Sub-Class.
    9
   10         1072. Plaintiff Cochrane and members of the Class are persons within the

   11   meaning of the OCPA.

   12         1073. Toyota is a “person” within the meaning of the OCPA for all purposes
   13   therein and Class Vehicles are “goods” under the OCPA.
   14         1074. Plaintiff Cochrane and Class members are “persons” entitled to bring a
   15   claim pursuant to the OCPA.
   16         1075. The advertising, offering for sale or lease, and sale or lease of Class
   17   Vehicles constitutes trade or commerce under the OCPA.
   18
              1076. In advertising and selling or leasing Class Vehicles containing the
   19
        Defect, Toyota violated and continues to violate the OCPA by engaging in the
   20
        following unconscionable, false, misleading or deceptive act(s) or practice(s), which
   21
        were false or had the capacity to deceive:
   22
                     a.    Making a false or misleading representation, knowingly or with
   23
                           reason to know, as to the source, sponsorship, approval, or
   24
                           certification of the subject of a consumer transaction;
   25
                     b.    Making a false representation, knowingly or with reason to
   26
                           know, as to the characteristics, ingredients, uses, benefits,
   27
                           alterations, or quantities of the subject of a consumer transaction;
   28

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    1
                      c.   Representing, knowingly or with reason to know, that the subject
    2
                           of a consumer transaction is of a particular standard, style or
    3
                           model, if it is of another; and
    4
                      d.   Advertising, knowingly or with reason to know, the subject of a
    5
                           consumer transaction with intent not to sell it as advertised.
    6
              1077. Defendant has violated the OCPA by committing unfair or deceptive
    7
        trade practices as defined in OKLA. STAT. tit. 15, § 752 and enumerated under OKLA.
    8
        STAT. tit. 15, § 753.
    9
   10         1078. By engaging in the foregoing conduct, Toyota took advantage of
   11   Plaintiff Cochrane and Class members’ lack of knowledge to an unfair degree.
   12         1079. Plaintiff Cochrane and Class members sustained actual damages
   13   because they purchased or leased defective Class Vehicles and essentially received
   14   less than what they were entitled to receive from the purchase or lease of Class
   15   Vehicles, as well as incurring out of pocket costs and labor costs to attempt to
   16   remedy the Defect.
   17         1080. Had Toyota not engaged in the false, misleading or deceptive conduct
   18   described herein, Plaintiff Cochrane and Class members would not have purchased
   19   or leased their Class Vehicles (or would have paid significantly less for them), and
   20   would not have incurred out of pocket costs and labor costs to attempt to remedy
   21   the Defect.
   22         1081. By reason of the unlawful acts engaged in by Toyota, and as a direct
   23   and proximate result thereof, Plaintiff Cochrane and Class members have suffered
   24   ascertainable loss and damages.
   25
              1082. Toyota’s sale and lease of defective Class Vehicles, coupled with
   26
        Toyota’s unconscionable and deceptive acts and practices in connection therewith,
   27
        was and is reckless, shows spite or ill will, or demonstrates a reckless indifference
   28

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    1
        to the interests of consumers.
    2
              1083. Plaintiff Cochrane demands judgment against Toyota for actual
    3
        damages plus costs and attorney’s fees incurred in bringing this action as provided
    4
        for in OKLA. STAT. tit. 15, § 761.1A.
    5
              1084. In addition, Plaintiff Cochrane prays for an award of a civil penalty
    6
        against Defendants in the amount of $2,000.00 per violation, pursuant to OKLA.
    7
        STAT. tit. 15, § 761.1B due to Toyota’s knowing and willful unconscionable
    8
        conduct.
    9
                                           COUNT LXI
   10                        BREACH OF EXPRESS WARRANTY
   11                              OKLA. STAT. tit. 12A, § 2-313
                  (On Behalf of Plaintiff Cochrane and the Oklahoma Sub-Class)
   12
              1085. Plaintiffs repeat and reallege the allegations above as if fully set forth
   13
        herein.
   14
              1086. This claim is brought by Plaintiff Cochrane on behalf of the Oklahoma
   15
        Sub-Class.
   16
              1087. Toyota is and was at all relevant times a merchant with respect to motor
   17
        vehicles. OKLA. STAT. tit. 12A, § 2-104.
   18
              1088. Pursuant to OKLA. STAT. tit. 12A, § 2-313:
   19
   20                (1) Express warranties by the seller are created as follows:

   21                      (a) Any affirmation of fact or promise made by the
   22                      seller to the buyer which relates to the goods and
                           becomes part of the basis of the bargain creates an
   23                      express warranty that the goods shall conform to the
   24                      affirmation or promise.
        Id.
   25
              1089. In its Warranty and in advertisements, brochures, and through other
   26
        statements in the media, Toyota expressly warranted that it would repair or replace
   27
        defects in material or workmanship free of charge if they became apparent during the
   28

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    1
        warranty period. For example, the following language appears in all Class Vehicle
    2
        Warranty manuals: “This warranty covers repairs and adjustments needed to correct
    3
        defects in materials or workmanship of any part supplied by Toyota, subject to the
    4
        exceptions indicated under ‘What Is Not Covered’ . . . .”
    5
              1090. Toyota’s Warranty, as well as advertisements, brochures, and other
    6
        statements in the media regarding the Class Vehicles, formed the basis of the bargain
    7
        that was reached when Plaintiff Cochrane and the other Class members purchased or
    8
        leased their Class Vehicles.
    9
              1091. Toyota breached the express warranty to repair and adjust to correct
   10
        defects in materials and workmanship of any part supplied by Toyota. Toyota has not
   11
        repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
   12
        materials and workmanship defects, namely the soy- or bio-based electrical wiring
   13
        parts and components.
   14
              1092. At the time of selling or leasing Class Vehicles, Toyota did not provide
   15
        Class Vehicles that conformed to its express warranties.
   16
              1093. Furthermore, the Warranty of repair and/or adjustments to defective
   17
        parts fails in its essential purpose because the contractual remedy is insufficient to
   18
        make Plaintiff Cochrane and the other Class members whole and because Toyota has
   19
        failed and/or has refused to adequately provide the promised remedies within a
   20
        reasonable time.
   21
              1094. Accordingly, recovery by Plaintiff Cochrane and the other Class
   22
        members is not limited to the limited warranty of repair or adjustments to parts
   23
        defective in materials or workmanship, and Plaintiff, individually and on behalf of
   24
        the other Class members, seeks all remedies as allowed by law.
   25
              1095. Also, as alleged in more detail herein, at the time that Toyota warranted
   26
        and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
   27
        warranties and were inherently defective, and Toyota wrongfully and fraudulently
   28

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    1
        misrepresented and/or concealed material facts regarding its Class Vehicles. Plaintiff
    2
        Cochrane and the other Class members were therefore induced to purchase or lease
    3
        the Class Vehicles under false and/or fraudulent pretenses.
    4
              1096. Moreover, many of the injuries flowing from the Class Vehicles cannot
    5
        be resolved through the limited remedy of “replacement or adjustments,” as many
    6
        incidental and consequential damages have already been suffered due to Toyota’s
    7
        fraudulent conduct as alleged herein, and due to its failure and/or continued failure
    8
        to provide such limited remedy within a reasonable time, and any limitation on
    9
        Plaintiff’s and the other Class members’ remedies would be insufficient to make
   10
        Plaintiff Cochrane and the other Class members whole.
   11
              1097. Furthermore, the application of (or refusal to permit coverage under) the
   12
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   13
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   14
        disparity in bargaining power existed between Toyota and Class members, and
   15
        Toyota knew or should have known that the Class Vehicles were defective at the time
   16
        of sale and that the wiring systems would fail well before their useful lives.
   17
              1098. Toyota was provided notice of these issues by numerous complaints
   18
        filed against it, including the instant complaint, and by numerous individual letters
   19
        and communications sent by consumers before or within a reasonable amount of time
   20
        after the allegations of the Defect became public.
   21
              1099. As a direct and proximate result of Toyota’s breach of express
   22
        warranties, Plaintiff Cochrane and the other Class members have been damaged in
   23
        an amount to be determined at trial.
   24
              1100. Finally, due to Toyota’s breach of warranty as set forth herein, Plaintiff
   25
        Cochrane and the other Class members assert as an additional and/or alternative
   26
        remedy, as set forth in OKLA. STAT. tit. 12A, § 2-608, for a revocation of acceptance
   27
        of the goods, and for a return to Plaintiff and to the other Class members of the
   28

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    1
        purchase price of all Class Vehicles currently owned or leased, and for such other
    2
        incidental and consequential damages as allowed under OKLA. STAT. tit. 12A, §§ 2-
    3
        711 and 2-608.
    4                                  COUNT LXII
    5      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                               OKLA. STAT. tit. 12A, § 2-314
    6         (On Behalf of Plaintiff Cochrane and the Oklahoma Sub-Class)
    7         1101. Plaintiffs repeat and reallege the allegations above as if fully set forth
    8   herein.
    9         1102. This claim is brought by Plaintiff Cochrane on behalf of the Oklahoma
   10   Sub-Class.
   11         1103. Toyota is and was at all relevant times a merchant with respect to motor
   12   vehicles. OKLA. STAT. tit. 12A, § 2-104.
   13         1104. A warranty that the Class Vehicles were in merchantable condition was
   14   implied by law, pursuant to OKLA. STAT. tit. 12A, § 2-314.
   15         1105. The Class Vehicles, when sold or leased and at all times thereafter, were
   16   not in merchantable condition and are not fit for the ordinary purpose for which cars
   17   are used. Specifically, the Class Vehicles suffer from an inherent Defect, as alleged
   18   herein.
   19         1106. Toyota was provided notice of these issues by numerous complaints
   20   filed against it, including this Complaint, and by numerous individual letters,
   21   telephone calls, and other communications sent by Plaintiffs and other Class
   22   members before or within a reasonable amount of time after the allegations of the
   23   Defect became public.
   24         1107. Plaintiff and the other Class members have had sufficient direct dealings
   25   with either Toyota or its agents (dealerships) to establish privity of contract between
   26   Toyota, on the one hand, and Plaintiff and the other Class members, on the other
   27   hand. Notwithstanding this, privity is not required in this case because Plaintiff and
   28

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    1
        the other Class members are intended third-party beneficiaries of contracts between
    2
        Toyota and its dealers; specifically, they are the intended beneficiaries of Toyota’s
    3
        implied warranties. The dealers were not intended to be the ultimate consumers of
    4
        the Class Vehicles and have no rights under the warranty agreements provided with
    5
        the Class Vehicles; the warranty agreements were designed for and intended to
    6
        benefit the ultimate consumers only. Finally, privity is also not required because
    7
        Plaintiff and the other Class members’ Class Vehicles are dangerous
    8
        instrumentalities due to the aforementioned Defect and nonconformities.
    9
              1108. Furthermore, the application of (or refusal to permit coverage under) the
   10
        Warranty is unconscionable and inadequate to protect Plaintiff and members of the
   11
        Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
   12
        disparity in bargaining power existed between Toyota and Class members, and
   13
        Toyota knew or should have known that the Class Vehicles were defective at the time
   14
        of sale and that the wiring systems would fail well before their useful lives.
   15
              1109. As a direct and proximate result of Toyota’s breach of the warranty of
   16
        merchantability, Plaintiff Cochrane and the other Class members have been damaged
   17
        in an amount to be proven at trial.
   18                                      COUNT LXIII
   19                     FRAUD/FRAUDULENT CONCEALMENT
                  (On Behalf of Plaintiff Cochrane and the Oklahoma Sub-Class)
   20
              1110. Plaintiffs repeat and reallege the allegations above as if fully set forth
   21
        herein.
   22
              1111. This claim is brought by Plaintiff Cochrane on behalf of the Oklahoma
   23
        Sub-Class.
   24
              1112. Defendants concealed and suppressed material facts concerning the
   25
        performance and quality of the Class Vehicles – namely, the Defect – and the quality
   26
        of the Toyota brand. Specifically, Defendants knew of (or should have known of)
   27
        the Defect, but failed to disclose it prior to or at the time it sold or leased Class
   28

                                                             PLAINTIFFS’ THIRD AMENDED
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 1
     Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
 2
     Vehicles.
 3
           1113. Plaintiff and Class members did not, and could not, unravel
 4
     Defendants’ deception on their own.
 5
           1114. Defendants had a duty to disclose the true performance of the Class
 6
     Vehicles and the Defect because knowledge thereof and the details related thereto
 7
     were known and/or accessible only to Defendants; Defendants had superior
 8
     knowledge and access to the facts; and Defendants knew the facts were not known
 9
     to, or reasonably discoverable, by Plaintiff and the Class. Defendants also had a duty
10
     to disclose because they made many general affirmative representations about the
11
     about the qualities of the Class Vehicles.
12
           1115. On information and belief, Defendants still have not made full and
13
     adequate disclosures, and continue to defraud consumers by concealing material
14
     information regarding the Defect and the performance and quality of Class Vehicles.
15
           1116. Plaintiff and the Class were unaware of these omitted material facts
16
     and would not have acted as they did if they had known of the concealed and/or
17
     suppressed facts, in that they would not have purchased or leased the Class Vehicles.
18
     Plaintiff’s and the Class’ actions were justified. Defendants were in exclusive
19
     control of the material facts and such facts were not known to the public, Plaintiff,
20
     or the Class.
21
           1117. Plaintiff and the Class relied upon Defendants representations and
22
     omissions regarding the quality of Class Vehicles and the Defect in deciding to
23
     purchase or lease Class Vehicles.
24
           1118. Because of the concealment and/or suppression of the facts, Plaintiff
25
     and the Class sustained damage because they did not receive the value of the
26
     premium price paid for their Class Vehicles. Plaintiff and Class members would
27
     have paid less for Class Vehicles had they known about the Defect and the entire
28

                                                          PLAINTIFFS’ THIRD AMENDED
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 1
     truth about them, or they would not have purchased or leased Class Vehicles at all.
 2
            1119. Accordingly, Defendants are liable to Plaintiff and the Oklahoma
 3
     Sub-Class for damages in an amount to be proven at trial.
 4
            1120. Defendants’ acts were done maliciously, oppressively, deliberately,
 5
     with intent to defraud, and in reckless disregard of Plaintiff’s and the Class’ rights
 6
     and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
 7
     of punitive damages in an amount sufficient to deter such conduct in the future,
 8
     which amount is to be determined according to proof.
 9                                   COUNT LXIV
10                              UNJUST ENRICHMENT
            (On Behalf of Plaintiff Cochrane and the Oklahoma Sub-Class)
11
            1121. Plaintiffs repeat and reallege the allegations above as if fully set forth
12
     herein.
13
            1122. This claim is brought by Plaintiff Cochrane on behalf of the Oklahoma
14
     Sub-Class. This claim is pled in the alternative to the other claims set forth herein.
15
            1123. As the intended and expected result of its conscious wrongdoing,
16
     Toyota has profited and benefited from Plaintiff’s and Class members’ purchase and
17
     lease of Class Vehicles containing the Defect.
18
            1124. Toyota has voluntarily accepted and retained these profits and benefits
19
     with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
20
     herein, Plaintiff and the Class were not receiving automobiles of the quality, nature,
21
     fitness, or value that had been represented by Toyota, and that a reasonable
22
     consumer would expect.
23
            1125. Toyota has been unjustly enriched by its fraudulent, deceptive, and
24
     otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
25
     and by withholding benefits from Plaintiff and the Class at the expense of these
26
     parties.
27
            1126. Equity and good conscience militate against permitting Toyota to
28

                                                          PLAINTIFFS’ THIRD AMENDED
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 1
     retain these profits and benefits, and Toyota should be required to make restitution
 2
     of its ill-gotten gains resulting from the conduct alleged herein.
 3
     M.    Oregon
 4                                  COUNT LXV
 5    VIOLATIONS OF THE OREGON UNLAWFUL TRADE PRACTICES ACT
                 OR. REV. STAT. §§ 646.607, et seq. (“OUTPA”)
 6         (On Behalf of Plaintiffs Michaelis, and the Oregon Sub-Class)
 7         1127. Plaintiffs repeat and reallege the allegations above as if fully set forth
 8   herein.
 9         1128. This claim is brought by Plaintiffs Michaelis on behalf of the Oregon
10   Sub-Class.
11         1129. Defendants are engaged in a “trade” and “commerce” within the
12   meaning of OR. REV. STAT. § 646.605(8).
13         1130. Defendants are “persons” within the meaning of OR. REV. STAT. §§
14   646.605(4), 646.607, and 646.608.
15         1131. Plaintiffs’ and each and every Class members’ purchase or lease of
16   Class Vehicles constitute a “sale” within the meaning of OR. REV. STAT. § 646.607.
17         1132. Defendant has advertised within the meaning of OR. REV. STAT. §
18   646.608.
19         1133. The acts and practices of Defendants as described in this complaint
20   were intended to result in the sale or lease of Class Vehicles to Plaintiffs and Class
21   members.
22         1134. Defendant has engaged in unconscionable tactics, false advertising,
23   deceptive practices, unlawful methods of competition, and/or unfair acts as defined
24   in the OUTPA, to the detriment of Plaintiff and Class members. Defendant’s
25   unconscionable tactics and deceptive practices have been intentionally, knowingly,
26   and unlawfully perpetrated upon Plaintiff and Class members and have violated and
27   continue to violate the Unlawful Trade Practices Law.
28

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 1
           1135. Specifically under Section 646.608, Defendants have violated the
 2
     following provisions of the OUTPA:
 3
                  • (1)(b): Causes likelihood of confusion or of misunderstanding as to
 4
                     the source, sponsorship, approval, or certification of real estate,
 5
                     goods or services;
 6
                  • (1)(e): Represents that real estate, goods or services have
 7
                     sponsorship, approval, characteristics, ingredients, uses, benefits,
 8
                     quantities or qualities that the real estate, goods or services do not
 9
                     have or that a person has a sponsorship, approval, status,
10
                     qualification, affiliation, or connection that the person does not
11
                     have;
12
                  • (1)(g): Represents that real estate, goods or services are of a
13
                     particular standard, quality, or grade, or that real estate or goods are
14
                     of a particular style or model, if the real estate, goods or services are
15
                     of another;
16
                  • (1)(i): Advertises real estate, goods or services with intent not to
17
                     provide the real estate, goods or services as advertised; and
18
                  • (1)(u): Engages in any other unfair or deceptive conduct in trade or
19
                     commerce.
20
     OR. REV. STAT. § 646.608(1).
21
           1136. Toyota’s unfair or deceptive acts or practices were likely to and did in
22
     fact deceive reasonable consumers, including Plaintiffs and members of the Oregon
23
     Sub-Class, about the quality, workmanship, performance, safety, and true value of
24
     the defective Class Vehicles.
25
           1137. Toyota intentionally and knowingly misrepresented, concealed, or
26
     omitted material facts regarding the Class Vehicles with intent to mislead Plaintiffs
27
     and the Oregon Sub-Class.
28

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 1
           1138. Toyota owed Plaintiffs and the Oregon Sub-Class a duty to disclose the
 2
     Defect in Class Vehicles and the true value of Class Vehicles because Toyota:
 3
               a. Possesses exclusive knowledge that its manufacturing process entailed
 4
                  the inclusion of defective and rodent-damage-prone soy- or bio-based
 5
                  wiring parts and components;
 6
               b. Intentionally concealed the foregoing from Plaintiff and the Oregon
 7
                  Sub-Class; and/or
 8
               c. Made incomplete, false or misleading representations about the
 9
                  characteristics, quality, workmanship, reliability, value, safety,
10
                  efficiency, and performance of Class Vehicles while purposefully
11
                  withholding material facts from Plaintiff and the Oregon Sub-Class that
12
                  contradicted these representations.
13
           1139. Defendants’ deceptive and unfair actions alleged herein were reckless
14
     and undertaken by Defendants knowingly.
15
           1140. As a result of Defendants’ actions, Plaintiffs and Class members have
16
     incurred economic damages including, but not limited to, costs for repairs, insurance
17
     deductibles, other out-of-pocket losses, loss of Class Vehicle use, future repairs, and
18
     diminished value.
19
           1141. Plaintiffs further seeks recovery of attorneys’ fees, costs of litigation,
20
     punitive damages, and other equitable relief as determined by the court pursuant to
21
     OR. REV. STAT. § 646.638.
22                                     COUNT LXVI
23                       BREACH OF EXPRESS WARRANTY
                                 OR. REV. STAT. § 72.3130
24             (On Behalf of Plaintiffs Michaelis, and the Oregon Sub-Class)
25         1142. Plaintiffs repeat and reallege the allegations above as if fully set forth
26   herein.
27         1143. This claim is brought by Plaintiffs Michaelis on behalf of the Oregon
28

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 1
     Sub-Class.
 2
           1144. Toyota is and was at all relevant times a “merchant” with respect to
 3
     motor vehicles. OR. REV. STAT. § 72.1040.
 4
           1145. The Class Vehicles are “goods.” Id. § 72.1050.
 5
           1146. Pursuant to OR. REV. STAT. § 72.3130:
 6
 7                (1) Express warranties by the seller are created as follows:

 8                      (1) Any affirmation of fact or promise made by the
 9                      seller to the buyer which relates to the goods and
                        becomes part of the basis of the bargain creates an
10                      express warranty that the goods shall conform to the
11                      affirmation or promise.

12   Id.
13         1147. In its Warranty and in advertisements, brochures, and through other
14   statements in the media, Toyota expressly warranted that it would repair or replace
15   defects in material or workmanship free of charge if they became apparent during the
16   warranty period. For example, the following language appears in all Class Vehicle
17   Warranty manuals: “This warranty covers repairs and adjustments needed to correct
18   defects in materials or workmanship of any part supplied by Toyota, subject to the
19   exceptions indicated under ‘What Is Not Covered’ . . . .”
20         1148. Toyota’s Warranty, as well as advertisements, brochures, and other
21   statements in the media regarding the Class Vehicles, formed the basis of the bargain
22   that was reached when Plaintiffs and the other Class members purchased or leased
23   their Class Vehicles.
24         1149. Toyota breached the express warranty to repair and adjust to correct
25   defects in materials and workmanship of any part supplied by Toyota. Toyota has not
26   repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
27   materials and workmanship defects, namely the soy- or bio-based electrical wiring
28

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 1
     parts and components.
 2
             1150. At the time of selling or leasing Class Vehicles, Toyota did not provide
 3
     Class Vehicles that conformed to its express warranties.
 4
             1151. Furthermore, the Warranty of repair and/or adjustments to defective
 5
     parts fails in its essential purpose because the contractual remedy is insufficient to
 6
     make Plaintiffs and the other Class members whole and because Toyota has failed
 7
     and/or has refused to adequately provide the promised remedies within a reasonable
 8
     time.
 9
             1152. Accordingly, recovery by Plaintiffs and the other Texas Sub-Class
10
     members is not limited to the limited warranty of repair or adjustments to parts
11
     defective in materials or workmanship, and Plaintiff, individually and on behalf of
12
     the other Class members, seeks all remedies as allowed by law.
13
             1153. Also, as alleged in more detail herein, at the time that Toyota warranted
14
     and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
15
     warranties and were inherently defective, and Toyota wrongfully and fraudulently
16
     misrepresented and/or concealed material facts regarding its Class Vehicles.
17
     Plaintiffs and the other Class members were therefore induced to purchase or lease
18
     the Class Vehicles under false and/or fraudulent pretenses.
19
             1154. Moreover, many of the injuries flowing from the Class Vehicles cannot
20
     be resolved through the limited remedy of “replacement or adjustments,” as many
21
     incidental and consequential damages have already been suffered due to Toyota’s
22
     fraudulent conduct as alleged herein, and due to its failure and/or continued failure
23
     to provide such limited remedy within a reasonable time, and any limitation on
24
     Plaintiffs’ and the other Class members’ remedies would be insufficient to make
25
     Plaintiffs and the other Class members whole.
26
             1155. Furthermore, the application of (or refusal to permit coverage under) the
27
     Warranty is unconscionable and inadequate to protect Plaintiff and members of the
28

                                                          PLAINTIFFS’ THIRD AMENDED
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 1
     Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
 2
     disparity in bargaining power existed between Toyota and Class members, and
 3
     Toyota knew or should have known that the Class Vehicles were defective at the time
 4
     of sale and that the wiring systems would fail well before their useful lives.
 5
           1156. Toyota was provided notice of these issues by numerous complaints
 6
     filed against it, including the instant complaint, and by numerous individual letters
 7
     and communications sent by consumers before or within a reasonable amount of time
 8
     after the allegations of the Defect became public.
 9
           1157. As a direct and proximate result of Toyota’s breach of express
10
     warranties, Plaintiffs and the other Oregon Sub-Class members have been damaged
11
     in an amount to be determined at trial.
12
           1158. Finally, due to Toyota’s breach of warranty as set forth herein, Plaintiffs
13
     and the other Class members assert as an additional and/or alternative remedy, as set
14
     forth in OR. REV. STAT. § 72.6080, for a revocation of acceptance of the goods, and
15
     for a return to Plaintiffs and to the other Oregon Sub-Class members of the purchase
16
     price of all Class Vehicles currently owned or leased, and for such other incidental
17
     and consequential damages as allowed under OR. REV. STAT. §§ 72.7110 and
18
     72.6080.
19                                  COUNT LXVII
20      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                              OR. REV. STAT. § 72.3140
21          (On Behalf of Plaintiffs Michaelis, and the Oregon Sub-Class)
22         1159. Plaintiffs repeat and reallege the allegations above as if fully set forth
23   herein.
24         1160. This claim is brought by Plaintiffs Michaelis on behalf of the Oregon
25   Sub-Class.
26         1161. Toyota is and was at all relevant times a “merchant” with respect to
27   motor vehicles. OR. REV. STAT. § 72.1040.
28

                                                          PLAINTIFFS’ THIRD AMENDED
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 1
           1162. The Class Vehicles are “goods.” Id. § 72.1050.
 2
           1163. A warranty that the Class Vehicles were in merchantable condition was
 3
     implied by law, pursuant to OR. REV. STAT. § 72.3140.
 4
           1164. The Class Vehicles, when sold or leased and at all times thereafter, were
 5
     not in merchantable condition and are not fit for the ordinary purpose for which cars
 6
     are used. Specifically, the Class Vehicles suffer from an inherent Defect, as alleged
 7
     herein.
 8
           1165. Toyota was provided notice of these issues by numerous complaints
 9
     filed against it, including this Complaint, and by numerous individual letters,
10
     telephone calls, and other communications sent by Plaintiffs and other Class
11
     members before or within a reasonable amount of time after the allegations of the
12
     Defect became public.
13
           1166. Plaintiffs and the other Class members have had sufficient direct
14
     dealings with either Toyota or its agents (dealerships) to establish privity of contract
15
     between Toyota, on the one hand, and Plaintiffs and the other Class members, on the
16
     other hand. Notwithstanding this, privity is not required in this case because Plaintiffs
17
     and the other Class members are intended third-party beneficiaries of contracts
18
     between Toyota and its dealers; specifically, they are the intended beneficiaries of
19
     Toyota’s implied warranties. The dealers were not intended to be the ultimate
20
     consumers of the Class Vehicles and have no rights under the warranty agreements
21
     provided with the Class Vehicles; the warranty agreements were designed for and
22
     intended to benefit the ultimate consumers only. Finally, privity is also not required
23
     because Plaintiffs’ and the other Class members’ Class Vehicles are dangerous
24
     instrumentalities due to the aforementioned Defect and nonconformities.
25
           1167. Furthermore, the application of (or refusal to permit coverage under) the
26
     Warranty is unconscionable and inadequate to protect Plaintiff and members of the
27
     Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
28

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 1
     disparity in bargaining power existed between Toyota and Class members, and
 2
     Toyota knew or should have known that the Class Vehicles were defective at the time
 3
     of sale and that the wiring systems would fail well before their useful lives.
 4
           1168. As a direct and proximate result of Toyota’s breach of the warranty of
 5
     merchantability, Plaintiffs and the other Class members have been damaged in an
 6
     amount to be proven at trial.
 7                                    COUNT LXVIII
 8                    FRAUD/FRAUDULENT CONCEALMENT
               (On Behalf of Plaintiffs Michaelis, and the Oregon Sub-Class)
 9
           1169. Plaintiffs repeat and reallege the allegations above as if fully set forth
10
     herein.
11
           1170. This claim is brought by Plaintiffs Michaelis on behalf of the Oregon
12
     Sub-Class.
13
           1171. Defendants concealed and suppressed material facts concerning the
14
     performance and quality of the Class Vehicles – namely, the Defect – and the quality
15
     of the Toyota brand. Specifically, Defendants knew of (or should have known of)
16
     the Defect, but failed to disclose it prior to or at the time it sold or leased Class
17
     Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
18
     Vehicles.
19
           1172. Plaintiffs and Class members had no way of knowing that Defendants’
20
     representations were false and gravely misleading, or that Defendants had omitted
21
     imperative details. Plaintiffs and Class members did not, and could not, unravel
22
     Defendants’ deception on their own.
23
           1173. Defendants had a duty to disclose the true performance of the Class
24
     Vehicles and the Defect because knowledge thereof and the details related thereto
25
     were known and/or accessible only to Defendants; Defendants had superior
26
     knowledge and access to the facts; and Defendants knew the facts were not known
27
     to, or reasonably discoverable, by Plaintiffs and the Class. Defendants also had a
28

                                                          PLAINTIFFS’ THIRD AMENDED
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 1
     duty to disclose because they made general affirmative representations about the
 2
     about the qualities of the Class Vehicles.
 3
           1174. On information and belief, Defendants still have not made full and
 4
     adequate disclosures, and continue to defraud consumers by concealing material
 5
     information regarding the Defect and the performance and quality of Class Vehicles.
 6
           1175. Toyota’s misrepresentations and omissions were material because
 7
     they would have affected purchasing decisions by reasonable consumers, including
 8
     Plaintiffs and the Class. Plaintiffs and the Class were unaware of these omitted
 9
     material facts and would not have acted as they did if they had known of the
10
     concealed and/or suppressed facts, in that they would not have purchased or leased
11
     the Class Vehicles, or they would have done so at a significantly lower cost.
12
     Plaintiffs’ and the Class’ actions were justified. Defendants were in exclusive
13
     control of the material facts and such facts were not known to the public, Plaintiffs,
14
     or the Class.
15
           1176. Plaintiffs and the Class relied upon Defendants representations and
16
     omissions regarding the quality of Class Vehicles and the Defect in deciding to
17
     purchase or lease Class Vehicles.
18
           1177. Because of the concealment and/or suppression of the facts, Plaintiffs
19
     and the Class sustained damage because they did not receive the value of the
20
     premium price paid for their Class Vehicles. Plaintiffs and Class members would
21
     have paid less for Class Vehicles had they known about the Defect and the entire
22
     truth about them, or they would not have purchased or leased Class Vehicles at all.
23
           1178. Accordingly, Defendants are liable to Plaintiffs and the Oregon Sub-
24
     Class for damages in an amount to be proven at trial.
25
           1179. Defendants’ acts were done maliciously, oppressively, deliberately,
26
     with intent to defraud, and in reckless disregard of Plaintiffs’ and the Class’ rights
27
     and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
28

                                                          PLAINTIFFS’ THIRD AMENDED
                                           200
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 1
     of punitive damages in an amount sufficient to deter such conduct in the future,
 2
     which amount is to be determined according to proof.
 3                                   COUNT LXIX
 4                              UNJUST ENRICHMENT
             (On Behalf of Plaintiffs Michaelis, and the Oregon Sub-Class)
 5
            1180. Plaintiffs repeat and reallege the allegations above as if fully set forth
 6
     herein.
 7
            1181. This claim is brought by Plaintiffs Michaelis on behalf of the Oregon
 8
     Sub-Class. This claim is pled in the alternative to the other claims set forth herein.
 9
            1182. As the intended and expected result of its conscious wrongdoing,
10
     Toyota has profited and benefited from Plaintiffs’ and Class members’ purchase and
11
     lease of Class Vehicles containing the Defect.
12
            1183. Toyota has voluntarily accepted and retained these profits and benefits
13
     with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
14
     herein, Plaintiffs and the Class were not receiving automobiles of the quality, nature,
15
     fitness, or value that had been represented by Toyota, and that a reasonable
16
     consumer would expect.
17
            1184. Toyota has been unjustly enriched by its fraudulent, deceptive, and
18
     otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
19
     and by withholding benefits from Plaintiffs and the Class at the expense of these
20
     parties.
21
            1185. Equity and good conscience militate against permitting Toyota to
22
     retain these profits and benefits, and Toyota should be required to make restitution
23
     of its ill-gotten gains resulting from the conduct alleged herein.
24
     N.     Texas
25                                    COUNT LXX
26     VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT
                 TEX. BUS. & COM. CODE §§ 17.41, et seq. (“TDTPA”)
27      (On behalf of Plaintiffs Bowling and Browder, and the Texas Sub-Class)
28

                                                          PLAINTIFFS’ THIRD AMENDED
                                            201
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 1
           1186. Plaintiffs repeat and reallege the allegations above as if fully set forth
 2
     herein.
 3
           1187. This claim is brought by Plaintiffs Bowling and Browder on behalf of
 4
     the Texas Sub-Class.
 5
           1188. The TDTPA provides that a person may not engage in any unfair or
 6
     deceptive trade practice in the sale of any consumer good.
 7
           1189. Plaintiff and Toyota are “persons” within the meaning of the TDTPA.
 8
     See TEX. BUS. & COM. CODE § 17.45(3).
 9
           1190. The Class Vehicles are “goods” under the TDTPA. See id. § 17.45(1).
10
           1191. Plaintiffs and the other Texas Sub-Class members are “consumers” as
11
     defined in the TDTPA. See id. § 17.45(4).
12
           1192. Toyota has at all relevant times engaged in “trade” and “commerce” as
13
     defined under TDTPA Section 17.45(6), by advertising, offering for sale, selling,
14
     leasing, and/or distributing the Class Vehicles in Texas, directly or indirectly
15
     affecting Texas citizens through that trade and commerce.
16
           1193. Toyota participated in misleading, false or deceptive acts that violated
17
     the TDTPA. By fraudulently advertising and selling and leasing Class Vehicles with
18
     the Defect as described herein, Toyota engaged in deceptive business practices
19
     prohibited by the TDTPA.
20
           1194. In the course of its business, Toyota incorporated soy- or bio-based
21
     electrical wiring insulation and other wiring components in Class Vehicles that
22
     attract rodents and other pests which cause damage to Class Vehicle electrical
23
     wiring. Toyota concealed and omitted this Defect and otherwise engaged in
24
     activities with the tendency or capacity to deceive. Toyota also engaged in unlawful
25
     trade practices by employing deception, deceptive acts or practices, fraud,
26
     misrepresentations, or concealment, suppression or omission, in connection with the
27
     sale or lease of Class Vehicles containing the soy- or bio-based wiring Defect.
28

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 1
              1195. Toyota has known of the Defect in Class Vehicles from complaints and
 2
     communications by Plaintiffs and Class members, but continued to conceal the
 3
     Defect in order to make sales and leases of Class Vehicles.
 4
              1196. By willfully failing to disclose and actively concealing the Defect, by
 5
     marketing Class Vehicles as reliable and of high quality, and by presenting itself as
 6
     a reputable manufacturer that stood by its products after they were sold or leased
 7
     when it in fact does not, Toyota engaged in unfair and deceptive business practices
 8
     in violation of the TDTPA.
 9
              1197. Toyota’s unfair or deceptive acts or practices were likely to and did in
10
     fact deceive reasonable consumers, including Plaintiffs and members of the Texas
11
     Sub-Class, about the quality, workmanship, performance, safety, and true value of
12
     the defective Class Vehicles.
13
              1198. Toyota intentionally and knowingly misrepresented material facts
14
     regarding the Class Vehicles with intent to mislead Plaintiffs and the Texas Sub-
15
     Class.
16
              1199. Toyota’s conduct was and is violative of the TDTPA in the following
17
     ways:
18
                   a.     representing that goods or services have sponsorship, approval,
19
                          characteristics, ingredients, uses, benefits, or quantities which
20
                          they do not have or that a person has a sponsorship, approval,
21
                          status, affiliation, or connection which the person does not;
22
                   b.     representing that goods or services are of a particular standard,
23
                          quality, or grade, or that goods are of a particular style or model,
24
                          if they are of another;
25
                   c.     advertising goods or services with intent not to sell them as
26
                          advertised; and
27
                   d.     failing to disclose information concerning goods or services
28

                                                            PLAINTIFFS’ THIRD AMENDED
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 1
                          which was known at the time of the transaction if such failure to
 2
                          disclose such information was intended to induce the consumer
 3
                          into a transaction into which the consumer would not have
 4
                          entered had the information been disclosed.
 5
     TEX. BUS. & COM. CODE § 17.46(b)(5), (7), (9), (24).
 6
              1200. Toyota’s unfair or deceptive acts or practices were likely to and did in
 7
     fact deceive reasonable consumers, including Plaintiffs and members of the Texas
 8
     Sub-Class, about the quality, workmanship, performance, safety, and true value of
 9
     the defective Class Vehicles. Plaintiffs and Class members relied upon Toyota’s
10
     misrepresentations, concealment, and omissions with respect to material
11
     information, namely concerning the Defect, to their detriment.
12
              1201. Toyota intentionally and knowingly misrepresented material facts
13
     regarding the Class Vehicles with intent to mislead Plaintiffs and the Texas Sub-
14
     Class.
15
              1202. Toyota owed Plaintiffs and the Texas Sub-Class a duty to disclose the
16
     Defect in Class Vehicles and the true value of Class Vehicles because Toyota:
17
                   a.     Possesses exclusive knowledge that its manufacturing process
18
                          entailed the inclusion of defective and rodent-damage-prone soy-
19
                          or bio-based wiring parts and components;
20
                   b.     Intentionally concealed the foregoing from Plaintiff and the
21
                          Texas Sub-Class; and/or
22
                   c.     Made incomplete, false or misleading representations about the
23
                          characteristics, quality, workmanship, reliability, value, safety,
24
                          efficiency,   and   performance    of   Class   Vehicles    while
25
                          purposefully withholding material facts from Plaintiff and the
26
                          Texas Sub-Class that contradicted these representations.
27
              1203. Because Plaintiffs and the Texas Sub-Class overpaid for Class Vehicles
28

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 1
     due to Toyota’s conduct described herein and because the Defect in Class Vehicles
 2
     has caused Plaintiffs and members of the Texas Sub-Class to incur out-of-pocket
 3
     expenses, they have suffered ascertainable loss as a direct and proximate result of
 4
     Toyota’s deceptive and unfair acts and practices in violation of the TDTPA.
 5
           1204. On or about March 24, 2017, Plaintiffs Bowling and Browder notified
 6
     Toyota of the damages and Defect in their Class Vehicles in satisfaction of TEX.
 7
     BUS. & COM. CODE § 17.505. Plaintiffs have made pre-suit attempts to remedy the
 8
     Defect in their Class Vehicles, to no avail.
 9                                      COUNT LXXI
10                         BREACH OF EXPRESS WARRANTY
                              TEX. BUS. & COM. CODE § 2.313
11      (On Behalf of Plaintiffs Bowling and Browder, and the Texas Sub-Class)
12         1205. Plaintiffs repeat and reallege the allegations above as if fully set forth
13   herein.
14         1206. This claim is brought by Plaintiffs Bowling and Browder on behalf of
15   the Texas Sub-Class.
16         1207. Toyota is and was at all relevant times a “merchant” with respect to
17   motor vehicles. TEX. BUS. & COM. CODE § 2.104(a).
18         1208. The Class Vehicles are “goods.” Id. § 2.105(a).
19         1209. Pursuant to TEX. BUS. & COM. CODE § 2.313:
20
                 (a) Express warranties by the seller are created as follows:
21
22                      (1) Any affirmation of fact or promise made by the
                        seller to the buyer which relates to the goods and
23                      becomes part of the basis of the bargain creates an
24                      express warranty that the goods shall conform to the
                        affirmation or promise.
25
26   Id.
27         1210. In its Warranty and in advertisements, brochures, and through other

28   statements in the media, Toyota expressly warranted that it would repair or replace

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 1
     defects in material or workmanship free of charge if they became apparent during the
 2
     warranty period. For example, the following language appears in all Class Vehicle
 3
     Warranty manuals: “This warranty covers repairs and adjustments needed to correct
 4
     defects in materials or workmanship of any part supplied by Toyota, subject to the
 5
     exceptions indicated under ‘What Is Not Covered’ . . . .”
 6
             1211. Toyota’s Warranty, as well as advertisements, brochures, and other
 7
     statements in the media regarding the Class Vehicles, formed the basis of the bargain
 8
     that was reached when Plaintiffs and the other Class members purchased or leased
 9
     their Class Vehicles.
10
             1212. Toyota breached the express warranty to repair and adjust to correct
11
     defects in materials and workmanship of any part supplied by Toyota. Toyota has not
12
     repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’
13
     materials and workmanship defects, namely the soy- or bio-based electrical wiring
14
     parts and components.
15
             1213. At the time of selling or leasing Class Vehicles, Toyota did not provide
16
     Class Vehicles that conformed to its express warranties.
17
             1214. Furthermore, the Warranty of repair and/or adjustments to defective
18
     parts fails in its essential purpose because the contractual remedy is insufficient to
19
     make Plaintiffs and the other Class members whole and because Toyota has failed
20
     and/or has refused to adequately provide the promised remedies within a reasonable
21
     time.
22
             1215. Accordingly, recovery by Plaintiffs and the other Texas Sub-Class
23
     members is not limited to the limited warranty of repair or adjustments to parts
24
     defective in materials or workmanship, and Plaintiff, individually and on behalf of
25
     the other Class members, seeks all remedies as allowed by law.
26
             1216. Also, as alleged in more detail herein, at the time that Toyota warranted
27
     and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
28

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 1
     warranties and were inherently defective, and Toyota wrongfully and fraudulently
 2
     misrepresented and/or concealed material facts regarding its Class Vehicles.
 3
     Plaintiffs and the other Class members were therefore induced to purchase or lease
 4
     the Class Vehicles under false and/or fraudulent pretenses.
 5
           1217. Moreover, many of the injuries flowing from the Class Vehicles cannot
 6
     be resolved through the limited remedy of “replacement or adjustments,” as many
 7
     incidental and consequential damages have already been suffered due to Toyota’s
 8
     fraudulent conduct as alleged herein, and due to its failure and/or continued failure
 9
     to provide such limited remedy within a reasonable time, and any limitation on
10
     Plaintiffs’ and the other Class members’ remedies would be insufficient to make
11
     Plaintiffs and the other Class members whole.
12
           1218. Furthermore, the application of (or refusal to permit coverage under) the
13
     Warranty is unconscionable and inadequate to protect Plaintiff and members of the
14
     Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
15
     disparity in bargaining power existed between Toyota and Class members, and
16
     Toyota knew or should have known that the Class Vehicles were defective at the time
17
     of sale and that the wiring systems would fail well before their useful lives.
18
           1219. Toyota was provided notice of these issues by numerous complaints
19
     filed against it, including the instant complaint, and by numerous individual letters
20
     and communications sent by consumers before or within a reasonable amount of time
21
     after the allegations of the Defect became public.
22
           1220. As a direct and proximate result of Toyota’s breach of express
23
     warranties, Plaintiffs and the other Texas Sub-Class members have been damaged in
24
     an amount to be determined at trial.
25
           1221. Finally, due to Toyota’s breach of warranty as set forth herein, Plaintiffs
26
     and the other Class members assert as an additional and/or alternative remedy, as set
27
     forth in TEX. BUS. & COM. CODE § 2.608, for a revocation of acceptance of the goods,
28

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 1
     and for a return to Plaintiffs and to the other Texas Sub-Class members of the
 2
     purchase price of all Class Vehicles currently owned or leased, and for such other
 3
     incidental and consequential damages as allowed under TEX. BUS. & COM. CODE
 4
     §§ 2.711 and 2.608.
 5                                  COUNT LXXII
 6      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                            TEX. BUS. & COM. CODE § 2.314
 7      (On Behalf of Plaintiffs Bowling and Browder, and the Texas Sub-Class)
 8         1222. Plaintiffs repeat and reallege the allegations above as if fully set forth
 9   herein.
10         1223. This claim is brought by Plaintiffs Bowling and Browder on behalf of
11   the Texas Sub-Class.
12         1224. Toyota is and was at all relevant times a “merchant” with respect to
13   motor vehicles. TEX. BUS. & COM. CODE § 2.104(a).
14         1225. The Class Vehicles are “goods.” Id. § 2.105(a).
15         1226. A warranty that the Class Vehicles were in merchantable condition was
16   implied by law, pursuant to TEX. BUS. & COM. CODE § 2.314.
17         1227. The Class Vehicles, when sold or leased and at all times thereafter, were
18   not in merchantable condition and are not fit for the ordinary purpose for which cars
19   are used. Specifically, the Class Vehicles suffer from an inherent Defect, as alleged
20   herein.
21         1228. Toyota was provided notice of these issues by numerous complaints
22   filed against it, including this Complaint, and by numerous individual letters,
23   telephone calls, and other communications sent by Plaintiffs and other Class
24   members before or within a reasonable amount of time after the allegations of the
25   Defect became public.
26         1229. Plaintiffs and the other Class members have had sufficient direct
27   dealings with either Toyota or its agents (dealerships) to establish privity of contract
28

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 1
     between Toyota, on the one hand, and Plaintiffs and the other Class members, on the
 2
     other hand. Notwithstanding this, privity is not required in this case because Plaintiffs
 3
     and the other Class members are intended third-party beneficiaries of contracts
 4
     between Toyota and its dealers; specifically, they are the intended beneficiaries of
 5
     Toyota’s implied warranties. The dealers were not intended to be the ultimate
 6
     consumers of the Class Vehicles and have no rights under the warranty agreements
 7
     provided with the Class Vehicles; the warranty agreements were designed for and
 8
     intended to benefit the ultimate consumers only. Finally, privity is also not required
 9
     because Plaintiffs’ and the other Class members’ Class Vehicles are dangerous
10
     instrumentalities due to the aforementioned Defect and nonconformities.
11
           1230. Furthermore, the application of (or refusal to permit coverage under) the
12
     Warranty is unconscionable and inadequate to protect Plaintiff and members of the
13
     Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
14
     disparity in bargaining power existed between Toyota and Class members, and
15
     Toyota knew or should have known that the Class Vehicles were defective at the time
16
     of sale and that the wiring systems would fail well before their useful lives.
17
           1231. As a direct and proximate result of Toyota’s breach of the warranty of
18
     merchantability, Plaintiffs and the other Class members have been damaged in an
19
     amount to be proven at trial.
20                                  COUNT LXXIII
21                    FRAUD/FRAUDULENT CONCEALMENT
        (On Behalf of Plaintiffs Bowling and Browder, and the Texas Sub-Class)
22
           1232. Plaintiffs repeat and reallege the allegations above as if fully set forth
23
     herein.
24
           1233. This claim is brought by Plaintiffs Bowling and Browder on behalf of
25
     the Texas Sub-Class.
26
           1234. Defendants concealed and suppressed material facts concerning the
27
     performance and quality of the Class Vehicles – namely, the Defect – and the quality
28

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 1
     of the Toyota brand. Specifically, Defendants knew of (or should have known of)
 2
     the Defect, but failed to disclose it prior to or at the time it sold or leased Class
 3
     Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
 4
     Vehicles.
 5
           1235. Plaintiffs and Class members did not, and could not, unravel
 6
     Defendants’ deception on their own.
 7
           1236. Defendants had a duty to disclose the true performance of the Class
 8
     Vehicles and the Defect because knowledge thereof and the details related thereto
 9
     were known and/or accessible only to Defendants; Defendants had superior
10
     knowledge and access to the facts; and Defendants knew the facts were not known
11
     to, or reasonably discoverable, by Plaintiffs and the Class. Defendants also had a
12
     duty to disclose because they made general affirmative representations about the
13
     about the qualities of the Class Vehicles.
14
           1237. On information and belief, Defendants still have not made full and
15
     adequate disclosures, and continue to defraud consumers by concealing material
16
     information regarding the Defect and the performance and quality of Class Vehicles.
17
           1238. Toyota’s misrepresentations and omissions were material because
18
     they would have affected purchasing decisions by reasonable consumers, including
19
     Plaintiffs and the Class. Plaintiffs and the Class were unaware of these omitted
20
     material facts and would not have acted as they did if they had known of the
21
     concealed and/or suppressed facts, in that they would not have purchased or leased
22
     the Class Vehicles, or they would have done so at a significantly lower cost.
23
     Plaintiffs’ and the Class’ actions were justified. Defendants were in exclusive
24
     control of the material facts and such facts were not known to the public, Plaintiffs,
25
     or the Class.
26
           1239. Plaintiffs and the Class relied upon Defendants representations and
27
     omissions regarding the quality of Class Vehicles and the Defect in deciding to
28

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 1
     purchase or lease Class Vehicles.
 2
             1240. Because of the concealment and/or suppression of the facts, Plaintiffs
 3
     and the Class sustained damage because they did not receive the value of the
 4
     premium price paid for their Class Vehicles. Plaintiffs and Class members would
 5
     have paid less for Class Vehicles had they known about the Defect and the entire
 6
     truth about them, or they would not have purchased or leased Class Vehicles at all.
 7
             1241. Accordingly, Defendants are liable to Plaintiffs and the Texas Sub-
 8
     Class for damages in an amount to be proven at trial.
 9
             1242. Defendants’ acts were done maliciously, oppressively, deliberately,
10
     with intent to defraud, and in reckless disregard of Plaintiffs’ and the Class’ rights
11
     and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
12
     of punitive damages in an amount sufficient to deter such conduct in the future,
13
     which amount is to be determined according to proof.
14
     ///
15
     ///
16
     ///
17                                    COUNT LXXIV
18                                UNJUST ENRICHMENT
           (On Behalf of Plaintiffs Bowling and Browder, and the Texas Sub-Class)
19
             1243. Plaintiffs repeat and reallege the allegations above as if fully set forth
20
     herein.
21
             1244. This claim is brought by Plaintiffs Bowling and Browder on behalf of
22
     the Texas Sub-Class. This claim is pled in the alternative to the other claims set forth
23
     herein.
24
             1245. As the intended and expected result of its conscious wrongdoing,
25
     Toyota has profited and benefited from Plaintiffs’ and Class members’ purchase and
26
     lease of Class Vehicles containing the Defect.
27
             1246. Toyota has voluntarily accepted and retained these profits and benefits
28

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 1
     with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
 2
     herein, Plaintiffs and the Class were not receiving automobiles of the quality, nature,
 3
     fitness, or value that had been represented by Toyota, and that a reasonable
 4
     consumer would expect.
 5
            1247. Toyota has been unjustly enriched by its fraudulent, deceptive, and
 6
     otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
 7
     and by withholding benefits from Plaintiffs and the Class at the expense of these
 8
     parties.
 9
            1248. Equity and good conscience militate against permitting Toyota to
10
     retain these profits and benefits, and Toyota should be required to make restitution
11
     of its ill-gotten gains resulting from the conduct alleged herein.
12
     O.     Washington
13                                COUNT LXXV
      VIOLATIONS OF THE WASHINGTON CONSUMER PROTECTION ACT
14              WASH. REV. CODE §§ 19.86.010 et seq. (“WCPA”)
           (On Behalf of Plaintiffs Johns and the Washington Sub-Class)
15
16          1249. Plaintiffs repeat and reallege the allegations contained above as if fully
17   set forth herein.
18          1250. This claim is brought by Plaintiffs Johns on behalf of the Washington
19   Sub-Class.
20          1251. The WCPA broadly prohibits and makes unlawful to commit “[u]nfair
21   methods of competition and unfair or deceptive acts or practices in the conduct of
22   any trade or commerce.” WASH. REV. CODE § 19.86.020. The WCPA provides a
23   private right of action for “[a]ny person who is injured in his or her business or
24   property” by violations of the Act. Id. § 19.86.090.
25          1252. Toyota’s actions as set forth herein occurred in the conduct of “trade”
26   or “commerce” under the WCPA. Id. § 19.86.010(2).
27          1253. Toyota’s misrepresentations and material omissions regarding the
28

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 1
     Defect constitute unfair or deceptive acts or practices in violation of the WCPA.
 2
           1254. Specifically, Toyota engaged in unfair competition and unfair, unlawful
 3
     or fraudulent business practices by the practices described herein, and by knowingly
 4
     and intentionally concealing from Plaintiffs and Class members that the Class
 5
     Vehicles suffer from the Defect (and the costs, risks, and diminished value of the
 6
     vehicles as a result of this problem). Toyota had a duty to disclose this information
 7
     because Toyota was in a superior position to know the true facts related to the Defect,
 8
     Toyota intentionally concealed the foregoing from Plaintiffs and the Class, Plaintiffs
 9
     and the Class members could not reasonably be expected to learn or discover the true
10
     facts related to the Defect, and Toyota made incomplete representations about – and
11
     made omissions regarding – the performance of Class Vehicles while purposefully
12
     withholding material facts from the Class that contradicted these statements and
13
     omissions.
14
           1255. These unfair methods of competition and unfair and deceptive acts have
15
     caused injuries to Plaintiffs and members of the Class.
16
           1256. Toyota intended for Plaintiffs and Class members to rely – and Plaintiffs
17
     and Class members did rely – on Toyota’s deceptive and unfair practices when they
18
     purchased or leased defective Class Vehicles.
19
           1257. Plaintiffs and the other Class members have suffered injuries in fact and
20
     actual damages as a result of Toyota’s conduct in that Plaintiffs and the other Class
21
     members overpaid for their Class Vehicles and did not receive the benefit of their
22
     bargain, paid out of pocket expenses relating to the Defect, and their Class Vehicles
23
     have suffered a diminution in value. These injuries are the direct and natural
24
     consequence of Toyota’s misrepresentations and omissions, and are of the type of
25
     injuries that the WCPA was designed to prevent
26
           1258. The above unfair and deceptive practices and acts by Toyota were
27
     immoral, unethical, oppressive, and unscrupulous. These acts caused substantial
28

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 1
     injury to consumers that these consumers could not reasonably avoid; this substantial
 2
     injury greatly outweighed any benefits to consumers or to competition.
 3
           1259. Toyota’s actions in engaging in the above-named unfair practices and
 4
     deceptive acts were negligent, knowing and willful, and/or wanton and reckless with
 5
     respect to the rights of Plaintiffs and Class members.
 6
           1260. Plaintiffs, on behalf of themselves and the Class, seek relief under
 7
     WASH. REV. CODE § 19.86.090, including, but not limited to, actual damages, treble
 8
     damages, injunctive relief, and attorneys’ fees and costs.
 9                                     COUNT LXXVI
10                       BREACH OF EXPRESS WARRANTY
                               WASH. REV. CODE § 62A.2-313
11           (On Behalf of Plaintiffs Johns and the Washington Sub-Class)
12         1261. Plaintiffs repeat and reallege the allegations contained above as if fully
13   set forth herein.
14         1262. This claim is brought by Plaintiffs Johns on behalf of the Washington
15   Sub-Class.
16         1263. Toyota is and was at all times a “merchant” and the Class Vehicles are
17   “goods.”
18         1264. In its Warranty and in advertisements, brochures, and through other
19   statements, Toyota expressly warranted that it would repair or replace defects in
20   material or workmanship free of charge if they became apparent during the warranty
21   period. For example, the following language appears in all Class Vehicle Warranty
22   and Maintenance Guides:
23                WHAT IS COVERED AND HOW LONG
24                Basic Warranty
25
                  This warranty covers repairs and adjustments needed to
26                correct defects in materials or workmanship of any part
27                supplied by Toyota, subject to the exceptions indicated
                  under “What Is Not Covered” . . . .
28

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 1
     Ex. A.
 2
             1265. Toyota’s Warranty does not exclude rodent or animal damage of the
 3
     type suffered by Plaintiffs and Class members to their Class Vehicles.
 4
             1266. Toyota’s warranties as well as advertisements, brochures, and other
 5
     statements regarding the Class Vehicles, formed the basis of the bargain that was
 6
     reached when Plaintiffs and the other Class members purchased or leased their Class
 7
     Vehicles.
 8
             1267. Toyota breached the express warranty to repair and adjust to correct
 9
     defects in materials and workmanship of any part supplied by Toyota, as provided
10
     for under the Warranty. Toyota has not repaired or adjusted, and has been unable
11
     to repair or adjust, the Class Vehicles’ materials and workmanship defects under the
12
     terms of the Warranty.
13
             1268. Toyota breached express warranties by selling to Plaintiffs and Class
14
     Members Class Vehicles with soy- or bio-based wiring which Toyota knew or
15
     should have known attracts rodents and other pests and which makes wiring systems
16
     in the Class Vehicles prone to rodent damage, causing Class Vehicles to fail
17
     prematurely and/or fail to function properly.
18
             1269. In addition, since Toyota knew or should have known about the Defect,
19
     the warranty failed its essential purpose.
20
             1270. The limited warranty of repair and/or adjustments to defective parts
21
     also fails in its essential purpose because the contractual remedy is insufficient to
22
     make Plaintiffs and the other Class members whole and because Toyota has failed
23
     and/or has refused to adequately provide the promised remedies within a reasonable
24
     time.
25
             1271. Furthermore, the application of (or refusal to permit coverage under) the
26
     Warranty is unconscionable and inadequate to protect Plaintiff and members of the
27
     Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
28

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 1
     disparity in bargaining power existed between Toyota and Class members, and
 2
     Toyota knew or should have known that the Class Vehicles were defective at the time
 3
     of sale and that the wiring systems would fail well before their useful lives.
 4
           1272. Toyota’s attempts to disclaim or limit its warranties vis-à-vis
 5
     consumers are unenforceable under the circumstances here.
 6
           1273. Accordingly, recovery by Plaintiffs and the other Class members is not
 7
     limited to the limited warranty of repair or adjustments to parts defective in materials
 8
     or workmanship, and Plaintiffs, individually and on behalf of the other Class
 9
     members, seek all remedies as allowed by law.
10
           1274. Also, as alleged in more detail herein, at the time that Toyota warranted
11
     and sold the Class Vehicles, it knew that the Class Vehicles did not conform to the
12
     warranties and were inherently defective, and Toyota wrongfully and fraudulently
13
     misrepresented and/or concealed material facts regarding its Class Vehicles.
14
     Plaintiffs and the other Class members were therefore induced to purchase or lease
15
     the Class Vehicles under false and/or fraudulent pretenses.
16
           1275. Moreover, many of the injuries flowing from the Class Vehicles cannot
17
     be resolved through the limited remedy of “replacement or adjustments,” as many
18
     incidental and consequential damages have already been suffered due to Toyota’s
19
     fraudulent conduct as alleged herein, and due to its failure and/or continued failure
20
     to provide such limited remedy within a reasonable time, and any limitation on
21
     Plaintiffs’ and the other Class members’ remedies would be insufficient to make
22
     Plaintiffs and the other Class members whole.
23
           1276. The intended failure to disclose the known Defect is malicious, and it
24
     was carried out by Toyota with willful and wanton disregard for the rights and
25
     economic interests of Plaintiffs and Class Members.
26
           1277. As a direct and proximate result of Toyota’s breach of express
27
     warranties, Plaintiffs and the other Class members have suffered direct and
28

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 1
     consequential damages in an amount to be determined at trial, including but not
 2
     limited to costly repairs, loss of vehicle use, substantial loss in value and resale value
 3
     of the vehicles, and other related damage.
 4
             1278. Due to Toyota’s breach of warranties as set forth herein, Plaintiffs and
 5
     the other Class members assert as an additional and/or alternative remedy for a
 6
     revocation of acceptance of the goods, and for a return to Plaintiffs and to the other
 7
     Class members of the purchase price of all Class Vehicles currently owned or leased,
 8
     and for such other incidental and consequential damages as allowed by law.
 9
             1279. Toyota was provided notice of these issues by numerous complaints
10
     filed against it, including the instant Complaint, and by numerous individual letters
11
     and communications sent by consumers and Class members.
12
             1280. Plaintiffs and Class members have complied with all warranty
13
     obligations, or otherwise have been excused from performance of said obligations
14
     as a result of Toyota’s conduct described herein.
15
     ///
16
     ///
17                             COUNT LXXVII
18         BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                          WASH. REV. CODE § 62A.2-314
19
             1281. This claim is brought by Plaintiffs Johns on behalf of the Washington
20
     Sub-Class.
21
             1282. Toyota is and was at all times a “merchant” and the Class Vehicles are
22
     “goods.”
23
             1283. A warranty that the Class Vehicles were in merchantable condition is
24
     implied by law. WASH. REV. CODE § 62A.2-314.
25
             1284. Toyota impliedly warranted that the Class Vehicles were of a good and
26
     merchantable condition and quality – fit and safe for their ordinary intended use, and
27
     would be reasonably safe.
28

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 1
           1285. The Class Vehicles were defective at the time they left the possession
 2
     of Toyota. Toyota knew of the Defect at the time these transactions occurred. Thus,
 3
     the Class Vehicles, when sold or leased, and at all times thereafter, were not in
 4
     merchantable condition or quality and are not fit for their ordinary intended purpose.
 5
           1286. As a direct and proximate result of the breach of said warranties,
 6
     Plaintiffs and Class members were injured and are entitled to damages.
 7
           1287. Toyota’s attempt to disclaim or limit the implied warranty of
 8
     merchantability vis-à-vis consumers is unconscionable and unenforceable here.
 9
     Specifically, Toyota’s Warranty limitations are unenforceable because Toyota
10
     knowingly sold a defective product without informing consumers about the Defect.
11
           1288. Furthermore, the application of (or refusal to permit coverage under) the
12
     Warranty is unconscionable and inadequate to protect Plaintiff and members of the
13
     Class given that Toyota knew of the Defect but failed and fails to disclose it. A gross
14
     disparity in bargaining power existed between Toyota and Class members, and
15
     Toyota knew or should have known that the Class Vehicles were defective at the time
16
     of sale and that the wiring systems would fail well before their useful lives.
17
           1289. Plaintiffs and Class members have complied with all obligations under
18
     the warranty or otherwise have been excused from performance of said obligations
19
     as a result of Toyota’s conduct described herein.
20
           1290. Toyota was provided notice of these issues by complaints lodged by
21
     consumers directly and via NHTSA and elsewhere—which vehicle manufacturers
22
     like Toyota routinely monitor—before or within a reasonable amount of time after
23
     the allegations of the Defect became public. Notwithstanding such notice, Toyota
24
     failed to offer an effective remedy.
25
           1291. To the extent it is required, the parties are in privity or, alternatively,
26
     Plaintiff and Class members are the intended beneficiaries of Toyota’s contracts.
27                                  COUNT LXXVIII
28                      FRAUD/FRAUDULENT CONCEALMENT

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 1             (On Behalf of Plaintiffs Johns and the Washington Sub-Class)
 2         1292. Plaintiffs repeat and reallege the allegations above as if fully set forth
 3   herein.
 4         1293. This claim is brought by Plaintiffs Johns on behalf of the Washington
 5   Sub-Class.
 6         1294. Defendants concealed and suppressed material facts concerning the
 7   performance and quality of the Class Vehicles – namely, the Defect – and the quality
 8   of the Toyota brand. Specifically, Defendants knew of (or should have known of)
 9   the Defect, but failed to disclose it prior to or at the time it sold or leased Class
10   Vehicles to consumers. Defendants did so in order to boost sales and leases of Class
11   Vehicles.
12         1295. Plaintiffs and Class members did not, and could not, unravel
13   Defendants’ deception on their own.
14         1296. Defendants had a duty to disclose the true performance of the Class
15   Vehicles and the Defect because knowledge thereof and the details related thereto
16   were known and/or accessible only to Defendants; Defendants had superior
17   knowledge and access to the facts; and Defendants knew the facts were not known
18   to, or reasonably discoverable, by Plaintiffs and the Class. Defendants also had a
19   duty to disclose because they made general affirmative representations about the
20   about the qualities of the Class Vehicles.
21         1297. On information and belief, Defendants still have not made full and
22   adequate disclosures, and continue to defraud consumers by concealing material
23   information regarding the Defect and the performance and quality of Class Vehicles.
24         1298. Toyota’s misrepresentations and omissions were material because
25   they would have affected purchasing decisions by reasonable consumers, including
26   Plaintiffs and the Class. Plaintiffs and the Class were unaware of these omitted
27   material facts and would not have acted as they did if they had known of the
28

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 1
     concealed and/or suppressed facts, in that they would not have purchased or leased
 2
     the Class Vehicles, or they would have done so at a significantly lower cost.
 3
     Plaintiffs’ and the Class’ actions were justified. Defendants were in exclusive
 4
     control of the material facts and such facts were not known to the public, Plaintiffs,
 5
     or the Class.
 6
           1299. Plaintiffs and the Class relied upon Defendants representations and
 7
     omissions regarding the quality of Class Vehicles and the Defect in deciding to
 8
     purchase or lease Class Vehicles.
 9
           1300. Because of the concealment and/or suppression of the facts, Plaintiffs
10
     and the Class sustained damage because they did not receive the value of the
11
     premium price paid for their Class Vehicles. Plaintiffs and Class members would
12
     have paid less for Class Vehicles had they known about the Defect and the entire
13
     truth about them, or they would not have purchased or leased Class Vehicles at all.
14
           1301. Accordingly, Defendants are liable to Plaintiffs and the Washington
15
     Sub-Class for damages in an amount to be proven at trial.
16
           1302. Defendants’ acts were done maliciously, oppressively, deliberately,
17
     with intent to defraud, and in reckless disregard of Plaintiffs’ and the Class’ rights
18
     and well-being to enrich Defendants. Defendants’ conduct warrants an assessment
19
     of punitive damages in an amount sufficient to deter such conduct in the future,
20
     which amount is to be determined according to proof.
21                                  COUNT LXXIX
22                              UNJUST ENRICHMENT
             (On Behalf of Plaintiffs Johns and the Washington Sub-Class)
23
           1303. Plaintiffs repeat and reallege the allegations above as if fully set forth
24
     herein.
25
           1304. This claim is brought by Plaintiffs Johns on behalf of the Washington
26
     Sub-Class. This claim is pled in the alternative to the other claims set forth herein.
27
           1305. As the intended and expected result of its conscious wrongdoing,
28

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 1
     Toyota has profited and benefited from Plaintiffs’ and Class members’ purchase and
 2
     lease of Class Vehicles containing the Defect.
 3
            1306. Toyota has voluntarily accepted and retained these profits and benefits
 4
     with full knowledge and awareness that, as a result of Toyota’s misconduct alleged
 5
     herein, Plaintiffs and the Class were not receiving automobiles of the quality, nature,
 6
     fitness, or value that had been represented by Toyota, and that a reasonable
 7
     consumer would expect.
 8
            1307. Toyota has been unjustly enriched by its fraudulent, deceptive, and
 9
     otherwise unlawful conduct in connection with the sale and lease of Class Vehicles
10
     and by withholding benefits from Plaintiffs and the Class at the expense of these
11
     parties.
12
            1308. Equity and good conscience militate against permitting Toyota to
13
     retain these profits and benefits, and Toyota should be required to make restitution
14
     of its ill-gotten gains resulting from the conduct alleged herein.
15
                                   PRAYER FOR RELIEF
16
            WHEREFORE, Plaintiffs, on behalf of themselves and similarly situated
17
     members of the Class, respectfully request that this Court:
18
            (a)   Determine that this action is a proper class action, certifying Plaintiffs as a
19
                  class representatives under Federal Rule of Civil Procedure 23 and
20
                  Plaintiffs’ counsel as Class Counsel;
21
            (b)   Award all actual, general, special, incidental, statutory, punitive and
22
                  consequential damages to which Plaintiffs and Class members are
23
                  entitled;
24
            (c)   Award pre-judgment and post-judgment interest on such monetary
25
                  relief;
26
            (d)   Grant appropriate injunctive and/or declaratory relief, including,
27
                  without limitation, an order that requires Toyota to repair, recall, and/or
28

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 1
                 replace the Class Vehicles and to extend the applicable warranties to a
 2
                 reasonable period of time, or, at a minimum, to provide Plaintiffs and
 3
                 Class members with appropriate curative notice regarding the existence
 4
                 and cause of the Defect;
 5
           (e)   Award Plaintiffs and Class members their reasonable costs and
 6
                 expenses incurred in this action, including counsel fees and expert fees;
 7
                 and
 8
           (f)   Award such other and further relief as the Court may deem just and
 9
                 proper.
10
                                DEMAND FOR JURY TRIAL
11
           Plaintiffs respectfully demand a jury trial for all claims so triable.
12
     Dated: April 3, 2017                         Respectfully submitted,
13
                                                      KABATECK BROWN KELLNER
14
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